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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY




    ROOFERS’ PENSION FUND, Individually               Case No. 2:16-cv-02805-MCA-LDW
    and On Behalf of All Others Similarly
    Situated,

                                         Plaintiff,

                         v.

    PERRIGO CO., PLC, JOSEPH PAPA,
    JUDY BROWN, LAURIE BRLAS, GARY
    M. COHEN, MARC COUCKE,
    JACQUALYN A. FOUSE, ELLEN R.
    HOFFING, MICHAEL R. JANDERNOA,
    GERALD K. KUNKLE, JR., HERMAN
    MORRIS, JR., and DONAL O’CONNOR,

                                       Defendants.




                          EXPERT REPORT OF ZACHARY NYE, PH.D.

                                       November 30, 2018
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   I.      Background and Qualifications

   1.      I am a financial economist and Vice President at Stanford Consulting Group, Inc.

   (“SCG”). Since 1981, SCG has provided economic research and expert testimony for business

   litigation, and regulatory and legislative proceedings. All SCG professionals hold masters or

   doctoral degrees in business, economics, finance or operations research, and certain senior

   consultants have testified as experts in these fields. I have an A.B. in Economics from Princeton

   University; an M.Sc. in Finance from the London Business School; and a Ph.D. in Finance from

   the Paul Merage School of Business at the University of California, Irvine. I have co-authored

   academic research published in peer-reviewed conference proceedings, as well as working

   papers with finance faculty at various universities. My research areas include the market

   efficiency of financial and derivative securities, volatility forecasting, risk management, financial

   econometrics, valuation and corporate finance. I have previously served as an expert witness in

   matters involving securities litigation, as well as business and intellectual property valuation.

   My curriculum vitae, which includes my academic research, publications in the past ten years,

   and prior expert testimony in the past four years, is attached hereto as Exhibit 1.

   2.      My current hourly rate is $675. I have received assistance from individuals at SCG, who

   worked under my direction; their fees charged for this project are their standard hourly rates.

   Neither my compensation nor that of any individual at SCG is contingent on the outcome of this

   litigation.

   II.     Scope of Engagement

   3.      I have been retained by Counsel for Lead Plaintiff in this matter, Perrigo Institutional

   Investor Group (“Plaintiff”), to opine as to whether the common stock of Perrigo Company plc

   (“Perrigo,” or the “Company”) traded in an efficient market during the period April 21, 2015

   through May 2, 2017, inclusive (the “Class Period”). I also have been asked by Counsel to opine


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   on whether damages can be calculated using a method that is common to each Class and in a

   manner consistent with Plaintiff’s theory of liability,1 under both §10(b) of the Securities

   Exchange Act of 1934 (“Exchange Act”) for investors who purchased Perrigo stock during the

   Class Period, and §14(e) of the Exchange Act for investors who held Perrigo stock as of

   November 13, 2015, i.e., the expiration date of Mylan NV’s (“Mylan”) tender offer for Perrigo.

   However, I have not been asked at this time to calculate or opine on the amount of such

   damages.

   III.   Bases for Opinions

   4.     My opinions are based upon my professional knowledge and experience, my review of

   documents and information relevant to this matter (see Exhibit 2), and the analyses described in

   this Report and its Exhibits. Documents, data, and other information that I have relied upon as

   bases for my opinions are cited in this Report and its Exhibits. Such documents and information

   are typically relied upon by financial experts in securities class actions and by financial

   economists in their research.

   5.     Counsel for Plaintiff has informed me that the record in this matter continues to be

   developed and that fact discovery is ongoing. To the extent they are relevant, I would expect to

   review additional facts that may become available through discovery as well as the reports and

   depositions of other expert witnesses. The opinions offered in this Report are subject to

   refinement or revision based on continuing analysis of the documents and information listed




   1
     The claims in this action are set forth in the Amended Complaint for Violation of the Federal
   Securities Laws, dated June 21, 2017 (the “Complaint”). For purposes of this opinion, I have
   been asked to assume that the legal standards applicable to purchasers of Perrigo shares on the
   Tel Aviv Stock Exchange under Israeli securities laws (Count IV) are identical to the legal
   standards for U.S. purchasers asserting claims under the Exchange Act.


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   above, as well as new or additional information that may be provided to or obtained by me in the

   course of this matter.

   IV.         Summary of Opinions

   6.          As discussed below in §VI, based on my review of the available evidence in this matter,

   and careful analysis of data specific to Perrigo relating to the efficiency factors detailed

   throughout this Report, I conclude that the market for Perrigo stock was efficient during the

   Class Period.

   7.          As discussed in §VII, it is my opinion that damages, under §10(b) and §14(e) of the

   Exchange Act, for investors who purchased Perrigo stock during the Class Period, and/or who

   held Perrigo stock as of the expiration of Mylan’s tender offer on November 13, 2015, can be

   calculated using methodologies that are common to the Class and in a manner that is consistent

   with Plaintiff’s theory of liability.

   V.          Overview of Perrigo’s Business Operations

   8.          Incorporated in Ireland in June 2013, Perrigo is a global over-the-counter pharmaceutical

   manufacturing Company.2 In December 2013, the Company acquired Elan Corporation, plc

   (“Elan”) in a cash and stock transaction totaling $9.5 billion.3 The acquisition of Elan “led to the

   creation of [a] new corporate structure headquartered in Dublin, Ireland,” which the Company

   has utilized “to continue to grow in [its] core markets and to further expand outside the U.S.”4 In

   addition, the Elan acquisition provided the Company with a stream of royalties from sales of the




   2
       Perrigo, SEC Form 10-K for year-end 2016, filed May 22, 2017, p. 3.
   3
       Id., p. 6.
   4
       Ibid.



                                                   -3-
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   multiple sclerosis drug Tysabri, but Perrigo “divested [its] rights to those royalties effective

   beginning January 1, 2017.”5 The Company describes its business as follows:

               We are a leading global over-the-counter (“OTC”) consumer goods and
               pharmaceutical company, offering patients and customers high quality products at
               affordable prices. From our beginning in 1887 as a packager of home remedies,
               we have grown to become the world’s largest manufacturer of OTC healthcare
               products and supplier of infant formulas for the store brand market. We are also a
               leading provider of generic standard topical products such as creams, lotions, and
               gels, as well as inhalants and injections (“extended topical”) prescription products
               in the U.S. We also received royalties from sales of the multiple sclerosis drug
               Tysabri® but divested our rights to those royalties effective beginning January 1,
               2017. We provide “Quality Affordable Healthcare Products®” across a wide
               variety of product categories and geographies, primarily in North America,
               Europe, and Australia, as well as in other markets, including Israel, and China.6

   9.          Shortly before the start of the Class Period, in March 2015, Perrigo acquired Omega

   Pharma Invest N.V. (“Omega”) “for $3.0 billion in equity and cash and assumed debt of $1.6

   billion, for a total purchase price of $4.6 billion.”7 The Company maintained that the acquisition

   of Omega “expanded [its] OTC leadership position into continental Europe, accelerated [its]

   international expansion and geographic diversification through enhanced scale and a broader

   footprint, and diversified [the Company’s] net sales and cash flow streams.”8

   10.         For the majority of the Class Period, the Company was comprised of five reporting

   segments, which it described as follows:

         •     “Consumer Healthcare (‘CHC’) is focused primarily on the global sale of OTC
               store brand products including cough, cold, allergy and sinus, analgesic,




   5
       Id., p. 3.
   6
       Ibid.
   7
       Id., p. 5.
   8
       Ibid.



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                gastrointestinal, smoking cessation, infant formula and food, Vitamins, Minerals
                and Supplements (‘VMS’), animal health, and diagnostic products.”9

         •      “Branded Consumer Healthcare (‘BCH’) develops, manufactures, markets, and
                distributes many well-known European OTC brands in the natural health and
                VMS, cough, cold and allergy, smoking cessation, personal care and derma-
                therapeutics, lifestyle, and anti-parasite categories.”10

         •      “Prescription Pharmaceuticals (‘Rx’) develops, manufactures, and markets a
                portfolio of generic and specialty pharmaceutical prescription drugs primarily for
                the U.S. and United Kingdom (‘U.K.’) markets.”11

         •      “Specialty Sciences is comprised primarily of royalties received from assets
                focused on the management of multiple sclerosis (Tysabri ®).”12

         •      “‘Other’ segment comprised of our active pharmaceutical ingredients (‘API’)
                business, which develops, manufactures, and markets API used worldwide by
                both generic and branded pharmaceutical companies.”13

   11.          Towards the end of the Class Period, in the fourth quarter of 2016, Perrigo changed its

   reporting segments “to better align with [its] new organizational structure.”14 The Company

   described the changes to its reporting segments as follows:

         •      “Consumer Healthcare Americas (‘CHCA’), comprises our U.S., Mexico and
                Canada consumer healthcare business (OTC, contract, infant formula and animal
                health categories).”15

         •      “Consumer Healthcare International (‘CHCI’), comprises our legacy Branded
                Consumer Healthcare segment and now includes our consumer focused
                businesses in the U.K., Australia, and Israel, which were previously reported in

   9
     Perrigo, SEC Form 10-K for the transition period from June 28, 2015 to December 31, 2015,
   filed February 25, 2016, p. 3.
   10
     Ibid. The Company’s BCH segment was established in the fourth quarter of the fiscal year
   ended June 27, 2015 and was “comprised primarily of branded OTC sales attributable to
   Omega.” (Id., p. 7.)
   11
        Id., p. 3.
   12
        Id., p. 4.
   13
        Ibid.
   14
        Perrigo, SEC Form 10-K for year-end 2016, filed May 22, 2017, p. 5.
   15
        Ibid.



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                the legacy Consumer Healthcare segment. This segment includes our U.K. liquid
                licensed products business, which was previously reported in the Prescription
                Pharmaceuticals segment.”16

         •      “Prescription Pharmaceuticals (‘RX’), comprises our U.S. Prescription
                Pharmaceuticals business.”17

         •      “Specialty Sciences, continued to comprise the Tysabri ® Royalty Stream.”18

   12.          During the Class Period, Perrigo’s common stock was dual listed on both the New York

   Stock Exchange (“NYSE”) and the Tel Aviv Stock Exchange (“TASE”) under the ticker

   “PRGO.”19

   VI.          The Market for Perrigo Stock Was Efficient Throughout the Class Period

   13.          In this case, Plaintiff has asserted the “fraud on the market” presumption of reliance. The

   “fraud on the market” theory was first addressed by the U.S. Supreme Court in Basic, Inc. v.

   Levinson:

                In an open and developed securities market, the price of a company’s stock is
                determined by the available material information regarding the company and its
                business…. Misleading statements will therefore defraud purchasers of stock
                even if the purchasers do not directly rely on the misstatements…. The causal
                connection between the defendants’ fraud and the plaintiffs’ purchase of stock in
                such a case is no less significant than in a case of direct reliance on
                misrepresentations.20

   14.          Since Basic, academic economists have debated various forms of the efficient capital

   market hypothesis (“ECMH”).21 In 2014, the Supreme Court clarified that Basic did not


   16
        Ibid.
   17
        Ibid.
   18
        Ibid.
   19
        Id., p. 55.
   20
        Basic, Inc. v. Levinson, 485 U.S. 224, 241–242 (1988).
   21
     Generally speaking, academic economists consider there to be three forms of market
   efficiency: “weak” form, “semi-strong” form, and “strong” form market efficiency. In “fraud on
   the market” litigation, several courts reference the semi-strong form of efficiency, which implies



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   “endorse ‘any particular theory of how quickly and completely publicly available information is

   reflected in market price.’”22 To the contrary, the “fraud on the market” theory is based “on the

   fairly modest premise that ‘market professionals generally consider most publicly announced

   material statements about companies, thereby affecting stock market prices.’”23 Under this

   theory, investors’ reliance on any public material misrepresentations and/or omissions may be

   presumed for purposes of a Rule 10b-5 action since the effects of those misrepresentations and/or

   omissions will already be impounded in the market price.24

   15.       While the Supreme Court in Halliburton II stated that a market need only be “generally

   efficient” to invoke the “fraud on the market” presumption, it did not adopt any particular test of

   general market efficiency.25 Accordingly, I consider in this Report direct and indirect tests of

   efficiency that courts have commonly used in securities litigation for over 30 years. A direct

   empirical test of market efficiency is to examine price responsiveness to the release of new and

   material information about the company in question. If the security price responds quickly, the



   that market prices incorporate all publicly available information. In academic finance literature,
   this is referred to as “informational efficiency.” This hypothesis has been empirically validated
   in numerous studies. (See, e.g., Fama, Eugene F., 1970 “Efficient Capital Markets: A Review of
   Theory and Empirical Work,” Journal of Finance, Vol. 25, Issue 2, pp. 383–417.) The ECMH
   also has stood up against its critics; while anomalies have occurred in financial markets, they
   appear to be random and do not allow for trading strategies that would create abnormal profits.
   (See, e.g., Fama, Eugene F., 1998, “Market Efficiency, Long-term Returns, and Behavioral
   Finance,” Journal of Financial Economics, Vol. 49, pp. 283–306; Malkiel, Burton G., 2003,
   “The Efficient Market Hypothesis and Its Critics,” Journal of Economic Perspectives, Vol. 17,
   pp. 59–82.)
   22
     Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct. 2398, 2403 (2014) (“Halliburton II”),
   quoting Basic, 485 U.S. at 248, n. 28.
   23
        Id., quoting Basic, 485 U.S. at 246, n. 24.
   24
     Basic, 485 U.S. at 241–242, 244, quoting Peil v. Speiser, 806 F.2d 1154, 1160–61 (3d Cir.
   1986); See also, Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804 (2011).
   25
        Halliburton II, 134 S. Ct. at 2404.



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    response supports a conclusion that the market for the security is efficient. As an indirect test of

    efficiency, one can examine whether market conditions promote efficiency.

    16.      Consistent with Basic and Halliburton II, the oft-cited Cammer v. Bloom decision

    considered “efficient markets” to be “markets which are so active and followed that material

    information disclosed by a company is expected to be reflected in the stock price.”26 The court

    in Cammer identified five non-exhaustive factors that may be considered in determining whether

    the market for a security is efficient and, therefore, whether security prices respond quickly to

    new relevant information.27 These factors include indirect indicators of market efficiency as well

    as a direct empirical test. I understand that courts throughout the country assessing the

    applicability of the “fraud on the market” doctrine, including courts in the Third Circuit, have

    widely adopted these five factors in evaluating market efficiency.28 In concluding that the

    market for Perrigo stock was efficient during the Class Period, I considered each of the following

    five Cammer factors as applied to the stock:

             i.     whether the security trades at a large weekly volume;

             ii.    whether analysts follow and report on the security;

             iii.   whether the security has market makers and whether there is a potential for
                    arbitrage activity;



    26
         Cammer v. Bloom, 711 F. Supp. 1264, 1273 n.11 (D.N.J. 1989).
    27
       “The vast majority of courts have used the Cammer factors as ‘an analytical tool rather than as
    a checklist.’” Carpenters Pension Trust Fund of St. Louis v. Barclays PLC, 310 F.R.D. 69, 83
    (S.D.N.Y. 2015). “Different contexts require courts to place greater importance on some factors
    than on others. No other court has adopted a per se rule that any one factor is dispositive.” Id.,
    310 F.R.D. at 84.
    28
      See, e.g., City of Sterling Heights Gen. Emps.’ Ret. Sys. v. Prudential Fin., Inc., Civil Action
    No. 12-5275, 2015 U.S. Dist. LEXIS 115287, at *17 (D.N.J. Aug. 31, 2015) (discussing
    Cammer); In re DVI, Inc. Sec. Litig., 639 F.3d 623, 634 n.16 (3d Cir. 2011) (citing Hayes v.
    Gross, 982 F.2d 104, 107 n.1 (3d Cir. 1992)).



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              iv.    whether the company is eligible to file SEC Form S-3; and

              v.     whether empirical facts show a cause-and-effect relationship between the release
                     of new, material information about the company in question and a response in the
                     security’s price.29

    17.       As demonstrated below in §VI.i.A–§VI.i.E, an analysis of these factors supports my

    conclusion that the market for Perrigo stock was informationally efficient during the Class

    Period.

              i. Application of the Cammer Factors Demonstrates That the Market for Perrigo
                 Stock Was Efficient During the Class Period

                              A. Cammer Factor 1: Weekly Trading Volume

    18.       A market for a security is liquid if investors can trade a large number of shares on

    demand. Liquidity allows investors to buy and sell shares quickly when their assessments about

    the value of a company have changed, facilitating the prompt price reaction to new, material

    information that is characteristic of an efficient market. The large weekly trading volume of

    Perrigo stock during the Class Period indicates the presence of a liquid market.

    19.       According to the Cammer decision:

              … [T]he existence of an actively traded market, as evidenced by a large weekly
              volume of stock trades, suggests there is an efficient market … because it implies
              significant investor interest in the company. Such interest, in turn, implies a
              likelihood that many investors are executing trades on the basis of newly available
              or disseminated corporate information.30

    20.       Under Cammer, “turnover measured by average weekly trading of 2% or more of the

    outstanding shares would justify a strong presumption that the market for the security is an

    efficient one; 1% would justify a substantial presumption.”31 During the Class Period, the


    29
         Cammer, 711 F. Supp. at 1285–1287.
    30
         Cammer, 711 F. Supp. at 1286.
    31
         Cammer, 711 F. Supp. at 1293, quoting Bromberg.



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    number of Perrigo shares issued and outstanding ranged from approximately 140.8 million to

    146.4 million shares.32 The average weekly reported trading volume for the shares, excluding

    weeks not entirely contained within the Class Period, was as follows:33

                                              Perrigo Stock34
                           Average Weekly Trading
                                                                   $1,118,243,117
                              Volume in Dollars
                           Average Weekly Trading
                                                                     9,538,481
                              Volume in Shares
                        Average Weekly Share Trading
                                                                        6.6%
                      Volume as a % of Shares Outstanding

    Thus, the average weekly reported trading volume for Perrigo stock is over three times the 2%

    “strong presumption” of market efficiency set out by Cammer.

    21.      The high trading volume observed during the Class Period demonstrate an actively traded

    market for Perrigo stock, showing significant investor interest in the Company and implying a

    likelihood that many investors executed trades on the basis of newly available or disseminated

    corporate information. These circumstances support my conclusion that Perrigo stock traded in

    an efficient market during the Class Period.

                           B. Cammer Factor 2: Number of Securities Analysts

    22.      In demonstrating market efficiency, the Cammer decision states:

             … [I]t would be persuasive to allege a significant number of securities analysts
             followed and reported on a company’s stock during the class period. The
             existence of such analysts would imply, for example, the [auditor’s] reports were
             closely reviewed by investment professionals, who would in turn make buy/sell
             recommendations to client investors. [] In this way the market price of the stock

    32
         Bloomberg.
    33
         See Exhibit 4 for a summary of weekly trading volume and shares outstanding.
    34
      These trading volume figures reflect U.S. trading only. TASE trading averaged an additional
    505,053 shares per week during the Class Period. When including trading volume in both the
    U.S. and the TASE, the average weekly share trading volume as a percent of shares outstanding
    during the Class Period is 7.0%. (See Exhibit 4B.)



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                 would be bid up or down to reflect the financial information contained in the
                 [auditor’s] reports, as interpreted by the securities analysts.35

    23.          Securities analysts research and report to investors on the financial condition and

    prospects of a covered company. Analysts are conduits to the market for information collected

    from on-site visits, conference calls accompanying key company announcements, and other

    contacts with senior management. Analysts can channel new information to the market rapidly

    through their published reports, online reporting services, and alerts given to clients and other

    employees of the same investment firm. Analysts thus facilitate the dissemination of new

    information to investors and any corresponding share price reaction.

    24.          During the Class Period, several well-known investment firms followed and published

    research reports on Perrigo, including, but not limited to: Bank of America Merrill Lynch; Bank

    of Jerusalem; Barclays; Blueshift Research; BMO Capital Markets; BTIG; Canaccord Genuity;

    CFRA Equity Research; Citi; Credit Suisse; CRT Capital Group; Deutsche Bank; Gabelli &

    Company; Gordon Haskett; Guggenheim Securities LLC; I.B.I.; Jefferies; J.P. Morgan; Leerink

    Partners LLC; Morgan Stanley; Morningstar, Inc.; Northland Securities; RBC Capital Markets;

    UBS Equities; Wells Fargo Securities, LLC; and William Blair & Company.36 Over 600 analyst

    reports pertaining to the Company were issued during the Class Period.37 According to

    Bloomberg, Argus Research Corp; B Riley; Barrington Research; EVA Dimensions; Goldman


    35
         Cammer, 711 F. Supp. at 1286.
    36
      See Exhibit 5. Exhibit 5B lists research reports on Perrigo available from Thomson Reuters
    Eikon, Thomson Reuters Knowledge, and Bloomberg. These reports are only a subset of all
    reports pertaining to Perrigo published during the Class Period. Other databases, including
    restricted databases, may carry research reports pertaining to Perrigo that are not included in
    Exhibit 5B. Furthermore, it is my understanding that certain analyst firms do not make all their
    reports available through historical and/or public databases.
    37
         Ibid.



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    Sachs; Makor Capital; Raymond James; and Stifel also followed and issued reports on the

    Company during the Class Period.38

    25.      Investors also received information and analyses about Perrigo during the Class Period

    via media coverage, investor conferences, trade magazines, Company presentations and SEC

    filings. Specifically, articles concerning Perrigo appeared in major domestic and international

    news media including: Agence France Presse; Barron’s; Benzinga.com; BioSpace; Bloomberg;

    Business Wire; City AM (London); Dow Jones Newswires; Drug Industry Daily; Drug Store

    News; Emirates News Agency (WAM); ENP Newswire; EP Vantage; Euromonitor; Financial

    News (Europe); FinancialWire (U.S.); Forbes; GlobalData; Il Sole; Investment Weekly News;

    InvestorPlace.com; Investor’s Business Daily (U.S.); Irish Independent; Israel Business Arena;

    The Jerusalem Post; MarketLine; MarketWatch; Moody’s Investors Service; National Iraqi News

    Agency; National Post; PBR Pharmaceutical Business Review; PharmaBiz; PR Newswire; Press

    Association; Regulatory News Service (U.K.); Reuters; Seeking Alpha; The Associated Press;

    The Deal; The Irish Examiner; The Irish Times; The New York Times; The Telegraph (U.K.); The

    Times (U.K.); The Wall Street Journal; Theflyonthewall.com; US Fed News; US Food and Drug

    Administration News; USA Today; and Zacks.com.39

    26.      In addition, Perrigo’s filings with the SEC were publicly available online during the Class

    Period at no cost.40, 41 Perrigo’s SEC filings during the Class Period included its consolidated


    38
      See Exhibit 5C, which lists analysts’ price targets and rating actions on selected event dates
    during the Class Period, as reported by Bloomberg.
    39
         Source: Dow Jones’ Factiva (www.factiva.com); Bloomberg; internet search.
    40
         The SEC’s EDGAR website is located at http://www.sec.gov/edgar.shtml.
    41
      Israeli investors can access these filings directly from the SEC website or from Perrigo’s
    website. Additionally, the TASE website maintains a “disclosures” page for Perrigo which also
    provides access to recent filings. (See https://info.tase.co.il/Eng/General/Company/Pages



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    quarterly and year-end financial statements, Company press releases, and certain Company

    statements and presentations addressing Mylan’s proposal to acquire Perrigo.42 Perrigo’s

    financial statements, press releases and SEC filings are also made available on the Company’s

    website.43

    27.       The coverage of Perrigo by securities analysts and the amount of public reporting on

    Perrigo during the Class Period indicate that Company-specific news was widely disseminated to

    investors in both the U.S. market and the Israeli market, thereby facilitating the incorporation of

    such information into the market price of Perrigo stock in both markets. Accordingly, this factor

    supports my conclusion that Perrigo stock traded in an efficient market during the Class Period.

            C. Cammer Factor 3: Number of Market Makers and the Potential for Arbitrage

    28.       The third Cammer factor concerns the existence of market makers and arbitrageurs who

    can react quickly to news and facilitate trading. As discussed below, the fact that trading in

    Perrigo stock was facilitated by a designated market maker on the NYSE, that arbitrage

    opportunities could have been exploited, and that there was tight price parity between NYSE and

    TASE during the Class Period, are all evidence in support of market efficiency.

    Market Makers

    29.       The NYSE, where Perrigo was listed during the Class Period, uses a single designated

    market-maker (“DMM”), formerly known as a specialist, to maintain a competitive and efficient



    /companyMayaData.aspx?subDataType=0&companyID=001612&shareID=01130699.)
    According to the TASE website, for dual-listed companies “[f]inancial statements and all other
    disclosures submitted abroad are also submitted in Israel, in exactly the same format.” (See
    https://info.tase.co.il/Eng/listings_ipo/dual_listings/Pages/dual_listings_regulations.aspx?fireglas
    s_rsn=true.)
    42
         Exhibit 6 includes a list of Perrigo’s filings with the SEC during the Class Period.
    43
         See http://perrigo.investorroom.com/sec-filings.



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    market for the securities assigned to that firm. DMMs are independent companies in corporate

    or partnership structures that have obligations to “quote at the NBBO [National Best Bid and

    Offer] a specified percentage of the time, and facilitate price discovery throughout the day as

    well as at the open, close and in periods of significant imbalances and high volatility.”44, 45

    DMMs “manage a physical auction to combine with an automated auction that includes

    algorithmic quotes from other DMMs and market participants.”46 DMMs are also required to

    meet stringent NYSE depth and continuity standards.47 DMMs thus enable investors to trade

    promptly upon the arrival of new relevant information, allowing new information to be rapidly

    reflected in security prices.

    30.          As is the case with all NYSE-listed equities, Perrigo stock also traded on other national

    securities markets as well as Alternative Trading Systems (“ATS”) during the Class Period,

    including the NASDAQ. NASDAQ market makers are independent dealers competing for

    investor orders by displaying buy and sell interest in NASDAQ-listed securities. Market makers

    in a particular stock stand ready to provide stock price quotations and facilitate trading by

    purchasing that stock from and selling to investors. They also buy and sell shares and may

    increase or reduce their inventory when pricing discrepancies exist. Market makers display both

    buy and sell quotes in all securities in which they choose to make a market and are subject to

    disciplinary action if they fail to honor their quoted prices.48 I obtained NASDAQ market maker


    44
      “NBBO” is the national best bid and offer prices for a security available in all exchanges and
    quoted by market makers at any given time.
    45
         https://www.nyse.com/publicdocs/nyse/listing/fact_sheet_dmm.pdf.
    46
         https://www.nyse.com/markets/nyse/membership.
    47
         Ibid.
    48
         “About NASDAQ,” http://www.nasdaq.com/about/about.pdf, pp. 44–46.



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    activity in Perrigo stock from Bloomberg. During the Class Period, there were 160 active market

    makers that traded Perrigo stock (data reported monthly from April 2015 to April 2017,

    inclusive). In addition, many of the market makers that facilitated trading in Perrigo stock

    handled a sizeable volume of shares.49 The substantial number of market makers for Perrigo

    stock supports my conclusion that the market was efficient during the Class Period.

    31.          On the TASE, stock trading is facilitated by market makers, who “transmit[] buy and sell

    orders (quotes) during trading on TASE at a maximum spread and in minimum quantities

    determined by TASE.”50 According to the TASE, “market maker provides liquidity in the

    securities in which it operates, allowing investors to buy or sell the company’s securities at any

    time.”51 TASE market makers “operate under the existing Tel-Aviv Continuous Trading

    (TACT) system rules, with no priority whatsoever over other investors in terms of trading or

    information, as in most European markets.”52

    Arbitrage Activity

    32.          Related to Cammer Factor 3 is the existence of arbitrageurs, sophisticated investors who

    can act rapidly to take advantage of security pricing discrepancies. Arbitrageurs ensure that

    market prices reflect public information—the fundamental hallmark of market efficiency.53 As I


    49
         See Exhibit 7 for the share volume by market maker for Perrigo stock.
    50
         https://info.tase.co.il/eng/trading/trading_method/pages/trading_market_makers.aspx.
    51
         Ibid.
    52
         Ibid.
    53
         Arbitrage has been defined as:
                 … the process of earning riskless profits by taking advantage of differential
                 pricing for the same physical asset or security. As a widely applied investment
                 tactic, arbitrage typically entails the sale of a security at a relatively high price and
                 the simultaneous purchase of the same security (or its functional equivalent) at a
                 relatively low price.



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    demonstrate below, the level of short interest, the degree of institutional ownership and the

    tightness of bid/ask spreads suggest that arbitrage activity for the Perrigo’s stock was prevalent

    during the Class Period.

    33.      One way in which arbitrageurs can exploit mispricing in the market is by engaging in

    short-sale transactions. A short sale is a transaction in which an investor sells a stock that he or

    she does not own and then purchases that stock back in the future. If the price declines between

    the time a security is sold short and the time it is purchased, the short seller realizes a gain.

    Thus, short selling is an advantageous strategy if an arbitrageur expects a security’s price to

    decline in the future.54 Furthermore, short sales allow arbitrageurs that currently do not own a

    security to convey their opinions to the market, thereby helping the market to achieve a

    consensus as to that security’s fair value given all publicly available information.

    34.      Arbitrageurs were not constrained in their ability to short shares of Perrigo stock. During

    the Class Period, NYSE-listed stocks had an average short interest equal to 3.98% of total public

    float.55 In comparison, the average short interest for Perrigo stock during the Class Period was




             Arbitrage activity is a critical element of modern, efficient security markets.
             Because arbitrage profits are by definition riskless, all investors have an incentive
             to take advantage of them whenever they are discovered. Granted, some investors
             have greater resources and inclination to engage in arbitrage than others.
             However, it takes relatively few of these active investors to exploit arbitrage
             situations and, by their buying and selling actions, eliminate these profit
             opportunities. (See Sharpe, William F., et al., Investments, Prentice Hall, 6th ed.,
             1999, p. 284.)
    54
      Berk, Jonathan and Peter DeMarzo, Corporate Finance, Pearson Education, Inc., 1st ed., 2007,
    Ch. 11, p. 339.
    55
         See Exhibit 8A.



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    3.65% of its shares outstanding, and 3.81% of its public float.56, 57, 58 Furthermore, economist

    Gene D’Avolio has summarized the market for short-selling in the United States by examining

    data from April 2000 to September 2001.59 D’Avolio estimates that in the second quarter of

    2001, as much as one-quarter of the U.S. market capitalization was available as loan supply for

    short-selling and that 7% of that capacity was utilized. D’Avolio also finds that short interest

    was, on average, 2.3% of shares outstanding for companies listed in the United States.

    35.    Institutional ownership is another indicator of arbitrage activity in so far as institutional

    investors, such as pension funds, mutual funds and investment banks, are generally considered to

    be sophisticated investors that have ready access to minute-to-minute financial news and to


    56
      FINRA (the Financial Industry Regulatory Authority) was created in July 2007 from the
    consolidation of the NASD and various regulatory functions of the NYSE. It is a non-
    governmental organization that regulates member brokerage firms and exchange markets, and is
    overseen by the SEC, the ultimate regulator of the U.S. securities industry, including FINRA.
    Pursuant to FINRA Rule 4560, FINRA member firms are required to report total short positions
    in all customer and proprietary firm accounts in all NASDAQ, NYSE, NYSE MKT, NYSE Arca,
    BATS, and OTC equity securities to FINRA on a semi-monthly basis. Short position filings are
    made online via the Regulation Filing Applications (RFA) system at https://regfiling.finra.org.
    Short position reports filed by member firms include the relevant exchange/market code, issue
    symbol, security name, and number of common shares, preferred shares, warrants, units or ADRs
    short for the current reporting period as of the designated settlement date. (See http://www.finra
    .org/industry/short-interest/short-interest-reporting-instructions.)
    57
       See Exhibit 8B for a summary of short interest for Perrigo stock during the Class Period.
    Public float is equal to shares outstanding less insider holdings. A comparison of short interest
    to public float is relevant as public float represents the shares available to lend for short sales.
    58
      See Exhibit 8C for a summary of the public float for Perrigo stock during the Class Period. As
    can be seen in Exhibit 8C, Perrigo’s public float exceeded 95% of its shares outstanding
    throughout the Class Period. The fact that the majority of the shares were held by the public as
    opposed to Company insiders throughout the Class Period further supports a conclusion that
    Perrigo stock traded in an efficient market during that time. (Unger v. Amedisys Inc., 401 F.3d
    316, 323 (5th Cir. 2005); Bell v. Ascendant Solutions, Inc., 422 F.3d 307, 313 n.10 (5th Cir.
    2005); Krogman v. Sterritt, 202 F.R.D. 467, 478 (N.D. Tex. 2001).)
     D’Avolio, Gene, 2002, “The market for borrowing stock,” Journal of Financial Economics,
    59

    Vol. 66, pp. 271–306.



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    online bulletins from analysts. Relative to most individual investors, institutional investors have

    significantly greater resources with which to analyze financial information pertinent to the

    securities in which they invest. Institutional ownership implies that investment professionals

    actively review company-specific financial information and, in turn, make buy/sell

    recommendations to their firm and/or client investors. In this way, investors bid up or down the

    market price of a security to reflect all publicly available information, as interpreted by

    institutional investors. Moreover, because short sellers often borrow shares from institutions, a

    high degree of institutional ownership relative to the level of short interest indicates a lack of

    short-sale constraints, thereby facilitating market efficiency by enabling arbitrageurs to engage in

    short selling.60

    36.       According to data provided by Thomson Reuters Eikon, during the Class Period,

    institutional investors held an average of approximately 81% of Perrigo’s publicly available

    shares and over 600 institutional investors held Perrigo stock at the end of each quarter.61, 62

    Additionally, institutional holdings were, on average, more than 21 times the short interest in

    Perrigo stock during the Class Period, indicating that short selling was not constrained.63

    37.       Another indicator of the potential for arbitrage activity to correct market inefficiencies

    (i.e., arbitrage opportunities) is the size of bid/ask spreads. Bid/ask spreads are a measure of


    60
      Asquith, Paul, Parag A. Pathak and Jay R. Ritter, 2005, “Short interest, institutional ownership
    and stock returns,” Journal of Financial Economics, Vol. 78, pp. 243–76.
    61
         “Publicly available shares” is shares outstanding less insider holdings.
    62
      Institutions which file Form 13F with the SEC report shares held as of the end of each calendar
    quarter. See Exhibit 9 for a summary of institutional holdings for Perrigo stock during the Class
    Period.
    63
      Based on institutional holdings reported for Q2-2015 through Q1-2017, inclusive. The
    average number of shares held by institutions during the Class Period was approximately 112.7
    million shares; the average short interest was approximately 5.3 million shares.



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    transaction costs and low transaction costs indicate that arbitrage opportunities can be exploited

    readily. As shown in the following table, the average and median bid/ask spreads on Perrigo

    stock during the Class Period were comparable to those of a random sample of stocks listed on

    the NYSE.64

                                 Perrigo Stock                             NYSE Sample
                        Spread ($)          Spread (%)65           Spread ($)       Spread (%)
     Average:             $0.03                0.03%                 $0.03             0.09%
     Median:              $0.02                0.02%                 $0.02             0.07%

    38.       The fact that Perrigo’s bid/ask spreads were comparable to those of other stocks listed on

    the NYSE supports my conclusion that Perrigo stock traded in an efficient market during the

    Class Period.

    39.       In addition, as discussed further below, the high level of intraday price parity between

    U.S. and Israeli markets strongly demonstrates the involvement of informed investors and

    arbitrageurs in both markets seeking to profit from intraday price discrepancies (i.e., the

    fundamental facilitators of market efficiency).66

                          D. Cammer Factor 4: Eligibility to File SEC Form S-3

    40.       The Cammer court discussed the relationship between S-3 eligibility and efficiency,

    noting that “[t]he issue is not whether [the company] recently completed a public offering, but

    whether, if it did, it would enjoy the benefit of making abbreviated prospectus disclosure because




    64
       The bid/ask spread analysis reported in Exhibit 10A and 10B compares the bid/ask spreads of
    Perrigo stock on each day during the Class Period to those of 100 randomly selected NYSE-
    listed stocks.
    65
      On the TASE, the average and median spread for Perrigo stock during the Class Period was
    0.10% and 0.06%, respectively. (See Exhibit 10C and 10D.)
    66
         See §VI.ii.



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    the SEC viewed it to be in an efficient market where documents ‘on file’ could be deemed to be

    known by the investment community.”67

    41.       Form S-3 is a simplified registration form that may be used by U.S. companies that meet

    the following requirements:

              i.     it has been subject to the Securities Exchange Act of 1934 reporting requirements
                     for more than one year;

              ii.    it has filed all required documents in a timely manner during the prior twelve
                     months;

              iii.   it has not, since the last audited statements, failed to pay required dividends or
                     sinking fund installments on preferred stock, or defaulted on debts or material
                     leases; and

              iv.    it meets certain minimum stock requirements.68, 69

    Companies eligible for filing on Form S-3 are permitted to incorporate prior filings by reference

    into current filings, and need not repeat such information since it is already widely publicly

    available.

    42.       It is the SEC’s view that these Form S-3 eligible companies—those that disclose financial

    information to the SEC and issue press releases to the public—have already disseminated

    information to the marketplace, and, therefore, that the market operates efficiently for them. 70




    67
         Cammer, 711 F. Supp. at 1284 n.32.
    68
         http://www.sec.gov/about/forms/forms-3.pdf.
    69
      Prior to January 28, 2008, the SEC required a minimum of $75 million in stock be held by
    non-affiliates. Effective January 28, 2008, a company with a non-affiliate public float of less
    than $75 million is permitted to file Form S-3 with certain restrictions. (See Securities and
    Exchange Commission, 17 CFR Parts 230 and 239 [Release No. 33-8878; File No. S7-10-07],
    RIN 3235-AJ89, Revisions to the Eligibility Requirements for Primary, Securities Offerings on
    Forms S-3 and F-3.)
    70
         SEC Securities Act Release No. 6331 (August 18, 1981), pp. 5, 6.



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    Certain courts have also stated that the ability to file Form S-3 is an indicator of market

    efficiency:

             Corporations permitted to use the S-3 form are thus presumed to be actively
             traded and widely followed. See Harman, 122 F.R.D. at 525. Therefore, a
             company’s ability to file an S-3 Registration Statement points to market
             efficiency.71

    43.      Perrigo filed a Form S-3 prior to the Class Period, indicating it was eligible to file Form

    S-3 during the Class Period.72, 73 That Perrigo was eligible to file Form S-3 throughout the Class

    Period supports my conclusion that the market for its stock was efficient during that time.

             E. Cammer Factor 5: Empirical Facts Showing a Cause-and-Effect Relationship
                Between Unexpected Corporate Events or Financial Releases and the Price
                Reaction of Perrigo Stock

    44.      Cammer Factor 5 relates to how a security’s price reacts to new, material information.

    The Cammer court stated that:

             … one of the most convincing ways to demonstrate [market] efficiency would be
             to illustrate, over time, a cause and effect relationship between the company
             disclosures and resulting movements in stock price.74

    45.      A direct test of market efficiency is to conduct what is known as an “event study” to

    examine whether security prices respond to new, material information released to the market.

    Expert economists commonly use an event study in securities litigation to correlate the

    disclosure of new, material information to security price response. Event studies comprise

    numerous steps, including: (i) the a priori definition and selection of events to study; (ii)


    71
         Krogman, 202 F.R.D. at 476.
    72
         Form S-3ASR was filed on November 20, 2014. Source: Edgar Pro (pro.edgar-online/com).
    73
      Perrigo’s SEC filings in the U.S. would have also been submitted in Israel according to the
    same schedule. (https://info.tase.co.il/Eng/listings_ipo/dual_listings/Pages/dual_listings_
    regulations.aspx?fireglass_rsn=true)
    74
         Cammer, 711 F. Supp. at 1291.



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    identification of a study period; (iii) estimation of a regression model to remove non-company-

    specific effects from the security’s return; (iv) testing for statistical significance; and (v)

    interpretation of empirical results.75 Academic research acknowledges that some variation in

    approaches to event studies is permitted.76

    46.     I performed a standard event study for Perrigo stock trading in both the U.S. market and

    on the TASE to determine whether new, material corporate events or financial releases promptly

    caused a measurable stock price reaction after accounting for contemporaneous market and

    industry effects. As set forth in Exhibit 12, my event study demonstrates a cause-and-effect

    relationship between new, material, Company-specific disclosures and resulting movements in

    Perrigo’s stock price during the Class Period. The regression analysis used in the event study is

    described in Appendix A and Exhibit 11.77

    47.     To determine which events to include in my analysis, I relied on my knowledge of a large

    body of event study literature that has evaluated what types of information affect stock prices.

    Specifically, I examined dates on which Perrigo released information related to its quarterly or

    year-end financial performance. Such earnings-related announcements are an objective set of



    75
      See, e.g., Mitchell, Mark L. and Jeffry M. Netter, 1994, “The Role of Financial Economics in
    Securities Fraud Cases: Applications at the Securities and Exchange Commission,” The Business
    Lawyer, Vol. 49, pp. 557, 558.
    76
       However, “[w]hile there is no unique structure, the analysis can be viewed as having seven
    steps.” Those steps are event definition, selection criteria, normal and abnormal returns,
    estimation procedure, testing procedure, empirical results, and interpretation and conclusion. See
    Campbell, John Y., Andrew W. Lo, and A. Craig MacKinlay, The Econometrics of Financial
    Markets, Princeton University Press, 1997, pp. 150–152.
    77
      My estimated regression equations for the U.S. and Israeli markets appear in Exhibits 11A and
    11C, respectively. For the U.S. and Israeli markets, respectively, Exhibits 11B and 11D show
    Perrigo’s expected and residual returns estimated from the regression models on each day of the
    Class Period.



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    events to examine, which has been shown in the academic finance literature to impact stock

    prices.78 Exhibit 12 describes each of my selected event dates in detail and discusses how the

    observed Company-specific price reactions in Perrigo stock are consistent with those expected in

    an efficient stock market.79

    48.    Out of the 12 dates I examined, nine (i.e., 75.0%) are associated with a statistically

    significant Company-specific return at or above the 95% confidence level (three statistically

    significant positive returns, six statistically significant negative returns).80 At the 95% level of

    confidence, a statistically significant return is expected to occur 5% of the time. Thus, one

    should expect a random sample of 12 days to contain 0.6 days with a return that is statistically

    significant at the 95% confidence level. Given that my sample contains 15 times as many

    statistically significant dates as should be expected from a randomly selected 12-day sample (at

    or above the 95% confidence level), my analysis confirms that Perrigo’s stock price typically

    reacted more strongly on event dates than on non-event dates.

    49.    Furthermore, although directionality may not be required to show general market

    efficiency for purposes of a securities fraud class action,81 my review of the news and analysts’


     See, e.g., Ball, R., and P. Brown, 1968, “An Empirical Evaluation of Accounting Income
    78

    Numbers,” Journal of Accounting Research, pp. 159–78.
    79
      For each event date, Exhibit 12 contains the associated stock price movements, both observed
    and net of market and industry effects, as well as an indicator of statistical significance at the
    95% and 90% confidence level (“**” and “*,” respectively).
    80
      The three statistically significant positive impact dates are: April 22, 2015; November 10,
    2016; and April 26, 2017. The six statistically significant negative impact dates are: October 22,
    2015; February 18, 2016; April 25, 2016; May 12, 2016; August 10, 2016; and February 28,
    2017.
    81
      See, e.g., In re Petrobras Sec. Litig., 862 F.3d 250, 277 (2d Cir. 2017) (stating that district
    court finding that directionality was not required was “within the range of permissible
    decisions”); Wilson v. LSB Indus., 2018 U.S. Dist. LEXIS 138832, at *40 (S.D.N.Y. Aug. 13,
    2018) (lack of directionality analysis did not impair usefulness of market efficiency report).



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    reports demonstrates that the direction of the Company-specific return observed on each event

    date was consistent with that expected in an efficient market, thereby providing additional

    evidence of efficiency. Specifically, event dates on which material positive Company-specific

    news reached the market are associated with a statistically significant positive return, and event

    dates on which material negative Company-specific news reached the market are associated with

    a statistically significant negative return. On the event days that are associated with a

    statistically insignificant Company-specific return,82 the Company’s financial results were

    generally in line with expectations, were mixed and/or were greeted with mixed reactions by

    analysts, such that the insignificant stock price reaction is consistent with that expected in an

    efficient market. Thus, my event study finds that a strong cause-and-effect relationship existed

    between the information disclosed on the event dates during the Class Period and resulting stock

    price movements.

    50.      Based on the event study performed, I find that Perrigo’s stock price reflected the

    Company-specific information disclosed to the market, and promptly responded to the disclosure

    of material unexpected information, supporting my conclusion that the market for Perrigo stock

    was efficient during the Class Period.83



    82
         August 5, 2015; January 11, 2016; and May 17, 2016.
    83
       While my event study was limited to earnings-related announcements, Plaintiff alleges that
    “Defendants’ false and misleading statements about Perrigo came to light” on five of the events
    included in my analysis. (Complaint, ¶¶225-238; 240; 241; 244.) The Company-specific stock
    price reaction on each of the impact dates associated with these five events was negative and
    statistically significant at or above the 95% level of confidence. Thus, given that the circuit court
    decision on appeal in Halliburton II established that “[p]rice impact can be shown either by an
    increase in price following a fraudulent public statement or a decrease in price following a
    revelation of the fraud,” it is my opinion that price impact in this case may be demonstrated
    using the statistically significant Company-specific price declines that occurred on: February 18,
    2016; April 25, 2016; May 12, 2016; August 10, 2016; and February 28, 2017, when disclosures



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              ii. Comparison of U.S. and Israeli Markets for Perrigo Stock

    51.       During the Class Period, Perrigo’s common stock was dual listed on both the NYSE and

    the TASE under the ticker “PRGO.”84 As detailed below, strong evidence of price parity implies

    that the various trading centers for Perrigo stock in the U.S. and in Israel were equally efficient

    during the Class Period. Thus, a demonstration of informational efficiency for the U.S. market

    directly evidences the informational efficiency of the Israeli market for Perrigo stock.

    52.       The NYSE is a leading global cash equity exchange, listing common stocks, preferred

    stocks and warrants, as well as structured products, such as capital securities and mandatory

    convertible securities.85 The number of NYSE-listed companies at year-end 2016 was 2,307.86

    As of April 2015, the beginning of the Class Period, the total market capitalization of all

    companies listed on the NYSE was $27.8 trillion,87 and the median and mean market

    capitalization of companies listed on the NYSE was $2.8 billion and $11.7 billion, respectively.88

    By comparison, the market capitalization of Perrigo was as high as $29.0 billion during the Class

    Period.89 The NYSE is a “national securities exchange” registered with the SEC under §6 of the




    made by Perrigo and/or events caused by the materialization of previously concealed risks
    corrected the alleged misrepresentations described in the Complaint.
    84
         Perrigo Company plc, SEC Form 10-K for year-end 2016, filed May 22, 2017, p. 55.
    85
         Intercontinental Exchange, Inc., Form 10-K for 2016, filed February 7, 2017, p. 6.
    86
       World Federation of Exchanges, Monthly Report for December 2016 (available at
    https://www.world-exchanges.org/our-work/statistics).
    87
         https://www.nyse.com/market-cap.
    88
     Source: Bloomberg (includes companies whose primary listing of common stock is on the
    NYSE, excluding companies with no data available).
    89
         See Exhibit 13.



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    Securities Exchange Act of 1934,90 and “the [NYSE’s] current form of listing agreement

    generally seeks to achieve the following objectives:”91

                 •   Ensure timely disclosure of information that may affect security values or
                     influence investment decisions, and in which shareholders, the public and the
                     Exchange have a warrantable interest.

                 •   Ensure frequent, regular and timely publication of financial reports prepared
                     in accordance with generally accepted accounting principles.

                 •   Provide the Exchange with timely information to enable it to efficiently
                     perform its function of maintaining an orderly market for the company’s
                     securities, to enable it to maintain necessary records and to allow it the
                     opportunity to make comment as to certain matters before they become
                     established facts.

                 •   Preclude certain business practices not generally considered sound.92

    53.          A security’s listing on a national securities exchange such as the NYSE means that

    financial information about that company is readily available to investors, at a minimum, through

    the company’s SEC filings, and that investors have access to trading prices and volumes

    throughout the trading day.93 Rules of the United States National Market System (“NMS”) also


    90
         http://www.sec.gov/divisions/marketreg/mrexchanges.shtml.
    91
     http://wallstreet.cch.com/LCM/Sections/. (Select: Section 2 - Disclosure and Reporting
    Material Information > 201.00 Introduction.)
    92
         Ibid.
    93
         According to the Consolidated Tape Association’s website (https://www.ctaplan.com/index):
                 The Consolidated Tape Association (CTA) oversees the dissemination of real-
                 time trade and quote information in New York Stock Exchange LLC (Network A)
                 and Bats, NYSE Arca, NYSE American and other regional exchange (Network B)
                 listed securities. Since the late 1970s, all SEC-registered exchanges and market
                 centers that trade Network A or Network B securities send their trades and quotes
                 to a central consolidator where the Consolidated Tape System (CTS) and
                 Consolidated Quote System (CQS) data streams are produced and distributed
                 worldwide.
                 The current Participants include the Cboe BYX Exchange, Inc., Cboe BZX
                 Exchange, Inc., Cboe EDGA Exchange, Inc., Cboe EDGX Exchange, Inc., Cboe
                 Exchange, Inc., Chicago Stock Exchange, Inc., Financial Industry Regulatory



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    require that investor orders in NYSE-listed securities be filled at the best price that can be

    executed immediately, even if that price is available in a different market.94 Because listing on a

    national securities exchange brings together many thousands (or millions) of investors, trading

    prices reflect a consensus opinion as to a security’s value.

    54.      At least one authority has commented that:

             at a minimum, there should be a presumption—probably conditional for class
             determination—that certain markets are developed and efficient for virtually all
             the securities traded there: the New York and American Stock Exchanges, the
             Chicago Board Options Exchange and the NASDAQ National Market System.95

    Similarly, the court in Cammer stated:

             some may concur with [Defendant’s] suggestion … that companies listed on
             national stock exchanges or companies entitled to issue new securities using SEC
             Form S-3 would almost by definition involve stocks trading in an “open and
             developed” market.96

    Moreover, according to the U.S. Third Circuit Court of Appeals:

             [s]ecurities markets like the NYSE and the NASDAQ are “open and developed,”
             …and are therefore “well suited for application of the fraud on the market
             theory.”… Accordingly, the listing of a security on a major exchange such as the
             NYSE or the NASDAQ weighs in favor of a finding of market efficiency.97




             Authority, Inc., Investors' Exchange LLC, Nasdaq BX, Inc., Nasdaq ISE, LLC,
             Nasdaq PHLX, Inc., The Nasdaq Stock Market LLC, New York Stock Exchange
             LLC, NYSE American LLC, NYSE Arca, Inc., and NYSE National, Inc.,
             (collectively, the "Participants").
    94
      Bodie, Zvi, Alex Kane, and Alan J. Marcus, Investments, McGraw-Hill/Irwin, 7th ed., 2008,
    Ch. 3, pp. 73, 74.
    95
      Bromberg & Lowenfels, 4 Securities Fraud and Commodities Fraud, Section 8.6 (Aug. 1988)
    (quoted in Cammer, 711 F. Supp at 1292).
    96
         Cammer, 711 F. Supp. at 1276–77.
    97
      DVI, 639 F.3d at 634, quoting Oran v. Stafford, 226 F.3d 275, 282 (3d Cir. 2000); See also,
    Schleicher v. Wendt, 618 F.3d 679, 682 (7th Cir. 2010); Freeman v. Laventhol & Horwath, 915
    F.2d 193, 199 (6th Cir. 1990).



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    Indeed, the market for securities trading on the NYSE is widely recognized to be efficient,98 and

    the fact that Perrigo stock was listed and traded on a major exchange supports my conclusion that

    the market for its stock was efficient during the Class Period.

    55.       In March 2005, following the acquisition of Israeli pharmaceutical company Agis

    Industries, Perrigo’s stock was listed on the TASE.99 TASE is the public stock exchange of

    Israel, operating under the supervision of the Israel Securities Authority (“ISA”).100 Shortly after

    its listing, Perrigo was included in the TA-25 Index, which was comprised of the 25 companies

    with the highest market capitalization on the TASE.101 In February 2017, the TA-25 Index was

    broadened to include 35 companies and renamed the TA-35 Index.102 The TA-25 (TA-35) Index

    is considered “TASE’s flagship index.”103 Perrigo had the largest weighting in the TA-25 (TA-

    35) Index at the start and end of the Class Period.104 For years 2015, 2016, and 2017, Perrigo’s




    98
       Supra, notes 95–97. See also: In re DVI Inc. Sec. Litig., 249 F.R.D. 196, 208 (E.D. Pa. 2008)
    aff’d, 639 F.3d 623 (3d Cir. 2011) (“the fact that DVI common stock was traded on the NYSE
    strongly favors a finding of market efficiency”); and Brown v. China Integrated Energy Inc.,
    2015 WL 12720322, at *16 (C.D. Cal. Feb. 17, 2015) (noting “listing on a major national stock
    exchange” is “generally a strong indicator of market efficiency”).
    99
      Company Press Release, “Perrigo Company Completes Acquisition of Agis Industries,” March
    17, 2005.
    100
          https://info.tase.co.il/Eng/about_tase/corporate/Pages/tel_aviv_stock_exchange.aspx.
      Company Press Release, “Perrigo Company Completes Acquisition of Agis Industries,”
    101

    March 17, 2005.
    102
      https://prewww.tase.co.il/Eng/MarketData/Indices/MarketCap/Pages/IndexAbout.aspx?
    Action=6&addTab=4&IndexId=142&DisplayMode=Print
    103
          https://www.tase.co.il/en/market_data/index/142/about.
    104
      https://info.tase.co.il/Eng/MarketData/Indices/MarketCap/Pages/IndexComponents.aspx?
    Action=&addTab=&IndexId=142. (11.62509% weighting on April 21, 2015; 7.37910%
    weighting on April 30, 2017.)



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    daily turnover (in USD) was ranked 5th, 5th, and 6th out of all constituents of the TA-25 (TA-35)

    Index, respectively.105

    56.       According to its website, “TASE operates an advanced, automated trading system known

    as TACT (Tel-Aviv Continuous Trading), through which anyone can buy or sell securities in real

    time, easily and conveniently, in a continuous manner during trading hours.”106 A variety of

    securities are traded on the TASE, including stocks, bonds and exchange traded notes

    (“ETNs”).107 For years 2015 through 2017, the number of companies with stock listed on the

    TASE ranged from 451 to 461, and the average daily turnover in its equity market ranged from

    $330 million to $390 million.108

    57.       The degree of relative market efficiency between the U.S. and Israeli markets for Perrigo

    stock is easily observed by examining contemporaneous transaction prices converted to U.S.

    dollars. A high level of intraday price parity between U.S. and Israeli markets strongly

    demonstrates the involvement of informed investors and arbitrageurs seeking to profit from

    intraday price discrepancies (i.e., the fundamental facilitators of market efficiency). As shown in

    the following graph, during trading hours when the U.S. and Israeli markets were simultaneously




    105
       Tel Aviv Stock Exchange, Annual Review, 2015, p. 18; Tel Aviv Stock Exchange, Annual
    Review, 2016, p. 24; Tel Aviv Stock Exchange, Annual Review, 2017, p. 28. (Available at:
    https://info.tase.co.il/eng/Statistics/AnnualReviews/Pages/AnnualReviews.aspx)
    106
          https://info.tase.co.il/Eng/about_tase/corporate/Pages/tel_aviv_stock_exchange.aspx.
    107
          Ibid.
    108
       TASE 2017 Annual Review, p. 16. (https://info.tase.co.il/Eng/Lists/gen_res/0133_annual_
    review/2017_annual_review_eng.pdf.)



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    open,109 Perrigo’s stock price in Israel traded in lockstep with the U.S. market throughout the

    Class Period on a currency-adjusted basis.

                                Intraday Prices of Perrigo's Shares in the U.S. and Israel
                                                               (in U.S. Dollars)
    $210.00


    $190.00


    $170.00


    $150.00


    $130.00


    $110.00


     $90.00


     $70.00


     $50.00




                                                        PRGO U.S.                  PRGO TASE
     Source: 5-minute interval prices from Bloomberg.



    58.        The strong degree of relative market efficiency between Perrigo’s U.S.- and Israeli-traded

    shares is further demonstrated by the fact that: (i) the daily returns of the U.S.- and Israeli-traded

    shares exhibited a 99.9% correlation with each other, when calculated using contemporaneous

    market prices;110 and (ii) the absence of statistical evidence of cross autocorrelation between the



    109
       During the Class Period, the U.S. and Israeli markets were simultaneously open from 9:30
    a.m. to 10:30 a.m. ET. On days when it was daylight savings time in New York, but not in
    Israel, the two markets were simultaneously open from 9:30 a.m. to 11:30 a.m. ET.
    110
       Monday through Thursday 10:00 a.m. ET prices were used, which is when both the U.S. and
    Israeli markets were open during the Class Period.


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    U.S.- and Israeli-traded shares (i.e., daily returns for the U.S. market could not have been

    predicted using lagged daily returns from the TASE). As is evident from the intraday prices

    observed across the U.S. and Israeli trading centers, cross-market arbitrage was efficient enough

    to ensure price parity throughout each day, thereby implying that the markets for Perrigo stock in

    the U.S. and in Israel were equally efficient during the Class Period. Thus, my demonstration of

    informational efficiency for the U.S. market directly evidences the informational efficiency of

    the Israeli market for Perrigo stock, and vice versa.

    59.      My analyses of the Cammer Factors set forth above, as well as the high degree of relative

    market efficiency between the U.S. and Israeli markets, strongly demonstrate that the market for

    Perrigo stock was informationally efficient in both the U.S. and Israel during the Class Period.

    VII.     Damages Can Be Measured on a Class-Wide Basis and in a Manner Consistent with
             Plaintiff’s Theory of Liability

    60.      I have not, as of yet, been asked to provide an opinion on loss causation or to calculate

    Class-wide damages in this matter. I have been asked, however, to opine on whether damages

    for investors who purchased Perrigo stock during the Class Period can be calculated on a Class-

    wide basis and in a manner consistent with Plaintiff’s theory of liability. It is my understanding

    that Plaintiff asserts claims under:

             i.     §10(b) of the Securities Exchange Act of 1934 (“Exchange Act”) for all
                    purchases of Perrigo stock during the Class Period on the NYSE or any
                    other trading center within the United States (“Section 10(b)”);

             ii.    the parallel provisions of the Israel Securities Law, 1968, for all purchases
                    of Perrigo stock during the Class Period on the TASE; and

             iii.   §14(e) of the Exchange Act on behalf of all persons who held Perrigo
                    stock as of November 13, 2015, the expiration date of Mylan’s tender
                    offer for Perrigo (whether or not tendered) (“Section 14(e)”).111



    111
          Complaint, ¶273.


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    61.        In what follows, I set forth the general economic framework for quantifying per-share

    damages on a Class-wide basis under Section 10(b) (including parallel Israeli claims) and

    Section 14(e), which reflect methodologies I would propose to use if asked to calculate damages

    in this matter. Although damages, if any, for each individual Class member may vary, the

    methodologies for calculating damages described below would be commonly applicable to each

    Class member in this matter.

                      A. Per-Share Damages Under Section 10(b) and Parallel TASE Claims

    62.        An investor incurs damages when a security is acquired at a price that is inflated as a

    result of false or misleading statements or omissions, provided that a later corrective disclosure

    and/or the materialization of a concealed risk causes the price of that security to decline.112 Price

    inflation in a security can be created by material misrepresentations and/or omissions on or

    before the date of purchase, which remain uncorrected in whole or in part at the time of

    purchase. Damages may be mitigated if the security is sold before the price inflation is fully

    dissipated, given that the investor receives the benefit of any inflation remaining at the date of

    sale.113

    63.        Price inflation may be measured on a Class-wide basis by analyzing the change in a

    security’s price caused by a corrective disclosure and/or the materialization of a concealed

    risk.114 The decline in a security’s price in response to such events reflects the dissipation of




    112
       See, e.g., Gold, Kevin L., Eric Korman and Ahmer Nabi, “Federal Securities Acts and Areas
    of Expert Analysis,” Litigation Services Handbook, The Role of the Financial Expert, 6th ed.,
    Ed. Roman L. Weil, Daniel G. Lentz, and Elizabeth A. Evans, John Wiley & Sons, Inc., 2017,
    Ch. 27, pp. 12–17.
    113
       This general economic framework for calculating recoverable damages for a class of
    shareholders is often referred to as the “out-of-pocket measure of damages.” (See Ibid.)
    114
          Ibid.


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    price inflation created by earlier misrepresentations and/or omissions. An event study can be

    used to isolate Company-specific price movement caused by the revelation of true facts related to

    the alleged fraud from price movement caused by other factors. Other factors can include

    changes in market and industry conditions or the dissemination of material, non-fraud-related,

    Company-specific information. This event study analysis applies to all Class members,

    regardless of the extent to which the price movement is due to corrective disclosures and/or the

    materialization of a concealed risk. After isolating the price impact of the alleged misstatements

    and omissions, one can estimate the price inflation due to the alleged fraud for each day during

    the Class Period, and on a Class-wide basis for each member of the Class.115, 116


    115
        “Price impact can be shown either by an increase in price following a fraudulent public
    statement or a decrease in price following a revelation of the fraud.” Erica P. John Fund, Inc. v.
    Halliburton Co., 718 F.3d 423, 434 (5th Cir. 2013), vacated and remanded on other grounds,
    Halliburton II, 134 S. Ct. 2398 (U.S. 2014).
    116
          In re Pfizer, Inc. Sec. Litig., 819 F.3d 642, 649 (2d Cir. 2016) (internal citations omitted):
              Performing an event study can thus help an expert to determine at least two
              things. First, assuming that the defendant company fraudulently concealed
              information, the event study shows how much money the fraud caused
              shareholders to lose. Identifying residual returns on days when allegedly
              concealed information reached the market indicates that the supposedly withheld
              information caused the company’s stock price to change. If the release of
              allegedly withheld information causes a stock price decrease, shareholders who
              purchased the defendant company’s stock after the alleged fraud but before the
              revelation may have paid a higher price than they would have but for the
              defendant’s fraudulent conduct — known as an “artificial[ly] inflat[ed]” price.
              Second, the event study helps the expert “calculat[e] what the price of [the
              defendant company’s] security would have been had the alleged wrongful conduct
              not occurred,” by estimating the amount of artificial inflation in the company’s
              stock price over time. Just as the existence of a residual return on a day when the
              market discovers allegedly concealed information shows that the company’s stock
              price was artificially inflated, the size of the residual return on such a day
              provides evidence of the amount by which concealing that particular information
              inflated the defendant company’s stock. As a result, if concealed information
              reached the market through multiple corrective disclosures, the sum of the
              residual returns associated with those disclosures provides evidence about the



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    64.       Once the daily levels of price inflation have been calculated throughout the Class Period,

    a Class member’s actual trading activity in the security can be used to mechanically calculate

    damages on an individual basis. For each Class member, damages incurred on a security

    acquired during the Class Period and retained through the end of the Class Period are equal to the

    amount of inflation at purchase. For a security acquired during the Class Period and sold later in

    the Class Period, damages are the price inflation at purchase minus the price inflation at sale.

    Given my understanding of the Supreme Court’s ruling in Dura,117 a security purchased during

    the Class Period and sold before the first corrective disclosure and/or the materialization of a

    concealed risk is ineligible for damages. Similarly, a security that is both purchased and sold

    between two consecutive disclosures of corrective information is ineligible for damages.

    65.       Finally, per-share damages should also incorporate the so-called “90-day lookback”

    provision of the Private Securities Litigation Reform Act of 1995,118 which also can be applied

    on a Class-wide basis. This provision applies such that losses on securities purchased during the

    Class Period and held as of the close of the 90-day period subsequent to the Class Period (the

    “90-Day Lookback Period”) cannot exceed the difference between the purchase price paid for

    the security and the average price of the security during the 90-Day Lookback Period. Losses on

    securities purchased during the Class Period and sold during the 90-Day Lookback Period cannot

    exceed the difference between the purchase price paid for the security and the rolling average



              amount of artificial inflation in the company’s stock after the fraud but before
              those corrections. Thus, an expert using an event study can estimate the amount
              of artificial inflation in the defendant company’s stock price when shareholders
              purchased their shares, which is equivalent to estimating the difference between
              what those investors should have paid for the shares but‐for the alleged fraud, and
              what they actually paid.
    117
          Dura Pharms., Inc. v. Broudo, 544 U.S. 336 (2005) (“Dura”).
    118
          15 U.S.C. § 78u–4(e).


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    price of the security during the portion of the 90-Day Lookback Period elapsed as of the date of

    sale. Section 10(b) damages incurred by purchasers of Perrigo stock during the Class Period can

    be calculated on a Class-wide basis in this manner. If, as I have been asked to assume, the

    standards under Israeli law for TASE purchasers is identical to that under U.S. law for U.S.

    purchasers, the same methodology could be applied to ascertain Class-wide damages for TASE

    purchasers.

                     B. Per-Share Damages Under Section 14(e) (the Williams Act Claim)

    66.       On September 14, 2015, Mylan officially commenced an offer to acquire all outstanding

    ordinary shares of Perrigo.119 Under the terms of the offer, Perrigo shareholders would receive

    $75 in cash and 2.3 Mylan ordinary shares in exchange for one Perrigo ordinary share. The offer

    was scheduled to expire on November 13, 2015, 8:00 a.m. ET. The acceptance condition at that

    time required that greater than 50% of Perrigo’s shares be tendered.120 At the expiration of the

    offer, approximately 40% of Perrigo’s shares were validly tendered. As such, the acceptance

    condition to the offer was not satisfied and the offer lapsed in accordance with its terms.121

    Shares that had been tendered were not accepted for exchange and were returned to the relevant

    Perrigo shareholders.122




    119
          PR Newswire, “Mylan Commences Offer to Acquire Perrigo,” September 14, 2015, 8:30 AM.
    120
          Ibid.
      PR Newswire, “Mylan Announces Results of Offer to Acquire Perrigo and Lapse of Offer,”
    121

    November 13, 2015, 8:39 AM.
    122
          Ibid.



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    67.      Plaintiff asserts a claim under Section 14(e) in connection with Mylan’s tender offer on

    behalf of all persons who held Perrigo stock as of November 13, 2015 (whether tendered or

    not).123 Section 14(e) provides that:

             It shall be unlawful for any person to make any untrue statement of a material fact
             or omit to state any material fact necessary in order to make the statements made,
             in the light of the circumstances under which they are made, not misleading, or to
             engage in any fraudulent, deceptive, or manipulative acts or practices, in
             connection with any tender offer.124

    68.      It is my understanding that per-share damages under Section 14(e) may be measured as

    “the difference between the price for which shares were tendered (or not tendered) and the

    ‘genuine’ value of those shares”:

             The [Williams] Act was designed to prevent the injury suffered by a shareholder
             fraudulently induced to make an unwise response (tendering or not) to a tender
             offer. That injury typically will be easily measured as the difference between the
             price for which shares were tendered (or not tendered) and the ‘genuine’ value of
             those shares. Such an injury is directly caused by misstatements in the tender offer
             materials.125

    69.      With respect to “the price for which shares were tendered (or not tendered),” under the

    terms of the offer, Perrigo shareholders would have received $75 in cash and 2.3 Mylan ordinary

    shares in exchange for one Perrigo ordinary share.126 Immediately prior to the expiration of the

    tender offer (i.e., at the close of the U.S. financial markets on November 12, 2015), Mylan’s

    stock price was $43.20. Thus, an objective estimate of the price at which Perrigo shares would

    have been tendered is $174.36 (i.e., $75 + 2.3 * $43.20). With respect to the “genuine” value of


    123
          Complaint, ¶273.
    124
          15 USC § 78n(e).
    125
       Hundahl v. United Benefit Life Ins. Co., 465 F. Supp. 1349, 1369 (N.D. Tex. 1979). See also,
    Plaine v. McCabe, 797 F.2d 713, 720-22 (9th Cir. 1986) (a Williams Act plaintiff may receive
    more than the “fair price” of his shares if such damages are not wholly speculative).
    126
          PR Newswire, “Mylan Commences Offer to Acquire Perrigo,” September 14, 2015, 8:30 AM.



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    Perrigo shares, the price of Perrigo stock immediately following the expiration of the tender offer

    (i.e., at the opening of U.S. trading on November 13, 2015), was $140.54. This price reflects

    investors’ consensus as to the value of Perrigo’s “standalone prospects” once the tender offer

    was officially “off the table.”127 Accordingly, if Plaintiff establishes liability for the Williams

    Act claims, per-share damages under Section 14(e) can be reasonably determined on a Class-

    wide basis and in a manner consistent with Plaintiff’s theory of liability, as the difference

    between $174.36 and $140.54, or $33.82 per share.

    70.    I also note that if the trier of fact ultimately determines that a price other than Mylan’s

    closing stock price on November 12, 2015 should be used for purposes of estimating “the price

    for which shares were tendered (or not tendered),” or that a price other than Perrigo’s opening

    stock price on November 13, 2015 should be used for purposes of estimating the “genuine” value

    of Perrigo shares, the estimate of Section 14(e) damages can be readily modified on a Class-wide

    basis, and any alternative price(s) would be commonly applied in the calculation of per-share

    damages for all Class members with a Section 14(e) claim.

    VIII. Conclusion

    71.    In summary, the market for Perrigo stock was efficient throughout the Class Period. In

    addition, damages can be calculated using a method that is common to the Class and in a manner

    consistent with Plaintiff’s theory of liability, under both §10(b) of the Securities Exchange Act of

    1934 (“Exchange Act”) for investors who purchased Perrigo stock during the Class Period, and




    127
       Jefferies, “PRGO Successfully Fends Off the MYL Tender Offer; Now Back to Business As
    Usual,” November 13, 2015. See also, PMLive, “Mylan Misses Perrigo Takeover Deadline,”
    November 17, 2015 (stating that under Irish corporate law, following the failed bid, Mylan was
    not permitted to make another hostile bid for Perrigo for at least twelve months).


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    Appendix A: Description of Regression Analysis

    73.      For the purposes of examining market efficiency, I have conducted an event study to

    determine whether new, material, Company-specific information promptly caused a measurable

    stock price reaction after accounting for contemporaneous market and industry effects. In an

    effort to isolate Company-specific effects that influenced Perrigo’s stock price during the Class

    Period, I performed a regression analysis to measure the relationship between Perrigo stock

    returns and 1) changes in market-wide factors that would be expected to impact all stocks; and 2)

    changes in industry-wide factors that would be expected to impact stocks in the “Generic

    Pharmaceuticals” industry. By measuring how Perrigo stock returns move in relation to an

    overall market index and an industry index, I can also measure how it responds to Company-

    specific news.

    74.      For each event prior to the first alleged corrective event, which occurred on February 18,

    2016,128 the “Control Period” used to estimate the regression equation is the calendar year

    immediately preceding the impact date (i.e., the first trading day on which the information

    disclosed could have impacted the market price).129, 130 To be consistent with the academic


    128
          Complaint, ¶225.
    129
       Mitchell, Mark L. and Jeffry M. Netter, 1994, “The Role of Financial Economics in Securities
    Fraud Cases: Applications at the Securities and Exchange Commission,” The Business Lawyer,
    Vol. 49, pp. 545–90 at p. 568:
             The market model is estimated with regression analysis. The estimation period
             for this market model equation typically ranges from 100 to 300 trading days
             preceding the event under study.
    130
       MacKinlay, A. Craig, 1997, “Event Studies in Economics and Finance,” Journal of Economic
    Literature, Vol. 35, pp. 13–39 at p. 15:
             Given the selection of a normal performance model, the estimation window needs
             to be defined. The most common choice, when feasible, is using the period prior
             to the event window for the estimation window. For example, in an event study
             using daily data and the market model, the market model parameters could be



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    literature, each of my Control Periods excludes the events under study.131, 132 Further, in order to

    prevent the disclosure of the alleged fraud from contaminating my normal return measure, and in

    turn my estimate of abnormal return volatility, the Control Period used for each event subsequent

    to the first alleged corrective disclosure is the calendar year immediately preceding February 18,

    2016.133, 134

    75.       The market index used is the S&P 500, which “includes 500 leading companies and

    captures approximately 80% coverage of available market capitalization.”135 This broad-based

    market index is commonly used by economists as a representation of the overall market, which is



              estimated over the 120 days prior to the event. Generally the event period itself is
              not included in the estimation period to prevent the event from influencing the
              normal performance model parameter estimates.
    131
          See Exhibit 12 for a list of all the events under study.
    132
       See, e.g., MacKinlay, A. Craig, “Event Studies in Economics and Finance,” Journal of
    Economic Literature, Vol. 35, pp. 13–39 at p. 15; and Campbell, John Y., Andrew W. Lo, and A.
    Craig MacKinlay, The Econometrics of Financial Markets, Princeton University Press, 1997, p.
    152.
    133
       MacKinlay, A. Craig, 1997, “Event Studies in Economics and Finance,” Journal of Economic
    Literature, Vol. 35, pp. 13–39 at p. 15:
              Appraisal of the event’s impact requires a measure of the abnormal return. The
              abnormal return is the actual ex post return of the security over the event window
              minus the normal return of the firm over the event window. The normal return is
              defined as the expected return without conditioning on the event taking place.
    134
      Campbell, John Y., Andrew W. Lo, and A. Craig MacKinlay, The Econometrics of Financial
    Markets, Princeton University Press, 1997, p. 158:
              It is typical for the estimation window and the event window not to overlap. This
              design provides estimators for the parameters of the normal return model which
              are not influenced by the event-related returns. Including the event window in the
              estimation of the normal model parameters could lead to the event returns having
              a large influence on the normal return measure. In this situation both the normal
              returns and the abnormal returns would reflect the impact of the event. This
              would be problematic since the methodology is built around the assumption that
              the event impact is captured by the abnormal returns.
    135
          http://www.spindices.com/indices/equity/sp-500.



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    theoretically required by the Capital Asset Pricing Model (“CAPM”), for which famed financial

    economist, William Sharpe, won a Nobel Prize.136

    76.      In addition to market-wide factors, my regression analysis also measures the relationship

    between Perrigo stock returns and changes in industry-wide factors that would be expected to

    impact all stocks in Perrigo’s particular industry. In constructing the industry index, I

    considered: (i) companies identified as industry competitors in analyst reports published during

    the Class Period; (ii) companies identified by the Bloomberg Industry Classification System

    (BICS) as operating in the “Generic Pharmaceuticals” industry; and (iii) companies identified as

    peers in Perrigo’s SEC filings issued during the Class Period. In this analysis, the industry index

    is comprised of the constituent stocks of the S&P Pharmaceuticals Index,137, 138 to which Perrigo

    compared its stock price performance in its SEC filings during the Class Period.139

    77.      My estimated regression equations for the U.S. and Israeli markets appear in Exhibits

    11A and 11C, respectively. As indicated by the t-statistics corresponding to each index, Perrigo


    136
       The Sveriges Riksbank Prize in Economic Sciences in Memory of Alfred Nobel 1990, Press
    Release, http://www.nobelprize.org/nobel_prizes/economic-sciences/laureates/1990/press.html:
             An important result is that the expected return on an asset is determined by the
             beta coefficient on the asset, which also measures the covariance between the
             return on the asset and the return on the market portfolio. …The CAPM is
             considered the backbone of modern price theory for financial markets. It is also
             widely used in empirical analysis, so that the abundance of financial statistical
             data can be utilized systematically and efficiently. …Along with Markowitz’
             portfolio model, the CAPM has also become the framework in textbooks on
             financial economics throughout the world.
    137
          Bloomberg ticker symbol “S5PHAR Index.”
    138
       The industry index is comprised of the stocks listed in Exhibit 11E. Mylan is excluded from
    the industry index through November 13, 2015, when Mylan’s hostile bid to acquire Perrigo
    officially expired.
    139
       Perrigo, SEC Form 10-K for the fiscal year ended December 31, 2016, filed May 22, 2017, p.
    55, 56.



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    stock returns exhibited a statistically significant association with both market index returns and

    residual industry index returns during the Class Period.140 For the U.S. and Israeli markets,

    respectively, Exhibits 11B and 11D show Perrigo’s expected (i.e., “predicted”) and residual (i.e.,

    “Company-specific”) returns estimated from the regression models on each day of the Class

    Period. Expected returns are those changes in stock prices due to market and industry factors

    that change the values of all stocks in an economy (market effects) or in a particular industry

    (industry effects). Perrigo’s residual returns are a measure of the change in the stock price due to

    Company-specific events and are calculated as the difference between Perrigo’s actual return and

    its expected return.141




    140
       Residual industry index returns are the portions of daily returns on the industry index which
    are not explained by market effects, as determined from a regression of industry index returns on
    market index returns during the Control Period. The use of residual industry index returns rather
    than raw returns eliminates any statistical problems due to multicollinearity. (See Greene,
    William H., Econometric Analysis, Prentice Hall, 2012, 7th Ed., Ch. 4, p. 89.)
    141
       Exhibit 11B and 11D also provide the confidence level for each day of the Class Period,
    which measures the statistical significance of Perrigo’s residual returns. The confidence level
    associated with a given Company-specific return is measured as one minus the “p-value” of that
    return, where the p-value represents the conditional probability of observing a Company-specific
    return. Thus, consistent with the standard frequently employed by social scientists, statistical
    significance in context of securities litigation merely indicates that a given company-specific
    return is a relatively rare occurrence. (See Kaye, David H. and David A. Freedman, “Reference
    Guide on Statistics,” in Federal Judicial Center, Reference Manual on Scientific Evidence,
    National Academies Press, 2011, 3rd Ed., pp. 250–252: “Statistical significance is determined by
    comparing a p [i.e., the probability of getting data as extreme as, or more extreme than, the actual
    data—given that the null hypothesis is true] to a preset value, called the significance level.”
    Thus, statistical significance “is merely a label for a certain kind of p-value.”)


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   Exhibit 1




     Zachary R. Nye
     Email: zach@scginc.com


                                                         Education
     Ph.D. – University of California, Irvine                                                                          2009
     Finance                                                                                              Irvine, California
            •    Dissertation: Macro-Augmented Volatility Forecasting.
            •    Research Interests: Market efficiency of underlying and derivative securities, volatility
                 forecasting, risk management, financial econometrics, valuation and corporate finance.
            •    Teaching Experience: Corporate Finance, Investments, and Risk Management.

     M.Sc. – London Business School                                                                                 2004
     Finance                                                                                              London, England
            •    Earned distinction for Masters Thesis on the informational efficiency of credit-linked notes.

     A.B. – Princeton University                                                                                    2001
     Economics                                                                                      Princeton, New Jersey



                                                   Employment History
     Vice President                                                                              Summer 2015 – present
     Stanford Consulting Group, Inc.                                                            Redwood City, California

            The Stanford Consulting Group, Inc. provides economic research and expert testimony for business
            litigation, as well as regulatory and legislative proceedings.
            Responsibilities include:
                 •   quantifying economic damages (e.g., present value of expected future earnings, price
                     inflation, lost profits, unjust enrichment, reasonable royalties);
                 •   enterprise, project, equity, debt, derivative-security and intellectual-property valuation;
                 •   assessing the informational efficiency of financial securities;
                 •   analyzing fairness opinions related to corporate mergers and acquisitions;
                 •   econometric modeling and analysis;
                 •   marginal cost analysis;
                 •   preparing expert reports and declarations;
                 •   providing deposition and trial testimony; and
                 •   supporting counsel in preparation for cross examination of opposing experts.

     Senior Consultant                                                                     Summer 2009 – Summer 2015
     Stanford Consulting Group, Inc.                                                          Redwood City, California


                                                                                                                   Page | 1
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   Exhibit 1
     Associate                                                                              Summer 2004 – Summer 2005
     Stanford Consulting Group, Inc.                                                           Redwood City, California

     Mortgage Consultant                                                                         Fall 2002 – Summer 2003
     Woolwich PLC                                                                                             Oxford, UK

     Trading Desk Specialist                                                                     Fall 2001 – Summer 2002
     Merrill Lynch, Defined Asset Funds                                                            Plainsboro, New Jersey



                                                    Academic Research
     Nye, Zachary and Mark Washburn, 2013, “Macro-Augmented Volatility Forecasting,” Western Decision Sciences
     Institute Proceedings. Paper presented at the WDSI Annual Meeting, Long Beach, California, March 27, 2013.
     Winner of the 2013 Best Theoretical/Empirical Research Paper Awards.

     Nye, Zachary and Philippe Jorion, 2009, “Macro-Augmented Volatility Forecasting,” Working Paper, University of
     California at Irvine.

     Nye, Zachary and Timothy C. Johnson, 2005, “Market Efficiency's Hidden Teeth: An Unambiguous Test for
     Derivative Securities,” Working Paper, London Business School.



                                                         Testimony

    City of Pontiac General Employees’ Retirement System, et al. v. Dell Inc., et al., United States District Court,
    Western District of Texas, Austin Division, Case No. 1:15-cv-00374-LY
             Deposition                April 19, 2017
             Deposition                November 6, 2018

    Pirnik v. Fiat Chrysler Automobiles N.V., et al., United States District Court, Southern District of New York, Case
    No. 1:15-CV-07199-JMF
              Deposition               February 2, 2018
              Deposition               September 13, 2018

    In re Quorum Health Securities Litigation, United States District Court, Middle District of Tennessee, Case No.
    3:16-cv-02475
             Deposition                August 17, 2018

    Teresa Doskocz, et al. v. ALS Lien Services, et al., Superior Court of California, County of Contra Costa, Case No.
    C17-01486
            Deposition                 April 23, 2018

    Bradley Cooper, et al. v. Thoratec Corporation, et al., United States District Court, Northern District of California,
    Oakland Division, Case No. 4:14-cv-00360-CW
            Deposition                  March 6, 2018

    L-3 Communications Corporation, et al. v. Serco, Inc., United States District Court for the Eastern District of
    Virginia, Case No. 1:15-cv-701-GBL-JFA
             Deposition              October 22, 2015
             Deposition              October 18, 2017

    In re Juno Therapeutics, Inc., United States District Court of Western District of Washington at Seattle, Case No.
    C16-1069RSM
             Deposition                 October 4, 2017


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   Exhibit 1
    Brad Mauss, et al. v. NuVasive, Inc., et al., United States District Court, Southern District of California, Case No.:
    13-cv-02005-JM
            Deposition                  December 20, 2016
            Deposition                  August 28, 2017

    In re Akorn, Inc. Securities Litigation, United States District Court, Northern District of Illinois, Eastern Division,
    Case No. 15-CV-01944
             Deposition                   June 21, 2017

    In re Ocwen Financial Corporation Securities Litigation, United States District Court, Southern District of Florida,
    Case 14-81057-CIV-WPD
            Deposition                September 23, 2016
            Deposition                March 28, 2017

    Stephen Calfo, et al. v. John P. Messina, Sr., et al., United States District Court, Southern District of New York,
    Civil Action No. 15 Civ. 04010 (LGS)
             Deposition                 January 5, 2017

    In re EZCORP, Inc. Securities Litigation, United States District Court, Southern District of New York, Case No. 14-
    cv-6834 (ALC)
            Deposition                 October 14, 2016

    Arthur Menaldi, et al. v. Och-Ziff Capital Management Group LLC, et al., United States District Court, Southern
    District of New York, No. 14-CV-03251-JPO
              Deposition                October 3, 2016

    Keith Thomas, et al. v. MagnaChip Semiconductor Corp., et al., United States District Court, Northern District of
    California, Case No. 3:14-cv-01160-JST
             Deposition               September 16, 2016

    In re Rocket Fuel, Inc. Securities Litigation, United States District Court, Northern District of California, Oakland
    Division, Case No. 4:14-cv-03998-PJH
             Deposition                  September 14, 2016

    Barbara Strougo, Individually and on Behalf of All Others Similarly Situated v. Barclays PLC, et al., United States
    District Court, Southern District of New York, Case No. 14-cv-5797 (SAS)
              Deposition                 August 11, 2015
              Evidentiary Hearing        November 5, 2015
              Deposition                 June 16, 2016

    In re Merck & Co., Inc. Securities, Derivative & “ERISA” Litigation, United States District Court, District of New
    Jersey, Case Numbers: 05-cv-5060; 07-cv-4021; 07-cv-4022; 07-cv-4023; 07-cv-4024; 07-cv-4546; 11-cv-6259; and
    15-cv-518
             Deposition                 December 6, 2013
             Deposition                 October 1, 2015

    Richard Thorpe and Darrel Weisheit, Individually and on Behalf of All Others Similarly Situated v. Walter
    Investment Management Corp., et al., United States District Court, Southern District of Florida,
    Case No. 1:14-cv-20880-UU
            Deposition               September 16, 2015

    City of Austin Police Retirement System, Individually and on Behalf of All Others Similarly Situated v. Kinross
    Gold Corporation, et al., United States District Court, Southern District of New York,
    Civil Action No. 1:12-cv-01203-VEC-KNF
             Deposition                 November 19, 2014



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   Exhibit 1
    In re El Paso Partners, L.P. Derivative Litigation, Court of Chancery of the State of Delaware, C.A. No. 7141-CS
              Deposition                 September 24, 2013
              Trial                      November 12 and 13, 2014

    L-3 Communications Corporation, et al. v. Jaxon Engineering & Maintenance, Inc., et al., United States District
    Court for the District of Colorado, Civil Action No. 10-cv-02868-MSK-KMT
             Deposition                  August 7, 2014

    Axa Corporate Solutions Assurance, et al. v. Honeywell International, Inc., et al., Superior Court of the State of
    Arizona in and for the County of Maricopa, No. CV2011-019334
            Deposition                February 24, 2014

    In re Heckmann Corporation Securities Litigation, United States District Court for the District of Delaware,
    Case No. 1:10-cv-00378-LPS-MPT
             Deposition              November 9, 2012




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Exhibit 2

Perrigo Company PLC
Document List

From Counsel

                                  Material                                         Document Date
Amended Complaint for Violatioon of the Federal Securities Laws                      6/21/2017

Obtained by Stanford Consulting Group, Inc.

                                     Material                                      Document Date Source
Academic journal articles, reference materials (e.g., books, web sites, and news
articles), and court filings                                                          Various      See footnotes to Nye Report
                                                                                                   Thomson Reuters Eikon; Thomson Reuters Knowledge;
Analyst Reports                                                                    4/2015-5/2017   Bloomberg
Analyst ratings and price target data                                              4/2015-5/2017   Bloomberg
SEC filings for Perrigo                                                              2015-2017     Edgar Pro
News articles and conference call transcripts for Perrigo                          4/2015-5/2017   Factiva; Bloomberg; Internet
Daily closing bid & ask prices for Perrigo stock and for sample companies on the
NYSE and TASE markets                                                              4/2015-5/2017   Bloomberg
Total returns & market capitalization for comparables and/or competitors of
Perrigo                                                                            4/2014-5/2017   Bloomberg
Price, volume, dividend, shares outstanding data for Perrigo                       4/2014-5/2017   Bloomberg
Quarterly institutional and insider holdings data for Perrigo stock                Q1-15 - Q2-17   Thomson Reuters Eikon
Daily index levels for S&P 500                                                     4/2014-5/2017   Bloomberg
Short interest data for Perrigo                                                    4/2014-5/2017   Bloomberg
U.S. market short interest as a percentage of float data                             2015-2017     Bloomberg
Market capitalization data for NYSE, NASDAQ and TASE listed companies                2015-2017     Bloomberg
Nasdaq market maker activity data for Perrigo                                      4/2015-5/2017   Bloomberg




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Exhibit 3A

           Volume                             Perrigo Company PLC
           Closing Price
                                                   Closing Price and Volume
                                                      Source: Bloomberg
 $250.00                                                                                                   35,000,000




                                                                                                           30,000,000

 $200.00


                                                                                                           25,000,000



 $150.00
                                                                                                           20,000,000




                                                                                                           15,000,000
 $100.00



                                                                                                           10,000,000


  $50.00

                                                                                                           5,000,000




   $0.00                                                                                                   0




                                                                                                               Page 1 of 1
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     Exhibit 3B

     Perrigo Company PLC
     Closing Price and Volume
     Source: Bloomberg

            Date         Volume       Closing Price   Price Change   Return
         4/21/2015        5,959,089     $192.82           -$5.26     -2.66%
         4/22/2015        4,779,926     $201.50           $8.68       4.50%
         4/23/2015        1,857,866     $201.63           $0.13       0.06%
         4/24/2015        8,219,088     $192.89           -$8.74     -4.33%
         4/27/2015        3,856,600     $188.28           -$4.61     -2.39%
         4/28/2015        3,693,185     $186.39           -$1.89     -1.00%
         4/29/2015        6,209,409     $184.74           -$1.65     -0.89%
         4/30/2015        2,972,445     $183.28           -$1.46     -0.79%
         5/1/2015         2,136,588     $186.26           $2.98       1.63%
         5/4/2015         1,456,477     $187.94           $1.68       0.90%
         5/5/2015         1,367,686     $188.13           $0.19       0.10%
         5/6/2015         1,336,050     $189.87           $1.74       0.92%
         5/7/2015         2,536,671     $191.00           $1.13       0.60%
         5/8/2015         1,310,882     $192.60           $1.60       0.84%
         5/11/2015          899,645     $193.58           $0.98       0.51%
         5/12/2015        1,058,265     $194.26           $0.68       0.35%
         5/13/2015          584,550     $193.79           -$0.47     -0.24%
         5/14/2015          683,870     $194.15           $0.36       0.19%
         5/15/2015          850,587     $194.50           $0.35       0.18%
         5/18/2015        2,045,552     $198.37           $3.87       1.99%
         5/19/2015          597,397     $197.68           -$0.69     -0.35%
         5/20/2015          541,334     $197.54           -$0.14     -0.07%
         5/21/2015        1,017,952     $198.26           $0.72       0.36%
         5/22/2015          771,509     $198.47           $0.21       0.11%
         5/26/2015          946,372     $195.75           -$2.72     -1.37%
         5/27/2015        1,011,348     $194.50           -$1.25     -0.64%
         5/28/2015          856,705     $193.96           -$0.54     -0.28%
         5/29/2015        1,613,154     $190.30           -$3.66     -1.89%
         6/1/2015         1,212,775     $192.99           $2.69       1.41%
         6/2/2015         1,046,958     $194.31           $1.32       0.68%
         6/3/2015           937,442     $195.88           $1.57       0.81%
         6/4/2015         1,088,388     $192.88           -$3.00     -1.53%
         6/5/2015           969,000     $191.26           -$1.62     -0.84%
         6/8/2015         1,104,556     $188.93           -$2.33     -1.22%
         6/9/2015         1,197,158     $188.17           -$0.76     -0.40%
         6/10/2015          990,831     $188.00           -$0.17     -0.09%
         6/11/2015        1,026,463     $186.91           -$1.09     -0.58%
         6/12/2015        1,236,459     $184.57           -$2.34     -1.25%
         6/15/2015        1,121,432     $183.30           -$1.27     -0.69%
         6/16/2015        2,242,911     $191.25           $7.95       4.34%
         6/17/2015          860,221     $188.33           -$2.92     -1.53%
         6/18/2015          756,544     $188.28           -$0.05     -0.03%
         6/19/2015        3,409,414     $185.00           -$3.28     -1.74%
         6/22/2015          739,213     $184.87           -$0.13     -0.07%
         6/23/2015        1,138,405     $189.39           $4.52       2.44%
         6/24/2015          947,189     $189.16           -$0.23     -0.12%
         6/25/2015          693,621     $189.21           $0.05       0.03%
         6/26/2015          757,066     $190.55           $1.34       0.71%
         6/29/2015        1,026,112     $184.14           -$6.41     -3.36%
         6/30/2015          927,635     $184.83           $0.69       0.37%
         7/1/2015         1,031,276     $185.06           $0.23       0.12%
         7/2/2015           830,876     $183.68           -$1.38     -0.75%
         7/6/2015         2,002,180     $185.66           $1.98       1.08%



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     Exhibit 3B

     Perrigo Company PLC
     Closing Price and Volume
     Source: Bloomberg

            Date         Volume       Closing Price   Price Change   Return
         7/7/2015         1,549,997     $182.94           -$2.72     -1.47%
         7/8/2015           879,563     $180.32           -$2.62     -1.43%
         7/9/2015           805,640     $180.01           -$0.31     -0.17%
         7/10/2015          999,211     $180.86           $0.85       0.47%
         7/13/2015          923,645     $184.02           $3.16       1.75%
         7/14/2015        1,026,746     $186.19           $2.17       1.18%
         7/15/2015          914,387     $186.68           $0.49       0.26%
         7/16/2015          966,750     $186.81           $0.13       0.07%
         7/17/2015          920,093     $185.86           -$0.95     -0.51%
         7/20/2015          452,697     $187.64           $1.78       0.96%
         7/21/2015          450,387     $187.07           -$0.57     -0.30%
         7/22/2015          796,609     $189.05           $1.98       1.06%
         7/23/2015          870,514     $189.71           $0.66       0.35%
         7/24/2015          872,137     $186.50           -$3.21     -1.69%
         7/27/2015        5,944,967     $193.60           $7.10       3.81%
         7/28/2015        2,574,212     $192.07           -$1.53     -0.79%
         7/29/2015        1,464,737     $192.83           $0.76       0.40%
         7/30/2015          638,535     $191.43           -$1.40     -0.73%
         7/31/2015          586,358     $192.20           $0.77       0.40%
         8/3/2015           667,779     $192.50           $0.30       0.16%
         8/4/2015         1,181,385     $190.64           -$1.86     -0.97%
         8/5/2015         1,147,113     $189.65           -$0.99     -0.52%
         8/6/2015         2,268,323     $188.24           -$1.41     -0.74%
         8/7/2015         1,024,797     $190.21           $1.97       1.05%
         8/10/2015          768,496     $193.99           $3.78       1.99%
         8/11/2015        1,265,550     $192.80           -$1.19     -0.61%
         8/12/2015        1,556,754     $186.06           -$6.74     -3.50%
         8/13/2015        1,854,119     $192.50           $6.44       3.46%
         8/14/2015        2,929,652     $196.00           $3.50       1.82%
         8/17/2015        1,641,914     $197.06           $1.06       0.54%
         8/18/2015          795,568     $195.54           -$1.52     -0.77%
         8/19/2015          965,376     $195.44           -$0.10     -0.05%
         8/20/2015          800,825     $192.66           -$2.78     -1.42%
         8/21/2015        2,816,904     $186.89           -$5.77     -2.99%
         8/24/2015        2,301,727     $178.50           -$8.39     -4.49%
         8/25/2015        1,820,775     $178.00           -$0.50     -0.28%
         8/26/2015        1,098,227     $183.76           $5.76       3.24%
         8/27/2015        1,131,160     $188.19           $4.43       2.41%
         8/28/2015        1,070,266     $185.42           -$2.77     -1.47%
         8/31/2015          634,781     $182.97           -$2.45     -1.32%
         9/1/2015           787,599     $179.46           -$3.51     -1.92%
         9/2/2015           760,222     $181.59           $2.13       1.19%
         9/3/2015           610,477     $177.95           -$3.64     -2.00%
         9/4/2015           576,559     $178.80           $0.85       0.48%
         9/8/2015           689,680     $180.65           $1.85       1.03%
         9/9/2015           710,612     $177.07           -$3.58     -1.98%
         9/10/2015          948,489     $178.17           $1.10       0.62%
         9/11/2015          655,916     $179.67           $1.50       0.84%
         9/14/2015          568,058     $181.26           $1.59       0.88%
         9/15/2015          725,471     $183.46           $2.20       1.21%
         9/16/2015          947,082     $182.39           -$1.07     -0.58%
         9/17/2015        1,180,044     $181.08           -$1.31     -0.72%
         9/18/2015        1,365,639     $178.57           -$2.51     -1.39%



                                                                              Page 2 of 11
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     Exhibit 3B

     Perrigo Company PLC
     Closing Price and Volume
     Source: Bloomberg

             Date        Volume       Closing Price   Price Change   Return
          9/21/2015       1,036,994     $174.83           -$3.74     -2.09%
          9/22/2015         832,341     $171.97           -$2.86     -1.64%
          9/23/2015         520,372     $170.87           -$1.10     -0.64%
          9/24/2015       1,036,811     $169.26           -$1.61     -0.94%
          9/25/2015       1,452,175     $160.90           -$8.36     -4.94%
          9/28/2015       2,745,230     $152.57           -$8.33     -5.18%
          9/29/2015       2,341,638     $154.90           $2.33       1.53%
          9/30/2015       1,514,163     $157.27           $2.37       1.53%
          10/1/2015       1,530,681     $156.37           -$0.90     -0.57%
          10/2/2015       1,513,706     $160.73           $4.36       2.79%
          10/5/2015       1,248,646     $161.83           $1.10       0.68%
          10/6/2015         799,335     $159.71           -$2.12     -1.31%
          10/7/2015       1,838,168     $156.12           -$3.59     -2.25%
          10/8/2015         579,290     $158.34           $2.22       1.42%
          10/9/2015       1,004,039     $160.60           $2.26       1.43%
         10/12/2015         367,714     $161.53           $0.93       0.58%
         10/13/2015         817,350     $158.18           -$3.35     -2.07%
         10/14/2015       1,316,513     $160.91           $2.73       1.73%
         10/15/2015         801,767     $162.62           $1.71       1.06%
         10/16/2015       1,478,745     $166.15           $3.53       2.17%
         10/19/2015       1,279,396     $165.66           -$0.49     -0.29%
         10/20/2015       1,161,851     $162.61           -$3.05     -1.84%
         10/21/2015       2,684,830     $155.24           -$7.37     -4.53%
         10/22/2015       4,178,165     $147.68           -$7.56     -4.87%
         10/23/2015       1,997,875     $150.57           $2.89       1.96%
         10/26/2015       1,764,508     $154.27           $3.70       2.46%
         10/27/2015       1,263,596     $156.25           $1.98       1.28%
         10/28/2015       2,436,930     $160.44           $4.19       2.68%
         10/29/2015       2,291,294     $165.81           $5.37       3.35%
         10/30/2015       2,122,097     $157.74           -$8.07     -4.87%
          11/2/2015       1,398,974     $159.35           $1.61       1.02%
          11/3/2015       1,683,426     $159.74           $0.39       0.24%
          11/4/2015       1,960,704     $162.29           $2.55       1.60%
          11/5/2015       1,407,622     $160.50           -$1.79     -1.10%
          11/6/2015       1,417,357     $162.25           $1.75       1.09%
          11/9/2015       2,266,188     $159.72           -$2.53     -1.56%
         11/10/2015       2,191,128     $163.03           $3.31       2.07%
         11/11/2015       2,172,584     $161.06           -$1.97     -1.21%
         11/12/2015       3,514,488     $156.55           -$4.51     -2.80%
         11/13/2015      27,518,243     $146.90           -$9.65     -6.16%
         11/16/2015       6,785,879     $149.00           $2.10       1.43%
         11/17/2015       5,267,347     $153.50           $4.50       3.02%
         11/18/2015       3,457,572     $155.64           $2.14       1.39%
         11/19/2015       2,273,730     $154.63           -$1.01     -0.65%
         11/20/2015       2,664,783     $154.92           $0.29       0.19%
         11/23/2015       2,411,524     $148.40           -$6.52     -4.21%
         11/24/2015       2,404,511     $150.00           $1.60       1.08%
         11/25/2015         940,096     $150.63           $0.63       0.42%
         11/27/2015         354,988     $150.49           -$0.14     -0.09%
         11/30/2015       1,632,907     $149.39           -$1.10     -0.73%
          12/1/2015       1,180,740     $149.21           -$0.18     -0.12%
          12/2/2015       1,074,127     $147.86           -$1.35     -0.90%
          12/3/2015       1,486,948     $145.59           -$2.27     -1.54%



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     Exhibit 3B

     Perrigo Company PLC
     Closing Price and Volume
     Source: Bloomberg

             Date        Volume       Closing Price   Price Change    Return
          12/4/2015       1,488,247     $147.69           $2.10        1.44%
          12/7/2015       1,182,943     $147.34           -$0.35      -0.24%
          12/8/2015       1,413,131     $148.39           $1.05        0.71%
          12/9/2015       1,911,490     $148.16           -$0.23      -0.15%
         12/10/2015       1,270,522     $148.89           $0.73        0.49%
         12/11/2015         867,620     $147.19           -$1.70      -1.14%
         12/14/2015       1,635,722     $148.99           $1.80        1.22%
         12/15/2015       1,656,138     $149.31           $0.32        0.21%
         12/16/2015       1,658,662     $149.45           $0.14        0.09%
         12/17/2015       1,492,065     $146.26           -$3.19      -2.13%
         12/18/2015       1,706,479     $144.33           -$1.93      -1.32%
         12/21/2015         883,278     $144.28           -$0.05      -0.03%
         12/22/2015         994,656     $145.27           $0.99        0.69%
         12/23/2015       1,178,812     $147.70           $2.43        1.67%
         12/24/2015         280,552     $147.54           -$0.16      -0.11%
         12/28/2015         650,142     $145.84           -$1.70      -1.15%
         12/29/2015         711,655     $146.59           $0.75        0.51%
         12/30/2015         569,934     $145.24           -$1.35      -0.92%
         12/31/2015         602,941     $144.70           -$0.54      -0.37%
          1/4/2016        1,679,433     $142.50           -$2.20      -1.52%
          1/5/2016        1,170,251     $142.68           $0.18        0.13%
          1/6/2016        2,507,009     $144.28           $1.60        1.12%
          1/7/2016        1,679,559     $144.31           $0.03        0.02%
          1/8/2016        1,487,597     $140.69           -$3.62      -2.51%
          1/11/2016       2,278,166     $143.61           $2.92        2.08%
          1/12/2016       1,615,506     $146.57           $2.96        2.06%
          1/13/2016       1,593,395     $143.08           -$3.49      -2.38%
          1/14/2016       1,812,211     $145.41           $2.33        1.63%
          1/15/2016       1,861,007     $145.01           -$0.40      -0.28%
          1/19/2016       2,492,170     $146.50           $1.49        1.03%
          1/20/2016       3,056,914     $145.84           -$0.66      -0.45%
          1/21/2016       2,850,168     $146.79           $0.95        0.65%
          1/22/2016       3,667,151     $148.58           $1.79        1.22%
          1/25/2016       1,807,869     $149.06           $0.48        0.32%
          1/26/2016       1,756,639     $148.94           -$0.12      -0.08%
          1/27/2016       1,980,084     $144.52           -$4.42      -2.97%
          1/28/2016       2,246,482     $143.23           -$1.29      -0.89%
          1/29/2016       1,612,620     $144.58           $1.35        0.94%
          2/1/2016        1,437,390     $143.70           -$0.88      -0.61%
          2/2/2016        1,556,399     $144.01           $0.31        0.22%
          2/3/2016        1,009,116     $145.68           $1.67        1.16%
          2/4/2016        1,069,591     $144.11           -$1.57      -1.08%
          2/5/2016        1,480,281     $143.88           -$0.23      -0.16%
          2/8/2016        1,778,204     $137.82           -$6.06      -4.21%
          2/9/2016        1,213,158     $138.77           $0.95        0.69%
          2/10/2016       1,133,115     $137.46           -$1.31      -0.94%
          2/11/2016       1,824,342     $135.07           -$2.39      -1.74%
          2/12/2016       1,577,469     $138.60           $3.53        2.61%
          2/16/2016       1,806,926     $141.21           $2.61        1.88%
          2/17/2016       2,175,093     $145.17           $3.96        2.80%
          2/18/2016       7,484,077     $130.40          -$14.77     -10.17%
          2/19/2016       4,056,556     $129.34           -$1.06      -0.81%
          2/22/2016       3,703,562     $124.08           -$5.26      -4.07%



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     Exhibit 3B

     Perrigo Company PLC
     Closing Price and Volume
     Source: Bloomberg

            Date         Volume       Closing Price   Price Change    Return
         2/23/2016        2,182,568     $124.85           $0.77        0.62%
         2/24/2016        1,456,002     $126.26           $1.41        1.13%
         2/25/2016        1,156,850     $129.15           $2.89        2.29%
         2/26/2016        1,632,618     $129.23           $0.08        0.06%
         2/29/2016        1,392,049     $126.25           -$2.98      -2.31%
         3/1/2016         1,434,554     $126.21           -$0.04      -0.03%
         3/2/2016         1,171,995     $125.81           -$0.40      -0.32%
         3/3/2016         1,489,157     $126.42           $0.61        0.48%
         3/4/2016         1,710,350     $126.61           $0.19        0.15%
         3/7/2016         1,657,581     $129.08           $2.47        1.95%
         3/8/2016         1,623,590     $129.06           -$0.02      -0.02%
         3/9/2016         1,065,515     $131.41           $2.35        1.82%
         3/10/2016        1,750,349     $133.88           $2.47        1.88%
         3/11/2016        1,460,717     $136.00           $2.12        1.58%
         3/14/2016        2,380,833     $140.14           $4.14        3.04%
         3/15/2016        2,717,039     $134.37           -$5.77      -4.12%
         3/16/2016        1,310,362     $133.07           -$1.30      -0.97%
         3/17/2016        1,882,968     $131.21           -$1.86      -1.40%
         3/18/2016        3,335,219     $128.46           -$2.75      -2.10%
         3/21/2016        1,624,778     $131.27           $2.81        2.19%
         3/22/2016        1,070,032     $132.92           $1.65        1.26%
         3/23/2016        1,530,613     $130.23           -$2.69      -2.02%
         3/24/2016        1,107,739     $130.31           $0.08        0.06%
         3/28/2016        1,636,284     $127.51           -$2.80      -2.15%
         3/29/2016        1,179,158     $129.59           $2.08        1.63%
         3/30/2016          992,440     $129.62           $0.03        0.02%
         3/31/2016        1,358,169     $127.93           -$1.69      -1.30%
         4/1/2016         2,125,189     $126.73           -$1.20      -0.94%
         4/4/2016         1,401,463     $128.54           $1.81        1.43%
         4/5/2016         2,490,448     $128.51           -$0.03      -0.02%
         4/6/2016         2,388,817     $130.71           $2.20        1.71%
         4/7/2016         1,914,260     $131.37           $0.66        0.50%
         4/8/2016         1,321,437     $128.70           -$2.67      -2.03%
         4/11/2016        2,189,128     $127.23           -$1.47      -1.14%
         4/12/2016        1,777,417     $125.76           -$1.47      -1.16%
         4/13/2016        1,353,063     $127.79           $2.03        1.61%
         4/14/2016          793,847     $128.03           $0.24        0.19%
         4/15/2016          914,766     $127.99           -$0.04      -0.03%
         4/18/2016        1,672,605     $128.94           $0.95        0.74%
         4/19/2016        2,301,537     $130.62           $1.68        1.30%
         4/20/2016        1,755,912     $128.62           -$2.00      -1.53%
         4/21/2016        2,038,377     $128.68           $0.06        0.05%
         4/22/2016        8,646,207     $121.35           -$7.33      -5.70%
         4/25/2016       30,032,038      $99.40          -$21.95     -18.09%
         4/26/2016        7,850,401      $99.55           $0.15        0.15%
         4/27/2016        4,251,892      $97.24           -$2.31      -2.32%
         4/28/2016        2,897,410      $96.45           -$0.79      -0.81%
         4/29/2016        3,354,367      $96.67           $0.22        0.23%
         5/2/2016         3,191,084      $96.11           -$0.56      -0.58%
         5/3/2016         3,583,723      $96.61           $0.50        0.52%
         5/4/2016         2,192,342      $95.70           -$0.91      -0.94%
         5/5/2016         1,850,560      $97.07           $1.37        1.43%
         5/6/2016         3,458,487      $92.39           -$4.68      -4.82%



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     Exhibit 3B

     Perrigo Company PLC
     Closing Price and Volume
     Source: Bloomberg

            Date         Volume       Closing Price   Price Change   Return
         5/9/2016         2,118,418      $93.78           $1.39       1.50%
         5/10/2016        1,339,705      $93.07           -$0.71     -0.76%
         5/11/2016        3,546,839      $92.75           -$0.32     -0.34%
         5/12/2016        3,426,462      $89.04           -$3.71     -4.00%
         5/13/2016        3,932,509      $88.36           -$0.68     -0.76%
         5/16/2016        2,221,284      $88.73           $0.37       0.42%
         5/17/2016        2,680,005      $90.29           $1.56       1.76%
         5/18/2016        2,857,180      $93.55           $3.26       3.61%
         5/19/2016        2,034,196      $91.94           -$1.61     -1.72%
         5/20/2016        1,346,214      $93.78           $1.84       2.00%
         5/23/2016        1,910,844      $93.50           -$0.28     -0.30%
         5/24/2016        2,297,240      $96.26           $2.76       2.95%
         5/25/2016        1,796,463      $96.42           $0.16       0.17%
         5/26/2016        1,281,180      $96.20           -$0.22     -0.23%
         5/27/2016        1,279,261      $96.61           $0.41       0.43%
         5/31/2016        2,201,116      $95.84           -$0.77     -0.80%
         6/1/2016         1,589,396      $96.95           $1.11       1.16%
         6/2/2016         1,355,762      $98.15           $1.20       1.24%
         6/3/2016         1,248,458      $97.23           -$0.92     -0.94%
         6/6/2016         1,302,612      $99.26           $2.03       2.09%
         6/7/2016         1,491,944      $99.11           -$0.15     -0.15%
         6/8/2016         1,752,446     $100.32           $1.21       1.22%
         6/9/2016         1,407,160     $100.48           $0.16       0.16%
         6/10/2016        1,427,130      $98.51           -$1.97     -1.96%
         6/13/2016        1,651,948      $99.06           $0.55       0.56%
         6/14/2016        8,357,623     $108.13           $9.07       9.16%
         6/15/2016        8,783,390      $98.19           -$9.94     -9.19%
         6/16/2016        3,006,154      $98.54           $0.35       0.36%
         6/17/2016        4,093,586      $98.04           -$0.50     -0.51%
         6/20/2016        4,870,167      $96.75           -$1.29     -1.32%
         6/21/2016        2,642,413      $96.45           -$0.30     -0.31%
         6/22/2016        2,173,803      $93.81           -$2.64     -2.74%
         6/23/2016        2,419,511      $95.20           $1.39       1.48%
         6/24/2016        3,016,164      $91.01           -$4.19     -4.40%
         6/27/2016        3,233,092      $87.75           -$3.26     -3.58%
         6/28/2016        2,412,720      $87.27           -$0.48     -0.55%
         6/29/2016        2,918,454      $91.55           $4.28       4.90%
         6/30/2016        2,018,030      $90.67           -$0.88     -0.96%
         7/1/2016         2,068,494      $91.12           $0.45       0.50%
         7/5/2016         1,993,088      $90.89           -$0.23     -0.25%
         7/6/2016         1,663,154      $92.84           $1.95       2.15%
         7/7/2016         1,522,836      $93.08           $0.24       0.26%
         7/8/2016           881,914      $93.73           $0.65       0.70%
         7/11/2016        1,130,650      $93.67           -$0.06     -0.06%
         7/12/2016        1,306,800      $94.98           $1.31       1.40%
         7/13/2016        1,365,282      $95.49           $0.51       0.54%
         7/14/2016        1,541,609      $93.63           -$1.86     -1.95%
         7/15/2016        4,740,905      $94.70           $1.07       1.14%
         7/18/2016        1,461,387      $92.47           -$2.23     -2.35%
         7/19/2016        1,506,542      $93.05           $0.58       0.63%
         7/20/2016        1,669,711      $94.85           $1.80       1.93%
         7/21/2016        1,489,427      $91.52           -$3.33     -3.51%
         7/22/2016        2,237,730      $92.46           $0.94       1.03%



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     Exhibit 3B

     Perrigo Company PLC
     Closing Price and Volume
     Source: Bloomberg

            Date         Volume       Closing Price   Price Change   Return
         7/25/2016        1,940,731      $92.52           $0.06       0.06%
         7/26/2016        2,065,695      $90.78           -$1.74     -1.88%
         7/27/2016        1,640,754      $91.34           $0.56       0.62%
         7/28/2016        1,765,987      $91.08           -$0.26     -0.28%
         7/29/2016        1,260,207      $91.39           $0.31       0.34%
         8/1/2016         1,929,343      $91.10           -$0.29     -0.32%
         8/2/2016         1,473,436      $91.61           $0.51       0.56%
         8/3/2016         1,223,992      $94.25           $2.64       2.88%
         8/4/2016         1,104,339      $92.24           -$2.01     -2.13%
         8/5/2016           719,366      $93.15           $0.91       0.99%
         8/8/2016         1,175,921      $93.44           $0.29       0.31%
         8/9/2016         1,924,492      $95.09           $1.65       1.77%
         8/10/2016       13,728,640      $86.00           -$9.09     -9.56%
         8/11/2016        6,003,467      $85.80           -$0.20     -0.23%
         8/12/2016        3,571,601      $87.96           $2.16       2.52%
         8/15/2016        1,894,066      $88.29           $0.33       0.38%
         8/16/2016        1,565,193      $88.66           $0.37       0.42%
         8/17/2016        1,466,775      $89.54           $0.88       0.99%
         8/18/2016        1,506,726      $90.80           $1.26       1.41%
         8/19/2016        1,771,407      $91.83           $1.03       1.13%
         8/22/2016        1,295,655      $91.52           -$0.31     -0.34%
         8/23/2016        3,327,658      $91.54           $0.02       0.02%
         8/24/2016        2,987,865      $87.85           -$3.69     -4.03%
         8/25/2016        3,212,987      $88.48           $0.63       0.72%
         8/26/2016        3,146,797      $88.61           $0.13       0.15%
         8/29/2016        1,328,901      $89.04           $0.43       0.49%
         8/30/2016        1,641,515      $91.02           $1.98       2.22%
         8/31/2016        1,303,977      $90.99           -$0.03     -0.03%
         9/1/2016         1,711,822      $91.25           $0.26       0.29%
         9/2/2016         1,650,833      $90.75           -$0.50     -0.55%
         9/6/2016         3,023,359      $92.07           $1.32       1.45%
         9/7/2016         1,948,816      $90.39           -$1.68     -1.82%
         9/8/2016         1,306,714      $90.70           $0.31       0.34%
         9/9/2016         1,269,559      $88.71           -$1.99     -2.19%
         9/12/2016        5,304,559      $95.23           $6.52       7.35%
         9/13/2016        2,039,289      $93.58           -$1.65     -1.73%
         9/14/2016        1,519,529      $92.93           -$0.65     -0.69%
         9/15/2016        1,518,988      $93.95           $1.02       1.10%
         9/16/2016        4,258,590      $93.30           -$0.65     -0.69%
         9/19/2016        1,228,381      $93.28           -$0.02     -0.02%
         9/20/2016          851,334      $93.37           $0.09       0.10%
         9/21/2016        1,570,379      $93.69           $0.32       0.34%
         9/22/2016        1,558,352      $97.12           $3.43       3.66%
         9/23/2016        1,660,871      $97.40           $0.28       0.29%
         9/26/2016        1,017,915      $95.73           -$1.67     -1.71%
         9/27/2016        2,005,101      $96.77           $1.04       1.09%
         9/28/2016        1,789,248      $97.28           $0.51       0.53%
         9/29/2016        1,844,553      $93.24           -$4.04     -4.15%
         9/30/2016        2,198,492      $92.33           -$0.91     -0.98%
         10/3/2016        2,081,473      $93.78           $1.45       1.57%
         10/4/2016        2,017,632      $94.07           $0.29       0.31%
         10/5/2016        1,463,497      $96.73           $2.66       2.83%
         10/6/2016        1,364,942      $94.84           -$1.89     -1.95%



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     Exhibit 3B

     Perrigo Company PLC
     Closing Price and Volume
     Source: Bloomberg

            Date         Volume       Closing Price   Price Change   Return
          10/7/2016       2,907,127      $90.95           -$3.89     -4.10%
         10/10/2016       1,473,868      $92.73           $1.78       1.96%
         10/11/2016       2,250,959      $89.23           -$3.50     -3.77%
         10/12/2016       2,348,041      $88.00           -$1.23     -1.38%
         10/13/2016       1,271,355      $87.90           -$0.10     -0.11%
         10/14/2016       1,577,420      $86.39           -$1.51     -1.72%
         10/17/2016         790,264      $86.43           $0.04       0.05%
         10/18/2016         742,084      $88.24           $1.81       2.09%
         10/19/2016         805,609      $88.18           -$0.06     -0.07%
         10/20/2016         848,925      $88.51           $0.33       0.37%
         10/21/2016       2,382,669      $90.31           $1.80       2.03%
         10/24/2016       1,207,542      $90.61           $0.30       0.33%
         10/25/2016       1,482,779      $90.17           -$0.44     -0.49%
         10/26/2016       1,036,001      $90.71           $0.54       0.60%
         10/27/2016       1,134,559      $91.00           $0.29       0.32%
         10/28/2016       2,610,580      $87.06           -$3.94     -4.33%
         10/31/2016       3,799,904      $83.19           -$3.87     -4.45%
          11/1/2016       1,597,204      $84.70           $1.51       1.82%
          11/2/2016       1,596,941      $82.91           -$1.79     -2.11%
          11/3/2016       5,048,660      $79.95           -$2.96     -3.57%
          11/4/2016       1,849,660      $82.39           $2.44       3.05%
          11/7/2016       1,269,526      $83.96           $1.57       1.91%
          11/8/2016       2,940,062      $80.60           -$3.36     -4.00%
          11/9/2016       4,263,151      $83.51           $2.91       3.61%
         11/10/2016       4,646,565      $89.11           $5.60       6.71%
         11/11/2016       1,768,603      $89.27           $0.16       0.18%
         11/14/2016       1,832,571      $91.55           $2.28       2.55%
         11/15/2016       2,731,204      $89.10           -$2.45     -2.68%
         11/16/2016       1,435,868      $86.39           -$2.71     -3.04%
         11/17/2016       1,243,509      $88.39           $2.00       2.32%
         11/18/2016         989,113      $88.14           -$0.25     -0.28%
         11/21/2016         924,566      $89.31           $1.17       1.33%
         11/22/2016       1,304,076      $87.84           -$1.47     -1.65%
         11/23/2016         800,373      $89.33           $1.49       1.70%
         11/25/2016         467,754      $87.84           -$1.49     -1.67%
         11/28/2016       1,705,356      $88.19           $0.35       0.40%
         11/29/2016       1,187,396      $85.79           -$2.40     -2.72%
         11/30/2016         957,172      $86.34           $0.55       0.64%
          12/1/2016       1,334,430      $85.80           -$0.54     -0.63%
          12/2/2016       1,387,916      $85.96           $0.16       0.19%
          12/5/2016       1,398,914      $84.66           -$1.30     -1.51%
          12/6/2016       1,356,222      $84.47           -$0.19     -0.22%
          12/7/2016       2,009,949      $83.94           -$0.53     -0.63%
          12/8/2016       1,827,018      $81.95           -$1.99     -2.37%
          12/9/2016       1,613,326      $82.50           $0.55       0.67%
         12/12/2016       1,811,161      $82.30           -$0.20     -0.24%
         12/13/2016       1,888,765      $83.74           $1.44       1.75%
         12/14/2016       1,278,253      $83.21           -$0.53     -0.63%
         12/15/2016       1,371,982      $82.61           -$0.60     -0.72%
         12/16/2016       4,827,400      $82.88           $0.27       0.33%
         12/19/2016       1,469,459      $84.55           $1.67       2.01%
         12/20/2016       1,135,272      $84.72           $0.17       0.20%
         12/21/2016       1,368,499      $84.79           $0.07       0.08%



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     Exhibit 3B

     Perrigo Company PLC
     Closing Price and Volume
     Source: Bloomberg

             Date        Volume       Closing Price   Price Change    Return
         12/22/2016         958,660      $84.34           -$0.45      -0.53%
         12/23/2016       1,625,728      $84.98           $0.64        0.76%
         12/27/2016       1,153,936      $85.18           $0.20        0.24%
         12/28/2016       1,539,209      $82.84           -$2.34      -2.75%
         12/29/2016       1,124,296      $82.31           -$0.53      -0.64%
         12/30/2016         914,151      $83.23           $0.92        1.12%
          1/3/2017        1,622,010      $86.50           $3.27        3.93%
          1/4/2017        1,633,789      $87.23           $0.73        0.84%
          1/5/2017        1,165,365      $86.53           -$0.70      -0.80%
          1/6/2017        1,150,158      $85.25           -$1.28      -1.48%
          1/9/2017          920,191      $85.43           $0.18        0.21%
          1/10/2017       1,214,427      $83.65           -$1.78      -2.08%
          1/11/2017       6,215,734      $77.88           -$5.77      -6.90%
          1/12/2017       2,264,276      $78.18           $0.30        0.39%
          1/13/2017       1,527,759      $77.80           -$0.38      -0.49%
          1/17/2017       1,566,909      $76.55           -$1.25      -1.61%
          1/18/2017       1,345,766      $76.46           -$0.09      -0.12%
          1/19/2017       2,766,466      $76.47           $0.01        0.01%
          1/20/2017       2,272,134      $75.06           -$1.41      -1.84%
          1/23/2017       3,377,290      $73.48           -$1.58      -2.10%
          1/24/2017       1,669,490      $71.92           -$1.56      -2.12%
          1/25/2017       1,465,051      $72.80           $0.88        1.22%
          1/26/2017       1,096,281      $72.39           -$0.41      -0.56%
          1/27/2017       1,424,211      $73.90           $1.51        2.09%
          1/30/2017       1,916,128      $74.40           $0.50        0.68%
          1/31/2017       1,657,463      $76.15           $1.75        2.35%
          2/1/2017        1,171,006      $76.77           $0.62        0.81%
          2/2/2017        2,336,550      $78.42           $1.65        2.15%
          2/3/2017        1,972,203      $77.99           -$0.43      -0.55%
          2/6/2017        1,486,576      $78.08           $0.09        0.12%
          2/7/2017        2,378,274      $77.76           -$0.32      -0.41%
          2/8/2017        2,046,860      $77.93           $0.17        0.22%
          2/9/2017        1,651,546      $79.44           $1.51        1.94%
          2/10/2017       1,043,119      $79.40           -$0.04      -0.05%
          2/13/2017         869,571      $80.16           $0.76        0.96%
          2/14/2017       1,498,160      $82.13           $1.97        2.46%
          2/15/2017       1,860,111      $84.90           $2.77        3.37%
          2/16/2017       1,438,742      $83.12           -$1.78      -2.10%
          2/17/2017       1,282,001      $84.47           $1.35        1.62%
          2/21/2017       1,843,950      $84.67           $0.20        0.24%
          2/22/2017       1,435,135      $84.09           -$0.58      -0.69%
          2/23/2017       1,395,413      $84.07           -$0.02      -0.02%
          2/24/2017       1,284,171      $84.43           $0.36        0.43%
          2/27/2017       2,360,275      $84.68           $0.25        0.30%
          2/28/2017      14,396,687      $74.77           -$9.91     -11.70%
          3/1/2017        4,266,999      $74.97           $0.20        0.27%
          3/2/2017        3,123,797      $75.56           $0.59        0.79%
          3/3/2017        3,693,810      $72.76           -$2.80      -3.71%
          3/6/2017        2,443,471      $71.59           -$1.17      -1.61%
          3/7/2017        2,983,341      $70.30           -$1.29      -1.80%
          3/8/2017        1,748,504      $70.32           $0.02        0.03%
          3/9/2017        1,496,576      $70.41           $0.09        0.13%
          3/10/2017       1,265,671      $71.22           $0.81        1.15%



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     Exhibit 3B

     Perrigo Company PLC
     Closing Price and Volume
     Source: Bloomberg

            Date         Volume       Closing Price   Price Change   Return
         3/13/2017        1,364,409      $70.29           -$0.93     -1.31%
         3/14/2017        1,470,192      $69.30           -$0.99     -1.41%
         3/15/2017        1,506,377      $70.60           $1.30       1.88%
         3/16/2017        1,192,585      $70.87           $0.27       0.38%
         3/17/2017        2,932,717      $69.50           -$1.37     -1.93%
         3/20/2017        2,233,350      $68.42           -$1.08     -1.55%
         3/21/2017        1,828,769      $68.14           -$0.28     -0.41%
         3/22/2017        1,155,593      $68.43           $0.29       0.43%
         3/23/2017          878,396      $68.16           -$0.27     -0.39%
         3/24/2017        1,122,597      $67.96           -$0.20     -0.29%
         3/27/2017        1,646,355      $69.18           $1.22       1.80%
         3/28/2017        1,131,135      $68.91           -$0.27     -0.39%
         3/29/2017        1,449,001      $69.09           $0.18       0.26%
         3/30/2017        1,647,336      $66.93           -$2.16     -3.13%
         3/31/2017        1,294,898      $66.39           -$0.54     -0.81%
         4/3/2017         1,981,813      $66.81           $0.42       0.63%
         4/4/2017         1,963,942      $66.67           -$0.14     -0.21%
         4/5/2017         2,484,954      $66.61           -$0.06     -0.09%
         4/6/2017         1,941,206      $67.60           $0.99       1.49%
         4/7/2017         1,582,636      $68.76           $1.16       1.72%
         4/10/2017        2,011,703      $69.77           $1.01       1.47%
         4/11/2017        1,744,462      $69.01           -$0.76     -1.09%
         4/12/2017        1,794,272      $68.05           -$0.96     -1.39%
         4/13/2017          980,088      $67.65           -$0.40     -0.59%
         4/17/2017          898,051      $67.89           $0.24       0.35%
         4/18/2017        2,348,592      $66.14           -$1.75     -2.58%
         4/19/2017        1,353,656      $66.43           $0.29       0.44%
         4/20/2017        1,288,137      $66.76           $0.33       0.50%
         4/21/2017          966,413      $66.43           -$0.33     -0.49%
         4/24/2017        2,124,229      $67.05           $0.62       0.93%
         4/25/2017        3,278,457      $67.81           $0.76       1.13%
         4/26/2017        6,057,449      $73.02           $5.21       7.68%
         4/27/2017        1,986,333      $74.01           $0.99       1.36%
         4/28/2017        1,385,482      $73.94           -$0.07     -0.09%
         5/1/2017         1,293,184      $74.05           $0.11       0.15%
         5/2/2017         2,019,353      $76.23           $2.18       2.94%
         5/3/2017         3,779,392      $72.35           -$3.88     -5.09%
         5/4/2017         1,689,040      $73.12           $0.77       1.06%
         5/5/2017           852,582      $73.41           $0.29       0.40%
         5/8/2017         1,185,615      $73.07           -$0.34     -0.46%
         5/9/2017         1,353,121      $74.73           $1.66       2.27%
         5/10/2017        1,119,280      $74.54           -$0.19     -0.25%
         5/11/2017        1,821,159      $75.37           $0.83       1.11%
         5/12/2017        1,288,742      $74.97           -$0.40     -0.53%
         5/15/2017          979,120      $75.05           $0.08       0.11%
         5/16/2017          946,742      $74.55           -$0.50     -0.67%
         5/17/2017        1,455,440      $73.07           -$1.48     -1.99%
         5/18/2017        1,788,334      $70.50           -$2.57     -3.52%
         5/19/2017        2,190,924      $70.79           $0.29       0.41%
         5/22/2017        1,198,096      $71.36           $0.57       0.81%
         5/23/2017        2,812,278      $73.07           $1.71       2.40%
         5/24/2017        2,394,064      $71.93           -$1.14     -1.56%
         5/25/2017        1,181,856      $71.85           -$0.08     -0.11%



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     Exhibit 3B

     Perrigo Company PLC
     Closing Price and Volume
     Source: Bloomberg

            Date         Volume       Closing Price   Price Change   Return
         5/26/2017        1,724,938      $69.95           -$1.90     -2.64%
         5/30/2017        3,187,926      $67.92           -$2.03     -2.90%
         5/31/2017        5,014,407      $72.85           $4.93       7.26%
         6/1/2017         3,363,541      $74.73           $1.88       2.58%
         6/2/2017         1,348,125      $73.44           -$1.29     -1.73%
         6/5/2017         3,785,840      $71.78           -$1.66     -2.26%
         6/6/2017         2,346,507      $70.34           -$1.44     -2.01%
         6/7/2017         1,476,789      $70.53           $0.19       0.27%
         6/8/2017         1,670,973      $71.22           $0.69       0.98%
         6/9/2017         1,199,246      $71.52           $0.30       0.42%
         6/12/2017        2,211,868      $71.64           $0.12       0.17%
         6/13/2017        1,122,109      $71.70           $0.06       0.08%
         6/14/2017        1,161,158      $72.32           $0.62       0.86%
         6/15/2017        1,497,487      $72.82           $0.50       0.69%
         6/16/2017        1,765,723      $73.02           $0.20       0.27%
         6/19/2017        1,082,048      $73.14           $0.12       0.16%
         6/20/2017        1,216,390      $72.36           -$0.78     -1.07%
         6/21/2017        1,585,678      $73.33           $0.97       1.34%
         6/22/2017        1,256,473      $74.65           $1.32       1.80%
         6/23/2017        1,502,678      $75.28           $0.63       0.84%
         6/26/2017        1,887,632      $75.86           $0.58       0.77%
         6/27/2017        1,579,425      $74.70           -$1.16     -1.53%
         6/28/2017        1,522,320      $76.50           $1.80       2.41%
         6/29/2017        1,491,297      $75.92           -$0.58     -0.76%
         6/30/2017        1,188,299      $75.52           -$0.40     -0.53%
         7/3/2017           415,705      $75.75           $0.23       0.30%
         7/5/2017           831,062      $74.70           -$1.05     -1.39%
         7/6/2017         1,528,438      $72.32           -$2.38     -3.19%
         7/7/2017         1,329,600      $72.46           $0.14       0.19%
         7/10/2017        1,028,743      $72.01           -$0.45     -0.62%
         7/11/2017          918,124      $72.47           $0.46       0.64%
         7/12/2017          464,359      $73.28           $0.81       1.12%
         7/13/2017          613,744      $73.95           $0.67       0.91%
         7/14/2017          529,033      $73.88           -$0.07     -0.09%
         7/17/2017          854,952      $73.87           -$0.01     -0.01%
         7/18/2017        1,446,197      $72.90           -$0.97     -1.31%
         7/19/2017        1,180,578      $72.65           -$0.25     -0.34%
         7/20/2017        1,486,309      $75.51           $2.86       3.94%
         7/21/2017          980,093      $76.21           $0.70       0.93%
         7/24/2017          777,745      $76.35           $0.14       0.18%
         7/25/2017          542,779      $76.28           -$0.07     -0.09%
         7/26/2017          595,194      $76.24           -$0.04     -0.05%
         7/27/2017        1,364,649      $73.91           -$2.33     -3.06%
         7/28/2017          812,899      $74.47           $0.56       0.76%
         7/31/2017          838,703      $74.92           $0.45       0.60%




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 Exhibit 4A
 Perrigo Company PLC (PRGO US)
 Volume Analysis
 Source: Bloomberg


                     Weekly        Dollar Volume of     Volume as % of
     Date
                     Volume             Trades        Shares Outstanding
    5/1/2015          18,868,227    $3,504,370,219         12.90%          Share Turnover
    5/8/2015           8,007,766    $1,521,688,902         5.47%           Calendar Days                                 742
   5/15/2015           4,076,917     $791,224,315          2.79%           Time Period (years)                         2.031
   5/22/2015           4,973,744     $985,745,262          3.40%           Shares Out at End of Class Period     143,374,000
   5/29/2015           4,427,579     $855,109,213          3.03%           Total Volume in Class Period        1,025,668,972
    6/5/2015           5,254,563    $1,016,373,213         3.59%           Annualized Share Turnover                  352.1%
   6/12/2015           5,555,467    $1,040,298,651         3.80%
   6/19/2015           8,390,522    $1,569,704,330         5.74%
   6/26/2015           4,275,494     $806,930,057          2.92%           Shares Outstanding
    7/2/2015           3,815,899     $703,866,281          2.61%                   2/5/2015                     140,795,000
   7/10/2015           6,236,591    $1,139,624,548         4.26%                   4/29/2015                    146,263,000
   7/17/2015           4,751,621     $883,443,808          3.25%                   5/28/2015                    146,271,000
   7/24/2015           3,442,344     $647,595,654          2.35%                   8/13/2015                    146,279,000
   7/31/2015          11,208,809    $2,162,752,508         7.66%                   10/6/2015                    146,376,000
    8/7/2015           6,289,397    $1,193,232,433         4.30%                   11/2/2015                    146,402,000
   8/14/2015           8,374,571    $1,613,857,928         5.73%                   2/29/2016                    143,199,000
   8/21/2015           7,020,587    $1,348,532,158         4.80%                   3/4/2016                     143,202,000
   8/28/2015           7,422,155    $1,348,088,135         5.07%                   5/16/2016                    143,223,000
    9/4/2015           3,369,638     $607,260,240          2.30%                   8/10/2016                    143,281,000
   9/11/2015           3,004,697     $537,259,472          2.05%                   11/10/2016                   143,374,000
   9/18/2015           4,786,294     $866,343,912          3.27%                   5/22/2017                    143,397,000
   9/25/2015           4,878,693     $822,496,894          3.34%
   10/2/2015           9,645,418    $1,502,342,436         6.59%
   10/9/2015           5,469,478     $869,678,405          3.74%
  10/16/2015           4,782,089     $776,602,204          3.27%
  10/23/2015          11,302,117    $1,735,517,788         7.72%
  10/30/2015           9,878,425    $1,575,287,612         6.75%
   11/6/2015           7,868,083    $1,265,929,133         5.37%
  11/13/2015          37,662,631    $5,661,714,517         25.73%
  11/20/2015          20,449,311    $3,122,185,294         13.97%
  11/27/2015           6,111,119     $913,575,616          4.17%
   12/4/2015           6,862,969    $1,015,222,569         4.69%
  12/11/2015           6,645,706     $984,068,697          4.54%
  12/18/2015           8,149,066    $1,203,396,762         5.57%
  12/24/2015           3,337,298     $487,436,201          2.28%
  12/31/2015           2,534,672     $369,160,993          1.73%
    1/8/2016           8,523,849    $1,219,669,055         5.82%
   1/15/2016           9,160,285    $1,325,313,317         6.26%
   1/22/2016          12,066,403    $1,774,164,699         8.24%
   1/29/2016           9,403,694    $1,372,192,722         6.42%
    2/5/2016           6,552,777     $944,819,571          4.48%
   2/12/2016           7,526,288    $1,034,231,076         5.14%
   2/19/2016          15,522,652    $2,071,512,865         10.60%
   2/26/2016          10,131,600    $1,276,256,802         6.92%
    3/4/2016           7,198,105     $909,056,579          5.03%
   3/11/2016           7,557,752     $996,514,643          5.28%
   3/18/2016          11,626,421    $1,548,614,802         8.12%
   3/24/2016           5,333,162     $699,194,462          3.72%
    4/1/2016           7,291,240     $933,165,493          5.09%
    4/8/2016           9,516,425    $1,233,979,075         6.65%
   4/15/2016           7,028,221     $893,675,770          4.91%
   4/22/2016          16,414,638    $2,053,653,425         11.46%
   4/29/2016          48,386,108    $4,783,867,827         33.79%
    5/6/2016          14,276,196    $1,361,889,165         9.97%
   5/13/2016          14,363,933    $1,304,889,573         10.03%
   5/20/2016          11,138,879    $1,019,633,299         7.78%
   5/27/2016           8,564,988     $819,850,120          5.98%
    6/3/2016           6,394,732     $619,502,511          4.46%
   6/10/2016           7,381,292     $734,947,233          5.15%



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 Exhibit 4A
 Perrigo Company PLC (PRGO US)
 Volume Analysis
 Source: Bloomberg


                     Weekly          Dollar Volume of     Volume as % of
     Date
                     Volume               Trades        Shares Outstanding
   6/17/2016            25,892,701    $2,627,354,395         18.08%
   6/24/2016            15,122,058    $1,434,812,383         10.56%
    7/1/2016            12,650,790    $1,132,902,314         8.83%
    7/8/2016             6,060,992     $559,966,360          4.23%
   7/15/2016            10,085,246     $953,703,182          7.04%
   7/22/2016             8,364,797     $776,903,152          5.84%
   7/29/2016             8,673,374     $792,963,108          6.06%
    8/5/2016             6,450,476     $594,979,038          4.50%
   8/12/2016            26,404,121    $2,302,796,535         18.43%
   8/19/2016             8,204,167     $736,811,158          5.73%
   8/26/2016            13,970,962    $1,248,798,871         9.75%
    9/2/2016             7,637,048     $692,401,760          5.33%
    9/9/2016             7,548,448     $685,655,680          5.27%
   9/16/2016            14,640,955    $1,377,235,018         10.22%
   9/23/2016             6,869,317     $654,317,225          4.79%
   9/30/2016             8,855,309     $840,509,560          6.18%
   10/7/2016             9,834,671     $920,417,545          6.86%
  10/14/2016             8,921,643     $792,177,878          6.23%
  10/21/2016             5,569,551     $495,139,800          3.89%
  10/28/2016             7,471,461     $667,615,178          5.21%
   11/4/2016            13,892,369    $1,139,833,425         9.70%
  11/11/2016            14,887,907    $1,271,512,737         10.38%
  11/18/2016             8,232,265     $732,260,968          5.74%
  11/25/2016             3,496,769     $309,707,857          2.44%
   12/2/2016             6,572,270     $568,703,632          4.58%
   12/9/2016             8,205,429     $684,530,771          5.72%
  12/16/2016            11,177,561     $927,021,509          7.80%
  12/23/2016             6,557,618     $555,465,782          4.57%
  12/30/2016             4,731,592     $394,425,934          3.30%
    1/6/2017             5,571,322     $481,709,282          3.89%
   1/13/2017            12,142,387     $960,160,847          8.47%
   1/20/2017             7,951,275     $604,942,185          5.55%
   1/27/2017             9,032,323     $659,497,677          6.30%
    2/3/2017             9,053,350     $695,718,224          6.31%
   2/10/2017             8,606,375     $674,540,703          6.00%
   2/17/2017             6,948,585     $578,550,976          4.85%
   2/24/2017             5,958,669     $502,542,677          4.16%
    3/3/2017            27,841,568    $2,101,001,006         19.42%
   3/10/2017             9,937,563     $703,126,767          6.93%
   3/17/2017             8,466,280     $592,481,161          5.91%
   3/24/2017             7,218,705     $492,658,519          5.03%
   3/31/2017             7,168,725     $488,177,308          5.00%
    4/7/2017             9,954,551     $668,911,303          6.94%
   4/13/2017             6,530,525     $449,145,004          4.55%
   4/21/2017             6,854,849     $456,422,767          4.78%
   4/28/2017            14,831,950    $1,056,507,694         10.34%
 Average                 9,538,481    $1,118,243,117          6.6%
 Minimum                 2,534,672     $309,707,857           1.7%
 Maximum                48,386,108    $5,661,714,517         33.8%
 Total               1,001,540,466   $117,415,527,300




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 Exhibit 4B
 Perrigo Company PLC (PRGO US, PRGO IT)
 Volume Analysis for Combined US and TASE Exchanges
 Source: Bloomberg


                     Combined
                                    Volume as % of
     Date             Weekly
                                  Shares Outstanding
                      Volume
    5/1/2015           19,342,083       13.22%         Share Turnover
    5/8/2015            8,240,921        5.63%         Calendar Days                                     742
   5/15/2015            4,238,959        2.90%         Time Period (years)                             2.031
   5/22/2015            5,173,223        3.54%         Shares Out at End of Class Period         143,374,000
   5/29/2015            4,754,909        3.25%         Total Combined Volume in Class Period   1,079,222,320
    6/5/2015            5,438,554        3.72%         Annualized Share Turnover                      370.5%
   6/12/2015            5,964,549        4.08%
   6/19/2015            9,256,397        6.33%
   6/26/2015            4,653,855        3.18%         Shares Outstanding
    7/2/2015            3,968,506        2.71%                 2/5/2015                         140,795,000
   7/10/2015            6,376,954        4.36%                 4/29/2015                        146,263,000
   7/17/2015            4,891,725        3.34%                 5/28/2015                        146,271,000
   7/24/2015            3,600,423        2.46%                 8/13/2015                        146,279,000
   7/31/2015           11,676,380        7.98%                 10/6/2015                        146,376,000
    8/7/2015            6,449,170        4.41%                 11/2/2015                        146,402,000
   8/14/2015            8,584,283        5.87%                 2/29/2016                        143,199,000
   8/21/2015            7,214,670        4.93%                 3/4/2016                         143,202,000
   8/28/2015            7,834,100        5.36%                 5/16/2016                        143,223,000
    9/4/2015            3,564,297        2.44%                 8/10/2016                        143,281,000
   9/11/2015            3,280,084        2.24%                 11/10/2016                       143,374,000
   9/18/2015            4,890,619        3.34%                 5/22/2017                        143,397,000
   9/25/2015            5,164,539        3.53%
   10/2/2015           10,191,993        6.97%
   10/9/2015            5,646,026        3.86%
  10/16/2015            5,015,679        3.43%
  10/23/2015           11,658,315        7.96%
  10/30/2015           10,537,742        7.20%
   11/6/2015            8,595,386        5.87%
  11/13/2015           38,090,644       26.02%
  11/20/2015           21,449,612       14.65%
  11/27/2015            6,580,836        4.50%
   12/4/2015            7,067,765        4.83%
  12/11/2015            7,012,350        4.79%
  12/18/2015            9,285,845        6.34%
  12/24/2015            3,742,557        2.56%
  12/31/2015            2,840,501        1.94%
    1/8/2016            8,999,943        6.15%
   1/15/2016            9,603,000        6.56%
   1/22/2016           12,343,496        8.43%
   1/29/2016           10,160,132        6.94%
    2/5/2016            6,743,070        4.61%
   2/12/2016            7,843,950        5.36%
   2/19/2016           15,899,398       10.86%
   2/26/2016           10,607,336        7.25%
    3/4/2016            7,405,358        5.17%
   3/11/2016            7,773,887        5.43%
   3/18/2016           12,570,590        8.78%
   3/24/2016            5,558,090        3.88%
    4/1/2016            7,465,297        5.21%
    4/8/2016            9,762,583        6.82%
   4/15/2016            7,274,641        5.08%
   4/22/2016           16,668,662       11.64%
   4/29/2016           49,103,365       34.29%
    5/6/2016           14,753,041       10.30%
   5/13/2016           14,713,472       10.27%
   5/20/2016           11,858,367        8.28%
   5/27/2016            9,065,915        6.33%
    6/3/2016            6,808,528        4.75%
   6/10/2016            8,331,648        5.82%
   6/17/2016           29,437,171       20.55%



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 Exhibit 4B
 Perrigo Company PLC (PRGO US, PRGO IT)
 Volume Analysis for Combined US and TASE Exchanges
 Source: Bloomberg


                     Combined
                                     Volume as % of
     Date             Weekly
                                   Shares Outstanding
                      Volume
   6/24/2016            15,895,478       11.10%
    7/1/2016            13,091,211        9.14%
    7/8/2016             6,317,034        4.41%
   7/15/2016            10,500,514        7.33%
   7/22/2016             8,694,597        6.07%
   7/29/2016             9,203,706        6.43%
    8/5/2016             6,703,206        4.68%
   8/12/2016            27,073,668       18.90%
   8/19/2016             8,401,680        5.86%
   8/26/2016            14,317,124        9.99%
    9/2/2016             7,855,097        5.48%
    9/9/2016             7,823,500        5.46%
   9/16/2016            16,139,821       11.26%
   9/23/2016             7,223,122        5.04%
   9/30/2016             9,385,374        6.55%
   10/7/2016            10,005,691        6.98%
  10/14/2016             9,231,018        6.44%
  10/21/2016             5,767,551        4.03%
  10/28/2016             7,894,644        5.51%
   11/4/2016            14,620,881       10.20%
  11/11/2016            16,079,393       11.21%
  11/18/2016             8,890,219        6.20%
  11/25/2016             3,829,306        2.67%
   12/2/2016             6,824,667        4.76%
   12/9/2016             8,646,404        6.03%
  12/16/2016            11,519,432        8.03%
  12/23/2016             6,974,873        4.86%
  12/30/2016             5,371,670        3.75%
    1/6/2017             6,189,530        4.32%
   1/13/2017            12,645,604        8.82%
   1/20/2017             8,490,713        5.92%
   1/27/2017            10,017,657        6.99%
    2/3/2017             9,774,169        6.82%
   2/10/2017             9,605,894        6.70%
   2/17/2017             7,486,563        5.22%
   2/24/2017             6,649,636        4.64%
    3/3/2017            30,937,111       21.58%
   3/10/2017            10,677,245        7.45%
   3/17/2017             9,198,905        6.42%
   3/24/2017             7,791,221        5.43%
   3/31/2017             7,957,605        5.55%
    4/7/2017            10,784,626        7.52%
   4/13/2017             6,639,492        4.63%
   4/21/2017             7,026,242        4.90%
   4/28/2017            15,392,513       10.74%
 Average                10,043,533        7.0%
 Minimum                 2,840,501        1.9%
 Maximum                49,103,365       34.3%
 Total               1,054,570,998




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 Exhibit 5A

 Perrigo Company PLC
 Number of Analyst Reports by Company
 Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

 Abridged Search with Company Name as Primary Ticker Only
 Number                     Analyst Name                      Reports
     1    Argus Research Corporation                              8
     2    Bank of America Merrill Lynch                           4
     3    Bank of Jerusalem                                       1
     4    Barclays                                               20
     5    Blueshift Research                                      2
     6    BMO Capital Markets                                     8
     7    BTIG                                                   25
     8    BuySellSignals Research                                 6
     9    Canaccord Genuity                                       4
    10    CFRA Equity Research                                   16
    11    Citi                                                    4
    12    Clarivate Analytics                                    32
    13    Credit Suisse                                           2
    14    CRT Capital                                             2
    15    Deutsche Bank                                          23
    16    Egan-Jones                                              5
    17    Gabelli & Company                                       2
    18    GlobalData                                              8
    19    Gordon Haskett                                         20
    20    Guggenheim Securities LLC                              50
    21    I.B.I.                                                  1
    22    Jefferies                                              23
    23    Jefferson Research                                      1
    24    JPMorgan                                               28
    25    Leerink Partners LLC                                   23
    26    MarketLine                                              1
    27    Minkabu                                                 9
    28    Morgan Stanley                                         16
    29    Morningstar Credit Research                            29
    30    Morningstar, Inc.                                      33
    31    Northland Securities                                   14
    32    RBC Capital Markets                                   128
    33    Reuters - The Day Ahead Report                          3
    34    Sadif Analytics Prime                                   6
    35    SEENSCO                                                 1
    36    UBS Equities                                           30
    37    Validea                                                 4
    38    ValuEngine, Inc.                                        9
    39    Wells Fargo Securities, LLC                            14
    40    William Blair & Company                                10
    41    Wright Reports                                         16
          Total Analyst Reports in Class Period                 641




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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                       Contributor                                                                Title
                                                            Specialty Pharmaceuticals: Thoughts on PRGO interest if we see a "process" - AKRX a derivative take-
 4/15/2015   RBC Capital Markets
                                                            out?
 4/20/2015   CRT Capital                                    CRT: TEVA/MYL/PRGO - Will Teva Bid For Mylan? M&A Analysis
 4/21/2015   CRT Capital                                    CRT: TEVA/MYL/PRGO - TEVA Bids for MYL; But Does MYL Want More?
 4/21/2015   Guggenheim Securities LLC                      CORRECTION: PRGO - BUY - Raising PT to $225 From $195; PRGO Worth More Standalone

 4/21/2015   JPMorgan                                       TEVA/MYL/PRGO : Initial Thoughts on the TEVA/MYL Bid; Continue to Prefer MYL - ALERT
                                                            Morningstar | Perrigo Rejects Mylan; Teva's Bond Recommendation Cut to Underweight as It Awaits
 4/21/2015   Morningstar Credit Research
                                                            Mylan Answer
 4/21/2015   Morningstar, Inc.                              Morningstar | Teva Pursues Mylan as Generic Copaxone Competition Nears
 4/21/2015   Thomson Reuters StreetEvents                   PRGO.N - Event Brief of Perrigo Company PLC conference call, Apr. 21, 2015 / 5:00PM ET
 4/21/2015   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Apr. 21, 2015 / 5:00PM ET
 4/22/2015   Citi                                           Alert: MYL: PRGO Rejects MYL's Proposal; Ball In MYL's Court
 4/22/2015   Deutsche Bank                                  Perrigo : Raising stand-alone PT to $208, brace for volatility?
 4/22/2015   Gabelli & Company                              TEVA: TEVA Cuts in On MYL/PRGO Dance - Buy
                                                            Perrigo: PRGO: BUY: PRGO Rejects MYL's Bid; Generics Bail Out CHC Again While Guidance
 4/22/2015   Jefferies
                                                            Looks Solid
                                                            Perrigo Company : Mylan Rejection as Anticipated; PRGO Remains an Attractive Asset in a Rapidly
 4/22/2015   JPMorgan
                                                            Consolidating Space
 4/22/2015   Leerink Partners LLC                           Highlights From Follow-Up Call With Mgmt.
 4/22/2015   Leerink Partners LLC                           Mgmt. Makes Case for Higher Stand-Alone Valuation; We Remain MP
 4/22/2015   Morningstar Credit Research                    Morningstar | Perrigo Rejects Mylan’s Offer and Reports Respectable Quarterly Results
 4/22/2015   Morningstar, Inc.                              Morningstar | Perrigo Rejects Mylan’s Offer and Reports Respectable Quarterly Results
 4/22/2015   RBC Capital Markets                            Perrigo Company - MYL bid rejected and challenging FY3Q reported; deal possible but hurdles exist
                                                            Perrigo Company:March-Quarter Margins Impress; Calendar Year 2015 Guidance In Line; Initial
 4/22/2015   William Blair & Company
                                                            Mylan Proposal Rejected
 4/23/2015   Argus Research Corporation                     Argus Analyst Report, PRGO
 4/23/2015   CRT Capital                                    SA CRT: PRGO: Sensitivity on What Mylan Could Offer; BUY/$207PT
 4/24/2015   CFRA Equity Research                           Perrigo Co Plc




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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                       Contributor                                                                 Title
                                                            Alert: MYL: MYL Boosts PRGO Offer But Is Swiftly Rejected; Likelihood of TEVA-MYL
 4/24/2015   Citi
                                                            Combination Increases
 4/24/2015   Jefferies                                      Jefferies: Steinberg: MYL's Formal Bid for PRGO Fails to Impress; Will Teva Go Hostile?
                                                            MYL/PRGO/TEVA : MYL Updated PRGO Offer Moves Process Forward; Still See Greatest Path To
 4/24/2015   JPMorgan
                                                            Upside Through A TEVA/MYL Combination - ALERT
 4/24/2015   RBC Capital Markets                            Specialty Pharmaceuticals: MYL for PRGO bid now formal - we still think TEVA for MYL more likely
 4/24/2015   UBS Equities                                   U.S. Specialty Pharmaceuticals "We Love the Perrigo story but going to Neutral"
 4/24/2015   UBS Equities                                   U.S. Specialty Pharmaceuticals "Not Surprised by Perrigo's Rejection" Goodman
 4/25/2015   Clarivate Analytics                            Perrigo Co plc - Cortellis Company Detailed Pipeline Report
 4/25/2015   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
 4/26/2015   Clarivate Analytics                            Perrigo Co plc - Cortellis Company Detailed Pipeline Report
 4/26/2015   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
 4/27/2015   CFRA Equity Research                           Perrigo Co Plc
 4/27/2015   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
 4/27/2015   Clarivate Analytics                            Perrigo Co plc - Cortellis Company Detailed Pipeline Report
 4/27/2015   Guggenheim Securities LLC                      Morning Summary
 4/27/2015   JPMorgan                                       MYL/TEVA/PRGO : MYL Rejects TEVA Bid, Introduces Uncertainty into Next Steps - ALERT
                                                            Specialty Pharmaceuticals: TEVA/MYL more likely; raising target on both - PRGO risk/reward less
 4/27/2015   RBC Capital Markets
                                                            favorable
 4/29/2015   RBC Capital Markets                            MYL increases its bid for PRGO but we're not sure anything changes
 4/29/2015   Reuters - The Day Ahead Report                 THE DAY AHEAD - North America (April 30)
 4/29/2015   UBS Equities                                   U.S. Specialty Pharmaceuticals "Mylan Raises Offer; Expect Perrigo to Reject"
                                                            Pharmaceuticals - Major & Specialty : Suspending Ratings, Price Targets, and Estimates for PRGO and
  5/1/2015   JPMorgan
                                                            MYL
  5/2/2015   Clarivate Analytics                            Perrigo Co plc - Cortellis Company Detailed Pipeline Report
  5/2/2015   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
  5/4/2015   Sadif Analytics Prime                          Is Perrigo Company PLC Stock Still Attractive?
  5/5/2015   RBC Capital Markets                            Specialty Pharmaceuticals: Boston "Doc day" takeaways for TEVA, ACT, PRGO, and IPXL
  5/6/2015   Deutsche Bank                                  Perrigo Alert : Tidbits from DB's 2015 Health Care Conference
                                                            Mylan N.V. - MYL still committed to PRGO but TEVA still committed to MYL - our view is
  5/6/2015   RBC Capital Markets
                                                            unchanged



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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                        Contributor                                                               Title

  5/6/2015   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, May 06, 2015 / 11:20AM ET
  5/6/2015   ValuEngine, Inc.                               ValuEngine Rating and Forecast Report for PRGO
                                                            Specialty Pharmaceuticals: Our analysis of major TEVA/MYL/PRGO swing factors that could impact
  5/8/2015   RBC Capital Markets
                                                            deal value
 5/12/2015   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, May 12, 2015 / 4:00PM ET
 5/12/2015   UBS Equities                                   Perrigo "Revising Model to Reflect Switch to Calendar Year" (Neutral) Goodman
 5/18/2015   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, May 18, 2015 / 11:30AM ET
 5/18/2015   UBS Equities                                   UBS Global Healthcare Conference "Perrigo (PRGO)"
 5/18/2015   Wright Reports                                 Wright Investors Service Comprehensive Report for Perrigo Company PLC
 5/28/2015   RBC Capital Markets                            Specialty Pharma: Short Interest: Notable increase in INSY with thoughts on ENDP and PRGO
  6/2/2015   Deutsche Bank                                  Perrigo : Quickly building on Omega
                                                            PRGO - BUY - GSK OTC Deal Underscores PRGO's Standalone Growth Prospects; Increasing PT to
  6/2/2015   Guggenheim Securities LLC
                                                            $230 from $225
  6/2/2015   Leerink Partners LLC                           Modestly Accretive Deal Leverages PRGO's ex-US Platform
                                                            PRGO just got incrementally more expensive to acquire? Company to buy OTC portfolio from GSK in
  6/2/2015   RBC Capital Markets
                                                            nice bolt on deal

  6/2/2015   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Jun. 02, 2015 / 4:30PM ET
  6/2/2015   Thomson Reuters StreetEvents                   PRGO.N - Event Brief of Perrigo Company PLC conference call, Jun. 02, 2015 / 8:00AM ET
  6/2/2015   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Jun. 02, 2015 / 8:00AM ET
  6/2/2015   UBS Equities                                   Perrigo "We Like Accretive Bolt-On Deals" (Neutral) Goodman
                                                            Perrigo Company:Acquisition of a Portfolio of OTC Brands from GSK Demonstrates Strength and
  6/2/2015   William Blair & Company
                                                            Reach of the Omega Platform
  6/3/2015   BTIG                                           Perrigo Company plc - Initiating Coverage with a BUY rating and $223PT
  6/3/2015   Jefferies                                      Perrigo: PRGO: BUY: Jefferies 2015 Global Healthcare Conference Takeaways
  6/6/2015   Clarivate Analytics                            Perrigo Co plc - Cortellis Company Detailed Pipeline Report
  6/6/2015   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
  6/8/2015   Morningstar Credit Research                    Morningstar | Perrigo's acquisition strategy has added leverage to its balance sheet.


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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                           Contributor                                                                 Title
                                                            Morningstar | Perrigo’s acquisition strategy has enhanced competitive advantages and growth
  6/8/2015   Morningstar, Inc.
                                                            opportunities.
                                                            Perrigo Company plc - Abbott to Vote its Shares with Mylan; Next Stop is Mylan’s Shareholder Mtg.,
 6/16/2015   BTIG
                                                            we Think
 6/16/2015   GlobalData                                     Perrigo Company Plc (PRGO) - Financial and Strategic SWOT Analysis Review
 6/23/2015   BMO Capital Markets                            PRGO--Deal or No Deal, We Like PRGO Shares Here; Initiating at Outperform(comment)
 6/23/2015   Deutsche Bank                                  Perrigo : Introducing our store brand tracker
 6/23/2015   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Jun. 23, 2015 / 11:45AM ET

 6/25/2015   RBC Capital Markets                            Specialty Pharma: Short Interest: Several notable moves with focus on PRGO, INSY and AKRX
 6/29/2015   Citi                                           Alert: MYL: PRGO-Roxane? New Interests Emerge in M&A Carousel
                                                            Alert: MYL: Leeway for MYL to Amend PRGO Transaction Terms Without the Resolicitation of
 6/30/2015   Citi
                                                            Proxies?
  7/6/2015   Clarivate Analytics                            Perrigo Co plc - Cortellis Company Detailed Pipeline Report
  7/6/2015   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
  7/6/2015   Wright Reports                                 Wright Investors Service Comprehensive Report for Perrigo Company PLC
                                                            Generic Pharmaceuticals: TEVA/MYL/PRGO - updated thoughts ahead of an expected formal TEVA
  7/7/2015   RBC Capital Markets
                                                            bid for MYL
 7/10/2015   Guggenheim Securities LLC                      PRGO - BUY - Don't Be a Sellout When There Is Still So Much Left to Make PerriGO
 7/13/2015   Guggenheim Securities LLC                      PRGO, TEVA - Let's Talk About New and Existing Drugs for Multiple Sclerosis
 7/23/2015   BMO Capital Markets                            Perrigo: Top Takeaways From Our Day With Management (flash)
 7/23/2015   RBC Capital Markets                            TEVA / MYL / PRGO: Stichting call option exercised - our thoughts and next steps
 7/24/2015   Deutsche Bank                                  Perrigo Alert : Tidbits from BIIB 2Q
 7/24/2015   Guggenheim Securities LLC                      PRGO - BUY - Don't Be a Sellout When There Is Still So Much Left to Make PerriGO, Chapter 2
 7/24/2015   RBC Capital Markets                            Perrigo Company - PRGO - our thoughts on the impact from the BIIB Tysabri update
 7/24/2015   UBS Equities                                   Perrigo "Adjusting 2Q15 EPS for Lower Tysabri Numbers" (Neutral) Goodman
                                                            Specialty Pharmaceuticals: AGN generic sale a surprise but makes sense - expect moves in
 7/26/2015   RBC Capital Markets
                                                            TEVA/AGN/PRGO/MYL
                                                            What's next for Mylan, Perrigo and Allergan?, dusting off the Lear file, McGraw Hill makes its first
 7/27/2015   Gordon Haskett
                                                            post-settlement move [MYL, PRGO, AGN, LEA, MHFI, PMCS]
 7/27/2015   Leerink Partners LLC                           Life After TEVA: PRGO Unlikely, but Alternative Cap Deployment + EpiPen Upside


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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                         Contributor                                                                 Title
                                                            TEVA to acquire AGN's generic business - see multi-stock reaction (TEVA, AGN, PRGO + and MYL -
 7/27/2015   RBC Capital Markets
                                                            ) with TEVA CC at 8AM and AGN at 9AM ET
                                                            Specialty Pharma: Short Interest: Notable moves in PRGO and ENDP with small cap volatility in
 7/27/2015   RBC Capital Markets
                                                            EGRX, AGRX, FLXN
                                                            Perrigo Company - PRGO - Lipitor OTC not moving forward, loss of statin opportunity for PRGO a
 7/29/2015   RBC Capital Markets
                                                            modest negative
  8/2/2015   Clarivate Analytics                            Perrigo Co plc - Cortellis Company Detailed Pipeline Report
  8/2/2015   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
  8/3/2015   BTIG                                           Perrigo Company plc - Focus Back on Fundamentals with 2Q Results; Buy
  8/3/2015   Sadif Analytics Prime                          Is Perrigo Company PLC Worth a Higher Bid?
  8/4/2015   BMO Capital Markets                            Perrigo: 2Q Beat Loads the Bases (flash)
  8/5/2015   BTIG                                           Perrigo Company plc - Addition of Omega Boosts 2Q Results.; Buy
  8/5/2015   CFRA Equity Research                           Perrigo Co Plc
  8/5/2015   Deutsche Bank                                  Perrigo : Updating model for 2Q, still a Buy
  8/5/2015   Guggenheim Securities LLC                      PRGO - BUY - 2Q15 Beat and Upsides in '15+ Underscore Some Things Are Better Left Alone
  8/5/2015   Leerink Partners LLC                           Okay 2Q, But Disappointing 2H'15 Outlook; $177 Stand-Alone Valuation
  8/5/2015   Morningstar Credit Research                    Morningstar | Perrigo Reports Healthy Second Quarter as Uncertainty of Mylan Offer Remains

  8/5/2015   Morningstar, Inc.                              Morningstar | Perrigo Reports Healthy Second Quarter as Uncertainty of Mylan Offer Remains
                                                            PRGO - 2Q beat on solid margins but US Consumer below consensus while unchanged guidance may
  8/5/2015   RBC Capital Markets
                                                            temper 2H2015 outlook - CC at 10AM ET

  8/5/2015   Thomson Reuters StreetEvents                   PRGO.N - Event Brief of Perrigo Company PLC conference call, Aug. 05, 2015 / 10:00AM ET

  8/5/2015   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Aug. 05, 2015 / 10:00AM ET
  8/5/2015   UBS Equities                                   Perrigo "Fundamentals Remain Strong" (Neutral) Goodman
  8/5/2015   UBS Equities                                   Perrigo "Quite a Good time for a Nice EPS Beat" (Neutral) Goodman
  8/6/2015   BMO Capital Markets                            PRGO--Model Update: 2Q Strengthens Position(comment)
                                                            MYL - NEUTRAL - 2Q15 Beat and Raise Is What People Wanted to See; All Eyes on PRGO Deal
  8/6/2015   Guggenheim Securities LLC
                                                            Vote Now
  8/6/2015   Jefferies                                      Perrigo: PRGO: BUY: Solid Q2 Results; Four Key Takeaways


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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                           Contributor                                                              Title
                                                            MYL 2Q generally in-line with guidance raised; "steadfast" commitment to PRGO deal as expected, CC
  8/6/2015   RBC Capital Markets
                                                            at 10AM ET

  8/6/2015   RBC Capital Markets                            Perrigo Company - Take-out potential still driving the stock - two major near-term events to focus on
  8/7/2015   Leerink Partners LLC                           In-line 2Q, Focus on Consolidation, PRGO or Alternative Asset
                                                            PRGO - new presentation filed last night highlights increasingly aggressive stance against a deal - our
  8/7/2015   RBC Capital Markets
                                                            quick thoughts
  8/7/2015   William Blair & Company                        Perrigo Company:Second Quarter in line Although Organic Sales a Bit Light
 8/10/2015   Argus Research Corporation                     Argus Analyst Report, PRGO
 8/13/2015   Guggenheim Securities LLC                      TEVA, MYL, MNK, ENDP, PRGO - Are We Starting to Look More Alike?
 8/17/2015   BTIG                                           Perrigo Company plc - The Best Defense Is a Good Offense; Buy
 8/17/2015   Morningstar Credit Research                    Morningstar | Perrigo's acquisition strategy has added leverage to its balance sheet.
 8/24/2015   Egan-Jones                                     Egan-Jones on Perrigo Co. Plc
 8/25/2015   BMO Capital Markets                            Perrigo: Update on Status (flash)
 8/26/2015   ValuEngine, Inc.                               ValuEngine Rating and Forecast Report for PRGO
 8/27/2015   Wright Reports                                 Wright Investors Service Comprehensive Report for Perrigo Company PLC
 8/28/2015   BMO Capital Markets                            Perrigo: Mylan Shareholders Approve PRGO Bid; All Eyes on PRGO's Next Move (flash)
                                                            Perrigo Company plc - More Tuck-in Deals Expected from Perrigo Near Term; Mylan Tender of PRGO
 8/28/2015   BTIG
                                                            Shares Sept.14; Buy
 8/28/2015   Leerink Partners LLC                           MYL Shareholder Vote Paves Way For Hostile Bid For PRGO (MP)
 8/28/2015   RBC Capital Markets                            MYL gains shareholder approval to move forward on PRGO as expected - hurdles to a deal remain
  9/3/2015   GlobalData                                     Perrigo Company Plc (PRGO) - Financial and Strategic SWOT Analysis Review
  9/6/2015   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
  9/6/2015   Clarivate Analytics                            Perrigo Co plc - Cortellis Company Detailed Pipeline Report
                                                            MYL to commence tender offer for PRGO on 9/14 as anticipated - we still see favorable risk/reward in
  9/8/2015   RBC Capital Markets
                                                            MYL
 9/10/2015   BMO Capital Markets                            Perrigo - We Believe PRGO Is Better Off Without MYL(comment)
 9/14/2015   CFRA Equity Research                           Perrigo Co Plc
                                                            We think ENDP is an attractive option for PRGO: Why this makes sense and could be highly accretive
 9/15/2015   RBC Capital Markets
                                                            per our analysis
 9/17/2015   BTIG                                           Perrigo Company plc - The Best Way to Defend Against Mylan… Buy
 9/17/2015   Jefferies                                      Perrigo: PRGO: BUY: PRGO Thoroughly Rejects MYL's Offer; 4 Key Takeaways


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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                          Contributor                                                           Title
                                                            Perrigo Company - PRGO - where we go from here post investor call, presentation and our discussion
 9/17/2015    RBC Capital Markets
                                                            with management

 9/17/2015    Thomson Reuters StreetEvents                  PRGO.N - Event Transcript of Perrigo Company PLC conference call, Sep. 17, 2015 / 12:55PM ET
 9/17/2015    Thomson Reuters StreetEvents                  PRGO.N - Event Brief of Perrigo Company PLC conference call, Sep. 17, 2015 / 8:00AM ET
 9/17/2015    Thomson Reuters StreetEvents                  PRGO.N - Event Transcript of Perrigo Company PLC conference call, Sep. 17, 2015 / 8:00AM ET
 9/17/2015    UBS Equities                                  U.S. Specialty Pharmaceuticals "Perrigo Comes Out Swinging Hard" Goodman
 9/18/2015    BMO Capital Markets                           Perrigo: Rejects Bid Convincingly...Now What? (flash)
 9/18/2015    RBC Capital Markets                           PRGO path ahead and feedback we heard on a hypothetical deal with ENDP:
 9/24/2015    BuySellSignals Research                       Perrigo adds US$494.1M in MCap in 2015, leads Chemical, Rubber & Plastic sector gains
 9/24/2015    Guggenheim Securities LLC                     PRGO - BUY - Reasons Not to Be Persuaded by the Fear Factors
 9/26/2015    Morningstar, Inc.                             Morningstar | PRGO Updated Star Rating from 25 Sep 2015
 9/28/2015    Morningstar Credit Research                   Morningstar | Pricing Concerns in Specialty Pharma Industry Creates Some Buying Opportunities

 9/29/2015    Morningstar Credit Research                   Morningstar | Pricing Concerns in Specialty Pharma Industry Creates Some Buying Opportunities

 9/29/2015    Morningstar, Inc.                             Morningstar | Pricing Concerns in Specialty Pharma Industry Creates Some Buying Opportunities
 9/29/2015    Reuters - The Day Ahead Report                THE DAY AHEAD - North America (September 30)
 10/5/2015    Leerink Partners LLC                          PRGO Deal Better Than Described in Press Release; Blox Market Still Strong
 10/5/2015    Wright Reports                                Wright Investors Service Comprehensive Report for Perrigo Company PLC
 10/13/2015   Jefferies                                     Perrigo: PRGO: BUY: Thoughts on MYL's Presentation to PRGO Investors
 10/13/2015   Leerink Partners LLC                          Mgmt Pitches PRGO Deal Ahead of Tender Deadline; We See Deal As Unlikely
 10/14/2015   BTIG                                          Mylan N.V. - Mylan Reiterates its Offer for Perrigo; Now We Wait for Perrigo’s Response
                                                            Mylan stands before the jury, J gabfest is dominated by deal-talk, volume surge at Colfax ends up front-
 10/14/2015 Gordon Haskett
                                                            running blowup [MYL, PRGO, JNJ, CFX, AKRX, JAH, SFLY]

 10/14/2015 RBC Capital Markets                             MYL call to discuss hostile PRGO deal falls short: We see more value in PRGO standalone - raising PT
 10/21/2015 BTIG                                            Perrigo Company plc - Tweaking 3Q EPS; Fundamentals Remain Strong; Buy
                                                            Perrigo: PRGO: BUY: Disappointing Setback for Tysabri in SPMS, but No Impact on Our PRGO
 10/21/2015 Jefferies
                                                            Model




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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                        Contributor                                                                Title
                                                            Perrigo Company - PRGO - BIIB misses on Tysabri SPMS removing important optionality to block
 10/21/2015 RBC Capital Markets
                                                            MYL take-out of PRGO
 10/21/2015 UBS Equities                                    First Read: Perrigo "Wild Card Eliminated" (Neutral) Goodman
                                                            Perrigo Company plc - Updating Forecasts; Stock Repurchase Announced; Maintain Buy but Lowering
 10/22/2015 BTIG
                                                            PT to $190 (from $223)
 10/22/2015   CFRA Equity Research                          Perrigo Co Plc
 10/22/2015   Deutsche Bank                                 Perrigo : Solid 2016 outlook
 10/22/2015   Guggenheim Securities LLC                     PRGO - BUY - Papa We HEAR You
 10/22/2015   Leerink Partners LLC                          White Knight & Defensive M&A Unlikely; PRGO Independence Best Outcome, Our View
 10/22/2015 Morningstar Credit Research                     Morningstar | Perrigo Announces Cost Savings and Share Repurchases to Deter Mylan’s Tender Offer

 10/22/2015 Morningstar, Inc.                               Morningstar | Perrigo Announces Cost Savings and Share Repurchases to Deter Mylan’s Tender Offer
                                                            Perrigo Company - PRGO reports 3Q upside, announces strategic initiatives, buyback and 2016
 10/22/2015 RBC Capital Markets
                                                            guidance - key question is whether it's enough
 10/22/2015 Thomson Reuters StreetEvents                    PRGO.N - Event Brief of Perrigo Company PLC conference call, Oct. 22, 2015 / 8:00AM ET
 10/22/2015 Thomson Reuters StreetEvents                    PRGO.N - Event Transcript of Perrigo Company PLC conference call, Oct. 22, 2015 / 8:00AM ET
 10/22/2015 UBS Equities                                    Perrigo "Now We Wait" (Neutral) Goodman
 10/22/2015 UBS Equities                                    Perrigo "Good Qtr; Following Allergan's Lead" (Neutral) Goodman
 10/22/2015 ValuEngine, Inc.                                ValuEngine Rating and Forecast Report for PRGO
                                                            Perrigo: PRGO: BUY: Solid Q3 Results But No M&A Ahead of Nov 13 Tender Expiry; 4 Key
 10/23/2015 Jefferies
                                                            Takeaways

 10/23/2015 RBC Capital Markets                             Perrigo Company - PRGO announces shareholder-friendly initiatives; unclear if they will be rewarded

 10/23/2015 William Blair & Company                         Perrigo Company:Third-Quarter Results Free of Major Drama; New Efficiency Initiatives Announced

 10/28/2015 Guggenheim Securities LLC                       AGN, MYL, TEVA, ENDP, PRGO - When Being Too Cheap Has Unintended Consequences
                                                            PRGO/MYL hostile deal process: Our analysis implies equity support to PRGO in a "no MYL" deal
 10/28/2015 RBC Capital Markets
                                                            scenario
 10/29/2015 BuySellSignals Research                         Perrigo climbs 11.0% in trailing year
 10/30/2015 Guggenheim Securities LLC                       MYL - NEUTRAL - Outcome of PRGO Tender Offer Overshadows 3Q15 Beat



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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

   Date                          Contributor                                                                   Title
 11/4/2015    Sadif Analytics Prime                         Will Perrigo Company PLC Build Solid Long-Term Returns?
                                                            Specialty Pharma: Short Interest: SI lower for first time in 3-mos - closer look at INSY, ENDP, MYL,
 11/10/2015 RBC Capital Markets
                                                            PRGO
 11/10/2015 SEENSCO                                         Coverage Initiated on Perrigo Co PLC
 11/10/2015 Thomson Reuters StreetEvents                    PRGO.N - Event Transcript of Perrigo Company PLC conference call, Nov. 10, 2015 / 3:00PM ET
 11/11/2015   Egan-Jones                                    Egan-Jones on Perrigo Co. Plc
 11/11/2015   Guggenheim Securities LLC                     PRGO - BUY - Think About What Could Happen After Friday
 11/12/2015   Sadif Analytics Prime                         Perrigo Company PLC: Upgraded to Average
 11/13/2015   CFRA Equity Research                          Perrigo Co Plc
                                                            Perrigo wins with room to spare, Edgewell stumbles out of the chute, no sign of studio pivot at Viacom
 11/13/2015 Gordon Haskett
                                                            [PRGO, MYL, EPC, VIA/B, NUAN, KLXI, MSFT, WSH, TW]
                                                            Perrigo: PRGO: BUY: PRGO Successfully Fends Off the MYL Tender Offer; Now Back to Business
 11/13/2015 Jefferies
                                                            As Usual
                                                            Morningstar | Mylan's Tender Offer for Perrigo Fails; Boosting Bond Recommendations to Market
 11/13/2015 Morningstar Credit Research
                                                            Weight
 11/13/2015 Morningstar, Inc.                               Morningstar | Mylan Fails To Reach Tender Threshold in Hostile Takeover Attempt of Perrigo
 11/13/2015 RBC Capital Markets                             MYL tender for PRGO fails - where we see both stocks trading and what this means from here
 11/15/2015   UBS Equities                                  Perrigo "Time to Refocus on Fundamentals" (Buy) Goodman
 11/16/2015   Gabelli & Company                             AKRX: No Deal for Mylan/Perrigo Puts Two Buyers Back in the Market - Buy
 11/17/2015   CFRA Equity Research                          Perrigo Co Plc
 11/17/2015   Morningstar Credit Research                   Morningstar | Perrigo's acquisition strategy has added leverage to its balance sheet.
                                                            Perrigo Company : Attractive Portfolio but Limited Fundamental Upside; Moving to Neutral Rating and
 11/18/2015 JPMorgan
                                                            $165 PT from Not Rated

 11/23/2015 RBC Capital Markets                             Perrigo Company - Entocort deal nicely accretive but unlikely to add support to the valuation debate
 11/23/2015   UBS Equities                                  Perrigo "Entocort Deal Appears to Be a Bit Expensive" (Buy) Goodman
 11/23/2015   William Blair & Company                       Perrigo Company:Small but Complementary Rx Acquisition Announced
 11/23/2015   Wright Reports                                Wright Investors Service Comprehensive Report for Perrigo Company PLC
 11/24/2015   Deutsche Bank                                 Perrigo : Raising estimates on Entocort deal
 12/2/2015    GlobalData                                    Perrigo Company Plc (PRGO) - Financial and Strategic SWOT Analysis Review
 12/3/2015    BuySellSignals Research                       Perrigo sinks 10.5% in trailing year


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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                       Contributor                                                                   Title
 12/3/2015    Morgan Stanley                                Perrigo Co.: Back to Basics; Resume at EW
 12/4/2015    Morningstar, Inc.                             Morningstar | PRGO Updated Star Rating from 03 Dec 2015
 12/6/2015    Clarivate Analytics                           Perrigo Co plc - Cortellis Company Detailed Pipeline Report
 12/6/2015    Clarivate Analytics                           Perrigo Co plc - Company and Drug Portfolio Report
 12/7/2015    JPMorgan                                      Perrigo Company : Sum-Of-The-Parts Analysis Shows Balanced Upside/Downside
 12/8/2015    CFRA Equity Research                          Perrigo Co Plc
 12/10/2015   Argus Research Corporation                    Argus Analyst Report, PRGO
 12/10/2015   RBC Capital Markets                           Perrigo Company - Framing the PRGO debate and where we stand on the stock
                                                            PRGO - BUY - Papa's Flying the Plane Again; We Expect Upward Earnings Revisions to Take This
 12/14/2015 Guggenheim Securities LLC
                                                            Stock Higher

 12/14/2015 Jefferies                                       Perrigo: PRGO: BUY: SOTP Exercise Reveals a Very Attractive Entry Point for PRGO Shares
 12/15/2015 Jefferies                                       PrimeTime US
 12/15/2015 Jefferies                                       PrimeTime Europe
 12/17/2015 RBC Capital Markets                             Perrigo Company - Another accretive generic bolt-on but it brings more debate around valuation

                                                            Validea Guru Analysis Report for PRGO. Analysis using Validea's interpretation of the published
 12/18/2015 Validea                                         quantitative strategies of well-known Wall Street experts including Peter Lynch, Warren Buffett, Ben
                                                            Graham and Ken Fisher, among others.
 12/22/2015   Deutsche Bank                                 Perrigo : Bumping up 2016+ EPS; consensus too low
 12/22/2015   Northland Securities                          Low-Cost Healthcare Leader; Initiating with Outperform & $195 PT
  1/3/2016    Clarivate Analytics                           Perrigo Co plc - Cortellis Company Detailed Pipeline Report
  1/3/2016    Clarivate Analytics                           Perrigo Co plc - Company and Drug Portfolio Report
  1/4/2016    Northland Securities                          Launch of First-to-Market Store Brand for Mucinex D ER; a Top Pick for 2016
  1/5/2016    Guggenheim Securities LLC                     PRGO - BUY - Getting Closer to Becoming a Perfect $10.00 in EPS
  1/5/2016    RBC Capital Markets                           Research at a Glance - [U.S.] Jan 5,2016
  1/5/2016    RBC Capital Markets                           Perrigo Company - Our thesis and 50+ questions for PRGO - attractive valuation but cautious on 4Q

  1/5/2016    Thomson Reuters StreetEvents                  PRGO.N - Event Transcript of Perrigo Company PLC conference call, Jan. 05, 2016 / 4:00PM ET
  1/6/2016    Wright Reports                                Wright Investors Service Comprehensive Report for Perrigo Company PLC
                                                            Our thoughts on Specialty Pharma into next week: 350+ questions - ENDP, MYL, PRGO, INSY,
  1/8/2016    RBC Capital Markets
                                                            AKRX, IPXL, EGRX and more


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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                         Contributor                                                             Title
 1/11/2016   JPMorgan                                       Perrigo Company : J.P. Morgan Conference Takeaways - ALERT
 1/11/2016   Northland Securities                           Perrigo Raises 2016 Non-GAAP EPS Guidance Range to $9.50-$10.10
                                                            Perrigo Company - PRGO guidance update implies some moderation to outlook adjusting for recent
 1/11/2016   RBC Capital Markets
                                                            M&A

 1/11/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Jan. 11, 2016 / 11:00AM ET
 1/11/2016   UBS Equities                                   Perrigo "Revised 2016 Guidance Seems Conservative" (Buy) Goodman
 1/12/2016   Morgan Stanley                                 Perrigo Co.: Adjusting model post conference
 1/12/2016   RBC Capital Markets                            Perrigo Company - Guidance update removes a risk to the stock; our thoughts on flu impact
 1/15/2016   Morningstar Credit Research                    Morningstar | Perrigo's acquisition strategy has added leverage to its balance sheet.
 1/16/2016   Morningstar, Inc.                              Morningstar | PRGO Updated Forecasts and Estimates from 15 Jan 2016
 1/19/2016   JPMorgan                                       Perrigo Company : Model Update Post J.P. Morgan Healthcare Conference
 1/27/2016   RBC Capital Markets                            Perrigo Company - PRGO 4Q Tysabri royalty in line - no impact to 4Q expectations
 1/27/2016   ValuEngine, Inc.                               ValuEngine Rating and Forecast Report for PRGO
                                                            Perrigo Company plc - Flonase OTC Launch a Key Product to Watch in ’16; Remain Positive on the
  2/2/2016   BTIG
                                                            Shares; Buy
  2/5/2016   Sadif Analytics Prime                          Is Perrigo Company PLC Worth a Higher Bid?
  2/9/2016   Guggenheim Securities LLC                      TEVA, VRX, ENDP, MNK, PRGO, ZTS - How to Survive Under the Fog of War
                                                            Perrigo Company plc - CVS Retail Pharmacies Advertising the Arrival of Store Brand OTC Flonase;
 2/16/2016   BTIG
                                                            Buy

 2/16/2016   RBC Capital Markets                            Perrigo Company - What to expect for 4Q; cautious on the quarter but potentially a clearing event
                                                            Specialty pharma: What to focus on in the week ahead: Thoughts on MYL, EGRX, AKRX and our
 2/16/2016   RBC Capital Markets
                                                            view on PRGO and SGNT earnings this week
                                                            Perrigo Company plc - Looking for a Strong OTC Flonase Launch; European OTC Experience “Sturm
 2/17/2016   BTIG
                                                            und Drang”
 2/17/2016   Morningstar, Inc.                              Morningstar | PRGO Updated Forecasts and Estimates from 16 Feb 2016
                                                            Post Q4 2015 Results Review A Weak Quarter Following the Omega Acquisition Time to Consider a
 2/18/2016   Bank of Jerusalem
                                                            New Direction?
 2/18/2016   Barclays                                       PRGO 4Q15 First Impression - US Spec Pharma
 2/18/2016   CFRA Equity Research                           Perrigo Co Plc
 2/18/2016   Deutsche Bank                                  Perrigo : Lowering PT to $172 post-4Q miss, keeping Buy
 2/18/2016   Guggenheim Securities LLC                      PRGO - BUY - Rain Showers Will Bring May Flowers; Still Like PRGO Despite 4Q15 Miss


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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                         Contributor                                                          Title
                                                            Perrigo: PRGO: BUY: Major BCH Disappointment Overshadows Solid CHC Results; 4 Key
 2/18/2016   Jefferies
                                                            Takeaways

 2/18/2016   Jefferies                                      Perrigo: PRGO: BUY: Resetting BCH Expectations Post Recent Disappointing Results; PT to $163
                                                            Perrigo Company : 4Q Initial Thoughts; Disappointing Branded Consumer Trends Driving Miss, Write-
 2/18/2016   JPMorgan
                                                            Down - ALERT
 2/18/2016   Leerink Partners LLC                           4Q Wrap-Up: Disappointing Start to '16, More Questions About Organic Growth
 2/18/2016   Morgan Stanley                                 Perrigo: Disappointing 4Q and guidance; awaiting 2016 execution
 2/18/2016   Morningstar Credit Research                    Morningstar | Despite Omega Stumble, We Don’t See Major Shift in Perrigo’s Long-Term Outlook

 2/18/2016   Morningstar, Inc.                              Morningstar | Despite Omega Stumble, We Don’t See Major Shift in Perrigo’s Long-Term Outlook
 2/18/2016   Northland Securities                           First Look-C4Q15, Hiccups in Branded Consumer Health and Lower Rx Clip Results
                                                            Perrigo Company - PRGO - thoughts after talking to management; still a good business but we're in no
 2/18/2016   RBC Capital Markets
                                                            rush to own the stock
 2/18/2016   RBC Capital Markets                            Perrigo Company - PRGO misses 4Q with 2016 guidance lowered; CC at 8AM ET
 2/18/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Brief of Perrigo Company PLC conference call, Feb. 18, 2016 / 8:00AM ET
 2/18/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Feb. 18, 2016 / 8:00AM ET
 2/18/2016   UBS Equities                                   Perrigo "This is Still a Very Good Business" (Buy) Goodman
 2/18/2016   UBS Equities                                   Perrigo "Disappointing Quarter" (Buy) Goodman
 2/19/2016   Barclays                                       PRGO - Additional thoughts on 4Q - Barclays US Spec Pharma
                                                            Perrigo Company : Thoughts Post Selloff; Remain Neutral On Continued Uneven Business
 2/19/2016   JPMorgan
                                                            Performance, Limited Catalysts
 2/19/2016   Morgan Stanley                                 Perrigo Co.: 2016 a "show me" year; results should accelerate in 2H
 2/19/2016   Northland Securities                           "Show-Me" Story after Perrigo's 4Q15; Cut Target to $171 from $195
 2/19/2016   RBC Capital Markets                            Perrigo Company - Where we stand on PRGO from here; lowering target and remain on the sidelines
 2/19/2016   Wells Fargo Securities, LLC                    PRGO: Initiate At Outperform, Despite Heavy Lifting Ahead
 2/22/2016   Barclays                                       Perrigo Co., Plc.: Staying in 'show-me' mode
                                                            Perrigo Company:Fourth Quarter Below Expectations on Branded Consumer Healthcare Softness;
 2/22/2016   William Blair & Company
                                                            Guidance and Estimates Trimmed
 2/22/2016   Wright Reports                                 Wright Investors Service Comprehensive Report for Perrigo Company PLC


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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                       Contributor                                                                     Title
 2/23/2016   Morningstar Credit Research                    Morningstar | Perrigo's acquisition strategy has added leverage to its balance sheet.
 2/24/2016   RBC Capital Markets                            Perrigo Company - Perrigo (NYSE: PRGO) Takeaways from RBC Healthcare Conference
 2/24/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Feb. 24, 2016 / 8:00AM ET
 2/25/2016   BuySellSignals Research                        Perrigo sinks 18.8%
 2/29/2016   Sadif Analytics Prime                          Perrigo Company PLC: Downgraded to Below Average
                                                            TEVA, MYL, PRGO, ENDP, MNK - Not Going to Be Left Exposed Because the Tide Is Not Going
  3/1/2016   Guggenheim Securities LLC
                                                            Out Yet
                                                            Specialty Pharma: Top read notes in February: AGN focus high as spread narrows; MYL and PRGO on
  3/1/2016   RBC Capital Markets
                                                            outlook, management meetings
  3/2/2016   GlobalData                                     Perrigo Company Plc (PRGO) - Financial and Strategic SWOT Analysis Review
  3/7/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Mar. 07, 2016 / 4:00PM ET
                                                            Perrigo Company plc - CVS Store Brand OTC Flonase Launched, But It Is Not Perrigo’s Product;
  3/8/2016   BTIG
                                                            Could It Be Apotex?
                                                            Perrigo Company plc - CVS Retail Pharmacies Now Have Store Brand OTC Flonase on the Shelves;
  3/8/2016   BTIG
                                                            Buy
  3/8/2016   Northland Securities                           Takeaways from Recent Presentation; PRGO's Valuation at Attractive Levels
  3/8/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Mar. 08, 2016 / 8:05AM ET
 3/13/2016   UBS Equities                                   Perrigo "The Business Is Too Good Not to Keep the Faith" (Buy) Goodman
                                                            TEVA, MYL, VRX, PRGO, SHPG, ENDP, MNK, HZNP - Slap Me with Some Butter Because I'm on
 3/14/2016   Guggenheim Securities LLC
                                                            a Roll....Up

 3/15/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Mar. 15, 2016 / 10:15AM ET
 3/17/2016   Morningstar, Inc.                              Morningstar | PRGO Updated Star Rating from 16 Mar 2016
 3/18/2016   Minkabu                                        Perrigo Company PLC Report [2016-03-18]
 3/25/2016   Minkabu                                        Perrigo Company PLC Report [2016-03-25]
  4/4/2016   Clarivate Analytics                            Perrigo Co plc - Cortellis Company Detailed Pipeline Report
  4/4/2016   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
  4/4/2016   Wright Reports                                 Wright Investors Service Comprehensive Report for Perrigo Company PLC
  4/6/2016   Argus Research Corporation                     Argus Analyst Report, PRGO




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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                         Contributor                                                              Title
                                                            AGN, VRX, TEVA, MYL, ENDP, MNK, PRGO, HZNP, JAZZ - One Size Fits All Takes the Fun Out
  4/8/2016   Guggenheim Securities LLC
                                                            of Fashion
  4/8/2016   Minkabu                                        Perrigo Company PLC Report [2016-04-08]
 4/11/2016   RBC Capital Markets                            PRGO competition on Entocort has arrived from AGN; our thoughts on impact
 4/12/2016   RBC Capital Markets                            Perrigo Company - PRGO launch of Glucerna an incremental positive in core Consumer business
 4/13/2016   Guggenheim Securities LLC                      PRGO - BUY - What the Odds and Ends May Mean for 1Q16 and the Rest of the Year
 4/15/2016   Egan-Jones                                     Egan-Jones on Perrigo Co. Plc
 4/19/2016   Leerink Partners LLC                           Morning Rounds - April 19, 2016
 4/19/2016   ValuEngine, Inc.                               ValuEngine Rating and Forecast Report for PRGO
 4/20/2016   RBC Capital Markets                            Perrigo Company - Revisiting model and the bull/bear thesis on the stock; we are lowering EPS
 4/21/2016   Guggenheim Securities LLC                      PRGO - BUY - Tysabri Royalty Is In Line to Incrementally Higher Than Consensus
                                                            AGN, VRX, TEVA, MYL, SHPG, PRGO, ENDP, MNK, HZNP, JAZZ - How Tax Reform Could
 4/21/2016   Guggenheim Securities LLC
                                                            Leave MNCs Wearing The Emperor's New Clothes
                                                            Perrigo Company - PRGO and sector cross-read from BIIB and NVS; feedback from our PRGO note
 4/21/2016   RBC Capital Markets
                                                            yesterday

 4/22/2016   BTIG                                           What Happens if Perrigo's CEO Joe Papa Goes to Valeant? - Potential Successors at Perrigo Do Exist

 4/22/2016   Jefferies                                      Perrigo: PRGO: BUY: Key Considerations for PRGO in the Wake of Possible CEO Departure
 4/22/2016   Minkabu                                        Perrigo Company PLC Report [2016-04-22]
 4/22/2016   Morningstar Credit Research                    Morningstar | Reports of Joe Papa Joining Valeant Positive for Struggling Firm but Negative for Perrigo

 4/22/2016   Morningstar, Inc.                              Morningstar | Reports of Joe Papa Joining Valeant Positive for Struggling Firm but Negative for Perrigo
 4/22/2016   Northland Securities                           Report of Chairman/CEO Departure Sending PRGO Shares to Two-Year Lows
                                                            Perrigo Company - PRGO - WSJ report that CEO Joe Papa may resign to take the lead at VRX
 4/22/2016   RBC Capital Markets
                                                            introduces more uncertainty into PRGO
 4/22/2016   UBS Equities                                   First Read: Perrigo "Perrigo Would Be Sorry to See Joe Go" (Buy) Goodman
                                                            PRGO: Valeant Reportedly Finalizing A Contract With Perrigo's CEO Joseph Papa To Become
 4/22/2016   Wells Fargo Securities, LLC
                                                            Valeant's New CEO




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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                         Contributor                                                                Title
                                                            Specialty pharma: What to focus on this week: PRGO CEO update, DEPO closing arguments,
 4/24/2016   RBC Capital Markets
                                                            EGRX/TEVA TREANDA decision
 4/25/2016   Barclays                                       PRGO - A new CEO brings new expectations - Barclays US Spec Pharma
 4/25/2016   BTIG                                           Perrigo Company plc - Downgrade to Neutral…CEO Departure Leaves More Questions Than Answers
 4/25/2016   CFRA Equity Research                           Perrigo Co Plc
 4/25/2016   Deutsche Bank                                  Perrigo : Stepping aside for now, lowering to Hold from Buy
                                                            Perrigo looks like a sitting duck, Honeywell quietly says Grace, aerospace chatter and The BEAV
 4/25/2016   Gordon Haskett
                                                            (PRGO, GRA, BEAV, MRVL, UMPQ, CP, ZTS)
 4/25/2016   JPMorgan                                       Perrigo Company : Remain Cautious On A Number Of Fundamental Challenges; Lower PT
 4/25/2016   JPMorgan                                       Perrigo Company : Preannounces Significant 2016 Shortfall With New CEO Appointment - ALERT
 4/25/2016   Leerink Partners LLC                           Lowering Ests Reflecting Updated Guidance Outlook; PT to $112, Remain MP
 4/25/2016   Morgan Stanley                                 Perrigo Co.: Numbers step down; new CEO named
                                                            Morningstar | Valeant Recruits Perrigo's CEO; Moving Perrigo to Underweight on the Change and
 4/25/2016   Morningstar Credit Research
                                                            Weak Outlook
 4/25/2016   Morningstar, Inc.                              Morningstar | PRGO Updated Star Rating from 25 Apr 2016
                                                            Morningstar | Perrigo Previews Disappointing Performance as Management and Operational Issues
 4/25/2016   Morningstar, Inc.
                                                            Mount
 4/25/2016   Northland Securities                           Ex-CEO Departs; Perrigo Sees Shortfall for 1Q16 and 2016 EPS, Cut PT to $139
                                                            Perrigo Company - PRGO - post discussion with PRGO we have four thoughts on the current debate
 4/25/2016   RBC Capital Markets
                                                            and our view on cross-read
                                                            Perrigo Company - PRGO - CEO change official and 1Q preannounced with guidance moving
 4/25/2016   RBC Capital Markets
                                                            meaningfully lower
 4/25/2016   UBS Equities                                   First Read: Perrigo "New Management Resetting Expectations" (Buy) Goodman
 4/25/2016   Wells Fargo Securities, LLC                    PRGO: Downgrading To Market Perform--Too Much Uncertainty
 4/25/2016   William Blair & Company                        Perrigo Company:New CEO Announced; Full-Year Guidance Reduced
 4/26/2016   Barclays                                       Perrigo Co., Plc.: No shortage of frustration
 4/26/2016   CFRA Equity Research                           Perrigo Co Plc
                                                            Sun Pharma. NEUTRAL. Quick Take: Perrigo-Taro overlap low; impact of Perrigo guidance cut low
 4/26/2016   Credit Suisse
                                                            for Taro
                                                            Seeing Perrigo as Team Health 2.0, LabCorp throws shade INCR's way, still waiting on Lonza move on
 4/26/2016   Gordon Haskett
                                                            Catalent (PRGO, INCR, CTLT, ROP, BEAV)



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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                          Contributor                                                                    Title
                                                            Perrigo: PRGO: HOLD: Major Guidance Cut & Seemingly Full Valuation Offer Limited Upside; D/G
 4/26/2016   Jefferies
                                                            to Hold
 4/26/2016   Morgan Stanley                                 Perrigo Co.: Cutting forecasts and PT; expect lowering of LT growth; see SOTP
 4/26/2016   Morningstar Credit Research                    Morningstar | Perrigo's debt leverage is still inflated after acquisitions.
 4/26/2016   Morningstar, Inc.                              Morningstar | PRGO Updated Star Rating from 26 Apr 2016
 4/26/2016   RBC Capital Markets                            Perrigo Company - We are not chasing the stock here; detailed look at valuation and sector cross-read
                                                            PRGO - BUY - Still Like Growth Prospects in 2H16+, but Papa Issues Drive Us to Lower PT to $125
 4/27/2016   Guggenheim Securities LLC
                                                            from $185
  5/1/2016   RBC Capital Markets                            Specialty Pharma: Top read notes in April: Focus high on AGN, PRGO and TEVA
  5/6/2016   Minkabu                                        Perrigo Company PLC Report [2016-05-06]
  5/8/2016   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
  5/8/2016   Clarivate Analytics                            Perrigo Co plc - Cortellis Company Detailed Pipeline Report
                                                            Specialty Pharma: Where we are focused this week: Several important updates; TEVA, AGN, PRGO
  5/8/2016   RBC Capital Markets
                                                            earnings among others

  5/8/2016   RBC Capital Markets                            Perrigo Company - Three primary questions that matter to outlook; important update coming this week
 5/12/2016   Barclays                                       PRGO 1Q16 First Impressions
 5/12/2016   Blueshift Research                             Perrigo Idea Proposal - May 2016
                                                            Perrigo Company plc - New CEO Takes the Helm; Generic Pricing Headwinds Seem to Be Here to
 5/12/2016   BTIG
                                                            Stay; Lowering Estimates
                                                            PRGO - BUY - Don't Put This One Back on the Shelf Yet, 1Q16 Results and Outlook Underscores
 5/12/2016   Guggenheim Securities LLC
                                                            Patience Could Be Well Rewarded

 5/12/2016   Jefferies                                      Perrigo: PRGO: HOLD: Refining Model Post Q1; Seemingly Better Product Mix but Lower Visibility

 5/12/2016   Jefferies                                      Perrigo: PRGO: HOLD: New CEO Debuts, but Underlying Businesses Face Tough Near Term Outlook
 5/12/2016   JPMorgan                                       Perrigo Company : Model Update
                                                            Perrigo Company : 1Q Takeaways; No Major Surprises Following April Preannouncement, Watching
 5/12/2016   JPMorgan
                                                            Rx and Branded Consumer Results Going Forward - ALERT
 5/12/2016   Leerink Partners LLC                           New CEO Up For Challenge, But Fixes Won't Be Quick
 5/12/2016   Morgan Stanley                                 Perrigo: Financials largely as expected following April 25 cut




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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                          Contributor                                                               Title
                                                            Morningstar | Perrigo Faces a Number of Challenges in Tough First Quarter, but Problems Appear
 5/12/2016   Morningstar Credit Research
                                                            Solvable
 5/12/2016   Northland Securities                           Perrigo's 1Q16 Results--Reported $1.75 in EPS; In Line w/ Recent Warning
                                                            Perrigo Company - Execution plan clear from here; improved performance in Rx and BCH key to
 5/12/2016   RBC Capital Markets
                                                            upside
 5/12/2016   RBC Capital Markets                            Perrigo Company - PRGO thoughts post 1Q call and follow-up discussion with management
                                                            Perrigo Company - PRGO 1Q brought some expected moving parts but no big surprises; CC at 8AM
 5/12/2016   RBC Capital Markets
                                                            ET
 5/12/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Brief of Perrigo Company PLC conference call, May 12, 2016 / 8:00AM ET
 5/12/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, May 12, 2016 / 8:00AM ET
 5/12/2016   UBS Equities                                   Perrigo "No Major Surprises" (Buy) Goodman
 5/12/2016   Wells Fargo Securities, LLC                    PRGO: Q1 Met Expectations--2016 Guidance, $8.20-$8.60, Unchanged
 5/13/2016   Barclays                                       PRGO: Eleventh hour switch up delays 10-Q - Barclays US Spec Pharma
 5/13/2016   Barclays                                       Perrigo Co., Plc.: The value of roots
 5/13/2016   Deutsche Bank                                  Perrigo : 1Q as expected, more color on '16 drivers
                                                            "Flo" has a new boss at Progressive, remembering BASF's last bear hug, the window is open at Perrigo
 5/13/2016   Gordon Haskett
                                                            (PGR, ALL, MON, BASF, PRGO, CTLT)
                                                            Jefferson Research Financial Sonar Report. A detailed analysis of the current fundamental performance
 5/13/2016   Jefferson Research                             of PERRIGO CO PLC including Earnings Quality, Cash Flow Quality, Operating Efficiency, Balance
                                                            Sheet Quality and Valuation.
 5/13/2016   Morgan Stanley                                 Perrigo Co.: Navigating against uncertain tides
                                                            Morningstar | Perrigo Faces a Number of Challenges in Tough First Quarter, but Problems Appear
 5/13/2016   Morningstar, Inc.
                                                            Solvable
 5/13/2016   Northland Securities                           Post-1Q16; Estimates Little Changed; Stays OP-Rated but Target Cut to $123
 5/13/2016   RBC Capital Markets                            MYL - four thoughts on the Renaissance deal announced this morning; we still expect a 3Q Meda close

 5/13/2016   William Blair & Company                        Perrigo Company:First-Quarter Results as Preannounced; 2016 Guidance as Recently Provided
 5/15/2016   Wells Fargo Securities, LLC                    PRGO: Q1 EPS of $1.75 Met Expectations--Guidance Maintained
                                                            TEVA, MYL, ENDP, PRGO, IPXL, AKRX, ANIP - Don't Have to Wait for the Holidays to Get Under
 5/19/2016   Guggenheim Securities LLC
                                                            the Mistletoe
 5/19/2016   Morningstar, Inc.                              Morningstar | PRGO Updated Star Rating from 18 May 2016


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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                       Contributor                                                                 Title
 5/20/2016   Wells Fargo Securities, LLC                    PRGO: On The Road--Perrigo Management Meeting
                                                            Morningstar | Perrigo Faces a Number of Challenges in Tough First Quarter, but Problems Appear
 5/23/2016   Morningstar Credit Research
                                                            Solvable
 5/23/2016   RBC Capital Markets                            Perrigo Company - 100+ questions with our views ahead of our upcoming meetings with management
                                                            Specialty pharma: What we are focused on this week: Generics "cycle" report feedback, big week for
 5/23/2016   RBC Capital Markets
                                                            TEVA "specialty", PRGO, ENDP
 5/24/2016   Egan-Jones                                     Egan-Jones on Perrigo Co. Plc
 5/24/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, May 24, 2016 / 1:30PM ET
 5/24/2016   UBS Equities                                   UBS Global Healthcare Conference "Perrigo (PRGO)" Goodman
 5/30/2016   Wright Reports                                 Wright Investors Service Comprehensive Report for Perrigo Company PLC
 5/31/2016   RBC Capital Markets                            Perrigo Company - PRGO receives its awaited OTC approval for fluticasone; our quick thoughts
                                                            Specialty Pharma: Where we are focused this week: PRGO management meetings, our incoming call
 5/31/2016   RBC Capital Markets
                                                            volume, and TEVA's SD-809?
  6/1/2016   BTIG                                           Perrigo Company plc - OTC Flonase Launching as Partner Receives Approval
  6/3/2016   Blueshift Research                             Perrigo Report Summary
  6/3/2016   RBC Capital Markets                            Perrigo Company - Management meeting takeaways and our view on the path to a turnaround
  6/5/2016   BuySellSignals Research                        Perrigo tumbles 33% in 2016, leads Chemical, Rubber & Plastic sector
                                                            Specialty Pharma: Where we are focused this week: Several imminent catalysts, AHS, EGA/IGBA
  6/6/2016   RBC Capital Markets
                                                            conferences, PRGO meeting feedback
  6/9/2016   GlobalData                                     Perrigo Company Plc (PRGO) - Financial and Strategic SWOT Analysis Review
 6/10/2016   RBC Capital Markets                            Specialty Pharma: Short Interest: We have taken a closer look at moves in ENDP, PRGO, EGRX, IPXL
 6/13/2016   Leerink Partners LLC                           Strategic Options for Beaten-up Names: More Favorable on PRGO Than ENDP
 6/15/2016   BTIG                                           Perrigo Company plc - Is There Interest in a Take Over of Perrigo Here? A $20B Fixer-Upper…
                                                            Alliance Data flying above Synchrony turbulence, B/E Aerospace tailwind may be easing, The Onion
 6/15/2016   Gordon Haskett
                                                            jerks Perrigo around (ADS, BEAV, FFIV, PANW, FEYE, RTN, PRGO)
 6/15/2016   JPMorgan                                       Perrigo Company : Thoughts On A Potential Transaction - ALERT
 6/16/2016   Minkabu                                        Perrigo Company PLC Report [2016-06-16]
 6/20/2016   Argus Research Corporation                     Argus Analyst Report, PRGO


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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                           Contributor                                                             Title
                                                            Specialty Pharma: Where we are focused this week: Feedback from road, thoughts on PRGO, and the
 6/20/2016   RBC Capital Markets
                                                            TEVA/AGN Gx deal

 6/21/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Jun. 21, 2016 / 9:05AM ET
 6/23/2016   Minkabu                                        Perrigo Company PLC Report [2016-06-23]
                                                            AGN, TEVA, MYL, VRX, PRGO, SHPG, ENDP, ZTS - BREXIT Impact Appears Minimal for Spec
 6/24/2016   Guggenheim Securities LLC
                                                            Pharma Companies
                                                            PRGO, MYL, VRX, TEVA - Bringing New Values to the Old World, How the EU Could Learn
 6/24/2016   Guggenheim Securities LLC
                                                            Something From the U.S. on OTC Drugs
 6/27/2016   RBC Capital Markets                            Specialty Pharma: Short Interest: We have taken a closer look at moves in AGN, PRGO, ENDP, EGRX

                                                            Validea Guru Analysis Report for PRGO. Analysis using Validea's interpretation of the published
  7/1/2016   Validea                                        quantitative strategies of well-known Wall Street experts including Peter Lynch, Warren Buffett, Ben
                                                            Graham and Ken Fisher, among others.
  7/3/2016   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
  7/4/2016   Wright Reports                                 Wright Investors Service Comprehensive Report for Perrigo Company PLC
                                                            TEVA, AGN, SHPG, ZTS, VRX, PRGO, MYL - Some Ideas To Get Out of Bed For After a Long
  7/5/2016   Guggenheim Securities LLC
                                                            Weekend
  7/6/2016   Morningstar, Inc.                              Morningstar | PRGO Updated Star Rating from 06 Jul 2016
  7/6/2016   UBS Equities                                   Perrigo "Lowering Numbers but Still See Upside" (Buy) Goodman
 7/12/2016   RBC Capital Markets                            Specialty Pharma: Short Interest: We have taken a closer look at moves in AGN, TEVA, PRGO, IPXL

 7/12/2016   RBC Capital Markets                            Perrigo Company - Revisiting our generic forecasts; reducing EPS and price target ahead of 2Q
 7/18/2016   Deutsche Bank                                  Perrigo : Tidbits from meetings with management
                                                            Specialty pharma: Where we are focused this week: MYL (Meda results), PRGO cross-read from
 7/18/2016   RBC Capital Markets
                                                            BIIB/JNJ, TEVA, DEPO and EGRX
 7/19/2016   RBC Capital Markets                            Specialty pharma: Sector cross-read from NVS and JNJ calls this morning
 7/20/2016   ValuEngine, Inc.                               ValuEngine Rating and Forecast Report for PRGO
 7/21/2016   RBC Capital Markets                            Perrigo Company - Lowering our Street-low EPS further; generic uncertainty remains our concern
 7/22/2016   Deutsche Bank                                  Perrigo : Upgrading to Buy; Taking a calculated risk during an uncertain period




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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                         Contributor                                                               Title
                                                            Pizzi Pounce looms at E*TRADE; HUM with a nice surprise, spinning a positive at Perrigo (ETFC,
 7/22/2016   Gordon Haskett
                                                            HUM, PRGO, SWK, BK, FNF)
 7/22/2016   Guggenheim Securities LLC                      VRX, PRGO, MNK, AKRX - Who is Going to Say Boo This Earnings Season?
                                                            Specialty pharma: Where we are focused this week: Thoughts on cross-read and three primary debates
 7/25/2016   RBC Capital Markets
                                                            on sector, PRGO and MYL
  8/2/2016   RBC Capital Markets                            Specialty Pharma: Top read notes in July: Primary focus this month on TEVA, PRGO, and DEPO
                                                            Where we are focused this week: Big week for sector earnings; our thoughts on AGN, ENDP, MYL and
  8/7/2016   RBC Capital Markets
                                                            PRGO
 8/10/2016   Barclays                                       PRGO: 2Q16 First Impressions - Barclays Spec Pharma
 8/10/2016   BTIG                                           Perrigo Company plc - Cutting Estimates Again; Generic Pricing Headwinds Seem Here to Stay
 8/10/2016   CFRA Equity Research                           Perrigo Co Plc
                                                            Sun Pharma. OUTPERFORM. Quick Take: Perrigo second guidance cut shows increasing competition
 8/10/2016   Credit Suisse
                                                            in derma segment
 8/10/2016   Deutsche Bank                                  Perrigo : Ideal set-up from here; Buy
 8/10/2016   Deutsche Bank                                  Perrigo Alert : Preliminary thoughts on PRGO release
                                                            Perrigo bounces off a third iceberg, car renters take different routes, Zebra breaks out of year-long
 8/10/2016   Gordon Haskett
                                                            reporting slump (PRGO, HTZ, CAR, ZBRA, KORS, MCY, TDC)
                                                            PRGO - BUY - Why We Think Humpty Dumpty Can Be Put Back Together Again Post 2Q16 Miss and
 8/10/2016   Guggenheim Securities LLC
                                                            Downward Earnings Revision

 8/10/2016   JPMorgan                                       Perrigo Company : Another Disappointing Guidance Update as Rx Profitability Fades - ALERT
 8/10/2016   Leerink Partners LLC                           Disappointing Guidance as Rx Headwinds Continue, PT to $81
 8/10/2016   Leerink Partners LLC                           2Q In-Line Result, But Massive '16 Guidance Downward Revision
 8/10/2016   Morgan Stanley                                 Perrigo: Management cut ’16 EPS guidance significantly
                                                            Morningstar | Competitive Pressures in Perrigo’s Generic Topicals Business Leads To Another
 8/10/2016   Morningstar Credit Research
                                                            Disappointing Quarter
                                                            Morningstar | Competitive Pressures in Perrigo’s Generic Topicals Business Leads To Another
 8/10/2016   Morningstar, Inc.
                                                            Disappointing Quarter
 8/10/2016   Northland Securities                           Perrigo's 2Q16 Results Miss; Guidance Cut for 2016 Raises Questions About 2017
 8/10/2016   RBC Capital Markets                            Perrigo Company - Thoughts following sell-off; guidance now reasonable but upside case still lacking



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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                       Contributor                                                                Title
                                                            Perrigo Company - PRGO - quick thoughts post 8:30AM ET call and our view on sector read-through
 8/10/2016   RBC Capital Markets
                                                            on Rx weakness
                                                            Perrigo Company - PRGO 2Q missed and guidance cut meaningfully on the back of Rx pressure; CC at
 8/10/2016   RBC Capital Markets
                                                            8:30AM ET

 8/10/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Brief of Perrigo Company PLC conference call, Aug. 10, 2016 / 8:30AM ET

 8/10/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Aug. 10, 2016 / 8:30AM ET
 8/10/2016   UBS Equities                                   Perrigo "Remaining Patient through the Transition" (Buy) Goodman
 8/10/2016   UBS Equities                                   Perrigo "OK Quarter; Disappointing Revised Guidance" (Buy) Goodman
 8/10/2016   Wells Fargo Securities, LLC                    PRGO: Another Big Miss And Guidance Drops Again
 8/11/2016   Barclays                                       Perrigo Co., Plc.: (Another) double-take on guidance
 8/11/2016   CFRA Equity Research                           Perrigo Co Plc
                                                            TEVA, MYL, PRGO, ENDP, AKRX, IPXL - Don't Let the Sun Get in Your Eyes; Generic Drug
 8/11/2016   Guggenheim Securities LLC
                                                            Pricing Could Improve 2H16
                                                            Perrigo: PRGO: HOLD: Second Major Guidance Reset as Generics, Europe Remain Weak; Lowering
 8/11/2016   Jefferies
                                                            PT to $84
                                                            Perrigo Company : Thoughts Post 2Q; Uncertain Fundamental Outlook and Premium Valuation Keep
 8/11/2016   JPMorgan
                                                            Us Neutral
 8/11/2016   Minkabu                                        Perrigo Company PLC Report [2016-08-11]
 8/11/2016   Northland Securities                           Downgrading to MP as Estimate Cuts for Perrigo Make Shares Less Compelling
                                                            Perrigo Company:Second-Quarter Results Below; Guidance Reduced on Revised Outlook for Rx
 8/11/2016   William Blair & Company
                                                            Pharmaceuticals
 8/12/2016   Leerink Partners LLC                           Morning Rounds - August 12, 2016
 8/12/2016   Morningstar, Inc.                              Morningstar | PRGO Updated Star Rating from 12 Aug 2016
                                                            Specialty pharma: Where we are focused this week: TEVA 8/16 CC on Copaxone, PRGO, MYL and
 8/15/2016   RBC Capital Markets
                                                            DEPO
 8/15/2016   Wells Fargo Securities, LLC                    PRGO: Debt Manageable, Easy Fixes Appear Evasive
                                                            AGN, TEVA, MYL, VRX, PRGO, ZTS, SHPG, MNK, ENDP, HZNP - Swipe to the Left or Right?
 8/17/2016   Guggenheim Securities LLC
                                                            Sentiment Check on Spec Pharma Heading into 2H16
 8/22/2016   Guggenheim Securities LLC                      PRGO - BUY - Reducing To The Lowest Common Denominator Doesn't Solve For The Answer
 8/22/2016   Wright Reports                                 Wright Investors Service Comprehensive Report for Perrigo Company PLC



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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                         Contributor                                                                Title
 8/24/2016   Morgan Stanley                                 Perrigo Co.: Lowering PT following re-set of numbers; SOTP analysis
 8/29/2016   BuySellSignals Research                        Perrigo plummets 41% in 2016, leads Chemical, Rubber & Plastic sector
                                                            Specialty Pharma: Top read notes in August: Buyside focus on AGN outlook, TEVA Copaxone set-up,
 8/31/2016   RBC Capital Markets
                                                            PRGO guidance, MYL EPIPEN

  9/2/2016   Morningstar Credit Research                    Morningstar | Clinton’s Proposed Drug Plan Doesn’t Change the Pricing Power for Innovative Drugs

  9/2/2016   Morningstar, Inc.                              Morningstar | Clinton’s Proposed Drug Plan Doesn’t Change the Pricing Power for Innovative Drugs
                                                            Specialty Pharma: Where we are focused this week: TEVA, MYL, PRGO, DEPO, Biosimilars Council
 9/11/2016   RBC Capital Markets
                                                            meeting takeaways
                                                            Two discussed deals take different paths, a curious trade at E*Trade, Perrigo sees pirates off the
 9/12/2016   Gordon Haskett
                                                            starboard bow (POT, AGU, PX, ETFC, PRGO)
 9/12/2016   Guggenheim Securities LLC                      PRGO - BUY - Activist Questions How to Steer This Ship Back on Course
 9/12/2016   Northland Securities                           New Activist (Starboard Value) Invests With ~4.6% Stake; Stay with MP Rating
 9/12/2016   RBC Capital Markets                            Perrigo Company - Starboard announces stake at 4.6%; we look at potential hurdles to unlock value
 9/12/2016   Reuters - The Day Ahead Report                 THE DAY AHEAD - North America (September 13)
 9/12/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Sep. 12, 2016 / 11:05AM ET
 9/13/2016   Deutsche Bank                                  Perrigo : Activist has some relevant points
 9/15/2016   Bank of America Merrill Lynch                  Perrigo Company: Key takeaways from PRGO presentation
 9/15/2016   Guggenheim Securities LLC                      PRGO - BUY - For Better or For Worse; Sticking With Our Positive Investment Thesis Here
 9/15/2016   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Sep. 15, 2016 / 11:10AM ET
 9/16/2016   RBC Capital Markets                            Perrigo Company - PRGO reportedly exploring sale of Tysabri royalties
 9/19/2016   Barclays                                       Perrigo Co., Plc.: Charting a new course for PRGO?
 9/19/2016   JPMorgan                                       Perrigo Company : Takeaways From Mgmt Meetings
 9/19/2016   Morningstar Credit Research                    Morningstar | Perrigo downgraded on stubbornly elevated leverage and operational pressures.
 9/19/2016   RBC Capital Markets                            Perrigo Company - Detailed analysis of potential value that could be un-locked in a "break-up"
 9/20/2016   GlobalData                                     Perrigo Company Plc (PRGO) - Financial and Strategic SWOT Analysis Review
 9/27/2016   Argus Research Corporation                     Argus Analyst Report, PRGO
                                                            Specialty Pharma: Short Interest: SI reverses decline with large move higher; closer look at AGN,
 9/27/2016   RBC Capital Markets
                                                            MYL, ENDP, PRGO



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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                     Contributor                                                                Title
 9/30/2016   Guggenheim Securities LLC                      PRGO - BUY - The Feedback Loop; We Still Think the Street Is Missing the Upside Here
 10/3/2016   Guggenheim Securities LLC                      TEVA, MYL, ENDP, PRGO, MNK, AKRX, ANIP - Feeling a Cool Breeze From Generic Drug Prices?
 10/3/2016   Wright Reports                                 Wright Investors Service Comprehensive Report for Perrigo Company PLC
                                                            PRGO - BUY - Expecting In-Line 3Q16 for Consumer Business; Generics and Omega Could Cause
 10/7/2016   Guggenheim Securities LLC
                                                            Some Dyspepsia
                                                            Validea Guru Analysis Report for PRGO. Analysis using Validea's interpretation of the published
 10/7/2016   Validea                                        quantitative strategies of well-known Wall Street experts including Peter Lynch, Warren Buffett, Ben
                                                            Graham and Ken Fisher, among others.
 10/7/2016 William Blair & Company                          Perrigo Company:Coverage and Rating Suspended
 10/11/2016 Guggenheim Securities LLC                       PRGO - BUY - Tysabri Sales May Not Follow the Lemmings Off a Cliff
 10/11/2016 RBC Capital Markets                             Specialty Pharma: Short Interest: SI build not a surprise; we take a closer look at PRGO, AGN, ENDP
 10/12/2016 Morningstar Credit Research                     Morningstar | Perrigo downgraded on stubbornly elevated leverage and operational pressures.
 10/14/2016 Northland Securities                            Perrigo--Sum of Parts Analysis Shows Valuation Range of ~$84-$104.50 Per Share
                                                            Perrigo Company - PRGO cross-read from JNJ 3Q results - soft allergy and modest analgesic share
 10/18/2016 RBC Capital Markets
                                                            gains
 10/19/2016 Leerink Partners LLC                            Morning Rounds - October 19, 2016
 10/21/2016 ValuEngine, Inc.                                ValuEngine Rating and Forecast Report for PRGO
 10/24/2016 RBC Capital Markets                             Perrigo Company - Deep dive into three key issues; risk/reward better but upside still not compelling
                                                            TEVA, MYL, ENDP, PRGO, MNK, AKRX, ANIP - First Data Point Of GRx Earnings Shows Mid-
 10/25/2016 Guggenheim Securities LLC
                                                            Single-Digit Price Erosion

 10/25/2016 RBC Capital Markets                             Generics - two early 3Q "status quo" data points; Sandoz and Dr. Reddy's results ahead of AM calls
                                                            PRGO - BUY - Read-Throughs Suggest That Tysabri Sales and Generic Pricing Should Not Spook
 10/26/2016 Guggenheim Securities LLC
                                                            Investors
                                                            Perrigo Company - PRGO will see a 3Q EPS benefit of $0.03 on Tysabri royalties, per BIIB results this
 10/26/2016 RBC Capital Markets
                                                            morning
                                                            Perrigo Company - PRGO getting close to making a platform decision? Our thoughts off of media
 10/28/2016 RBC Capital Markets
                                                            commentary
                                                            Perrigo Company - Our thoughts on weakness; we believe follow through from Friday on Rx
 10/31/2016 RBC Capital Markets
                                                            commentary



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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                         Contributor                                                               Title
                                                            Perrigo reeling as CEO throws some shade, DaVita takes its hand out of the cookie jar, anything left in
 11/1/2016   Gordon Haskett
                                                            telecom? (PRGO, DVA, HRS, TEX, ZAYO, ROP)
 11/1/2016   Morningstar, Inc.                              Morningstar | PRGO Updated Star Rating from 31 Oct 2016
                                                            Specialty Pharma: Top read notes in October: AGN set-up, PRGO platform review, MYL Epipen
 11/2/2016   RBC Capital Markets
                                                            controversy driving most interest
                                                            Specialty Pharma: Where we are focused this week: Generic 3Q EPS and 2017 conundrum; ENDP,
 11/6/2016   RBC Capital Markets
                                                            MYL, PRGO, AKRX, EGRX, DEPO, FLXN+
                                                            Perrigo Company : In line 3Q and Guidance Reiteration A Welcome Relief; Watching Strategic Review
 11/9/2016   JPMorgan
                                                            and LT Growth Update as Next Catalysts - ALERT
 11/9/2016   Morningstar Credit Research                    Morningstar | Republican Victories on Election Night Create High Probability of Healthcare Reform
                                                            Morningstar | U.S. Elections Add Uncertainty to Healthcare Stocks, but Unlikely to Cause Major Fair
 11/9/2016   Morningstar, Inc.
                                                            Value Changes
 11/10/2016 Barclays                                        PRGO: Five Takeaways from 3Q16 Call - Barclays Spec Pharma
 11/10/2016 Barclays                                        PRGO: 3Q brings encouraging signs - Barclays Spec Pharma
                                                            Perrigo Company plc - Co. Maintains EPS Guidance But Takes Another Asset Impairment Charge with
 11/10/2016 BTIG
                                                            Omega Pharma
 11/10/2016 Deutsche Bank                                   Perrigo : Good Q, Buy thesis on track
                                                            Perrigo adds two new safeties to its defense, Medicaid insurers looking pale, will DoL relief upend LPL
 11/10/2016 Gordon Haskett
                                                            process? (PRGO, WCG, LPLA, WFT, KSS, CCE, ALXN)
 11/10/2016 Guggenheim Securities LLC                       PRGO - BUY - Can PerriGO Higher After 3Q16 Beat? We Think So
                                                            Perrigo: PRGO: HOLD: Solid Q3 Results and Guidance; Can New Moves Really Enhance Shareholder
 11/10/2016 Jefferies
                                                            Value?
 11/10/2016 JPMorgan                                        Perrigo Company : Thoughts Post 3Q
 11/10/2016 Morgan Stanley                                  Perrigo: Divestiture updates planned for 1Q; 4% rev and EPS upside; guidance maintained
                                                            Morningstar | Perrigo Posts Stable Third Quarter While Addressing Branded Consumer and Prescription
 11/10/2016 Morningstar Credit Research
                                                            Segment Issues
                                                            Morningstar | Perrigo Posts Stable Third Quarter While Addressing Branded Consumer and Prescription
 11/10/2016 Morningstar, Inc.
                                                            Segment Issues
                                                            Perrigo Company - Important strategic decisions coming; five thoughts post discussion with
 11/10/2016 RBC Capital Markets
                                                            management
                                                            Perrigo Company - PRGO 3Q solid as expected with no big surprises; Tysabri divestiture moving
 11/10/2016 RBC Capital Markets
                                                            forward - cc 8:30AM ET



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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                        Contributor                                                                 Title

 11/10/2016 Thomson Reuters StreetEvents                    PRGO.N - Event Brief of Perrigo Company PLC conference call, Nov. 10, 2016 / 8:30AM ET

 11/10/2016 Thomson Reuters StreetEvents                    PRGO.N - Event Transcript of Perrigo Company PLC conference call, Nov. 10, 2016 / 8:30AM ET
 11/10/2016   UBS Equities                                  Perrigo "Making Progress with the Transition" (Buy) Goodman
 11/10/2016   UBS Equities                                  First Read: Perrigo "Beating Low Expectations" (Buy) Goodman
 11/10/2016   Wells Fargo Securities, LLC                   PRGO: Looking Good--Signs Of Stabilization In Consumer And Rx
 11/11/2016   Bank of America Merrill Lynch                 Perrigo Company: Upgrading to Neutral; strategic review provides some support
 11/11/2016   Minkabu                                       Perrigo Company PLC Report [2016-11-11]
                                                            Morningstar | Specialty Pharma Industry Faces Tough Times; Wide-Moat Allergan Remains Our Top
 11/11/2016 Morningstar Credit Research
                                                            Pick
                                                            Morningstar | Specialty Pharma Industry Faces Tough Times; Wide-Moat Allergan Remains Our Top
 11/11/2016 Morningstar, Inc.
                                                            Pick
                                                            Specialty Pharma: Short Interest: Large moves lower in PRGO, MYL; higher in AKRX while the ramp
 11/11/2016 RBC Capital Markets
                                                            in AGN SI ends
 11/15/2016   CFRA Equity Research                          Perrigo Co Plc
 11/17/2016   Wells Fargo Securities, LLC                   PRGO: Q3 Second Look--Good Progress
 11/21/2016   CFRA Equity Research                          Perrigo Co Plc
 11/21/2016   Wright Reports                                Wright Investors Service Comprehensive Report for Perrigo Company PLC
 12/2/2016    GlobalData                                    Perrigo Company Plc (PRGO) - Financial and Strategic SWOT Analysis Review
 12/4/2016    Clarivate Analytics                           Perrigo Co plc - Company and Drug Portfolio Report
 12/4/2016    Clarivate Analytics                           Perrigo Co plc - Cortellis Company Detailed Pipeline Report
 12/5/2016    Barclays                                      Perrigo Co., Plc.: Model update
 12/5/2016    Clarivate Analytics                           Perrigo Co plc - Cortellis Company Detailed Pipeline Report
                                                            Specialty Pharma: Short Interest: Meaningful move lower, closer look at TEVA, PRGO, IPXL, and
 12/13/2016 RBC Capital Markets
                                                            FLXN
                                                            Perrigo Company - PRGO - Roche's Ocrelizumab PDUFA date extended; incremental positive for
 12/20/2016 RBC Capital Markets
                                                            Tysabri
 12/23/2016 Guggenheim Securities LLC                       PRGO - BUY - Is 2017 Going To Be PerriGO or PerriNO?
 12/29/2016 Argus Research Corporation                      Argus Analyst Report, PRGO
  1/2/2017 Wright Reports                                   Wright Investors Service Comprehensive Report for Perrigo Company PLC
                                                            Marathon sprints to the finish line, proxy season preview, an important cleanup job in Hartford (MPC,
  1/3/2017    Gordon Haskett
                                                            DK, BWLD, HDS, PRGO, BKD, CTSH, AIG, HIG, HSY)


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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                         Contributor                                                                Title
                                                            AGN, TEVA, MYL, PRGO, ENDP, MNK, ZTS - Year of The Rooster Brings Some Thoughts At The
  1/3/2017   Guggenheim Securities LLC
                                                            Crack of Dawn
                                                            Perrigo Company - Our thesis and 100+ questions for PRGO; several important updates coming near-
  1/4/2017   RBC Capital Markets
                                                            term
  1/5/2017   RBC Capital Markets                            Research at a Glance - [U.S.] Jan 5,2017
  1/8/2017   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
  1/8/2017   Clarivate Analytics                            Perrigo Co plc - Cortellis Company Detailed Pipeline Report
 1/10/2017   Barclays                                       PRGO: Quick Takeaways after the Conference Presentation - Barclays Spec Pharma
 1/10/2017   JPMorgan                                       Perrigo Company : J.P. Morgan Conference Takeaways - ALERT
 1/10/2017   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Jan. 10, 2017 / 11:00AM ET
 1/11/2017   Morningstar, Inc.                              Morningstar | PRGO Updated Star Rating from 10 Jan 2017
                                                            Perrigo acting poorly into nomination window, Graphic Packaging needs more than a buyback, Elliott
 1/12/2017   Gordon Haskett
                                                            shows up at Advisory Board (PRGO, GPK, ABCO, BEAV, COL, LH, INCR)
 1/17/2017   RBC Capital Markets                            Specialty Pharma: Short Interest: SI moves lower into year-end; closer look at AGN, PRGO, IPXL

 1/17/2017   RBC Capital Markets                            Perrigo Company - Revisiting our model on new segmentation, lowering our generic outlook and target

 1/19/2017   Gordon Haskett                                 Focus Ideas - MDCO, CTSH, ITT, ALR, RLGY, AL, HOLX, HAIN, ARNC, BWLD, PRGO, BKD
 1/23/2017   Guggenheim Securities LLC                      PRGO - PerriGO or PerriNO; Chapter 2; Lowering Our '17E EPS
 1/23/2017   Jefferies                                      Perrigo: PRGO: HOLD: Lowering Estimates and PT Following Another Update From Management
 1/23/2017   Leerink Partners LLC                           Challenges Again in '17, Divestiture Valuations May Disappoint, PT to $78
 1/23/2017   UBS Equities                                   Perrigo "Lowering Numbers in the Generics Segment" (Buy) Goodman
 1/24/2017   BTIG                                           Perrigo Company plc - Generic Rx Pricing Headwinds Expected to Impact CY17; Cutting Estimates
 1/24/2017   Morgan Stanley                                 Perrigo: Lowering estimates; awaiting guidance and strategic updates
 1/24/2017   RBC Capital Markets                            Perrigo Company - PRGO - JNJ 4Q call provides read-through on Consumer business
                                                            Perrigo Company : Thoughts Ahead of 2017 Guidance; Remain Cautious Given Ongoing Generic
 1/25/2017   JPMorgan
                                                            Headwinds
 1/25/2017   Leerink Partners LLC                           Morning Rounds - January 25, 2017
 1/25/2017   RBC Capital Markets                            Generics cross-read from NVS 4Q2016 call, no change to cautious sector view


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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                         Contributor                                                             Title
 1/25/2017   ValuEngine, Inc.                               ValuEngine Rating and Forecast Report for PRGO
 1/26/2017   Guggenheim Securities LLC                      PRGO - Tysabri Royalty Slightly Below Consensus for 4Q16
 1/26/2017   RBC Capital Markets                            Perrigo Company - PRGO - Royalties from BIIB/Tysabri a little light; incremental impact to PRGO
                                                            Specialty Pharma: Short Interest: Closer look at MYL, PRGO, ENDP, IPXL; sector move higher off of
 1/27/2017   RBC Capital Markets
                                                            lows
  2/1/2017   Deutsche Bank                                  Perrigo : Updating model ahead of ’17 outlook
  2/1/2017   Gordon Haskett                                 Activist Situations Ripe for Updates Post ARNC --- BWLD, CTSH, BKD, HAR, PRGO
  2/2/2017   RBC Capital Markets                            Perrigo Company - Strategic review of PRGO's options; value creation hard to see, lowering PT
  2/5/2017   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
  2/6/2017   Guggenheim Securities LLC                      PRGO - Something That We Could Look Forward to Catching in '17
  2/7/2017   Barclays                                       PRGO: Immediate Impact - Barclays Spec Pharma
                                                            Peace breaks out at Perrigo, MEDNAX still stumbling around, is Goldner a fit for Disney? (PRGO,
  2/7/2017   Gordon Haskett
                                                            MD, TDG, SABR, ARNC, HAS, BWLD)
                                                            Perrigo Company - PRGO announces agreement with Starboard; we still see limited options to unlock
  2/7/2017   RBC Capital Markets
                                                            value per our analysis
                                                            Specialty Pharma: Short Interest: Closer look at PRGO, ENDP, AKRX, IPXL; sector SI continues to
 2/13/2017   RBC Capital Markets
                                                            ramp
                                                            Perrigo Company plc – Mergers & Acquisitions (M&A), Partnerships & Alliances and Investment
 2/20/2017   MarketLine
                                                            Report
 2/21/2017   Canaccord Genuity                              Fresh thinking could bring significant change; initiate with a BUY rating and $100 PT
                                                            Specialty Pharma: Where we are focused this week: RBC HC conference, Gx Copaxone delay,
 2/21/2017   RBC Capital Markets
                                                            TEVA/MNTA/NVS, AKRX, PRGO
 2/21/2017   Wright Reports                                 Wright Investors Service Comprehensive Report for Perrigo Company PLC
 2/24/2017   Bank of America Merrill Lynch                  Perrigo Company: Upside potential exists, but low visibility keeps us Neutral
 2/27/2017   Barclays                                       PRGO: 4Q16 First Impressions - Barclays Spec Pharma
 2/27/2017   BTIG                                           Perrigo Company plc - Still a Work-in-Progress; Tysabri Royalty Stream to be Sold for up to $2.85B
 2/27/2017   Canaccord Genuity                              Time to reset expectations; watching and waiting for audited financials
 2/27/2017   Deutsche Bank                                  Perrigo : Not great, but not terrible
                                                            PRGO - PerriGO or PerriNO Chapter 3: '17 Outlook, No Sandbags, No Whoopie Cushions, Just
 2/27/2017   Guggenheim Securities LLC
                                                            Rebased Earnings To Grow Off Of



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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                       Contributor                                                                  Title

 2/27/2017   RBC Capital Markets                            Perrigo Company - Remain near-term cautious on strategic "conundrum"; lowering target to $68

 2/27/2017   RBC Capital Markets                            Perrigo Company - Five important questions for the upcoming earnings call - we remain cautious
 2/27/2017   Thomson Reuters StreetEvents                   PRGO.N - Event Brief of Perrigo Company PLC conference call, Feb. 27, 2017 / 4:30PM ET
 2/27/2017   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Feb. 27, 2017 / 4:30PM ET
 2/27/2017   Wells Fargo Securities, LLC                    PRGO: First Look: '17 Outlook Disappoints, 10K Delay, CFO Leaves
 2/28/2017   Barclays                                       Perrigo Co., Plc.: Not an easy cleanup
 2/28/2017   Egan-Jones                                     Egan-Jones on Perrigo Co. Plc
                                                            Perrigo still coughing, AIG's Hancock on shaky ground, ServiceNow moves early on succession
 2/28/2017   Gordon Haskett
                                                            (PRGO, AIG, PAH, NRG, STZ, NOW)
 2/28/2017   I.B.I.                                         Perrigo: Chaos continues - lowering rating and price target
 2/28/2017   Jefferies                                      Perrigo: PRGO: HOLD: Another Cut to 2017 Ests; The Struggle for Growth Continues
                                                            Perrigo Company : 2017 Guidance Update and Strategic Review Likely To Disappoint On Downward
 2/28/2017   JPMorgan
                                                            Revisions To Estimates
 2/28/2017   Leerink Partners LLC                           4Q Wrap: Weak Guide, CFO Departure & In-Line Valuation for Tysabri Sale
 2/28/2017   Morgan Stanley                                 Perrigo: Painful re-set
 2/28/2017   Morningstar Credit Research                    Morningstar | Perrigo Offers Poor Outlook as Challenges Persist
 2/28/2017   Morningstar, Inc.                              Morningstar | Perrigo Offers Poor Outlook as Challenges Persist
  3/3/2017   CFRA Equity Research                           Perrigo Co Plc
  3/5/2017   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report
  3/6/2017   Bank of America Merrill Lynch                  Perrigo Company: Reboot in progress but low visibility keeps us Neutral
  3/6/2017   Morningstar Credit Research                    Morningstar | Perrigo downgraded on stubbornly elevated leverage and operational pressures.
                                                            Specialty Pharma: Where we are focused this week: Post earnings set-up; incoming questions on
  3/6/2017   RBC Capital Markets
                                                            PRGO, MYL ,and AKRX
  3/7/2017   Argus Research Corporation                     Argus Analyst Report, PRGO
  3/7/2017   Morningstar, Inc.                              Morningstar | PRGO Updated Star Rating from 06 Mar 2017
                                                            Perrigo Company : Updated Sum-of-the-Parts Analysis Highlights Unfavorable Risk/Reward Despite
  3/8/2017   JPMorgan
                                                            Recent Weakness
  3/9/2017   GlobalData                                     Perrigo Company Plc (PRGO) - Financial and Strategic SWOT Analysis Review
 3/12/2017   RBC Capital Markets                            Specialty Pharma: Short Interest: Closer look at AGN, TEVA, PRGO, and INSY
 3/13/2017   Deutsche Bank                                  Perrigo : Lowering PT to $87 to reflect Tysabri sale, sticking with Buy


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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                         Contributor                                                                    Title
 3/13/2017   Morgan Stanley                                 Perrigo: Reducing ests and PT; awaiting delayed 10K
 3/17/2017   Canaccord Genuity                              Filing delay disappointing but story remains intact; maintain BUY rating
 3/21/2017   Morningstar Credit Research                    Morningstar | We’re Downgrading Generic Manufacturer Moats to None
                                                            Morningstar | We’re Downgrading Generic Manufacturer Moats to None. See Updated Analyst Note
 3/21/2017   Morningstar, Inc.
                                                            from 21 Mar 2017
 3/21/2017   Morningstar, Inc.                              Morningstar | We’re Downgrading Generic Manufacturer Moats to None
                                                            Processing the Processes - a reset of the strategic review universe (ABCO, BKD, CTXS, KATE, MPC,
 3/23/2017   Gordon Haskett
                                                            PRGO, UNVR, WBMD)
                                                            Specialty Pharma: Top-read notes in March: Most focus this month on ENDP post HQ visit, IPXL,
  4/2/2017   RBC Capital Markets
                                                            PRGO, and MYL
  4/3/2017   Wells Fargo Securities, LLC                    PRGO: Model Update--Still Uninspiring To Us
  4/3/2017   Wright Reports                                 Wright Investors Service Comprehensive Report for Perrigo Company PLC
 4/10/2017   Wells Fargo Securities, LLC                    PRGO: Model Update--Taking Tysabri Out
 4/11/2017   Morgan Stanley                                 Perrigo: Lowering 1Q EPS to reflect Tysabri divestiture; EPS now well below consensus
 4/11/2017   RBC Capital Markets                            Our thoughts on questions around MYL, PRGO, IPXL and AKRX:

                                                            Pondering the amazonification of Whole Foods, Akorn sale making its way into Perrigo conversation,
 4/12/2017   Gordon Haskett
                                                            succession talk in staples-land (WFM, AMZN, PRGO, MYCC, BKD, MDLZ, CL, CPB, Short Interest)

                                                            Specialty Pharma: Where we are focused this week: JNJ cross-read to PRGO, ENDP weakness, AKRX
 4/17/2017   RBC Capital Markets
                                                            and MYL/TEVA 1Q EPS
 4/18/2017   Deutsche Bank                                  Major Pharmaceuticals : Read throughs from JNJ's earnings
                                                            Perrigo Company - PRGO - CAH/JNJ 1Q provide some mixed early feedback; we still see early 1Q
 4/18/2017   RBC Capital Markets
                                                            generic set-up as challenging
                                                            Specialty Pharmaceuticals : 1Q/17 Preview: Sentiment May Be Bottoming, But Will Stronger
 4/19/2017   JPMorgan
                                                            Operational Performance Follow?
                                                            Validea Guru Analysis Report for PRGO. Analysis using Validea's interpretation of the published
 4/21/2017   Validea                                        quantitative strategies of well-known Wall Street experts including Peter Lynch, Warren Buffett, Ben
                                                            Graham and Ken Fisher, among others.
                                                            Specialty Pharma: Where we are focused this week: West Coast meetings, PRGO and EGRX call
 4/24/2017   RBC Capital Markets
                                                            volume, GSK/NVS read-through, AAN
 4/25/2017   Barclays                                       PRGO: Thoughts on preliminary 1Q & guidance update - Barclays Spec Pharma
                                                            Perrigo Company plc - Update on 1oK Filing; Preliminary 1Q Figures Meet Our Estimates; CY17
 4/25/2017   BTIG
                                                            Segment Guidance Unchanged



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Exhibit 5B

Perrigo Company PLC
List of Analyst Reports
Source: Bloomberg, Thomson Reuters Eikon, Thomson Reuters Knowledge

    Date                           Contributor                                                               Title
 4/25/2017   Canaccord Genuity                              1Q/17 prelim report and 2017 guide in line with consensus; awaiting financial restatement
 4/25/2017   Deutsche Bank                                  Perrigo : Quick thoughts on PRGO news
                                                            Perrigo Company : No Change to Thesis Following In-line 1Q Preliminary Revenue and Accounting
 4/25/2017   JPMorgan
                                                            Update

 4/25/2017   Thomson Reuters StreetEvents                   PRGO.N - Event Transcript of Perrigo Company PLC conference call, Apr. 25, 2017 / 5:00PM ET
 4/25/2017   UBS Equities                                   First Read: Perrigo "Preliminary 1Q and FY Sales Outlook Is Reassuring" (Buy)
 4/25/2017   Wells Fargo Securities, LLC                    PRGO: Preannounces Generally In-Line
 4/26/2017   Barclays                                       PRGO: Thoughts following 1Q17 business update call - Barclays Spec Pharma
 4/26/2017   Jefferies                                      Perrigo: PRGO: HOLD: PRGO To Restate Tysabri Historicals; Pre-announced Revs In Line
 4/26/2017   JPMorgan                                       Perrigo Company : Model Update
 4/26/2017   Leerink Partners LLC                           Unaudited Results Look Okay, Restatements Limited To Tysabri; Reit MP
 4/26/2017   Morgan Stanley                                 Perrigo: Correction: Lack of negatives a marginal positive, but maintaining EW
 4/26/2017   RBC Capital Markets                            Perrigo Company - Business update provides clarity but leaves us still cautious on outlook
 4/27/2017   Morningstar Credit Research                    Morningstar | Perrigo's Tysabri Restatement Announcement and 1Q Preview Don't Alter Our View

 4/27/2017   Morningstar, Inc.                              Morningstar | Perrigo's Tysabri Restatement Announcement and 1Q Preview Don't Alter Our View
  5/1/2017   ValuEngine, Inc.                               ValuEngine Rating and Forecast Report for PRGO
                                                            Specialty Pharma: Generic sector cross-read: LCI and PRGO add cautious data points to 1Q sector set-
  5/3/2017   RBC Capital Markets
                                                            up debate
  5/3/2017   Wells Fargo Securities, LLC                    PRGO: Perrigo Discloses U.S. Department of Justice Investigation Of Pricing Practices
  5/4/2017   Morningstar Credit Research                    Morningstar | Next Stop: Senate, After U.S. House Narrowly Passes Healthcare Bill
  5/4/2017   Morningstar, Inc.                              Morningstar | House GOP Takes First Step to Fulfill Promise on ACA
  5/4/2017   S3 Research                                    S3 Research: Pharma Subpoenas Generate $241 million of Profits for Short Sellers on May 3rd
  5/7/2017   Clarivate Analytics                            Perrigo Co plc - Cortellis Company Detailed Pipeline Report
  5/7/2017   Clarivate Analytics                            Perrigo Co plc - Company and Drug Portfolio Report

                                                            Whole Foods upgrades boardroom with two first rounders, Will Charles River float into M&A party?,
 5/11/2017   Gordon Haskett
                                                            Don't sleep on Stanley's M&A aspirations (WFM, CRL, CPN, SWK, SATS, PRGO, GCP)

                                                            Specialty Pharma: Short Interest: Notable moves in AGN, ENDP, PRGO; generic SI moved higher into
 5/15/2017   RBC Capital Markets
                                                            last week's 1Q


                                                                                                                                                     Page 30 of 30
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 Exhibit 5C

 Perrigo Company PLC
 Analyst Price Targets and Rating Actions Surrounding Event Dates
 Source: Bloomberg


                                                    Fiscal Third-Quarter 2015 Earnings Release; Calendar 2015 Guidance;
 4/21/2015
                                                                  Company Rejects Mylan’s Unsolicited Bid
                                       Price Target as of   Price Target as of % Change in Price    Pre-Earnings     Post-Earnings
 Firm
                                           4/20/2015            4/24/2015          Target           Rating Action    Rating Action
 Argus Research Corp                                                                                     hold             hold
 B Riley                                     $189.00                $195.00         3.17%                 buy              buy
 Bank of Jerusalem                           $145.00                $145.00         0.00%           market perform   market perform
 Barrington Research                         $174.00                $174.00         0.00%             outperform       outperform
 CRT Capital Group                           $184.00                $207.00         12.50%                buy              buy
 EVA Dimensions                                                                                      underweight      underweight
 Goldman Sachs                                                                                         not rated        not rated
 Guggenheim Securities                       $195.00                $225.00         15.38%                buy              buy
 J.P. Morgan                                 $215.00                $215.00         0.00%             overweight       overweight
 Jefferies                                   $187.00                $203.00         8.56%                 buy              buy
 Leerink Partners LLC                        $160.00                $171.00         6.88%           market perform   market perform
 Makor Capital                               $155.00                $155.00         0.00%                 buy              buy
 Morgan Stanley                                                                                        restricted       restricted
 Morningstar, Inc                                                                                        hold             hold
 RBC Capital Markets                         $170.00                $174.00         2.35%           sector perform   sector perform
 Stifel                                      $190.00                                                      buy             hold
 William Blair & Co                                                                                 market perform   market perform
                 Total                       $178.55                $186.40         4.40%


 8/5/2015                                                       Second-Quarter Calendar 2015 Earnings Release

                                       Price Target as of   Price Target as of % Change in Price    Pre-Earnings     Post-Earnings
 Firm
                                            8/4/2015            8/10/2015          Target           Rating Action    Rating Action
 Argus Research Corp                                                                                     hold             hold
 B Riley                                     $216.00                $218.00         0.93%               neutral          neutral
 Bank of Jerusalem                           $145.00                                                market perform   market perform
 Barrington Research                         $174.00                $174.00         0.00%             outperform       outperform
 BMO Capital Markets                         $246.00                $246.00         0.00%             outperform       outperform
 BTIG LLC                                    $223.00                $223.00         0.00%                 buy              buy
 EVA Dimensions                                                                                      underweight      underweight
 Goldman Sachs                                                                                         not rated        not rated
 Guggenheim Securities                       $230.00                $230.00         0.00%                 buy              buy
 J.P. Morgan                                                                                       Rating Suspended Rating Suspended
 Jefferies                                   $203.00                $203.00         0.00%                 buy              buy
 Leerink Partners LLC                        $171.00                $177.00         3.51%           market perform   market perform
 Morgan Stanley                                                                                        restricted       restricted
 Morningstar, Inc                                                                                        hold             hold
 Raymond James                                                                                      market perform   market perform
 RBC Capital Markets                         $174.00                $174.00         0.00%           sector perform   sector perform
 Stifel                                                                                                  hold             hold
 William Blair & Co                                                                                 market perform   market perform
                 Total                       $198.00                $205.63         3.85%




                                                                                                                           Page 1 of 6
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 Exhibit 5C

 Perrigo Company PLC
 Analyst Price Targets and Rating Actions Surrounding Event Dates
 Source: Bloomberg



                                                                Third-Quarter Calendar 2015 Earnings Release;
 10/22/2015
                                                                 Guidance Update; $2 Billion Share Buyback
                                       Price Target as of   Price Target as of % Change in Price    Pre-Earnings     Post-Earnings
 Firm
                                          10/21/2015           10/27/2015          Target           Rating Action    Rating Action
 Argus Research Corp                                                                                     hold             hold
 B Riley                                     $218.00                $229.00           5.05%             neutral          neutral
 Bank of Jerusalem                                                                                  market perform   market perform
 Barrington Research                         $174.00                $174.00           0.00%           outperform       outperform
 BTIG LLC                                    $223.00                $190.00          -14.80%              buy              buy
 EVA Dimensions                                                                                      underweight      underweight
 Goldman Sachs                                                                                         not rated        not rated
 Guggenheim Securities                       $230.00                $230.00           0.00%               buy              buy
 J.P. Morgan                                                                                       Rating Suspended Rating Suspended
 Jefferies                                   $203.00                $209.00           2.96%               buy              buy
 Leerink Partners LLC                        $177.00                $156.00          -11.86%        market perform   market perform
 Morgan Stanley                                                                                        restricted       restricted
 Morningstar, Inc                                                                                        hold             hold
 Raymond James                                                                                      market perform   market perform
 RBC Capital Markets                         $176.00                $176.00           0.00%         sector perform   sector perform
 Stifel                                                                                                  hold             hold
 William Blair & Co                                                                                 market perform   market perform
                 Total                       $200.14                $194.86           -2.64%


 1/11/2016                                                           Full-Year Calendar 2016 Guidance Update

                                       Price Target as of   Price Target as of % Change in Price     Pre-Earnings         Post-Earnings
 Firm
                                            1/8/2016            1/14/2016          Target            Rating Action        Rating Action
 Argus Research Corp                        $170.00              $170.00           0.00%                  buy                  buy
 B Riley                                    $241.00              $239.00           -0.83%                 buy                  buy
 Bank of Jerusalem                                                                                        buy                  buy
 BTIG LLC                                    $190.00                $190.00           0.00%               buy                  buy
 EVA Dimensions                                                                                       underweight          underweight
 Goldman Sachs                               $160.00                $160.00           0.00%         neutral/attractive   neutral/attractive
 Guggenheim Securities                       $230.00                $230.00           0.00%               buy                  buy
 J.P. Morgan                                 $165.00                $165.00           0.00%              neutral              neutral
 Jefferies                                   $209.00                $209.00           0.00%               buy                  buy
 Leerink Partners LLC                        $156.00                $156.00           0.00%          market perform       market perform
 Morgan Stanley                              $167.00                $167.00           0.00%         Equalwt/In-Line      Equalwt/In-Line
 Morningstar, Inc                                                                                         buy                  buy
 Northland Securities Inc                    $195.00                $195.00           0.00%            outperform           outperform
 Raymond James                                                                                       market perform       market perform
 RBC Capital Markets                         $176.00                $176.00           0.00%          sector perform       sector perform
 Stifel                                      $195.00                $195.00           0.00%               buy                  buy
 William Blair & Co                                                                                  market perform       market perform
                 Total                       $187.83                $187.67           -0.09%




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 Exhibit 5C

 Perrigo Company PLC
 Analyst Price Targets and Rating Actions Surrounding Event Dates
 Source: Bloomberg




 2/18/2016                                     Fourth-Quarter/Full-Year Calendar 2015 Earnings Release and Guidance Update

                                       Price Target as of   Price Target as of % Change in Price      Pre-Earnings        Post-Earnings
 Firm
                                           2/17/2016            2/23/2016           Target            Rating Action       Rating Action
 Argus Research Corp                        $170.00              $170.00            0.00%                  buy                    buy
 B Riley                                    $239.00              $146.00           -38.91%                 buy                  neutral
 Bank of Jerusalem                                                                                         buy                    buy
 Barclays                                    $180.00                $180.00           0.00%             overweight           overweight
 BTIG LLC                                    $170.00                $170.00           0.00%                buy                    buy
 EVA Dimensions                                                                                        underweight          underweight
 Goldman Sachs                               $160.00                $124.00          -22.50%         neutral/attractive     sell/attractive
 Guggenheim Securities                       $230.00                $230.00           0.00%                buy                    buy
 J.P. Morgan                                 $165.00                $145.00          -12.12%              neutral               neutral
 Jefferies                                   $209.00                $163.00          -22.01%               buy                    buy
 Leerink Partners LLC                        $156.00                $136.00          -12.82%          market perform      market perform
 Morgan Stanley                              $167.00                $151.00           -9.58%         Equalwt/In-Line      Equalwt/In-Line
 Morningstar, Inc                                                                                          buy                    buy
 Northland Securities Inc                    $195.00                $171.00          -12.31%            outperform           outperform
 Raymond James                                                                                        market perform      market perform
 RBC Capital Markets                         $176.00                $153.00          -13.07%          sector perform       sector perform
 Stifel                                      $195.00                $195.00           0.00%                buy                    buy
 Wells Fargo Securities                                                                                                      outperform
 William Blair & Co                                                                                  market perform       market perform
                 Total                       $185.54                $164.15          -11.53%

                                                            Select Preliminary First-Quarter 2016 Financial Results;
 4/25/2016
                                                                      Guidance Update; CEO Papa Resigns
                                       Price Target as of   Price Target as of % Change in Price      Pre-Earnings        Post-Earnings
 Firm
                                           4/22/2016            4/28/2016           Target           Rating Action        Rating Action
 Argus Research Corp                        $160.00              $160.00            0.00%                    buy                  buy
 B Riley                                    $146.00              $113.00           -22.60%                 neutral              neutral
 Bank of Jerusalem                                                                                           buy                  buy
 Barclays                                    $180.00                $120.00          -33.33%            overweight           overweight
 BTIG LLC                                    $170.00                                                         buy                neutral
 EVA Dimensions                                                                                        underweight          underweight
 Goldman Sachs                               $124.00                $95.00           -23.39%           sell/attractive      sell/attractive
 Guggenheim Securities                       $185.00                $125.00          -32.43%                 buy                  buy
 J.P. Morgan                                 $145.00                $105.00          -27.59%               neutral              neutral
 Jefferies                                   $163.00                $112.00          -31.29%                 buy                 hold
 Leerink Partners LLC                        $135.00                $112.00          -17.04%         market perform       market perform
 Morgan Stanley                              $151.00                $112.00          -25.83%         Equalwt/In-Line      Equalwt/In-Line
 Morningstar, Inc                                                                                            buy                  buy
 Northland Securities Inc                    $171.00                $139.00          -18.71%            outperform           outperform
 Raymond James                                                                                       market perform       market perform
 RBC Capital Markets                         $140.00                $109.00          -22.14%          sector perform       sector perform
 Stifel                                      $195.00                                                         buy                 hold
 Wells Fargo Securities                                                                                 outperform        market perform
 William Blair & Co                                                                                  market perform       market perform
                 Total                       $158.85                $118.36          -25.49%




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Exhibit 5C                           3820

Perrigo Company PLC
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg




5/12/2016                                                              First-Quarter 2016 Earnings Release

                                      Price Target as of   Price Target as of % Change in Price       Pre-Earnings       Post-Earnings
Firm
                                          5/11/2016            5/17/2016           Target            Rating Action       Rating Action
Argus Research Corp                        $160.00              $160.00            0.00%                     buy                 buy
B Riley                                    $113.00              $101.00           -10.62%                  neutral             neutral
Bank of Jerusalem                                                                                       outperform          outperform
Barclays                                    $120.00                $120.00            0.00%             overweight          overweight
BTIG LLC                                                                                                   neutral             neutral
EVA Dimensions                                                                                         underweight         underweight
Goldman Sachs                                $95.00                $90.00             -5.26%           sell/attractive     sell/attractive
Guggenheim Securities                       $125.00                $125.00            0.00%                  buy                 buy
J.P. Morgan                                 $105.00                $105.00            0.00%                neutral             neutral
Jefferies                                   $112.00                $97.00            -13.39%                hold                hold
Leerink Partners LLC                        $112.00                $96.00            -14.29%         market perform      market perform
Morgan Stanley                              $112.00                $109.00            -2.68%         Equalwt/In-Line     Equalwt/In-Line
Morningstar, Inc                                                                                             buy                 buy
Northland Securities Inc                    $139.00                $123.00           -11.51%            outperform          outperform
Raymond James                                                                                        market perform      market perform
RBC Capital Markets                         $109.00                $109.00            0.00%           sector perform      sector perform
Stifel                                                                                                      hold                hold
Wells Fargo Securities                                                                               market perform      market perform
William Blair & Co                                                                                   market perform      market perform
                Total                       $118.36                $112.27            -5.15%


5/16/2016                                                   Company Corrects First-Quarter 2016 GAAP Net Loss

                                      Price Target as of   Price Target as of % Change in Price       Pre-Earnings       Post-Earnings
Firm
                                          5/13/2016            5/19/2016          Target             Rating Action       Rating Action
Argus Research Corp                        $160.00              $160.00           0.00%                      buy                 buy
B Riley                                    $101.00              $101.00           0.00%                    neutral             neutral
Bank of Jerusalem                                                                                       outperform          outperform
Barclays                                    $120.00                $120.00            0.00%             overweight          overweight
BTIG LLC                                                                                                   neutral             neutral
EVA Dimensions                                                                                         underweight         underweight
Goldman Sachs                                $90.00                $90.00             0.00%            sell/attractive     sell/attractive
Guggenheim Securities                       $125.00                $125.00            0.00%                  buy                 buy
J.P. Morgan                                 $105.00                $105.00            0.00%                neutral             neutral
Jefferies                                    $97.00                $97.00             0.00%                 hold                hold
Leerink Partners LLC                         $96.00                $96.00             0.00%          market perform      market perform
Morgan Stanley                              $109.00                $109.00            0.00%          Equalwt/In-Line     Equalwt/In-Line
Morningstar, Inc                                                                                             buy                 buy
Northland Securities Inc                    $123.00                $123.00            0.00%             outperform          outperform
Raymond James                                                                                        market perform      market perform
RBC Capital Markets                         $109.00                $109.00            0.00%           sector perform      sector perform
Stifel                                                                                                      hold                hold
Wells Fargo Securities                                                                               market perform      market perform
William Blair & Co                                                                                   market perform      market perform
                Total                       $112.27                $112.27            0.00%




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Exhibit 5C                           3821

Perrigo Company PLC
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg




8/10/2016                                               Second-Quarter 2016 Earnings Release and Guidance Update

                                      Price Target as of   Price Target as of % Change in Price     Pre-Earnings       Post-Earnings
Firm
                                           8/9/2016            8/15/2016          Target           Rating Action       Rating Action
Argus Research Corp                                                                                       hold                hold
B Riley                                     $101.00                $87.00           -13.86%              neutral             neutral
Bank of Jerusalem                                                                                     outperform          outperform
Barclays                                    $120.00                $110.00           -8.33%           overweight          overweight
BTIG LLC                                                                                                 neutral             neutral
EVA Dimensions                                                                                       underweight         underweight
Goldman Sachs                               $90.00                 $80.00           -11.11%          sell/attractive     sell/attractive
Guggenheim Securities                                              $125.00                                 buy                 buy
J.P. Morgan                                 $105.00                $90.00           -14.29%              neutral             neutral
Jefferies                                    $97.00                $84.00           -13.40%               hold                hold
Leerink Partners LLC                         $96.00                $81.00           -15.63%        market perform      market perform
Morgan Stanley                              $109.00                $109.00           0.00%         Equalwt/In-Line     Equalwt/In-Line
Morningstar, Inc                                                                                           buy                hold
Northland Securities Inc                    $123.00                $94.00           -23.58%           outperform       market perform
Raymond James                                                                                      market perform      market perform
RBC Capital Markets                         $92.00                 $92.00            0.00%          sector perform      sector perform
Stifel                                                                                                    hold                hold
Wells Fargo Securities                                                                             market perform      market perform
William Blair & Co                                                                                 market perform      market perform
                Total                       $103.67                $95.20            -8.17%


11/10/2016                                                            Third-Quarter 2016 Earnings Release

                                      Price Target as of   Price Target as of % Change in Price      Pre-Earnings      Post-Earnings
Firm
                                          11/9/2016           11/15/2016          Target            Rating Action      Rating Action
Argus Research Corp                                                                                        hold               hold
B Riley                                      $87.00                $97.00            11.49%               neutral            neutral
Bank of Jerusalem                            $95.00                $95.00            0.00%          market perform     market perform
Barclays                                    $110.00                $110.00           0.00%             overweight         overweight
BTIG LLC                                                                                                  neutral            neutral
EVA Dimensions                                                                                        underweight        underweight
Goldman Sachs                                $80.00                $88.00            10.00%           sell/attractive    sell/attractive
Guggenheim Securities                       $125.00                $125.00           0.00%                  buy                buy
J.P. Morgan                                  $95.00                $95.00            0.00%                neutral            neutral
Jefferies                                    $84.00                $84.00            0.00%                 hold               hold
Leerink Partners LLC                         $87.00                $87.00            0.00%          market perform     market perform
Morgan Stanley                              $100.00                $100.00           0.00%          Equalwt/In-Line Equalwt/In-Line
Morningstar, Inc                                                                                            buy                buy
Northland Securities Inc                    $94.00                 $94.00            0.00%          market perform     market perform
Raymond James                                                                                       market perform     market perform
RBC Capital Markets                          $92.00                $92.00            0.00%           sector perform     sector perform
Stifel                                      $100.00                $100.00           0.00%                 hold               hold
Wells Fargo Securities                                                                              market perform     market perform
William Blair & Co                                                                                suspended coverage suspended coverage
                Total                       $95.75                 $97.25            1.57%




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Perrigo Company PLC
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg


                                      Select Preliminary Full-Year 2016 Financial Results; Initial Full-Year 2017 Guidance; Form 10-K
2/27/2017
                                                    Delay; CFO Resignation; Agreement to Divest Tysabri Royalty Stream
                                      Price Target as of   Price Target as of % Change in Price     Pre-Earnings       Post-Earnings
Firm
                                          2/24/2017             3/2/2017          Target            Rating Action      Rating Action
Argus Research Corp                                                                                       hold                hold
B Riley                                      $83.00                $83.00          0.00%                 neutral             neutral
Bank of Jerusalem                            $95.00                $95.00          0.00%            market perform     market perform
Barclays                                    $100.00                $100.00         0.00%              overweight          overweight
BTIG LLC                                                                                                 neutral             neutral
Canaccord Genuity                           $100.00                $97.00          -3.00%                  buy                 buy
EVA Dimensions                                                                                            hold                hold
Goldman Sachs                                $75.00                $68.00          -9.33%            sell/attractive     sell/attractive
Guggenheim Securities                       $125.00                $125.00         0.00%                   buy                 buy
I.B.I.                                                             $65.00                                               underperform
J.P. Morgan                                 $95.00                 $76.00         -20.00%                neutral             neutral
Jefferies                                   $70.00                 $71.00          1.43%                  hold                hold
Leerink Partners LLC                        $78.00                 $80.00          2.56%            market perform     market perform
Morgan Stanley                              $87.00                 $87.00          0.00%            Equalwt/In-Line Equalwt/In-Line
Morningstar, Inc                                                                                          hold                hold
Raymond James                                                                                       market perform     market perform
RBC Capital Markets                         $80.00                 $68.00         -15.00%            sector perform     sector perform
Stifel                                      $95.00                 $80.00         -15.79%                 hold                hold
Wells Fargo Securities                                                                              market perform     market perform
William Blair & Co                                                                                suspended coverage suspended coverage
                Total                       $90.25                 $84.23          -6.67%

                                                Restatement of Previously Issued Forms 10-K and 10-Q Financial Statements;
4/25/2017
                                                          Select Preliminary First-Quarter 2017 Financial Results
                                      Price Target as of   Price Target as of % Change in Price      Pre-Earnings      Post-Earnings
Firm
                                          4/24/2017            4/28/2017          Target            Rating Action      Rating Action
Argus Research Corp                                                                                        hold               hold
B Riley                                      $67.00                $67.00          0.00%                  neutral            neutral
Bank of Jerusalem                            $95.00                $95.00          0.00%            market perform     market perform
Barclays                                    $100.00                $100.00         0.00%               overweight         overweight
BTIG LLC                                                                                                  neutral            neutral
Canaccord Genuity                           $86.00                 $86.00          0.00%                    buy                buy
EVA Dimensions                                                                                             hold               hold
Goldman Sachs                               $68.00                 $68.00          0.00%              sell/attractive    sell/attractive
I.B.I.                                      $65.00                 $65.00          0.00%             underperform       underperform
J.P. Morgan                                 $76.00                 $76.00          0.00%                  neutral            neutral
Jefferies                                   $71.00                 $71.00          0.00%                   hold               hold
Leerink Partners LLC                        $80.00                 $82.00          2.50%            market perform     market perform
Morgan Stanley                              $79.00                 $79.00          0.00%            Equalwt/In-Line Equalwt/In-Line
Morningstar, Inc                                                                                           hold               hold
Raymond James                                                                                       market perform     market perform
RBC Capital Markets                         $68.00                 $68.00          0.00%             sector perform     sector perform
Stifel                                      $80.00                 $80.00          0.00%                   hold               hold
Wells Fargo Securities                                                                              market perform     market perform
William Blair & Co                                                                                suspended coverage suspended coverage
                Total                       $77.92                 $78.08          0.21%




                                                                                                                             Page 6 of 6
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Exhibit 6                            3823

Perrigo Company PLC
List of SEC Filings
Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                                   Company (Filer)   Received     Period
    1             8-K          PERRIGO CO PLC                               4/21/2015   4/21/2015
    2             8-K          PERRIGO CO PLC                               4/21/2015   4/21/2015
    3             8-K          PERRIGO CO PLC                               4/21/2015   4/21/2015
    4             425          PERRIGO CO PLC(MYLAN N.V.)                   4/24/2015
    5             425          PERRIGO CO PLC(MYLAN N.V.)                   4/24/2015
    6          SC14D9C         PERRIGO CO PLC                               4/24/2015
    7             8-K          PERRIGO CO PLC                               4/24/2015   4/24/2015
    8             425          PERRIGO CO PLC(MYLAN N.V.)                   4/27/2015
    9             425          PERRIGO CO PLC(MYLAN N.V.)                   4/29/2015
   10             10-Q         PERRIGO CO PLC                               4/29/2015   3/28/2015
   11          SC14D9C         PERRIGO CO PLC                               4/29/2015
   12             8-K          PERRIGO CO PLC                               4/29/2015   4/29/2015
   13             425          PERRIGO CO PLC(MYLAN N.V.)                   5/1/2015
   14              4           PERRIGO CO PLC(KINGMA TODD W)                5/1/2015    4/29/2015
   15             425          PERRIGO CO PLC(MYLAN N.V.)                   5/5/2015
   16             425          PERRIGO CO PLC(MYLAN N.V.)                   5/5/2015
   17             425          PERRIGO CO PLC(MYLAN N.V.)                   5/6/2015
   18             425          PERRIGO CO PLC(MYLAN N.V.)                   5/7/2015
   19             425          PERRIGO CO PLC(MYLAN N.V.)                   5/8/2015
   20              4           PERRIGO CO PLC(NEEDHAM JEFFREY)              5/21/2015   5/14/2015
   21              SD          PERRIGO CO PLC                               5/21/2015
   22             425          PERRIGO CO PLC(MYLAN N.V.)                   5/26/2015
   23             425          PERRIGO CO PLC(MYLAN N.V.)                   6/1/2015
   24             425          PERRIGO CO PLC(MYLAN N.V.)                   6/8/2015
   25             425          PERRIGO CO PLC(MYLAN N.V.)                   6/11/2015
   26            8-K/A         PERRIGO CO PLC                               6/15/2015   3/30/2015
   27             425          PERRIGO CO PLC(MYLAN N.V.)                   6/16/2015
   28             11-K         PERRIGO CO PLC                               6/18/2015   12/31/2014
   29             8-K          PERRIGO CO PLC                               6/22/2015   6/22/2015
   30             425          PERRIGO CO PLC(MYLAN N.V.)                   6/25/2015
   31             8-K          PERRIGO CO PLC                               6/26/2015   6/22/2015
   32              4           PERRIGO CO PLC(FARRINGTON THOMAS)            7/1/2015    6/29/2015
   33              4           PERRIGO CO PLC(KOCHAN SHARON)                7/1/2015    6/29/2015
   34              4           PERRIGO CO PLC(STEWART MICHAEL ROBERT)       7/1/2015    6/29/2015
   35              4           PERRIGO CO PLC(JAMISON SCOTT F)              7/1/2015    6/29/2015
   36              4           PERRIGO CO PLC(YU LOUIS)                     7/1/2015    6/29/2015
   37              4           PERRIGO CO PLC(KINGMA TODD W)                7/1/2015    6/29/2015
   38              4           PERRIGO CO PLC(HENDRICKSON JOHN T)           7/1/2015    6/29/2015
   39              4           PERRIGO CO PLC(NEEDHAM JEFFREY)              7/1/2015    6/29/2015
   40              4           PERRIGO CO PLC(PAPA JOSEPH C)                7/1/2015    6/29/2015
   41              4           PERRIGO CO PLC(SHAH JATIN)                   7/1/2015    6/29/2015
   42              4           PERRIGO CO PLC(BOOTHE DOUGLAS)               7/1/2015    6/29/2015
   43              4           PERRIGO CO PLC(BROWN JUDY L)                 7/1/2015    6/29/2015
   44             425          PERRIGO CO PLC(MYLAN N.V.)                   7/6/2015
   45             425          PERRIGO CO PLC(MYLAN N.V.)                   7/24/2015
   46             425          PERRIGO CO PLC(MYLAN N.V.)                   7/27/2015
   47             425          PERRIGO CO PLC(MYLAN N.V.)                   7/27/2015
   48             425          PERRIGO CO PLC(MYLAN N.V.)                   7/29/2015
   49              5           PERRIGO CO PLC(JANDERNOA MICHAEL J)          7/30/2015   6/27/2015




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Perrigo Company PLC
List of SEC Filings
Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                                   Company (Filer)   Received     Period
   50             425          PERRIGO CO PLC(MYLAN N.V.)                   8/5/2015
   51          SC14D9C         PERRIGO CO PLC                               8/5/2015
   52             8-K          PERRIGO CO PLC                               8/5/2015     8/5/2015
   53          SC14D9C         PERRIGO CO PLC                               8/6/2015
   54             425          PERRIGO CO PLC(MYLAN N.V.)                   8/6/2015
   55             425          PERRIGO CO PLC(MYLAN N.V.)                   8/6/2015
   56             425          PERRIGO CO PLC(MYLAN N.V.)                   8/7/2015
   57             425          PERRIGO CO PLC(MYLAN N.V.)                   8/10/2015
   58             425          PERRIGO CO PLC(MYLAN N.V.)                   8/10/2015
   59             425          PERRIGO CO PLC(MYLAN N.V.)                   8/12/2015
   60             425          PERRIGO CO PLC(MYLAN N.V.)                   8/12/2015
   61             8-K          PERRIGO CO PLC                               8/12/2015   8/12/2015
   62             10-K         PERRIGO CO PLC                               8/13/2015   6/27/2015
   63             425          PERRIGO CO PLC(MYLAN N.V.)                   8/13/2015
   64          SC14D9C         PERRIGO CO PLC                               8/13/2015
   65             425          PERRIGO CO PLC(MYLAN N.V.)                   8/14/2015
   66          SC14D9C         PERRIGO CO PLC                               8/14/2015
   67             425          PERRIGO CO PLC(MYLAN N.V.)                   8/21/2015
   68              4           PERRIGO CO PLC(SHAH JATIN)                   8/25/2015   8/21/2015
   69              4           PERRIGO CO PLC(STEWART MICHAEL ROBERT)       8/25/2015   8/21/2015
   70              4           PERRIGO CO PLC(JAMISON SCOTT F)              8/25/2015   8/21/2015
   71              4           PERRIGO CO PLC(HENDRICKSON JOHN T)           8/25/2015   8/21/2015
   72              4           PERRIGO CO PLC(PAPA JOSEPH C)                8/25/2015   8/21/2015
   73              4           PERRIGO CO PLC(BROWN JUDY L)                 8/25/2015   8/21/2015
   74              4           PERRIGO CO PLC(NEEDHAM JEFFREY)              8/25/2015   8/21/2015
   75              4           PERRIGO CO PLC(KOCHAN SHARON)                8/25/2015   8/21/2015
   76              4           PERRIGO CO PLC(YU LOUIS)                     8/25/2015   8/21/2015
   77              4           PERRIGO CO PLC(KINGMA TODD W)                8/25/2015   8/21/2015
   78              4           PERRIGO CO PLC(BOOTHE DOUGLAS)               8/25/2015   8/21/2015
   79              4           PERRIGO CO PLC(FARRINGTON THOMAS)            8/25/2015   8/21/2015
   80             425          PERRIGO CO PLC(MYLAN N.V.)                   8/25/2015
   81          SC14D9C         PERRIGO CO PLC                               8/25/2015
   82              4           PERRIGO CO PLC(HENDRICKSON JOHN T)           8/27/2015   8/25/2015
   83              4           PERRIGO CO PLC(KINGMA TODD W)                8/27/2015   8/25/2015
   84             425          PERRIGO CO PLC(MYLAN N.V.)                   8/28/2015
   85          SC14D9C         PERRIGO CO PLC                               8/28/2015
   86             425          PERRIGO CO PLC(MYLAN N.V.)                   9/2/2015
   87             425          PERRIGO CO PLC(MYLAN N.V.)                   9/8/2015
   88             425          PERRIGO CO PLC(MYLAN N.V.)                   9/9/2015
   89          SC14D9C         PERRIGO CO PLC                               9/10/2015
   90          PRE 14A         PERRIGO CO PLC                               9/11/2015   11/4/2015
   91             425          PERRIGO CO PLC(MYLAN N.V.)                   9/14/2015
   92             8-K          PERRIGO CO PLC                               9/14/2015   9/14/2015
   93          SC TO-T         PERRIGO CO PLC(MYLAN N.V.)                   9/14/2015
   94         SC 14D9/A        PERRIGO CO PLC                               9/17/2015
   95             8-K          PERRIGO CO PLC                               9/17/2015   9/17/2015
   96           SC 14D9        PERRIGO CO PLC                               9/17/2015
   97             4/A          PERRIGO CO PLC(HENDRICKSON JOHN T)           9/18/2015   8/21/2015
   98         SC TO-T/A        PERRIGO CO PLC(MYLAN N.V.)                   9/21/2015




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Perrigo Company PLC
List of SEC Filings
Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                                Company (Filer)   Received      Period
   99             425          PERRIGO CO PLC(MYLAN N.V.)                9/21/2015
   100        SC TO-T/A        PERRIGO CO PLC(MYLAN N.V.)                9/22/2015
   101            425          PERRIGO CO PLC(MYLAN N.V.)                9/22/2015
   102            425          PERRIGO CO PLC(MYLAN N.V.)                9/24/2015
   103        SC TO-T/A        PERRIGO CO PLC(MYLAN N.V.)                9/25/2015
   104            425          PERRIGO CO PLC(MYLAN N.V.)                9/25/2015
   105            425          PERRIGO CO PLC(MYLAN N.V.)                9/25/2015
   106         DEFA14A         PERRIGO CO PLC                            9/25/2015
   107        SC 14D9/A        PERRIGO CO PLC                            9/25/2015
   108         DEF 14A         PERRIGO CO PLC                            9/25/2015    11/4/2015
   109        SC TO-T/A        PERRIGO CO PLC(MYLAN N.V.)                10/5/2015
   110            425          PERRIGO CO PLC(MYLAN N.V.)                10/5/2015
   111        SC TO-T/A        PERRIGO CO PLC(MYLAN N.V.)                10/8/2015
   112            425          PERRIGO CO PLC(MYLAN N.V.)                10/8/2015
   113        SC 14D9/A        PERRIGO CO PLC                            10/9/2015
   114            425          PERRIGO CO PLC(MYLAN N.V.)                10/13/2015
   115        SC TO-T/A        PERRIGO CO PLC(MYLAN N.V.)                10/14/2015
   116            425          PERRIGO CO PLC(MYLAN N.V.)                10/14/2015
   117        SC 14D9/A        PERRIGO CO PLC                            10/22/2015
   118            8-K          PERRIGO CO PLC                            10/22/2015   10/22/2015
   119            8-K          PERRIGO CO PLC                            10/22/2015   10/22/2015
   120            425          PERRIGO CO PLC(MYLAN N.V.)                10/28/2015
   121        SC 14D9/A        PERRIGO CO PLC                            10/30/2015
   122        SC TO-T/A        PERRIGO CO PLC(MYLAN N.V.)                10/30/2015
   123            425          PERRIGO CO PLC(MYLAN N.V.)                10/30/2015
   124            425          PERRIGO CO PLC(MYLAN N.V.)                10/30/2015
   125            425          PERRIGO CO PLC(MYLAN N.V.)                10/30/2015
   126            425          PERRIGO CO PLC(MYLAN N.V.)                10/30/2015
   127            425          PERRIGO CO PLC(MYLAN N.V.)                10/30/2015
   128            10-Q         PERRIGO CO PLC                            11/2/2015    9/26/2015
   129            425          PERRIGO CO PLC(MYLAN N.V.)                11/3/2015
   130        SC 14D9/A        PERRIGO CO PLC                            11/3/2015
   131            425          PERRIGO CO PLC(MYLAN N.V.)                11/4/2015
   132             4           PERRIGO CO PLC(GIBBONS DAVID T)           11/5/2015    11/4/2015
   133             4           PERRIGO CO PLC(GOTTFRIED RAN)             11/6/2015    11/4/2015
   134        SC TO-T/A        PERRIGO CO PLC(MYLAN N.V.)                11/6/2015
   135             4           PERRIGO CO PLC(BRLAS LAURIE)              11/6/2015    11/4/2015
   136             4           PERRIGO CO PLC(JANDERNOA MICHAEL J)       11/6/2015    11/4/2015
   137             4           PERRIGO CO PLC(COHEN GARY M)              11/6/2015    11/4/2015
   138             4           PERRIGO CO PLC(YANAI SHLOMO)              11/6/2015    11/4/2015
   139             4           PERRIGO CO PLC(KUNKLE GARY K JR)          11/6/2015    11/4/2015
   140             4           PERRIGO CO PLC(HOFFING ELLEN RANDI)       11/6/2015    11/4/2015
   141             4           PERRIGO CO PLC(FOUSE JACQUALYN A)         11/6/2015    11/4/2015
   142             4           PERRIGO CO PLC(MORRIS HERMAN JR)          11/6/2015    11/4/2015
   143             4           PERRIGO CO PLC(O'CONNOR DONAL)            11/6/2015    11/4/2015
   144             3           PERRIGO CO PLC(YANAI SHLOMO)              11/6/2015    11/4/2015
   145             4           PERRIGO CO PLC(FARRINGTON THOMAS)         11/9/2015    11/5/2015
   146             4           PERRIGO CO PLC(HENDRICKSON JOHN T)        11/9/2015    11/5/2015
   147        SC 14D9/A        PERRIGO CO PLC                            11/9/2015




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Perrigo Company PLC
List of SEC Filings
Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                                Company (Filer)              Received      Period
   148        SC TO-T/A        PERRIGO CO PLC(MYLAN N.V.)                           11/10/2015
   149            425          PERRIGO CO PLC(MYLAN N.V.)                           11/10/2015
   150        SC 14D9/A        PERRIGO CO PLC                                       11/10/2015
   151            8-K          PERRIGO CO PLC                                       11/10/2015   11/10/2015
   152            4/A          PERRIGO CO PLC(HENDRICKSON JOHN T)                   11/12/2015   11/5/2015
   153            8-K          PERRIGO CO PLC                                       11/13/2015   11/12/2015
   154        SC TO-T/A        PERRIGO CO PLC(MYLAN N.V.)                           11/16/2015
   155            4/A          PERRIGO CO PLC(O'CONNOR DONAL)                       11/17/2015   11/13/2015
   156             4           PERRIGO CO PLC(BRLAS LAURIE)                         11/17/2015   11/13/2015
   157             4           PERRIGO CO PLC(KUNKLE GARY K JR)                     11/17/2015   11/13/2015
   158             4           PERRIGO CO PLC(JANDERNOA MICHAEL J)                  11/17/2015   11/13/2015
   159             4           PERRIGO CO PLC(MORRIS HERMAN JR)                     11/17/2015   11/13/2015
   160             4           PERRIGO CO PLC(O'CONNOR DONAL)                       11/17/2015   11/13/2015
   161             4           PERRIGO CO PLC(COHEN GARY M)                         11/17/2015   11/13/2015
   162             4           PERRIGO CO PLC(FOUSE JACQUALYN A)                    11/17/2015   11/13/2015
   163             4           PERRIGO CO PLC(HOFFING ELLEN RANDI)                  11/17/2015   11/13/2015
   164             4           PERRIGO CO PLC(MORRIS HERMAN JR)                     11/20/2015   11/18/2015
   165             4           PERRIGO CO PLC(GOTTFRIED RAN)                        11/23/2015   11/19/2015
   166             4           PERRIGO CO PLC(FARRINGTON THOMAS)                    12/2/2015    11/30/2015
   167            8-K          PERRIGO CO PLC                                       12/15/2015   12/15/2015
   168             4           PERRIGO CO PLC(PAPA JOSEPH C)                        12/30/2015   3/13/2015
   169             4           PERRIGO CO PLC(BROWN JUDY L)                         12/30/2015   12/28/2015
   170             4           PERRIGO CO PLC(KINGMA TODD W)                        12/30/2015   12/28/2015
   171             4           PERRIGO CO PLC(BROWN JUDY L)                          1/8/2016     1/6/2016
   172            8-K          PERRIGO CO PLC                                       1/11/2016    1/11/2016
   173            8-K          PERRIGO CO PLC                                       1/20/2016    1/20/2016
   174             5           PERRIGO CO PLC(JANDERNOA MICHAEL J)                   2/8/2016    12/31/2015
   175         SC 13G/A        PERRIGO CO PLC(BLACKROCK INC.)                       2/10/2016
   176         SC 13G/A        PERRIGO CO PLC(VANGUARD GROUP INC)                   2/11/2016
   177            3/A          PROTEOSTASIS THERAPEUTICS, INC.(PERRIGO CORP LTD.)   2/18/2016    2/10/2016
   178             4           PROTEOSTASIS THERAPEUTICS, INC.(PERRIGO CORP LTD.)   2/18/2016    2/10/2016
   179            8-K          PERRIGO CO PLC                                       2/18/2016    2/18/2016
   180           10-KT         PERRIGO CO PLC                                       2/25/2016    12/31/2015
   181             4           PERRIGO CO PLC(BROWN JUDY L)                         2/26/2016    2/24/2016
   182             4           PERRIGO CO PLC(HENDRICKSON JOHN T)                    3/1/2016    2/26/2016
   183             4           PERRIGO CO PLC(FARRINGTON THOMAS)                     3/1/2016    2/26/2016
   184             4           PERRIGO CO PLC(PAPA JOSEPH C)                         3/1/2016    2/26/2016
   185             4           PERRIGO CO PLC(NEEDHAM JEFFREY)                       3/1/2016    2/26/2016
   186             4           PERRIGO CO PLC(BOOTHE DOUGLAS)                        3/1/2016    2/26/2016
   187             4           PERRIGO CO PLC(BROWN JUDY L)                          3/1/2016    2/26/2016
   188             4           PERRIGO CO PLC(KINGMA TODD W)                         3/1/2016    2/26/2016
   189             4           PERRIGO CO PLC(COUCKE MARC)                           3/1/2016    2/26/2016
   190             4           PERRIGO CO PLC(KOCHAN SHARON)                         3/1/2016    2/26/2016
   191             4           PERRIGO CO PLC(KOCHAN SHARON)                         3/4/2016     3/2/2016
   192         PRE 14A         PERRIGO CO PLC                                        3/4/2016    4/26/2016
   193           424B5         PERRIGO CO PLC                                        3/7/2016
   194            8-K          PERRIGO CO PLC                                        3/7/2016     3/7/2016
   195            FWP          PERRIGO CO PLC                                        3/8/2016
   196           424B5         PERRIGO CO PLC                                        3/9/2016




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Perrigo Company PLC
List of SEC Filings
Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                                Company (Filer)   Received     Period
   197            8-K          PERRIGO CO PLC                            3/10/2016    3/7/2016
   198            8-K          PERRIGO CO PLC                            3/16/2016   3/15/2016
   199         DEFA14A         PERRIGO CO PLC                            3/17/2016
   200         DEF 14A         PERRIGO CO PLC                            3/17/2016   4/26/2016
   201             4           PERRIGO CO PLC(JANDERNOA MICHAEL J)       3/22/2016   3/18/2016
   202          NO ACT         PERRIGO CO PLC                            4/4/2016    3/15/2016
   203          NO ACT         PERRIGO CO PLC                            4/4/2016    3/17/2016
   204          NO ACT         PERRIGO CO PLC                            4/7/2016     3/3/2016
   205             4           PERRIGO CO PLC(BROWN JUDY L)              4/14/2016   4/13/2016
   206         DEFA14A         PERRIGO CO PLC                            4/14/2016
   207         DEFA14A         PERRIGO CO PLC                            4/14/2016
   208            8-K          PERRIGO CO PLC                            4/25/2016   4/25/2016
   209            8-K          PERRIGO CO PLC                            4/25/2016   4/25/2016
   210            8-K          PERRIGO CO PLC                            4/27/2016   4/24/2016
   211            8-K          PERRIGO CO PLC                            4/28/2016   4/27/2016
   212             4           PERRIGO CO PLC(MORRIS HERMAN JR)          5/6/2016     5/4/2016
   213             4           PERRIGO CO PLC(FOUSE JACQUALYN A)         5/6/2016     5/4/2016
   214             4           PERRIGO CO PLC(JANDERNOA MICHAEL J)       5/6/2016     5/4/2016
   215             4           PERRIGO CO PLC(COHEN GARY M)              5/6/2016     5/4/2016
   216             4           PERRIGO CO PLC(YANAI SHLOMO)              5/6/2016     5/4/2016
   217             4           PERRIGO CO PLC(HOFFING ELLEN RANDI)       5/6/2016     5/4/2016
   218             4           PERRIGO CO PLC(O'CONNOR DONAL)            5/6/2016     5/4/2016
   219             4           PERRIGO CO PLC(KUNKLE GARY K JR)          5/6/2016     5/4/2016
   220             4           PERRIGO CO PLC(BRLAS LAURIE)              5/6/2016     5/4/2016
   221            8-K          PERRIGO CO PLC                            5/12/2016   5/12/2016
   222          NT 10-Q        PERRIGO CO PLC                            5/13/2016    4/2/2016
   223            10-Q         PERRIGO CO PLC                            5/16/2016    4/2/2016
   224            8-K          PERRIGO CO PLC                            5/16/2016   5/12/2016
   225             4           PERRIGO CO PLC(KUNKLE GARY K JR)          5/23/2016   5/19/2016
   226             4           PERRIGO CO PLC(O'CONNOR DONAL)            5/23/2016   5/19/2016
   227             4           PERRIGO CO PLC(COHEN GARY M)              5/23/2016   5/19/2016
   228             4           PERRIGO CO PLC(YANAI SHLOMO)              5/23/2016   5/19/2016
   229             4           PERRIGO CO PLC(MORRIS HERMAN JR)          5/23/2016   5/19/2016
   230             4           PERRIGO CO PLC(HOFFING ELLEN RANDI)       5/23/2016   5/19/2016
   231             4           PERRIGO CO PLC(BRLAS LAURIE)              5/23/2016   5/19/2016
   232             4           PERRIGO CO PLC(JANDERNOA MICHAEL J)       5/23/2016   5/19/2016
   233             SD          PERRIGO CO PLC                            5/24/2016
   234            8-K          PERRIGO CO PLC                            6/17/2016   6/17/2016
   235             4           PERRIGO CO PLC(HENDRICKSON JOHN T)        6/23/2016   6/21/2016
   236             4           PERRIGO CO PLC(BRLAS LAURIE)              6/23/2016   6/21/2016
   237            11-K         PERRIGO CO PLC                            6/27/2016   12/31/2015
   238            8-K          PERRIGO CO PLC                            6/27/2016   6/24/2016
   239             3           PERRIGO CO PLC(JANISH RONALD CRAIG)       7/21/2016   7/11/2016
   240             3           PERRIGO CO PLC(QUINN GRAINNE)             7/21/2016   7/11/2016
   241             3           PERRIGO CO PLC(WENINGER PAUL)             7/21/2016   7/11/2016
   242            8-K          PERRIGO CO PLC                            8/5/2016     8/3/2016
   243            10-Q         PERRIGO CO PLC                            8/10/2016    7/2/2016
   244            8-K          PERRIGO CO PLC                            8/10/2016   8/10/2016
   245             4           PERRIGO CO PLC(KINGMA TODD W)             8/23/2016   8/19/2016




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Perrigo Company PLC
List of SEC Filings
Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                                Company (Filer)           Received      Period
   246             4           PERRIGO CO PLC(BROWN JUDY L)                      8/23/2016    8/19/2016
   247             4           PERRIGO CO PLC(FARRINGTON THOMAS)                 8/23/2016    8/19/2016
   248             4           PERRIGO CO PLC(NEEDHAM JEFFREY)                   8/23/2016    8/19/2016
   249             4           PERRIGO CO PLC(KOCHAN SHARON)                     8/23/2016    8/19/2016
   250             4           PERRIGO CO PLC(HENDRICKSON JOHN T)                8/23/2016    8/19/2016
   251             4           PERRIGO CO PLC(WENINGER PAUL)                     8/24/2016    8/22/2016
   252             4           PERRIGO CO PLC(FARRINGTON THOMAS)                 8/24/2016    8/22/2016
   253             4           PERRIGO CO PLC(QUINN GRAINNE)                     8/24/2016    8/22/2016
   254             4           PERRIGO CO PLC(BROWN JUDY L)                      8/24/2016    8/22/2016
   255             4           PERRIGO CO PLC(JANISH RONALD CRAIG)               8/24/2016    8/22/2016
   256             4           PERRIGO CO PLC(HENDRICKSON JOHN T)                8/24/2016    8/22/2016
   257             4           PERRIGO CO PLC(NEEDHAM JEFFREY)                   8/24/2016    8/22/2016
   258             4           PERRIGO CO PLC(KOCHAN SHARON)                     8/24/2016    8/22/2016
   259            4/A          PERRIGO CO PLC(JANISH RONALD CRAIG)               8/25/2016    8/22/2016
   260             4           PERRIGO CO PLC(JANISH RONALD CRAIG)               8/30/2016    8/26/2016
   261             4           PERRIGO CO PLC(BROWN JUDY L)                      8/30/2016    8/26/2016
   262             3           PERRIGO CO PLC(MICHAUD JAMES R)                   8/30/2016    8/29/2016
   263             4           PERRIGO CO PLC(MICHAUD JAMES R)                   8/30/2016    8/29/2016
   264             4           PERRIGO CO PLC(MORRIS HERMAN JR)                   9/9/2016     9/8/2016
   265            8-K          PERRIGO CO PLC                                     9/9/2016     9/9/2016
   266             4           PERRIGO CO PLC(KUNKLE GARY K JR)                  9/13/2016     9/9/2016
   267             4           PERRIGO CO PLC(BROWN JUDY L)                      9/28/2016    9/26/2016
   268             4           PERRIGO CO PLC(FARRINGTON THOMAS)                 9/28/2016    9/26/2016
   269             4           PERRIGO CO PLC(BROWN JUDY L)                      10/26/2016   10/24/2016
   270            10-Q         PERRIGO CO PLC                                    11/10/2016   10/1/2016
   271            8-K          PERRIGO CO PLC                                    11/10/2016   11/10/2016
   272          SC 13D         PERRIGO CO PLC(STARBOARD VALUE LP)                11/14/2016
   273             3           PERRIGO CO PLC(PARKER GEOFFREY M.)                11/14/2016   11/7/2016
   274          8-A12B         PERRIGO CO PLC                                    11/16/2016
   275          8-A12B         PERRIGO CO PLC                                    11/16/2016
   276             4           PERRIGO CO PLC(JANDERNOA MICHAEL J)               11/17/2016   11/15/2016
   277             3           PERRIGO CO PLC(WESOLOWSKI JOHN)                   11/18/2016   11/9/2016
   278             4           PERRIGO CO PLC(WESOLOWSKI JOHN)                   11/18/2016   11/17/2016
   279             4           PERRIGO CO PLC(PARKER GEOFFREY M.)                11/18/2016   11/17/2016
   280             4           PERRIGO CO PLC(PARKER GEOFFREY M.)                11/21/2016   11/21/2016
   281        CERTNYS          PERRIGO CO PLC                                    11/21/2016
   282        CERTNYS          PERRIGO CO PLC                                    11/21/2016
   283        CERTNYS          PERRIGO CO PLC                                    11/21/2016
   284             4           PERRIGO CO PLC(KINGMA TODD W)                     11/23/2016   11/21/2016
   285             4           PERRIGO CO PLC(BROWN JUDY L)                      11/28/2016   11/25/2016
   286             4           PERRIGO CO PLC(WESOLOWSKI JOHN)                   12/19/2016   12/15/2016
   287             3           PERRIGO CO PLC(SAMUELS THEODORE R. II)            1/10/2017     1/4/2017
   288            8-K          PERRIGO CO PLC                                    1/10/2017    1/10/2017
   289             4           PERRIGO CO PLC(SAMUELS THEODORE R. II)            1/13/2017    1/12/2017
   290         SC 13G/A        PERRIGO CO PLC(BLACKROCK INC.)                    1/25/2017
   291         SC 13D/A        PERRIGO CO PLC(STARBOARD VALUE LP)                 2/7/2017
   292            8-K          PERRIGO CO PLC                                     2/7/2017     2/6/2017
   293             5           PERRIGO CO PLC(JANDERNOA MICHAEL J)                2/9/2017    12/31/2016
   294          SC 13G         PROTEOSTASIS THERAPEUTICS, INC.(PERRIGO CO PLC)   2/13/2017




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Exhibit 6                            3829

Perrigo Company PLC
List of SEC Filings
Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                                Company (Filer)       Received     Period
   295         SC 13G/A        PERRIGO CO PLC(VANGUARD GROUP INC)            2/13/2017
   296            3/A          PERRIGO CO PLC(WENINGER PAUL)                 2/16/2017   7/11/2016
   297             3           PERRIGO CO PLC(KINDLER JEFFREY B)             2/16/2017    2/6/2017
   298             3           PERRIGO CO PLC(SMITH JEFFREY C)               2/16/2017    2/6/2017
   299             3           PERRIGO CO PLC(ALFORD BRADLEY A)              2/16/2017    2/6/2017
   300          NT 10-K        PERRIGO CO PLC                                2/27/2017   2/27/2017
   301            8-K          PERRIGO CO PLC                                2/27/2017   2/27/2017
   302          NT 10-Q        PERRIGO CO PLC                                2/27/2017   2/27/2017
   303            8-K          PERRIGO CO PLC                                2/28/2017   2/27/2017
   304             3           PERRIGO CO PLC(ANDERSEN SVEND)                3/6/2017    2/24/2017
   305             3           PERRIGO CO PLC(WINOWIECKI RONALD)             3/9/2017    2/27/2017
   306            8-K          PERRIGO CO PLC                                3/16/2017   3/16/2017
   307            8-K          PERRIGO CO PLC                                3/17/2017   3/17/2017
   308            8-K          PERRIGO CO PLC                                3/29/2017   3/29/2017
   309         SC 13G/A        PERRIGO CO PLC(VANGUARD GROUP INC)            4/10/2017
   310            8-K          PERRIGO CO PLC                                4/25/2017   4/25/2017
   311            4/A          PERRIGO CO PLC(PARKER GEOFFREY M.)            5/3/2017    11/17/2016
   312            4/A          PERRIGO CO PLC(SAMUELS THEODORE R. II)        5/3/2017    1/12/2017
   313            8-K          PERRIGO CO PLC                                5/8/2017     5/8/2017
   314          25-NSE         PERRIGO CO PLC(NEW YORK STOCK EXCHANGE LLC)   5/9/2017
   315             3           PERRIGO CO PLC(KARABOUTIS ADRIANA)            5/10/2017    5/2/2017
   316             3           PERRIGO CO PLC(CLASSON ROLF A)                5/10/2017    5/2/2017




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Exhibit 7                           3830

Perrigo Company PLC
Market Maker Activity from 4/2015 to 4/2017
Source: Bloomberg ( PRGO US Equity <GO>, BAS <GO> )

 Number       Code                         Market Maker          Volume
   1         MSCO     MORGAN STANLEY & CO., INCORPOR                42,563,249
   2         LEHM     BARCLAYS CAPITAL INC.                         16,179,636
   3          UBSS    UBS SECURITIES LLC.                           15,002,312
   4          JPMS    J.P. MORGAN SECURITIES INC.                   14,405,832
   5          INCA    INSTINET CORPORATION                          10,792,247
   6         GSCO     GOLDMAN SACHS                                 10,255,638
   7          FQLS    QUANTLAB SECURITIES LP                        10,094,349
   8         TRBT     TRADEBOT SYSTEMS, INC.                         7,177,979
   9         WEDB     WEDBUSH MORGAN SECURITIES INC.                 6,738,371
   10         NITE    VIRTU AMERICAS LLC                             4,056,397
   11         GTSZ    GTS SECURITIES LLC                             3,490,292
   12         JMPT    JUMP TRADING, LLC                              3,349,276
   13        DBAB     DEUTSCHE BANK SECURITIES INC.                  2,952,109
   14        BERN     SANFORD C. BERNSTEIN AND CO. I                 2,860,014
   15         SBSH    CITIGROUP GLOBAL MARKETS INC.                  2,551,415
   16         IBKR    INTERACTIVE BROKERS LLC                        2,031,093
   17         LSCI    LEK SECURITIES CORPORATION                     1,855,234
   18        ETCC     ELECTRONIC TRANSACTION CLEARING, INC.          1,571,810
   19         NITP    VIRTU AMERICAS LLC                             1,386,715
   20        FMCO     FIRST MANHATTAN CO                             1,372,715
   21        CPEX     CLEARPOOL EXECUTION SERVICES                   1,343,928
   22         FRET    FOX RIVER EXECUTION TEHNOLOGY, LLC             1,307,963
   23        BZWW     GOLDMAN SACHS EXECUTION & CLEARING, L.P.       1,170,570
   24          ITGI   ITG INC.                                       1,115,041
   25         INJX    INSTINET, LLC                                  1,038,141
   26         IEXG    INVESTORS EXCHANGE                               958,142
   27        BNPX     BNP PARIBAS SECURITIES CORP.                     925,821
   28          SSIC   SCOTTRADE, INC.                                  807,439
   29        WEXM     WOLVERINE EXECUTION SERVICES, LLC                806,647
   30        WBPX     WHITE BAY PT LLC                                 742,953
   31        LIWW     LIME BROKERAGE LLC                               725,288
   32         ETBT    ELECTRONIC TRANSACTION CLEARING, INC.            723,303
   33        TMBR     TIMBER HILL LLC                                  708,046
   34        PDQM     PDQ ATS. INC.                                    696,041
   35        BKMM     BNY MELLON CAPITAL MARKETS, LLC                  591,034
   36         ETBE    ELECTRONIC TRANSACTION CLEARING, INC.            556,338
   37         JSCA    JANE STREET CAPITAL                              533,121
   38        CTLR     CUTLER GROUP, LP                                 509,455
   39         LIWE    LIME BROKERAGE LLC                               493,400
   40        DBUL     DEUTSCHE BANK SECURITIES INC.                    476,265
   41          JEFF   JEFFERIES & COMPANY, INC.                        450,935
   42        CDRG     CITADEL SECURITIES LLC                           431,655
   43         GSCS    GOLDMAN, SACHS & CO.                             404,146
   44         SPDR    SPEEDROUTE LLC                                   346,315
   45        GEBB     GLOBAL EXECUTION BROKERS, LP                     344,889
   46         FCCP    FIRST CLEARING, LLC                              333,608
   47        WCHV     WELLS FARGO SECURITIES, LLC                      301,436
   48        YAMN     YAMNER AND CO. INC.                              260,195
   49         NFSC    NATIONAL FINANCIAL SERVICES LL                   242,046
   50         JONE    JONES AND ASSOCIATES INC.                        223,054
   51        EGXW     BATS TRADING, INC.                               216,844
   52        COWN     COWEN & CO., LLC                                 192,087


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Exhibit 7                           3831

Perrigo Company PLC
Market Maker Activity from 4/2015 to 4/2017
Source: Bloomberg ( PRGO US Equity <GO>, BAS <GO> )

 Number       Code                          Market Maker               Volume
    53       WEXX     WOLVERINE EXECUTION SERVICES,                         171,299
    54       BETC     BAYES CAPITAL LLC                                     158,716
    55       ATDF     AUTOMATED TRADING DESK FINANCIAL SERVICES, LLC        150,686
    56       LIWA     LIME BROKERAGE LLC                                    149,285
    57       ETRS     E*TRADE CLEARING LLC                                  141,971
    58       DRTR     DART EXECUTIONS, LLC                                  141,499
    59       BAYS     BAYES CAPITAL LLC                                     138,461
    60       BTIG     BTIG, LLC                                             125,165
    61       CANT     CANTOR FITZGERALD & CO.                               123,247
    62       BAYT     BAYPOINT TRADING LLC                                  121,563
    63       CPEM     CLEARPOOL EXECUTION SERVICES, LLC                     121,236
    64        LIJP    LIME BROKERAGE LLC                                    115,497
    65       ETDX     ELECTRONIC TRANSACTION CLEARING, INC.                 113,289
    66       LIME     LIME BROKERAGE LLC                                    101,804
    67       ETBG     ELECTRONIC TRANSACTION CLEARING, INC.                   98,415
    68       HPPO     POTAMUS TRADING, LLC                                    97,859
    69       CPET     CLEARPOOL EXECUTION SERVICES, LLC                       94,295
    70       MZHO     MIZUHO SECURITIES USA INC.                              91,821
    71       NQRB     BRUT, LLC                                               89,080
    72       ATMC     COWEN CAPITAL LLC                                       84,457
    73       BMOC     BMO CAPITAL MARKETS                                     77,646
    74       LSTE     LIGHTSPEED TRADING LLC                                  69,943
    75       GSLT     GOLDMAN SACHS & CO. LLC                                 69,107
    76       SPOT     SPOT TRADING L.L.C.                                     60,502
    77       HAPX     HAP TRADING, LLC                                        56,082
    78       DEGS     DART EXECUTIONS, LLC                                    53,695
    79        PIPR    PIPER JAFFRAY & CO.                                     53,624
    80       CSEC     COUNTRYWIDE SECURITIES CORP                             51,007
    81       ARXS     ARXIS SECURITIES LLC                                    46,660
    82       JOTA     JUMP TRADING                                            45,827
    83       IMPC     IMPERIAL CAPITAL LLC                                    40,832
    84       CHAS     CHARLES SCHWAB AND CO. INC.                             37,931
    85       XCAP     XAMBALA CAPITAL, LLC                                    36,885
    86        SJLS    SJ LEVINSON LLC                                         36,332
    87        STFL    STIFEL NICOLAUS                                         31,536
    88        DFIN    ELECTRONIC BROKERAGE SYSTEMS, LLC                       31,073
    89       FNYS     FIRST NEW YORK SECURITIES CO                            26,323
    90       NORT     NORTHLAND SECURITIES, INC.                              25,029
    91       RHCO     SUNTRUST CAPITAL MARKETS, INC.                          24,623
    92       GLPS     ELECTRONIC BROKERAGE SYSTEMS, LLC                       24,096
    93       DEMA     DEMATTEO MONESS LLC                                     21,729
    94       OLDM     OLD MISSION CAPITAL, LLC                                20,757
    95       GUGS     GUGGENHEIM SECURITIES, LLC                              20,506
    96       NEED     NEEDHAM AND CO.                                         19,453
    97        CIST    CAPITAL INSTITUTIONAL SERVICES                          18,063
    98       BNCH     THE BENCHMARK COMPANY, LLC                              13,613
    99       VNDM     VANDHAM SECURITIES CORP.                                13,372
   100       ETDR     ELECTRONIC TRANSACTION CLEARING, INC.                   13,304
   101        RILY    B. RILEY AND CO. INC.                                   13,297
   102       LTCO     LADENBURG, THALMANN & CO. INC.                          12,223
   103       ETBA     ELECTRONIC TRANSACTION CLEARING, INC.                   11,750



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Exhibit 7                           3832

Perrigo Company PLC
Market Maker Activity from 4/2015 to 4/2017
Source: Bloomberg ( PRGO US Equity <GO>, BAS <GO> )

 Number      Code                           Market Maker                  Volume
   104      LIWK      LIME BROKERAGE LLC                                           10,818
   105      MSPD      MORGAN STANLEY & CO. LLC                                     10,812
   106       FILL     TRADESTATION SECURITIES, INC.                                10,437
   107      AVON      AVONDALE PARTNERS, LLC                                       10,255
   108      DCHF      DART EXECUTIONS, LLC                                         10,174
   109      VERT      THE VERTICAL GROUP, INC.                                     10,004
   110      SPTD      STOCK USA INVESTMENTS                                         7,992
   111      DADA      D.A. DAVIDSON AND CO.                                         7,900
   112       TDSI     TD SECURITIES (USA) INC.                                      7,596
   113      BLTR      BLOOMBERG TRADEBOOK LLC                                       7,074
   114      WMSF      WEDBUSH SECURITIES INC.                                       6,837
   115      PERT      PERSHING TRADING COMPANY L.P.                                 6,322
   116      GLPX      ACS EXECUTION SERVICES, LLC                                   5,635
   117      LQNB      LIQUIDNET, INC.                                               5,416
   118      WMLP      WEDBUSH SECURITIES INC.                                       5,173
   119      VIEW      VIEWTRADE SECURITIES, INC.                                    5,013
   120      NEFO      NEWEDGE USA, LLC                                              4,971
   121      MLZB      <UNNAMED>                                                     4,437
   122      ETBV                                                                    3,920
   123      MLZC      ERRILL LYNCH, PIERCE, FENNER & SMITH INCORPORATED             3,600
   124      MAXM      MAXIM GROUP, LLC                                              3,306
   125      CMTT      CMT TRADING LLC                                               2,829
   126      DRWC                                                                    2,700
   127      ETDM      ELECTRONIC TRANSACTION CLEARING, INC.                         2,452
   128      BZWV      GOLDMAN SACHS EXECUTION & CLEARING, L.P.                      2,200
   129      RHOX      XR SECURITIES LLC                                             2,090
   130      LEER      LEERINK SWANN & CO., INC.                                     1,666
   131      EGAW      BATS TRADING, INC.                                            1,379
   132       SUNI     SUN TRADING, LLC                                              1,274
   133      CTDL      CITADEL DERIVATIVES GROUP LLC                                 1,123
   134      MICA      SPARTAN SECURITIES GROUP LTD                                  1,100
   135      SPDL      SPEEDROUTE LLC                                                1,100
   136      RAFF      RAFFENSPERGER, HUGHES & CO., INC.                             1,000
   137      RGLD      REGAL DISCOUNT SECURITIES, INC                                  800
   138      WSEA      WOLVERINE SECURITIES                                            755
   139      SPHN      STEPHENS INC.                                                   744
   140      DALE      ANCORA SECURITIES INC.                                          730
   141      OPCO      OPPENHEIMER & CO. INC.                                          691
   142      BELZ      ELECTRONIC BROKERAGE SYSTEMS I                                  601
   143      LIWD      LIME BROKERAGE LLC                                              600
   144      NPNT      NORTHPOINT TRADING PARTNERS, LLC                                600
   145      BARD      ROBERT W. BAIRD & CO. INCORPOR                                  500
   146      MERL      MERLIN SECURITIES, LLC                                          500
   147      WEMM      WELLS FARGO SECURITIES, LLC.                                    454
   148      MBTS      MB TRADING                                                      409


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Exhibit 7                           3833

Perrigo Company PLC
Market Maker Activity from 4/2015 to 4/2017
Source: Bloomberg ( PRGO US Equity <GO>, BAS <GO> )

 Number      Code                          Market Maker          Volume
   149       ROTH     ROTH CAPITAL PARTNERS, LLC                          400
   150       CLSA     CLSA AMERICAS, LLC                                  300
   151       XBLA     XAMBALA CAPITAL, LLC                                300
   152       WABR     WALL STREET ACCESS                                  240
   153       BZYD     GOLDMAN SACHS EXECUTION & CLEARING, L.P.            200
   154       CRTC     CRT CAPITAL GROUP LLC                               100
   155       PICT     PICTET OVERSEAS INC.                                100
   156       WBLR     WILLIAM BLAIR & COMPANY L.L.C.                      100
   157       OTRT     OTR GLOBAL TRADING LLC                               77
   158       AGIS     AEGIS CAPITAL CORP.                                  50
   159       DETF                                                          17
   160       JNKK     JNK SECURITIES CORP.                                  2




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Exhibit 8A                          3834

Perrigo Company PLC
US Market Short Interest as a Percentage of Float

                                               US Short
              Date
                                        Interest vs. Float Ratio
             4/30/2015                           3.76%
             5/15/2015                           3.85%
             5/29/2015                           3.84%
             6/15/2015                           3.98%
             6/30/2015                           3.96%
             7/15/2015                           3.95%
             7/31/2015                           3.88%
             8/14/2015                           3.98%
             8/31/2015                           4.12%
             9/15/2015                           4.27%
             9/30/2015                           4.31%
            10/15/2015                           4.26%
            10/30/2015                           4.13%
            11/13/2015                           4.11%
            11/30/2015                           4.12%
            12/15/2015                           4.11%
            12/31/2015                           4.06%
             1/15/2016                           4.20%
             1/29/2016                           4.27%
             2/12/2016                           4.35%
             2/29/2016                           4.37%
             3/15/2016                           4.34%
             3/31/2016                           4.23%
             4/15/2016                           4.11%
             4/29/2016                           3.96%
             5/13/2016                           3.99%
             5/31/2016                           4.04%
             6/15/2016                           4.04%
             6/30/2016                           4.03%
             7/15/2016                           3.98%
             7/29/2016                           3.88%
             8/15/2016                           3.86%
             8/31/2016                           3.83%
             9/15/2016                           3.90%
             9/30/2016                           4.00%
            10/14/2016                           3.90%
            10/31/2016                           3.90%
            11/15/2016                           4.00%
            11/30/2016                           3.80%
            12/15/2016                           3.80%
            12/30/2016                           3.60%



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Perrigo Company PLC
US Market Short Interest as a Percentage of Float

                                                        US Short
                  Date
                                                 Interest vs. Float Ratio
               1/13/2017                                  3.60%
               1/31/2017                                  3.60%
               2/15/2017                                  3.70%
               2/28/2017                                  3.70%
               3/15/2017                                  3.80%
               3/31/2017                                  3.80%
               4/13/2017                                  3.80%
               4/28/2017                                  3.80%
Class Period Average:                                     3.98%
Source: Bloomberg Short Interest vs. Float Ratio for Total US Market (SFUSTOTL)
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                     Case 2:16-cv-02805-MCA-LDW Document 163-2 Filed 11/30/18 Page 116 of 210 PageID:
Exhibit 8B                                               3836

Perrigo Company PLC
Short Interest
Source: Bloomberg, Thomson Rueters Eikon

                                                                                                           Short Interest as % of:
                                               Change In Short                               1
           Date               Short Interest                     Shares Outstanding     Float
                                                  Interest                                          Shares Outstanding        Float
        4/30/2015               1,575,049          (44,847)         146,263,000       140,194,666         1.08%              1.12%
        5/15/2015               1,537,814          (37,235)         146,263,000       140,194,666         1.05%              1.10%
        5/29/2015               1,246,688         (291,126)         146,271,000       140,202,666         0.85%              0.89%
        6/15/2015               1,413,131         166,443           146,271,000       140,202,666         0.97%              1.01%
        6/30/2015               1,606,143         193,012           146,271,000       140,201,766         1.10%              1.15%
        7/15/2015               1,738,366         132,223           146,271,000       140,201,766         1.19%              1.24%
        7/31/2015               1,593,170         (145,196)         146,271,000       140,201,766         1.09%              1.14%
        8/14/2015               1,984,935         391,765           146,279,000       140,209,766         1.36%              1.42%
        8/31/2015               2,119,686         134,751           146,279,000       140,209,766         1.45%              1.51%
        9/15/2015               2,286,956         167,270           146,279,000       140,209,766         1.56%              1.63%
        9/30/2015               2,470,245         183,289           146,279,000       140,186,032         1.69%              1.76%
        10/15/2015              2,505,741          35,496           146,376,000       140,283,032         1.71%              1.79%
        10/30/2015              2,324,653         (181,088)         146,376,000       140,283,032         1.59%              1.66%
        11/13/2015              2,323,006           (1,647)         146,402,000       140,309,032         1.59%              1.66%
        11/30/2015              2,891,888         568,882           146,402,000       140,309,032         1.98%              2.06%
        12/15/2015              3,890,934         999,046           146,402,000       140,309,032         2.66%              2.77%
        12/31/2015              4,551,729         660,795           146,402,000       140,304,706         3.11%              3.24%
        1/15/2016               5,258,366         706,637           146,402,000       140,304,706         3.59%              3.75%
        1/29/2016               6,626,679        1,368,313          146,402,000       140,304,706         4.53%              4.72%
        2/12/2016               7,365,060         738,381           146,402,000       140,304,706         5.03%              5.25%
        2/29/2016               8,150,400         785,340           143,199,000       137,101,706         5.69%              5.94%
        3/15/2016               8,533,749         383,349           143,202,000       137,104,706         5.96%              6.22%
        3/31/2016               9,184,536         650,787           143,202,000       137,097,447         6.41%              6.70%
        4/15/2016               9,532,779         348,243           143,202,000       137,097,447         6.66%              6.95%
        4/29/2016               6,789,127        (2,743,652)        143,202,000       137,097,447         4.74%              4.95%
        5/13/2016               5,726,660        (1,062,467)        143,202,000       137,097,447         4.00%              4.18%
        5/31/2016               6,309,470         582,810           143,223,000       137,118,447         4.41%              4.60%
        6/15/2016               8,071,965        1,762,495          143,223,000       137,118,447         5.64%              5.89%
        6/30/2016               5,420,778        (2,651,187)        143,223,000       137,114,681         3.78%              3.95%


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Exhibit 8B                                                   3837

Perrigo Company PLC
Short Interest
Source: Bloomberg, Thomson Rueters Eikon

                                                                                                                              Short Interest as % of:
                                                                  Change In Short                               1
              Date                     Short Interest                               Shares Outstanding     Float
                                                                     Interest                                          Shares Outstanding        Float
         7/15/2016                       6,712,114                  1,291,336          143,223,000       137,114,681         4.69%              4.90%
         7/29/2016                       6,008,277                   (703,837)         143,223,000       137,114,681         4.20%              4.38%
         8/15/2016                       6,652,638                   644,361           143,281,000       137,172,681         4.64%              4.85%
         8/31/2016                       5,957,678                   (694,960)         143,281,000       137,172,681         4.16%              4.34%
         9/15/2016                       5,439,590                   (518,088)         143,281,000       137,172,681         3.80%              3.97%
         9/30/2016                       6,802,365                  1,362,775          143,281,000       137,143,663         4.75%              4.96%
         10/14/2016                      6,666,118                   (136,247)         143,281,000       137,143,663         4.65%              4.86%
         10/31/2016                      5,680,047                   (986,071)         143,281,000       137,143,663         3.96%              4.14%
         11/15/2016                      5,264,625                   (415,422)         143,374,000       137,236,663         3.67%              3.84%
         11/30/2016                      4,520,024                   (744,601)         143,374,000       137,236,663         3.15%              3.29%
         12/15/2016                      4,410,343                   (109,681)         143,374,000       137,236,663         3.08%              3.21%
         12/30/2016                      5,103,310                   692,967           143,374,000       137,359,316         3.56%              3.72%
         1/13/2017                       5,901,714                   798,404           143,374,000       137,359,316         4.12%              4.30%
         1/31/2017                       6,191,344                   289,630           143,374,000       137,359,316         4.32%              4.51%
         2/15/2017                       6,303,087                   111,743           143,374,000       137,359,316         4.40%              4.59%
         2/28/2017                       6,898,232                   595,145           143,374,000       137,359,316         4.81%              5.02%
         3/15/2017                       8,805,255                  1,907,023          143,374,000       137,359,316         6.14%              6.41%
         3/31/2017                       8,727,431                    (77,824)         143,374,000       137,358,132         6.09%              6.35%
         4/13/2017                       9,238,579                   511,148           143,374,000       137,358,132         6.44%              6.73%
         4/28/2017                       11,184,686                 1,946,107          143,374,000       137,358,132         7.80%              8.14%
Class Period Average:                    5,255,044                   195,200           144,531,857       138,448,852         3.65%              3.81%
Class Period Minimum:                    1,246,688                  (2,743,652)        143,199,000       137,097,447         0.85%              0.89%
Class Period Maximum:                    11,184,686                 1,946,107          146,402,000       140,309,032         7.80%              8.14%

[1] Float is equal to shares outstanding less insider holdings.




                                                                                                                                                   Page 2 of 2
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Exhibit 8C                                                       3838

Perrigo Company PLC
Public Float: Reported Shares Outstanding Minus Total Insider Holdings
Source: Bloomberg, Thomson Reuters Eikon

 Reporting      Reported Shares      Total Insider
                                                     Float (Shares)   Float (Dollars)   Float (%)
    Date         Outstanding          Holdings
  4/30/2015       146,263,000         6,068,334      140,194,666      $25,694,878,384    95.9%
  5/15/2015       146,263,000         6,068,334      140,194,666      $27,267,862,537    95.9%
  5/29/2015       146,271,000         6,068,334      140,202,666      $26,680,567,340    95.9%
  6/15/2015       146,271,000         6,068,334      140,202,666      $25,699,148,678    95.9%
  6/30/2015       146,271,000         6,069,234      140,201,766      $25,913,492,410    95.9%
  7/15/2015       146,271,000         6,069,234      140,201,766      $26,172,865,677    95.9%
  7/31/2015       146,271,000         6,069,234      140,201,766      $26,946,779,425    95.9%
  8/14/2015       146,279,000         6,069,234      140,209,766      $27,481,114,136    95.9%
  8/31/2015       146,279,000         6,069,234      140,209,766      $25,654,180,885    95.9%
  9/15/2015       146,279,000         6,069,234      140,209,766      $25,722,883,670    95.9%
  9/30/2015       146,279,000         6,092,968      140,186,032      $22,047,057,253    95.8%
 10/15/2015       146,376,000         6,092,968      140,283,032      $22,812,826,664    95.8%
 10/30/2015       146,376,000         6,092,968      140,283,032      $22,128,245,468    95.8%
 11/13/2015       146,402,000         6,092,968      140,309,032      $20,611,396,801    95.8%
 11/30/2015       146,402,000         6,092,968      140,309,032      $20,960,766,290    95.8%
 12/15/2015       146,402,000         6,092,968      140,309,032      $20,949,541,568    95.8%
 12/31/2015       146,402,000         6,097,294      140,304,706      $20,302,090,958    95.8%
  1/15/2016       146,402,000         6,097,294      140,304,706      $20,345,585,417    95.8%
  1/29/2016       146,402,000         6,097,294      140,304,706      $20,285,254,393    95.8%
  2/12/2016       146,402,000         6,097,294      140,304,706      $19,446,232,252    95.8%
  2/29/2016       143,199,000         6,097,294      137,101,706      $17,309,090,383    95.7%
  3/15/2016       143,202,000         6,097,294      137,104,706      $18,422,759,345    95.7%
  3/31/2016       143,202,000         6,104,553      137,097,447      $17,538,876,395    95.7%
  4/15/2016       143,202,000         6,104,553      137,097,447      $17,547,102,242    95.7%
  4/29/2016       143,202,000         6,104,553      137,097,447      $13,253,210,201    95.7%
  5/13/2016       143,202,000         6,104,553      137,097,447      $12,113,930,417    95.7%
  5/31/2016       143,223,000         6,104,553      137,118,447      $13,141,431,960    95.7%
  6/15/2016       143,223,000         6,104,553      137,118,447      $13,463,660,311    95.7%
  6/30/2016       143,223,000         6,108,319      137,114,681      $12,432,188,126    95.7%
  7/15/2016       143,223,000         6,108,319      137,114,681      $12,984,760,291    95.7%
  7/29/2016       143,223,000         6,108,319      137,114,681      $12,530,910,697    95.7%
  8/15/2016       143,281,000         6,108,319      137,172,681      $12,110,976,005    95.7%
  8/31/2016       143,281,000         6,108,319      137,172,681      $12,481,342,244    95.7%
  9/15/2016       143,281,000         6,108,319      137,172,681      $12,887,373,380    95.7%
  9/30/2016       143,281,000         6,137,337      137,143,663      $12,662,474,405    95.7%
 10/14/2016       143,281,000         6,137,337      137,143,663      $11,847,841,047    95.7%
 10/31/2016       143,281,000         6,137,337      137,143,663      $11,408,981,325    95.7%
 11/15/2016       143,374,000         6,137,337      137,236,663      $12,227,786,673    95.7%
 11/30/2016       143,374,000         6,137,337      137,236,663      $11,849,013,483    95.7%
 12/15/2016       143,374,000         6,137,337      137,236,663      $11,337,120,730    95.7%
 12/30/2016       143,374,000         6,014,684      137,359,316      $11,432,415,871    95.8%
  1/13/2017       143,374,000         6,014,684      137,359,316      $10,686,554,785    95.8%
  1/31/2017       143,374,000         6,014,684      137,359,316      $10,459,911,913    95.8%
  2/15/2017       143,374,000         6,014,684      137,359,316      $11,661,805,928    95.8%
  2/28/2017       143,374,000         6,014,684      137,359,316      $10,270,356,057    95.8%
  3/15/2017       143,374,000         6,014,684      137,359,316       $9,697,567,710    95.8%
  3/31/2017       143,374,000         6,015,868      137,358,132       $9,119,206,383    95.8%
  4/13/2017       143,374,000         6,015,868      137,358,132       $9,292,277,630    95.8%
  4/28/2017       143,374,000         6,015,868      137,358,132      $10,156,260,280    95.8%
  Average         144,531,857         6,083,006      138,448,852      $17,049,999,111    95.8%



                                                                                                                Page 1 of 1
                               Case 2:16-cv-02805-MCA-LDW Document 163-2 Filed 11/30/18 Page 119 of 210 PageID:
Exhibit 9                                                          3839

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions              80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                               140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                            6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                      108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                     758         806         772         813         798         738         710         701         635         617

Institution/Individual                            3/31/2015     6/30/2015     9/30/2015     12/31/2015     3/31/2016     6/30/2016     9/30/2016     12/31/2016     3/31/2017     6/30/2017
Boothe (Douglas S)                                          0             0           802            802           802           802           802            802           802             0
Brlas (Mary Laurie)                                     8,974         8,974         8,974          9,977         9,977        10,457        10,457         10,457        10,457        12,557
Brown (Judy L)                                          7,445         7,445        12,429         12,429        12,429        12,429        14,796         10,607        10,607        10,007
Cohen (Gary M)                                         11,868        11,868        11,868         12,871        12,871        13,351        13,351         13,351        13,351        15,047
Coucke (Marc)                                       5,397,711     5,397,711     5,397,711      5,397,711     5,397,711     5,397,711     5,397,711      5,397,711     5,397,711     5,397,711
Farrington Thomas M                                       134           134           504            154           154           154         1,930          1,930         1,930         1,930
Fouse (Jacqualyn A)                                     2,433         2,433         2,433          2,433         3,436         3,436             0              0             0             0
Gibbons (David T)                                      13,188        13,188        13,188         14,191        14,191        14,191        14,191         14,191        14,191        14,191
Gottfried (Ran)                                        11,725        11,725        11,725         12,728        12,728        12,728        12,728         12,728        12,728        12,728
Hendrickson (John T)                                    9,879         9,879         9,879          9,879         9,879         9,879        14,774         14,774        14,774        14,774
Hoffing (Ellen Randi)                                   7,601         7,601         7,601          8,604         8,604         9,084         9,084          9,084         9,084         9,084
Jamison Scott F                                         1,200         1,200         2,397          2,397         2,397         2,397         2,397          2,397         2,397             0
Jandernoa (Michael J)                                 431,191       431,191       431,191        433,120       438,173       438,653       438,653        438,653       438,653       438,653
Janish (Ronald Craig)                                       0             0             0              0             0             0         1,474          1,474         1,474         1,474
Kingma (Todd W)                                        11,364        11,364        12,320         12,320        12,320        12,320        17,310         16,560        16,560        16,560
Kochan (Sharon)                                         5,400         5,400         7,373          7,373         5,883         5,883         9,594          9,594         9,594         9,594
Kunkle (Gerald K Jr)                                   24,204        24,204        24,204         25,207        25,207        25,687        25,687         25,687        25,687        25,687
Morris (Herman Jr)                                      4,528         4,528         4,528          5,531         4,981         5,461        10,202         10,202        10,202        10,202
Needham (Jeffrey R)                                     5,199         5,199         5,199              0         7,340         7,340        10,904         10,904        10,904        11,256
O Connor (Donal)                                        1,442         1,442         1,442          2,367         2,367         2,810         2,810          2,810         2,810         4,376
Papa (Joseph C)                                       107,025       107,925       119,415        119,415       118,515       118,515       118,515              0             0             0
Parker (Geoffrey M)                                         0             0             0              0             0             0             0              0             0         2,650
Quinn (Grainne M.D.)                                        0             0             0              0             0             0         2,080          2,080         2,080         2,080
Samuels (Theodore R II)                                     0             0             0              0             0             0             0              0             0         2,759
Shah (Jatin J)                                            757           757           260            260           260           260           260            260           260             0
Stewart (Michael Robert)                                    0             0         1,236          1,236         1,236         1,236         1,236          1,236         1,236             0
Weninger (Paul)                                             0             0             0              0             0             0         2,856          2,856         2,856         2,856
Wesolowski (John)                                           0             0             0              0             0             0             0            801           801           801
Winowiecki Ronald L                                         0             0             0              0             0             0             0              0         1,184         1,184
Yanai (Shlomo)                                              0             0             0              0             0           443           443            443           443           443
Yu Louis W                                              1,869         1,869         3,092          3,092         3,092         3,092         3,092          3,092         3,092             0
Zilberfarb (Ben-Zion)                                   3,197         3,197         3,197          3,197             0             0             0              0             0             0
13D Management LLC                                          0             0             0              0             0             0             0         95,180       119,276       116,150
1832 Asset Management L.P.                                  0             0             0              0             0             0             0         55,900       328,050       146,950
1919 Investment Counsel, LLC                           29,898        29,482        29,302         30,703        30,378           440           440              0             0             0




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Exhibit 9                                                        3840

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions             80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                              140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                           6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                     108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                    758         806         772         813         798         738         710         701         635         617

Institution/Individual                          3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016     6/30/2016     9/30/2016     12/31/2016    3/31/2017      6/30/2017
1st Global Advisors, Inc.                             4,431        4,142        4,312         3,850         4,670             0             0             0             0              0
3 Banken-Generali Investment-Gesellschaft mbH             0            0            0             0             0             0             0             0        17,066         17,066
40 North Management LLC                              26,345       17,756       16,129             0             0             0             0             0             0              0
A.R.T. Advisors, LLC                                      0            0            0             0             0             0             0        23,600             0              0
AAA Investment Partners AG                                0            0            0           600           600           600           600           600           600              0
Aberdeen Asset Investments Limited                   44,412       44,412       44,412        33,778        79,050        92,957       102,224        36,819        46,519         51,912
Aberdeen Asset Management (Asia) Ltd.                     0            0            0             0             0             0             0             0             0          3,560
Aberdeen Asset Management (Australia) Ltd.                0            0            0             0       110,000       153,700       116,900       114,800       185,250        178,226
Aberdeen Asset Management (Edinburgh)                     0            0            0         7,700       250,900       330,300       348,500       439,700       695,326        696,458
Aberdeen Asset Management Sdn Bhd                         0            0            0             0        45,200        73,000        73,000        73,000       134,800        134,800
Aberdeen Asset Management, Inc. (US)                      0            0            0             0       604,900       772,900       756,600       745,000     1,263,382      1,206,732
Aberdeen Asset Managers Ltd.                        132,735      118,981      115,939       128,532     1,088,246     1,283,657     1,196,266       900,293     1,445,187      1,502,578
Aberdeen Islamic Asset Management Sdn Bhd                 0            0            0             0             0         7,200         7,200         6,300         6,300          8,600
Aberdeen Standard Investments (Japan) Limited             0            0            0             0        30,400        39,000        39,000        39,000        39,000         39,000
ABN AMRO Investment Solutions (AAIS)                    259          456        1,708         1,708           451           376           428           591           374             79
Absolute Return Capital, LLC_NLE                          0            0        9,027             0             0             0             0             0             0              0
Acadian Asset Management LLC                              0            0            0           579             0             0             0             0             0              0
Accident Compensation Corporation                         0            0            0        54,969        17,800        13,800         7,800         5,800         3,800              0
Accipiter Capital Management, LLC                         0            0            0             0        81,226       205,636       207,291       141,637             0              0
Achmea Investment Management B.V.                         0            0            0             0             0             0             0             0        11,178          8,945
AcomeA SGR S.p.A.                                     3,000        3,000            0             0             0             0             0             0             0              0
Acrospire Investment Management LLC_NLE                   0            0            0             0           386         1,186           786         4,786         1,786            200
ACTIAM N.V.                                           2,691          116          207         2,082        20,993        25,875        28,150        27,805        27,170         26,941
Acuity Investment Management Inc.                       900          900          900           900           900           900           900           900             0              0
Ada Investment Management, LP_NLE                     2,176            0            0             0             0             0             0             0             0              0
Adage Capital Management, L.P.                       95,131      215,532      212,832       292,032        90,532       117,804        74,804        47,504             0              0
Adam & Company Investment Management Ltd.             8,700            0            0             0             0             0             0             0             0              0
Adams Hall Wealth Advisors, LLC                      10,682       10,682       10,682        10,682        10,682             0             0             0             0              0
Advent Capital Management, LLC                            0            0       14,000             0             0             0             0             0             0              0
Advisor Group, Inc                                        0            0            0             0             0         1,575           938           686           643            157
Advisors Asset Management, Inc.                         800       11,736        7,534         6,765         1,328         1,284         1,128           600             0              0
Advisory Services Network, LLC                           66          921          526           713           747           753           693           693           300            100
AEGON Investment Management B.V.                     37,906       27,629       30,606        28,067        30,655        25,781        25,781        25,781        16,076         13,339
AGF Investments Inc.                                250,725            0            0             0             0        98,808       176,749       145,223           210              0
AHL Partners LLP                                     31,324            0            0        15,837             0             0             0             0             0         13,237




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                             Case 2:16-cv-02805-MCA-LDW Document 163-2 Filed 11/30/18 Page 121 of 210 PageID:
Exhibit 9                                                        3841

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                         80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                          140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                       6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                                 108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                                758         806         772         813         798         738         710         701         635         617

Institution/Individual                                      3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017      6/30/2017
Airain Ltd                                                       22,733            0        1,505        25,211       16,225            0       56,224             0            0          8,854
AJO, LP                                                               0            0       15,796        19,708        8,093        6,193        7,000         7,000        2,100              0
Alaska Retirement Management Board                                    0            0            0             0            0       31,127       33,032             0        3,233          4,553
Albis Asset Management Limited                                    2,000        2,000        2,000         2,000        2,000            0            0             0            0              0
Albrech & Cie. Vermögensverwaltung AG                                 0            0            0             0            0            0            0             0        3,900          3,900
Aletti Gestielle SGR S.p.A.                                           0            0            0             0            0            0        2,500         4,000        7,000         34,500
Alexandria Capital, LLC                                              57           49           49            56           25            0            0             0            0              0
Alfred Berg Kapitalförvaltning AB                                 7,699        7,699        7,699         7,699        7,699        7,699        9,735             0            0              0
Alleghany Capital Partners LLC                                        0            0            0       170,000      750,000            0            0             0            0              0
Allen & Company LLC                                                   0            0            0             0            0            0            0             0        6,670          7,143
Alley Company, LLC                                               10,993        5,327        5,409         6,066        6,257            0            0             0            0              0
AllianceBernstein Japan Ltd.                                          0            0            0             0            0            0          378           378            0              0
AllianceBernstein L.P.                                          632,654      607,707      467,255       502,836      548,820      555,100      272,098       292,033      281,173        240,764
AllianceBernstein Ltd. (Growth)                                  56,596       59,357       32,300        32,300       32,300       32,300       32,300        32,300       32,300              0
Allianz Global Investors France                                     970          970          970           970          970            0            0             0            0              0
Allianz Global Investors GmbH                                    34,532          140            0       114,645      189,338       55,363       30,694           181            0              0
Allianz Global Investors Taiwan Ltd.                              1,200            0            0         1,800        1,800            0            0        24,300            0              0
Allianz Global Investors U.S. LLC                                     0          970            0             0            0            0          194       133,501            0              0
Allianz Investment Management, LLC                                4,641            0            0             0            0            0            0             0            0              0
AllSquare Wealth Management LLC                                     181          105           72           228          228          228          228             0            0              0
AlphaGen Securities, LLC                                              3            3            3             3            3            3            3             3            3              3
Alphamark Advisors, LLC                                             171          171            0           171          171          171          171           171          171            171
Alpine Global Management, LLC                                     3,189        8,285       32,785             0            0            0            0             0            0              0
Alpine Woods Capital Investors, LLC                               9,900        6,500        6,400        70,900        6,200        6,200        3,200             0            0              0
Alta Capital Management, LLC                                    182,866      183,988      184,587       228,139      375,296            0            0             0            0              0
Altrinsic Global Advisors, LLC                                        0            0            0             0            0            0       25,000        25,000       50,000         66,000
Alyeska Investment Group, L.P.                                        0            0            0             0            0            0      659,692             0            0              0
Amalgamated Bank Institutional Asset Management & Custody         4,576        5,021        5,176         3,951        5,335        6,577        6,587         9,204        9,759         15,079
AmericaFirst Capital Management, LLC                                  0            0            0             0            0            0        5,433         1,452            0              0
American Century Investment Management, Inc.                          0      483,191      375,695     1,066,629      803,986            0            0             0            0              0
American National Bank & Trust Co.                               12,857        1,119            0             0            0            0            0             0            0              0
Ameritas Investment Partners, Inc.                                2,626        2,738        2,738         2,738       13,363        5,618        6,305         3,455        3,455          3,425
Amica Mutual Insurance Company                                        0            0            0             0            0       17,798       17,798        17,798       17,798         17,798
Amica Retiree Medical Trust                                           0            0            0             0            0        1,157        1,157         1,157        1,157          1,157
Amitim                                                           21,400       29,589       61,839       248,042      276,915      529,456      580,456             0            0        194,656




                                                                                                                                                                                   Page 3 of 40
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Exhibit 9                                                        3842

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                   80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                    140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                 6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                           108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                          758         806         772         813         798         738         710         701         635         617

Institution/Individual                                3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017      6/30/2017
AMP Capital Investors Limited                              36,592       38,418       39,188        38,288       85,283       82,971       83,731        41,137       41,137         40,937
Ampega Investment GmbH                                          0            0            0             0            0            0        3,000         3,000        3,000          3,000
Amundi Asset Management                                    95,474      112,967      130,381       100,338      102,340       41,321       35,139       184,762      174,929         41,151
Amundi Hong Kong Limited                                    1,200        8,957        8,957             0            0            0            0             0            0              0
Analyst I.M.S., Investment Management Services Ltd.             0       20,417       20,268        22,078       21,876       30,663       30,663        38,033       39,284         39,165
Analytic Investors, LLC                                         0        8,959        9,130        10,940            0            0            0             0            0            141
Ancora Advisors, L.L.C.                                         0            0            0             0            0            0            0           300            0              0
Andra AP-Fonden                                            31,000        5,700        9,600        13,400       15,800       14,800            0             0            0         15,200
Angelo, Gordon & Co., L.P.                                      0      217,822      206,756             0            0            0            0             0            0              0
Anima SGR S.p.A.                                                0            0            0             0            0            0            0             0       80,860              0
Aperio Group, LLC                                          13,821       18,594       22,433        17,553       26,238       29,913       63,214        62,617       28,452         46,305
Apex Capital, LLC_NLE                                      70,000            0            0       150,000      150,000      150,000            0             0            0              0
APG Asset Management                                      164,914      776,151      760,896       744,424      787,194      817,594      182,494       156,894       92,920              0
Apo Asset Management GmbH                                   2,640        2,640            0             0            0            0            0             0            0              0
Appleton Partners, Inc.                                     5,096        5,338        5,248         5,231        3,218            0            0             0            0              0
AQR Capital Management, LLC                                 4,747      114,757      103,920         3,412            0            0            0             0       11,380         10,430
Arcadia Investment Management Corp.                             0          200          200           200          200          200          200           200          300            200
Archford Capital Strategies, LLC                               19           13           20            56            0           56           28             0            0              0
Arden Asset Management LLC_NLE                              2,491        5,573        5,573         5,573        5,573        5,573        5,573         5,573            0              0
Argenta Fund                                               14,473       16,763       16,763        15,342       15,342       15,342       18,708        20,808       20,808              0
ARIA Capital Management                                     3,000            0            0             0            0            0            0             0            0              0
Aris Wealth Services, Inc._NLE                                 11        3,785           15            15           15           15           15             0            0              0
Arizona State Retirement System                            51,100       51,100       40,000        39,600       39,700       35,100       35,300        35,400       35,500         35,600
Arrowgrass Capital Partners (US) LP                             0            0          217             0       36,502            0            0             0            0              0
ArrowMark Colorado Holdings, LLC                            4,655        7,655        7,580        13,613       50,410       11,910          428             0            0              0
Arrowstreet Capital, Limited Partnership                        0        1,500            0             0            0            0            0             0            0              0
Artemis Investment Management LLP                          22,726            0            0         6,379            4            4            4        50,004      110,004        120,004
Artisan Partners Limited Partnership                            0            0            0             0       14,701       14,701        3,759         4,223        5,122          5,273
Ascend Capital, LLC                                             0            0            0       155,722            0            0      854,566             0            0              0
Ascent Investment Advisors, LLC_NLE                             0            0            0           550            0            0            0             0            0              0
Ashburton (Jersey) Ltd.                                     2,610            0            0             0            0            0            0             0            0              0
Assenagon Asset Management S.A.                            22,308       24,190       26,504        27,840       26,974       26,522       26,268        31,271       34,902         32,696
Asset Dedication, LLC                                           0            0            0             2            2            0            0             0            0              0
Asset Management Group of Bank of Hawaii                   14,625       13,350       10,893         7,198        7,720        4,610            0             0            0              0
Asset Management One Co., Ltd.                             22,803       28,865       19,771        15,458        9,844        7,271        2,845             0            0              0




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Exhibit 9                                                        3843

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                   80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                    140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                 6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                           108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                          758         806         772         813         798         738         710         701         635         617

Institution/Individual                                3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017      6/30/2017
Asset Management One USA Inc.                              83,927       68,021       46,876        39,977       16,122       13,333       13,827        13,958        3,636          3,198
Assetmark, Inc.                                                 0           64          335         4,694        4,362          578          578           433          433            389
Asymmetry Capital Management, L.P                               0            0            0             0            0            0            0        10,339            0              0
Atlanta Capital Management Company, L.L.C.                661,230      380,740      234,397       603,656      582,804      606,041      540,929             0            0              0
Atria Investments LLC                                       2,504            0            0             0            0            0            0             0            0              0
AUA Capital Management, LLC                                     0            0            0             0            0            0            0           100          100              0
Aureus Asset Management, LLC                                1,679        1,679        1,278             0            0            0            0             0            0              0
Aurora Investment Counsel                                   2,980        2,980        2,980         2,980        2,980        2,980        2,980             0            0              0
Aurora Investment Management L.L.C._NLE                         0        9,196        8,403         8,403        8,403        8,403        8,403         8,403        8,403              0
Ausdal Financial Partners, Inc.                                 0            0            0           295            0            0            0             0            0              0
Aviva Investors France S.A.                                     0        6,800        6,800         6,432        6,432            0            0             0            0              0
Aviva Investors Global Services Limited                    69,751       70,188       68,320        68,577       69,495       80,842       82,111        87,312       82,426         84,416
AXA Rosenberg Investment Management LLC                         0            0       15,240        10,148        9,573        7,822        7,812         6,680       51,515         51,515
Azimuth Capital Management LLC                             17,909       17,398       17,193        18,043       18,228            0            0             0            0              0
Azzad Asset Management, Inc.                                5,170        5,170        5,170         5,170        5,170        2,444        2,444             0            0              0
Baader Bank AG                                                  0            0            0         3,300        1,700        2,700        2,700         2,700        2,700          2,700
Bahl & Gaynor Investment Counsel, Inc.                      6,371        5,242        5,192        10,867       15,421       10,800        4,601             0            0              0
Baillie Gifford & Co.                                           0            0            0        61,430       86,400       71,040      133,710       120,960      172,835        220,715
Baird Investment Management                               332,373      336,502      411,539       395,048      105,275      291,740      320,335       144,780       78,310         64,459
Baldwin Brothers Inc.                                           0            0            0           419          419          383          383           383          383            383
Balentine LLC                                                 807          344          344           814        1,044          252          252            22           22             22
Bâloise Asset Management                                        0            0            0           390          394          392          391           391          391            391
Balter Capital Management, LLC                                  0            0            0             0            0        4,100        4,100             0            0              0
Balyasny Asset Management LP                               67,641       62,098            0       420,120            0      181,913      634,836             0            0         18,522
Bangor Savings Bank                                             0            0            0             0            0       12,113       12,064        12,158            0              0
Bank Hapoalim B.M.                                              0        4,979        5,354         5,874        6,530        9,610        9,265        11,850            0              0
Bank of America Merrill Lynch (US)                        161,371      246,940      220,317       605,003      169,567      444,200      259,571       243,742      173,013        237,979
Bank of Nova Scotia                                         2,388        2,545        2,719         2,719        2,749        2,929        2,939         3,139        3,219          3,469
Bank of Oklahoma, N.A.                                      3,888        1,923            0         3,549        2,625        1,590            0             0            0          2,884
Banque Cantonale Vaudoise                                       0            0            0             0            0            0        2,397         2,397        2,915          2,915
Banque Degroof Petercam N.V.                                    0            0            0             0        1,001            0            0             0            0              0
Banque Morval S.A.                                            600          600          600           600          600          600          600           600          600              0
Banque Pictet & Cie S.A.                                   33,335       34,635       37,195        37,195        5,455            0            0             0            0              0
Barclays Bank PLC                                               0            0            0             0            0            0            0             0       29,402         71,447
Barclays Bank PLC (Barclays Capital Fund Solutions)        23,100            0            0             0            0            0            0             0            0              0




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Exhibit 9                                                        3844

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                 140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                              6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                        108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                       758         806         772         813         798         738         710         701         635         617

Institution/Individual                             3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016     6/30/2016     9/30/2016     12/31/2016    3/31/2017      6/30/2017
Barclays Capital                                        59,124       219,782       412,155       671,340        30,291        33,420        17,512        30,323        68,140          9,050
Barclays Capital Inc.                                   11,461        36,170         5,791         7,526       271,311        18,099        10,168        10,979         7,044         23,299
Barclays Wealth                                        113,919       113,919       113,919             0             0             0             0             0             0              0
Barclays Wealth Trustees (U.S.) N.A.                         0             0             0            67             0             0             0             0             0              0
Barings LLC                                              2,350         4,720         6,730         6,730         1,750             0             0             0             0          1,300
Baron Capital Management, Inc.                          76,494             0             0       261,138       113,215             0             0             0             0              0
Barrow, Hanley, Mewhinney & Strauss, LLC                16,859             0             0             0             0             0             0             0             0              0
BB&T Securities, LLC                                    20,383        15,730        22,411       196,503       309,473       307,006        24,156        24,156         9,027          9,062
BBT Capital Management, LLC                                  0       205,400       298,250             0             0             0             0             0             0              0
BBVA Asset Management, S.A., S.G.I.I.C.                  3,737         3,737         3,577         3,162         2,164         4,210         4,196         4,765         7,012          6,143
BBVA Compass                                             2,583         2,527         2,540         2,186         2,566         2,270         2,238             0             0              0
Beach Investment Counsel, Inc.                               0             0             0             0         2,688             0             0             0             0              0
Beacon Financial Group                                       0             0             0             0         2,271             0             0             0             0              0
Beacon Investment Advisory Services, Inc.                4,000         4,000         4,000         4,000         4,000         4,000         4,000         4,000         4,000          4,000
Bellevue Asset Management AG                            15,000        40,000        40,000        44,000        32,600        44,000        42,700        29,000        94,411         96,468
Bellevue Research, Inc.                                      0             0         5,000         5,000         5,000         5,000         5,000         5,000         5,000              0
Benjamin F. Edwards & Company, Inc.                          0             0             0             0             0             0             0             7             7              0
Berkshire Asset Management, LLC                              0             0             0             0             0         5,610         8,130             0             0              0
Berner Kantonalbank AG                                       0             0             0             0             0             0             0             0             0             85
Bessemer Trust Company, N.A. (US)                            0             0            43            41           500           190             0            38           195          2,235
BHR Capital LLC                                              0        45,000        45,000             0             0             0             0             0             0              0
BlackRock (Netherlands) B.V.                            20,843        20,331        21,583        22,019        31,261        29,096        27,940        29,417        30,131         28,001
BlackRock (Singapore) Limited                            1,223         4,596        15,730        18,419         2,367         6,677         7,641         6,319         6,293          6,293
BlackRock Advisors (UK) Limited                        141,217       117,392       116,793       113,908        91,246        89,024        85,894        99,863        89,041         83,668
BlackRock Asset Management Australia Limited            11,746        11,746             0             0             0             0             0             0             0              0
BlackRock Asset Management Canada Limited               91,915        89,191        97,223        95,996        89,144        92,544        92,028        99,143       102,726        108,985
BlackRock Asset Management Ireland Limited             332,605       327,599       336,444       337,722       336,994       350,603       356,132       387,188       407,734        412,195
BlackRock Financial Management, Inc.                 2,381,729     2,267,381     1,561,941     2,192,597       646,582       695,401     1,463,110     2,110,558     2,345,281      2,261,369
BlackRock Institutional Trust Company, N.A.          6,370,232    11,624,906    10,968,535     6,706,479     6,235,109     6,153,808     6,296,506     6,673,135     6,878,570      6,613,157
BlackRock International Ltd.                            37,639        30,117        47,130        47,837         8,003         7,805         7,699         7,699         7,236         36,640
BlackRock Investment Management (Australia) Ltd.        77,052        53,177        63,644        62,245        40,262        41,618        51,054        68,907        76,071         67,561
BlackRock Investment Management (UK) Ltd.            1,082,286     1,087,078       764,824       864,655       599,125       772,459     1,072,515     1,387,638     1,454,656      1,485,512
BlackRock Investment Management, LLC                 1,028,828     1,171,023     1,108,861     1,550,061       638,955       362,304       457,779       550,087       580,778        576,494
BlackRock Japan Co., Ltd.                              171,597       175,266       222,320       219,109       182,709       185,070       187,054       188,670       175,977        175,283
Blackstone Alternative Investment Advisors LLC               0             0             0             0             0             0        24,000        24,000        24,000         24,000




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Exhibit 9                                                        3845

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                     80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                      140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                   6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                             108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                            758         806         772         813         798         738         710         701         635         617

Institution/Individual                                  3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016     9/30/2016     12/31/2016    3/31/2017      6/30/2017
Blue Jay Capital Management, LLC                                  0       85,000      115,000        65,600            0             0       100,000             0            0              0
Blue Sky Asset Management, LLC                                    0            0            0             0            0             0             0             0       15,764              0
BlueCrest Capital Management LLP                                  0       26,414       29,557         1,804            0             0             0             0            0          2,931
Bluefin Trading, LLC                                              0            0            0       124,676            0             0             0             0       64,006              0
BlueMountain Capital Management, LLC                          1,132        4,166            0             0          147             0             0             0            0              0
BMO Asset Management Inc.                                    40,914       47,332       37,327        33,455       37,651        38,578        54,260        53,906       62,966         70,822
BMO Asset Management U.S.                                        21           13           13         8,431        7,016            16            25             0            0              0
BMO Capital Markets (US)                                      1,582          833          839           850          853         5,851        55,851         5,862        5,872         11,648
BMO Global Asset Management                                   4,505        5,461        5,787         6,649        6,455         6,471         6,418         6,167        6,024          5,626
BMO Harris Bank N.A.                                          4,119        3,846        3,921         3,539        2,361         3,363         1,968           868          302            361
BMO Nesbitt Burns Inc.                                          727          413          465         3,861        4,956         5,093         4,944         4,944        1,507          1,746
BNP Paribas (Suisse) S.A.                                     6,090            0            0             0            0             0             0             0            0              0
BNP Paribas Asset Management Belgium S.A.                         0            0          141            38           38            38            38            38           38             38
BNP Paribas Asset Management France SAS                       3,030        2,737            0             0            0             0         9,000        14,296            0              0
BNP PARIBAS ASSET MANAGEMENT Japan Limited                    9,000        9,000        9,000             0            0         7,699         7,699         7,699        7,699          7,699
BNP Paribas Asset Management Nederland N.V.                       0            0           15             4            3             3             3             3            3              3
BNP Paribas Asset Management UK Limited                           0            0            0             0           49            49             0             0            0              0
BNP Paribas Asset Management USA, Inc.                        3,030        2,737            0             0            0             0             0             0            0              0
BNP Paribas Securities Corp. North America                   17,619       74,710      268,208       240,266      279,232        47,805        35,447        38,468      130,252         79,568
BNY Mellon Asset Management                                 464,817      465,109      468,703       460,602      474,621       463,037       453,002       470,104      432,929        442,650
BNY Mellon Asset Management North America Corporation       824,275      779,634      763,727       717,034      671,234       601,930       597,815       584,755      585,494        510,902
BNY Mellon Wealth Management                                 47,837       14,455       14,403        17,075       24,497        26,606        15,680        17,760       17,612         18,508
BOCI-Prudential Asset Management Ltd.                           900          900        2,203         2,203        2,447         2,447         2,203         2,203        2,352          2,352
Bosera Asset Management Co., Ltd.                               409          282          282           238          238           238           238           261          261            261
Boston Partners                                                   0            0            0             0      239,052     1,178,083     1,016,794       940,466            0              0
Boston Private Wealth LLC                                         0        3,072        3,565         2,087            0             0             0             0            0              0
Bow Street, LLC                                                   0            0            0        70,671       70,671        70,671             0             0            0              0
BP Investment Management Limited                                  0            0            0             0            0        18,000         8,000         8,000        8,000          8,000
Brave Asset Management, Inc.                                     50           50           50            50           50            50            50            50           50             50
Breithorn Capital Management LLC                                  0            0            0             0            0             0        48,300        71,790       66,940         64,210
Brick & Kyle, Associates                                         47           47           47            47           47            47            47            47           47              0
Bridges Investment Management Inc                            28,305       28,280       28,280        37,645       30,950        39,385             0             0            0              0
Bridgeway Capital Management, Inc.                           24,900            0            0             0            0             0             0             0            0              0
Brinker Capital Inc.                                              0            0            0             0        4,663             0             0             0            0              0
British Columbia Investment Management Corp.                 80,345       65,594       65,594        59,631       65,693        69,285        43,749        44,090       41,148         54,530




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Exhibit 9                                                        3846

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions              80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                               140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                            6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                      108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                     758         806         772         813         798         738         710         701         635         617

Institution/Individual                           3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016     6/30/2016     9/30/2016     12/31/2016    3/31/2017      6/30/2017
Bronfman E.L. Rothschild, L.P                              0             0             0         2,277         1,018           757           732           480           110            134
Brown Advisory                                             0             0             0             0        29,230             0             0             0         4,786          5,632
Brown Brothers Harriman & Company                      7,500           280           296           105        46,210     4,284,587     4,841,742     4,715,761     4,895,631      4,637,022
Bruce & Company, Inc.                                  9,926         9,926         9,926         9,926         9,926         9,926         9,926         9,926         9,926          9,926
BTG Pactual Asset Management US, LLC                       0         9,000        16,100             0             0             0             0             0             0              0
C. M. Bidwell & Associates, Ltd.                           0             0             0             0         2,270             0             0             0             0              0
CA Indosuez (Switzerland) S.A.                             0             0         8,346         8,706             0             0             0             0             0              0
CA Indosuez Wealth (Europe) S.A.                           0             0         1,400             0             0             0             0             0             0          8,850
Cadence Capital Management, LLC                            0             0             0             0         2,700         2,733         4,023         4,138             0              0
Cadian Capital Management LP                         215,000             0             0             0             0             0             0             0             0              0
Caisse de Depot et Placement du Quebec                62,100        64,200        64,600        62,200        39,421        55,321        52,121        46,121        11,221         17,121
Calamos Advisors LLC                                 374,022        14,170        14,175       115,099       388,692       274,498        15,138        14,937             0              0
Calibrium AG                                           9,262         9,262             0             0             0             0             0             0             0              0
California Public Employees' Retirement System       299,358       366,958       357,200       347,800       329,300       309,000       290,000       270,700       263,600        273,300
California State Teachers Retirement System          264,338       267,145       273,693       278,133       317,927       299,852       302,452       294,952       282,552        244,968
Callan LLC                                                 0             0         1,932         1,932         2,032         2,032         2,232         2,032         4,032          4,032
Calvert Research and Management                            0            86           103             0             0         8,006         8,654         8,929         8,786          9,386
Camarda Financial Advisors, LLC                           54            38            38            38             0             0             0             0             0              0
Camber Capital Management LP                               0       122,748             0             0             0       570,000     1,213,600     1,208,200       808,200              0
Candriam Belgium S.A.                                 17,675        18,118        17,758        18,450        34,241        33,768         9,189         9,189        12,269         27,269
Candriam S.A. (France)                                     0             0             0             0             0             0             0             0         1,133          7,133
Cap West Equities                                      1,563         1,203         1,203         1,142             0             0             0             0             0              0
Capital Advisors, Inc. (OK)                                0             0             0             0             0        82,645             0             0             0              0
Capital Fund Management S.A.                               0             0             0             0        48,797             0        72,837             0             0              0
Capital Guardian Trust Company                           260           260           260           260           260           260           260             0            11             11
Capital International Investors                            0             0             0             0             0             0             0             0         1,900          1,900
Capital One Asset Management, LLC                          0             0             0         1,698         3,001             0             0             0             0              0
Capital Research Global Investors                          0             0             0             0     8,089,200     8,530,693     3,511,360     4,215,302     5,321,082      3,071,064
Capstone Investment Advisors, LLC                          0        45,000             0             0             0             0             0        41,500             0         57,945
Carlson Capital, L.P.                                      0             0             0             0             0             0       181,225             0             0              0
Carmignac Gestion                                          0     2,177,405     2,218,947     3,217,151     3,224,624             0             0             0             0              0
Carnick & Kubik Group, LLC                                 0             0             0             0         1,250             0             0             0             0              0
Carroll Financial Associates, Inc.                        12             0            12             0             0             0             0             0             0              0
Carson Wealth Management Group                             0             0             0             0             0             0             0            15             0              0
CastleArk Management, LLC                              1,740         1,740         1,740         1,740         1,740         1,740         1,740         1,740           380            380




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Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions            80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                             140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                          6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                    108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                   758         806         772         813         798         738         710         701         635         617

Institution/Individual                          3/31/2015    6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017      6/30/2017
Castlemaine Partners, LLC                                0            0            0             0            0          200            0             0             0             0
CatalunyaCaixa Inversio S.G.I.I.C. S.A._NLE            551          551        1,942         2,241        2,142        4,417        3,060         3,060         3,060         3,060
Catalyst Capital Advisors, LLC                         200          200          240           240          240          200            0             0             0             0
Catapult Capital Management LLC                          0       32,057            0             0            0            0            0             0             0             0
Cavanal Hill Investment Management, Inc.                29           29            0             0            0        5,095            0             0             0             0
Cedar Wealth Management, LLC                             0            0            0             0            0           38           38            38            38            38
Central Bank & Trust Company                             0           30           15            15            0            0            0             0             0             0
Central Trust & Investment Company                     803          818          831           838          586          553           53            53            53            53
Century Securities Associates, Inc.                      0            0            0             0          124            0            0             0           100           100
Ceredex Value Advisors LLC                               0            0            0       386,200      465,150            0            0             0             0       809,875
Certium Asset Management LLC_NLE                     1,341        1,341        1,341         1,341            0            0            0             0             0             0
Charles Schwab Investment Management, Inc.         348,358      355,070      369,805       437,179      386,423      380,947      384,901       392,113       411,581       429,676
Chartwell Investment Partners, LLC                 115,100      147,225      158,660       223,370            0            0            0             0             0             0
Chase Investment Counsel Corporation                15,941            0            0             0            0            0            0             0             0             0
Checchi Capital Advisers, LLC                            0            0            0             0          628          602            0             0             0           248
Chescapmanager, L.L.C.                                   0      454,365      400,730       470,991            0            0            0             0             0             0
Chesley, Taft & Associates L.L.C.                   16,037       19,662       20,347        19,562       13,482       12,417            0             0             0             0
Chevy Chase Trust Company                          158,100      158,468      150,835       149,912      185,066      138,806      119,563       119,805       123,597       123,516
Chicago Equity Partners, LLC                             0            0            0             0            0        3,120        2,650         2,780             0             0
Chicago Partners Wealth Advisors                         0            0            0             0            0            0        4,300         3,500             0           400
Churchill Management Group                           5,970        5,800            0             0            0            0            0             0             0             0
CI Investments Inc.                                 12,500       12,500       11,000        22,500            0            0            0             0             0             0
CIBC Asset Management Inc.                          11,594       10,750       10,964        10,567       10,567       10,759        9,571         9,757         9,460         9,685
CIBC Private Wealth Management                      10,492        1,173            0             0            0            0            0             0             0             0
CIBC World Markets Corp.                                 0      150,000            0             0            0            0            0         9,830        14,961        20,253
CIBC World Markets Inc.                                  0            0            0             0            0            0            0             0             0        16,908
CIGNA Investments, Inc.                                  0            0            0             0            0            0            0         5,209         5,884         5,330
Citadel LLC                                        665,937      426,054      413,452             0       14,436       21,894      585,664        22,823        19,949             0
Citi Investment Research (US)                        9,015       64,081          675        10,922       13,246          898        1,448         5,841        46,638        12,135
City Holding Company                                     0            0            0             0           82          127           57            57             0             0
City National Rochdale, LLC                          3,451        3,451            0           306          199          419          285           396           160           390
CKW Financial Group, LLC                               120            0            0             0            0            0            0             0             0             0
Claar Advisors LLC                                       0            0            0        20,000            0            0            0             0             0             0
Clal Insurance Enterprises Holdings Ltd.           680,523      673,923      666,623       833,353      904,062      364,257      364,257       739,476     1,130,408       605,285
ClariVest Asset Management LLC                           0            0            0           844            0            0            0             0             0             0




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Exhibit 9                                                        3848

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions               80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                             6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                       108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                      758         806         772         813         798         738         710         701         635         617

Institution/Individual                            3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
Clark Capital Management Group, Inc.                    1,906        1,648        1,565        17,325        2,126            0            0             0            0            0
ClearArc Capital, Inc.                                  4,035        4,550        4,311         4,520        5,023        4,978        3,537         4,280        4,387        4,271
ClearBridge Investments, LLC                                0           76            0             0            0          873            0             0            0            0
ClearBridge, LLC                                      561,640            0            0       473,630      609,877      775,340            0             0            0            0
Clinton Group, Inc.                                         0            0            0        28,812       43,279        2,859            0             0            0            0
Cloud Capital LLC                                         138          138          138           123          117          136          255           184           40           40
Clough Capital Partners, LP                           145,658       80,108       39,208       130,768       83,189            0            0             0            0            0
Coastland Capital LLC_NLE                                   0            0       13,299             0            0            0            0             0            0            0
Cobalt Capital Management, Inc.                             0            0            0             0            0            0       20,000             0            0            0
Cohen & Steers Capital Management, Inc.                96,980            0            0        68,600       33,460            0            0             0            0            0
Coho Partners, Ltd.                                         0            0            0             0      575,840       11,500        6,000         6,000            0            0
Coldstream Capital Management, Inc.                         0            0            0             0        2,215            0            0             0            0            0
Columbia Threadneedle Investments (UK)                 29,695            0            0             0            0            0            0             0            0            0
Columbia Threadneedle Investments (US)              1,145,742      510,804      429,945        93,674      690,848       82,156       95,408        48,586       47,599      302,164
Columbus Circle Investors                              50,070       58,977            0             0            0            0            0             0            0            0
Columbus Hill Capital Management, L.P.                      0            0            0             0            0            0            0             0       56,000       54,486
Comerica, Inc.                                         18,854       15,749       21,621        26,170       25,143        2,606        1,279           543          648          600
Commerzbank AG                                         21,114       17,230        5,360        14,601        9,434       10,088       19,581        15,849       30,802       31,138
Commonwealth Bank of Australia                            790        1,709        1,915         1,705          825          736          882         1,055        1,279        1,455
Commonwealth Financial Network                          5,083        3,327        3,329         3,615        3,548       14,472       16,869        17,155       24,579       35,697
Community Capital Management, Inc.                          0            0            0             0            0          383          287           737          737          737
Compass Asset Management SA                                 0            0            0             0            0        1,800        1,800         1,800        2,300        2,300
Compass Efficient Model Portfolios, LLC_NLE                26           26           26             0            0        1,828        1,848         1,811        1,734        1,734
Conning, Inc.                                           3,880        3,990        3,710         5,858        5,868        3,520        3,430         3,110        3,040            0
Connor, Clark & Lunn Investment Management Ltd.           207          207          207        11,600       12,500       13,600            0             0            0            0
Continental Advisors LLC                                    0            0            0             0            0       13,900       15,500        26,400       59,500       58,700
Convergent Wealth Advisors_NLE                              0            0            0           288          237          200          200           200          200          200
Cooke & Bieler, L.P.                                        0            0            0             0            0            0            0        84,789      148,724      149,124
Copeland Capital Management, LLC                            0            0        5,000             0            0            0            0             0            0            0
Cornerstone Advisors, Inc. (WA)                         2,499           14           14         1,074        1,094          122          109           147          103          106
Cornerstone Capital Management Holdings LLC_NLE       630,814      566,752      561,402       680,255      626,650      575,129      520,210       486,444       24,578       24,503
Cornerstone Capital Management LLC                    608,265      154,448      281,611       487,584      527,072      547,968      167,543       167,543      167,543      167,543
Coronation Fund Managers Limited                            0            0            0             0            0            0      116,575             0            0            0
Cortland Associates, Inc.                                   0            0            0        98,534      154,776      153,996      155,124       123,483      121,185      118,243
Corvex Management LP                                        0      360,310      378,235             0            0            0            0             0            0            0




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Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions            80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                             140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                          6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                    108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                   758         806         772         813         798         738         710         701         635         617

Institution/Individual                          3/31/2015    6/30/2015    9/30/2015     12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
Counsel Portfolio Services, Inc.                     1,450        1,950             0             0            0            0            0             0            0            0
Courier Capital, LLC                                     0            0             0             0            0        2,490            0             0            0            0
Covéa Finance S.A.S.                                56,253       56,253        56,253             0            0            0            0             0            0            0
Cowen Investment Management LLC                          0        4,870        23,679             0            0            0            0             0            0            0
CPP Investment Board                                22,159       59,961       108,151        57,551       15,514       27,410       24,510        25,310       25,310       25,310
CPR Asset Management                                     0            0        43,700        36,500            0            0            0             0            0            0
CQS Cayman LP                                            0            0             0        44,992            0            0            0             0            0            0
C-QUADRAT Wealth Management GmbH                     3,675        3,675         3,675             0            0            0            0             0            0            0
Cramer Rosenthal McGlynn, LLC                      370,760      103,725             0             0            0            0            8             8            8            8
Crawford Investment Counsel, Inc.                   48,780       31,965        31,785       215,059      309,084      357,123      394,398       280,546      357,193      349,181
Creative Financial Designs, Inc.                         0            0             0             0            0            0            0            14           14           14
Creative Planning, Inc.                              1,931            0           436         4,484        2,060        3,023        4,158         3,531        3,172        3,122
Credit Suisse Asset Management                      82,361       86,277        89,506        88,114       88,502       83,629       83,497        82,502       83,253       81,109
Credit Suisse Private Banking (Switzerland)              0            0             0             0            0            0       23,683             0            0            0
Credit Suisse Securities (USA) LLC                       0      660,953       191,691       185,005      168,776      230,414      260,344       212,313      241,688      236,083
Crestwood Advisors Group LLC                         1,497            0             0             0            0            0            0             0            0            0
Croft-Leominster, Inc.                              44,263       16,859        15,392        15,139            0            0            0             0            0            0
Crossmark Global Investments, Inc                    5,868        5,149         5,484         7,040        7,044        6,901        7,146         7,842        7,782        7,199
Crystal Rock Capital Management, LLC                     0            0         7,370             0            0            0            0             0            0            0
CSS, LLC                                                 0        7,500         6,839         6,139        3,639        3,639            0             0            0            0
CTC myCFO, LLC                                           0            0             0           120        1,664        1,278        1,842         2,261        5,349        6,121
Cubist Systematic Strategies, LLC                   17,105        1,405             0        16,207       13,151       35,969       16,744        17,210       12,447        7,575
Cumberland Private Wealth Management Inc.          112,700            0             0             0            0            0            0             0            0            0
Curian Capital, LLC_NLE                             45,746       25,962        18,631             0            0            0            0             0            0            0
Cutler Group, LP                                         0            0             0             0        5,885       50,497       11,126        16,679       83,886       74,516
Cutter & Co Brokerage, Inc.                              0            0             0             0        2,470        2,670        2,570         2,570            0            0
D. E. Shaw & Co., L.P.                             114,643      703,443     1,483,495       426,273      183,501       48,987        2,577       179,698       30,429       23,817
D.A. Davidson & Co.                                 29,259       26,014        26,439        38,201       51,641        1,110        6,454         7,796        7,162        6,260
Dacheng Fund Management Co., Ltd.                      204          103           103            82           82           82           82           697          697          697
Daiwa Asset Management Co., Ltd.                     3,300        3,200         3,300         3,900        3,400        3,400        3,400         3,900        4,050        4,050
Danske Bank                                            716        1,516         1,916         1,616        1,716        1,716        1,716         1,716        1,716        1,716
Danske Capital                                       2,101        2,268           872           972        2,788        2,088        2,488         3,188        1,988       10,781
Darrell & King, LLC                                      0            0             0             0      198,578      195,127            0             0            0            0
Davenport Asset Management                               0            0             0       213,389      240,728       27,344       27,348         4,054        4,060        3,024
David Lerner Associates, Inc.                            0            0             0             0            0            0        1,300         1,300        1,300        1,300




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Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                 140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                              6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                        108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                       758         806         772         813         798         738         710         701         635         617

Institution/Individual                             3/31/2015     6/30/2015    9/30/2015     12/31/2015    3/31/2016     6/30/2016     9/30/2016     12/31/2016    3/31/2017     6/30/2017
Davide Leone and Partners Investment Company LLP             0      409,463       550,500       569,021             0             0             0             0             0             0
Davidson Kempner Capital Management LP                       0      270,842     1,140,674     1,140,674     1,140,674     1,140,674     1,140,674     1,140,674     1,140,674     1,140,674
DB Asset Management Co Ltd.                                  9            9             9             9             9             9             9             0             0             0
DB Platinum Advisors                                    49,206       49,206        49,206         3,375         3,465         3,465         3,468         3,927         3,927         3,775
Dearborn Partners L.L.C.                                 1,800        1,310         1,300             0             0             0             0             0             0             0
Decatur Capital Management, Inc.                             0            0             0        13,426        19,839        30,192        30,192        35,327         7,300             0
Deere & Company                                              0            0             0             0         6,793         6,444         6,276         6,276         6,276             0
Deerfield Management Company, L.P.                           0        3,500             0             0             0             0             0             0             0             0
Degroof Petercam Asset Management                       28,152        8,252         8,252        25,752         4,652         4,652         4,652         4,652         4,652         4,652
Degroof Petercam SGIIC, S.A.                             1,601        1,601             0             0         1,001         1,001         1,001         1,001         1,001         1,001
Deka Investment GmbH                                    15,966       16,305        15,080        14,626        14,826        22,630        22,714        14,294        14,540        17,716
DekaBank Deutsche Girozentrale                          19,279       16,123        18,470        17,280        23,055        35,533        36,765        24,765        54,805        50,554
Delta Asset Management, LLC                                 38           38            38            38            38            38            38            38            38            38
Delta Lloyd Asset Management N.V._NLE                    6,352        6,352        11,645        11,645         9,096         9,096         9,096        11,730        11,730             0
Delta Partners, LP                                           0            0             0             0             0             0       185,400             0             0             0
Denver Investments_NLE                                  29,794            0             0             0             0             0         8,806       104,340       109,850       115,763
Deutsche Asset Management Americas                     194,868      369,747       127,126       151,852        87,668       144,094       228,149       374,168       324,316       333,031
Deutsche Asset Management Investment GmbH               50,896       60,150        65,268        59,407        70,003        73,343        72,955        82,425       170,169       118,361
Deutsche Bank AG (Germany)                               1,357          448           374           676           106             0             0         3,276         2,646         2,219
Deutsche Bank Luxembourg S.A.                                0            0             0             0             0             0         6,192         8,824         7,294         6,436
Deutsche Bank Securities Inc.                          164,479       16,444        14,980        58,250       321,398        41,435         1,250             5        36,123        13,533
Diamond Hill Capital Management Inc.                         0           70            48           104            98           120             0             0             0             0
Dimensional Fund Advisors, L.P.                        237,285      237,713       238,623       240,365       249,557       252,814       253,153       279,474       312,302       442,342
Dimensional Fund Advisors, Ltd.                          2,871        2,871         2,871         2,871         2,904         2,904         2,904         3,995         4,208        11,162
Discovery Capital Management, LLC                            0      449,320     1,097,738             0             0             0             0             0             0             0
Dividend Assets Capital, LLC                           787,340      776,693       781,390       704,611       908,645       926,201       984,294       637,266             0             0
DNB Asset Management AB                                  4,053        4,053         2,953         2,953         2,653         2,653         2,653         2,953         2,953         2,953
DNB Asset Management AS                                 17,236       17,236        17,336        29,536        10,736        10,936        25,636        24,536        14,436        89,836
D'Orazio & Associates, Inc.                                  0            0            28             0             0             0             0             0             0             0
Douglas C. Lane & Associates                            54,818       50,958        50,113        53,716        67,231        69,836        49,732        17,041         4,415             0
Driehaus Capital Management, LLC                        26,154            0             0        51,721        29,839        17,439             0             0             0             0
DRW Securities, LLC                                          0            0             0         3,000             0             0             0             0             0             0
DSM Capital Partners, LLC                              997,609            0             0     1,097,799     1,094,466             0             0             0             0             0
Dubuque Bank and Trust Company                              17           17            17        17,183        21,613            79            44            44            44            44
Duncker, Streett & Co., L.L.C.                             100          100           100             0             0             0             0             0             0             0




                                                                                                                                                                         Page 12 of 40
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Exhibit 9                                                        3851

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                   80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                    140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                 6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                           108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                          758         806         772         813         798         738         710         701         635         617

Institution/Individual                                3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
DuPont Capital Management Corporation                           0             0             0        22,500        7,600            0            0             0            0            0
DWS Investment Management Americas, Inc.                   58,746        53,806        53,450        43,708       49,955       20,273       32,442        19,535       22,362       18,203
Dynamic Capital Management LLC                                  0             0        12,363             0        5,094       96,045       27,805             0            0            0
Dynamic Technology Lab Pte. Ltd.                                0             0             0             0            0            0            0             0        4,300        7,000
E.Öhman J:or Fonder AB                                      3,500         3,500         3,500         3,500        3,500        3,500        3,500         4,000        4,000        3,500
Eachwin Capital LP                                              0             0             0        13,717        3,294            0            0             0            0            0
Eagle Asset Management, Inc.                               32,972         9,060        13,252        22,505       21,990       17,893            0             0            0            0
EARNEST Partners, LLC                                      15,730        10,905         8,045         8,045      119,332      116,888      112,955        91,565       94,706       95,923
Eaton Vance Management                                    996,760     1,035,672     1,103,981     1,378,379      326,997       10,169        7,002         4,084        3,248        2,935
Ecofi Investissements S.A                                   1,521         1,645         1,909         1,962        2,027        2,027        2,071         2,071        1,988            0
Edge Asset Management, Inc.                                28,890        43,634        48,912       125,457      188,667       96,430            0             0            0            0
Edge Capital Partners, LLC                                      0             0             0             0            0            0            0            24          319          321
Edgestream Partners, L.P.                                       0         1,204             0             0            0            0        3,139             0            0            0
Edgewood Management LLC                                     3,360         3,206         3,171         3,352        3,258            0            0             0            0            0
Edmond de Rothschild Asset Management (France) S.A.             0        62,370        72,460        83,112       74,478      110,074      273,847       477,240      505,365      476,665
EII Capital Management, Inc.                                    0             0             0             0            0            0       23,200        35,150       35,150       35,150
Element Capital Management, LLC                                 0           200             0             0            0            0            0             0            0            0
Ellington Management Group, L.L.C.                              0         2,500         2,000         2,300            0            0            0             0            0        9,200
Elliott Management Corporation                                  0             0       451,896       177,915        2,000            0            0             0            0            0
Empire Life Investments Inc.                                    0             0             0        20,698       16,119        9,784        4,062        10,498        4,345       10,829
Employees Retirement System of Texas                       44,455        44,455        45,455        46,455       46,455       45,455       54,995        53,755       53,755       54,935
Endex Capital Management, LLC                                 856           856           856             0            0            0            0             0            0            0
Endurance Wealth Management, Inc.                               0            96             0            96           56           56           56            56           56           56
Endurant Capital Management LP                                  0             0             0             0        3,600        7,600       15,100             0            0            0
Engineers Gate Manager, L.P.                                    0         3,446             0             0            0       26,300            0        42,247            0        9,424
Enterprise Financial Services Corp.                             0             0            22             0           29            0           98            63           34          103
EnTrustPermal Management LLC                                  400           400           400           950            0            0            0             0            0            0
Envestnet Asset Management, Inc.                                0        61,493        57,411       105,725      129,138       27,625        5,228         4,250        3,607        3,759
Eqis Capital Management, Inc.                                   0             0             0             0        5,217            0            0             0            0            0
Equitycompass Strategies                                        0             0        16,484             0            0            0            0             0            0            0
ERSTE-SPARINVEST Kapitalanlagegesellschaft mbH              1,593         1,593             0             0            0            0            0             0            0            0
ETF Managers Group, LLC                                         0             0             0            39           39            0            0             0            0            0
ETF Securities Advisors LLC                                   102           252           308            95           95           90           90            90           90           90
Ethenea Independent Investors S.A.                              0             0             0         5,000        5,000            0            0             0            0            0
Eton Park Capital Management, L.P._NLE                          0     1,444,815     2,986,851       843,318            0            0            0             0            0            0




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Exhibit 9                                                        3852

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                   80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                    140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                 6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                           108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                          758         806         772         813         798         738         710         701         635         617

Institution/Individual                                3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016     6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
Euclid Advisors LLC                                        50,960        11,530             0         7,942         2,820        5,490            0             0          654          654
EULAV Asset Management                                     22,000        14,000        12,000             0             0            0            0             0            0            0
Eurizon Capital S.A.                                        2,736         2,736         2,736            17            17           17           17        13,233       16,233            1
Evercore Wealth Management, LLC                                15            15            15           844           874           45           45            45           45           45
Everence Capital Management, Inc.                           1,776         1,776         3,656         1,566         8,866        3,786        3,786         3,340        3,340        3,340
Evermay Wealth Management, LLC                              1,504         1,504         1,504             0             0            0            0             0            0            0
EverPoint Asset Management, LLC_NLE                        20,000             0             0             0             0            0            0             0            0            0
Excel Funds Management Inc.                                     0             0             0             0             0          442            0             0            0            0
Exchange Traded Concepts, LLC                                  17            18            18             0             0           18           18            18           18           18
ExxonMobil Investment Management, Inc.                     33,859        32,470        33,580        32,815        35,645       37,073       36,585        33,186       31,838       27,528
Factory Mutual Insurance Company                           75,000        90,000        90,000        90,000       137,000      104,496       74,496        74,496            0            0
Farallon Capital Management, L.L.C.                             0       210,000             0             0             0            0            0             0            0            0
Farr, Miller & Washington, LLC                             92,088        92,732        92,822       178,306       178,336            0            0             0            0            0
FDO Partners, LLC                                               0             0             0         9,134             0            0            0             0            0            0
FDX Advisors, Inc.                                          5,500         4,052         3,196        13,816        21,259        2,873        2,485             0            0            0
Federated Equity Management Company of Pennsylvania         4,862         4,213         4,057         3,701         2,028        3,193        3,056         2,917        2,586            6
Federated Investment Management Company                     4,862         4,213         4,057         3,701         2,028        3,193        3,056         2,917        2,586            6
Feltz WealthPLAN, Inc.                                         26             0             0            26            26            0            0             0            0            0
Ferris Capital, LLC                                             0             0             0             0             0            0            0             0            0           32
FFCM LLC                                                        0             0             0             0             0        1,127          905           674           76           76
FIC Capital, Inc._NLE                                           0             0             0             0             0            0        3,430         3,255            0            0
Fidelity Institutional Asset Management                    43,722             0             0             0             0            0            0             0            0            0
Fidelity International                                    288,937       108,603        69,394       844,229     1,422,231      234,435      160,745             0            0            0
Fidelity Management & Research Company                  3,936,282     2,548,255     2,637,406     2,244,232       375,091      561,061      830,795     1,088,928      631,649      574,785
Fideuram Asset Management (Ireland) dac                     9,387         5,905         5,367        18,703         6,193        6,181       41,500        20,289       10,939       15,944
Fideuram Investimenti SGR S.p.A.                                0             0             0             0             0            0       45,500        19,319            0            0
Fiduciary Trust Company                                         0             0             0             0        17,431       11,583        9,084         5,788        3,771        3,773
Fieldpoint Private Advisors, Inc.                          21,230        21,105        21,085        15,375        15,375        6,690        6,460             0            0            0
Fiera Capital Corporation                                   1,400         1,300             0             0             0          370          370           370          370          370
Financial Architects Inc.                                      86            52             0             0           154           27           17             0            0            0
Financial Engines Advisors LLC                              3,424         2,932         1,995         1,923         2,309        4,701        2,738         3,803        3,794        2,777
FineMark National Bank & Trust                              4,232         3,090         2,945         4,704         5,220        1,278        1,235         1,415        3,064        3,053
FinEx Capital Management LLP                                   52            52            55            55            56           55           55            55           56           41
First Allied Asset Management, Inc.                         1,764             0             0         1,416             0            0            0             0            0            0
First Commonwealth Financial Corp.                          4,212         3,517             0             0             0            0            0             0            0            0




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Exhibit 9                                                        3853

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                          80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                           140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                        6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                                  108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                                 758         806         772         813         798         738         710         701         635         617

Institution/Individual                                       3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016     6/30/2016     9/30/2016     12/31/2016    3/31/2017     6/30/2017
First Eagle Investment Management, L.L.C.                              0             0         3,000         3,000         3,000         3,000             0             0             0             0
First Financial Bank, N.A.                                         7,339         8,363         8,981         8,884         9,757             0             0             0             0             0
First Manhattan Company                                        1,179,066     1,010,206     1,102,536     1,775,596     2,061,362       409,605       184,375         8,005         2,635         1,425
First Mercantile Trust Company                                    39,644        10,627        10,172        18,146             0        13,272         9,746             0             0             0
First Midwest Trust Company                                        2,732             0             0             0             0             0             0             0             0             0
First New York Capital Corp.                                           0           500             0             0             0             0           600             0           256           198
First Niagara Private Client Services_NLE                              0             0             0             0         9,802         3,525         3,525         3,525         3,525         3,525
First Pacific Advisors, LLC                                            0             0             0             0        32,600             0             0     1,297,550             0             0
First Quadrant L.P.                                                  400           400           400           300             0             0             0       257,530       234,425             0
First Republic Investment Management, Inc.                        12,344         5,142         3,140        13,582        20,178         6,413         5,554         3,557         3,781         3,999
First Trust Advisors L.P.                                        195,675             0       367,239       205,870             0             0             0             0             0             0
Fisher Investments                                               461,071       233,870       217,661       215,946       265,942       339,967       529,719       514,718       481,172       465,952
Fjärde AP-Fonden                                                  31,963        29,831        29,021        29,270        33,542        33,054        34,032        31,000        29,316        29,836
FLASKAMP Invest S.A.                                                   0             0             0             0             0             0             0             0        15,000        15,000
Florida State Board of Administration                            179,188       178,322       184,178       181,257       178,727       215,767       210,036       212,008       212,119       214,725
Folger Hill Asset Management LLC                                       0             0             0             0             0             0             0             0             0         5,436
Foresters Investment Management Company, Inc.                     90,900       113,950       116,950       123,450       123,450       106,300        54,100        54,200             0             0
Formidable Asset Management, LLC                                       0             0             0             0             0         4,534         5,025         5,303         6,593             0
Fort Washington Investment Advisors, Inc.                          6,915         7,065         6,865             0         5,090         3,275             0             0             0             0
Founders Bank & Trust_NLE                                            155           155           155           155           155           155           155             0             0             0
Fox Run Management, L.L.C                                              0             0             0             0         3,100             0             0         6,400         7,500             0
Franklin Advisers, Inc.                                        1,065,857     1,617,955     1,591,685     1,039,689       800,461       226,361       226,561         1,300         1,830             0
Franklin Advisory Services, LLC                                  350,500       355,404       358,353       401,304     1,049,105     2,029,451     2,042,750     2,043,151     2,063,351     2,063,351
Franklin Equity Group                                             60,286        71,519        75,627       361,148       485,939       114,197        30,236           920         1,046           730
Franklin Mutual Advisers, LLC                                      1,650         2,207         2,207         2,155         2,082         2,003         1,901         1,901         1,790         1,790
Franklin Street Advisors, Inc.                                    21,922        26,586        35,200        34,243        34,131        47,233        44,970             0             0             0
Franklin Templeton Investment Management Ltd.                     75,832        74,332        63,274        52,359        48,718        48,718       184,275       186,865       196,175       201,075
Franklin Templeton Investments Australia Ltd.                          0             0             0             0             0             0        63,640        69,170        95,310        93,660
Franklin Templeton Investments Corporation                             0             0             0             0             0             0       180,490       220,640       300,300       310,200
Franklin Templeton SinoAm Securities Investment Management             0             0             0             0             0             0             0         6,965         6,965         5,023
Fred Alger Management, Inc.                                        9,600         7,000         7,000             0             0             0             0             0             0             0
Friedberg Investment Management, Inc.                             16,825        15,935        14,925        13,135        12,560             0             0             0             0             0
Frontier Capital Management Company, LLC                         407,088       349,502       359,036       631,626       718,156         4,679           269           269           444           444
Frost Investment Advisors, LLC                                         0             0             0             0             0             0             0       124,069       121,376        60,596
FTB Advisors, Inc.                                                 1,202        12,831        19,082        18,796        30,916        33,755        41,585        41,585        38,015        41,314




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Exhibit 9                                                        3854

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions            80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                             140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                          6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                    108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                   758         806         772         813         798         738         710         701         635         617

Institution/Individual                          3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016     6/30/2016     9/30/2016     12/31/2016    3/31/2017     6/30/2017
Fukoku Mutual Life Insurance Co.                        885           885           985           985           985           985           985           985         1,085         1,185
Fulton Financial Advisors, N.A.                       7,952         5,445         5,194         7,456         2,337             0             0             0             0             0
FundLogic SAS                                           965         1,050         2,062         2,064         2,069         3,555         4,064         4,330         4,987             0
Gabelli Funds, LLC                                   20,340        14,050         4,050         3,400         3,400         6,600         6,100         6,500         6,500         6,500
GAM International Management Ltd.                         0             0             0             0             0        36,190             0             0             0             0
GAM Investment Management (Switzerland) AG                0             0        23,737        23,487        26,892        64,589        27,189         5,410         5,149         5,149
Gardner Lewis Asset Management, L.P.                      0             0             0         8,795             0             0             0             0             0             0
Gargoyle Asset Management, LLC                       18,285        18,285        18,285        15,131         8,893         5,166         5,166             0             0             0
Garnet Group, Inc.                                        0             0             0             0             0             0        50,000        50,000        50,000        50,000
Gateway Investment Advisers, LLC                     16,682        16,315        15,802        15,971        10,960        10,694        10,549        10,233         9,396         9,305
GE Asset Management Inc._NLE                          7,809         7,864         7,288         6,994         6,994         6,994             0             0             0             0
Genesee Valley Trust Co                               2,288         1,854         1,871         3,615         3,589             0             0             0             0             0
Geneva Advisors, LLC_NLE                             10,609        10,536         9,808         9,411         7,376         3,654         2,834             0         4,295         4,495
Geneva Capital Management LLC                       370,672       370,672       370,672       370,672       370,672       370,672             0         4,743         4,743         4,743
GenSpring Family Offices, LLC                             0             0             0             0             0           380           426           690           690           310
Geode Capital Management, L.L.C.                  1,101,633     1,168,341     1,177,898     1,184,352     1,188,984     1,162,421     1,221,047     1,289,669     1,404,877     1,402,840
Gesiuris Asset Management S.G.I.I.C., S.A.                0             0             0             0             0             0         1,000         1,003         1,406         1,398
GF Fund Management Co., Ltd.                            824         1,247         1,247         1,044         1,044         1,022         1,022           745           745           745
Ghost Tree Capital, LLC                                   0             0             0             0             0             0             0        70,000             0             0
GHP Arbitrium AG                                          0             0             0             0             0         3,000             0             0             0             0
Gideon Capital Advisors, Inc.                             0             0             0             0             0             0             0         4,762             0             0
Gilman Hill Asset Management, LLC.                        0             0             0             0             0         3,012         3,177             0             0             0
Glassman Wealth Services LLC                              0             0             0             0             0             0            31            43             0            76
Glenmede Investment Management LP                     1,681         1,316         1,300         3,066         5,081         2,332        20,730        18,139        23,386        23,386
Glens Falls National Bank & Trust Company                 0             0             0            25             0             0             0             0             0             0
GLG LLC                                              84,862        89,661        89,477        10,243         8,713         8,377         7,958         8,499             0             0
GLG Partners LP                                           0        54,287       116,967        58,753             0             0             0             0             0             0
Global Atlantic Investment Advisors, LLC                  0             0             0             0             0             0        15,500        16,800        16,800        16,800
Global Endowment Management, LP                       1,530         1,530             0             0             0             0             0             0             0             0
Global Index Advisors, Inc.                           4,433         4,350         4,981         4,894         4,831         4,979        14,459         7,837         6,891         6,552
Global X Management Company LLC                           0            41            44            44           392           552           925         1,515         2,370         3,269
Gluskin Sheff + Associates Inc.                           0             0             0             0         7,830         7,920             0             0             0             0
Goelzer Investment Management, Inc.                       0             0             0        14,753        22,974        21,103             0             0             0             0
Gofen and Glossberg, L.L.C.                          41,435        43,127        41,029        42,652        42,945        43,481        41,648        14,114        10,692         9,750
Golden Capital Management, L.L.C._NLE                22,782        22,869        22,122        21,343        20,445        18,854        18,264        16,700        15,301        14,452




                                                                                                                                                                       Page 16 of 40
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Exhibit 9                                                        3855

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions            80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                             140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                          6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                    108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                   758         806         772         813         798         738         710         701         635         617

Institution/Individual                          3/31/2015    6/30/2015    9/30/2015    12/31/2015    3/31/2016     6/30/2016     9/30/2016     12/31/2016    3/31/2017     6/30/2017
Goldman Sachs & Company, Inc.                      249,091      152,567      259,207       269,931       221,710     1,716,831       880,659       930,476     1,337,825     1,770,120
Goldman Sachs Asset Management (US)                 74,196      108,370      112,913        75,618     1,627,768     1,319,596     1,387,089       166,208       148,195       190,259
Goldman Sachs Asset Management International            98          190          190           190           213           248         1,277         1,277         2,277         2,903
Goldman Sachs Bank AG                                    0            0            0         4,024         6,383             0             0         6,821         3,637         3,389
Goldman Sachs International                          1,729        1,609       19,972        23,036        25,265        35,969        27,407        29,866       101,358        12,197
Goodman Financial Corporation                            0            0            0        31,215        32,335        35,022        37,512        56,793        58,658        59,193
Gotham Asset Management, LLC                             0        6,903            0             0             0        19,855             0         9,138             0       330,376
Gradient Investments LLC                                56           56           56            56            56             0             0             0             0             0
Granite Point Capital Management, L.P.                   0        2,700        2,700             0             0             0             0             0             0             0
Grantham Mayo Van Otterloo & Co LLC                      0        2,900            0             0             0             0             0             0       165,592        45,199
Great Lakes Advisors, LLC                            3,478        3,478        3,478         3,478         3,478         3,478         3,478             0             0             0
Green Arrow Capital Management LLC                       0        9,233            0             0             0             0             0             0             0             0
Greenleaf Trust                                      1,500        1,500        1,814             0             0             0             0             0             0             0
Greenlight Capital, Inc.                                 0            0            0             0             0       527,834             0             0     1,700,000     2,527,000
Greenwood Capital Associates, LLC                    2,365       19,909       18,457             0             0         2,655             0             0             0             0
Grisanti Capital Management LLC                          0            0            0             0        45,292             0             0             0             0             0
Groesbeck Investment Management Corp.               16,895       16,295       16,295        15,695         2,145             0             0             0             0             0
Ground Swell Capital, LLC                              291          291          291           291           291           291             0             0             0             0
Group One Trading, L.P.                             12,077       53,461       29,114        19,156        53,539        40,363             0         8,602        52,309        64,451
Grove Bank & Trust                                       0            0            0            34             0             0             0            28            28            28
GSA Capital Partners LLP                                 0       21,315       18,187        18,755         3,787             0             0         7,768        31,417             0
Guardian Investor Services LLC                         973          973          973           973           973           973           973           973           874           853
Guardian Life Insurance Company of America             612          640          853           685           542           542           542           542           553           322
Guggenheim Investments                             235,210      229,885      185,139       214,800       204,918       292,318       329,821       401,582       641,886       671,782
Gupta Wealth Management Llc_NLE                         55           55          160             0             0             0             0             0             0             0
Gutmann Kapitalanlage Aktiengesellschaft                 0            0            0             0             0             0             0         6,726         4,293         4,293
GVC Gaesco Gestión SGIIC S.A.                          175          175            0             0             0             0             0             0             0             0
GWL Investment Management Ltd.                      67,816       68,772       73,375        74,169        81,184       107,287       108,002       108,447       107,784       101,694
Gyroscope Capital Management Group, LLC                  0            0            0             0             0             0         2,376             0             0             0
H. M. Payson & Co.                                       0            0            0        50,934             0        11,866         6,965         4,587             0             0
Halbert Hargrove Global Advisors, LLC                1,602            0            0             0             0             0             0             0             0             0
Halcyon Capital Management LP                            0        7,810            0             0             0             0             0             0             0             0
Hamilton Point Investment Advisors, LLC             16,832       16,947       18,287        19,172        30,437        30,792             0             0             0             0
Handelsbanken Asset Management                      79,198       57,147       76,796       121,608       182,363       119,982       120,535       121,628       122,627       120,857
Hanson McClain Advisors, Inc.                           17           17           17            17            17            17             0             0             0             0




                                                                                                                                                                    Page 17 of 40
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Exhibit 9                                                        3856

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                        80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                         140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                      6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                                108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                               758         806         772         813         798         738         710         701         635         617

Institution/Individual                                     3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
HAP Trading, LLC                                                     0             0             0        58,355            0            0            0             0            0            0
Harding Loevner LP                                                   0             0             0             0            7            7            0             0            0            0
Harel Insurance Investments and Financial Services Ltd               0             0             0           790          200          800            0         2,755            0            0
Hartford Investment Management Company                          34,627        37,599        38,249        35,798       36,048       35,288       36,089        38,713       49,822       50,039
Harvard Management Company, Inc.                                     0       112,149        99,369             0            0            0            0             0            0            0
Harvest Fund Management Co., Ltd.                                    0             0             0             0            0            0            0             0            0          745
Harvest Management, LLC                                              0        42,500        51,000             0            0            0            0             0            0            0
Hatteras Funds, LP                                                  38            38            38            38           38           38           38             0            0            0
Hauck & Aufhäuser Asset Management Services S.à r.l._NLE         1,805           945           945             0            0            0            0             0            0            0
Havens Advisors, L.L.C.                                         21,000        16,000        49,000        17,409            0            0            0             0            0            0
Hayman Capital Management, L.P.                                      0       836,593             0             0            0            0            0             0            0            0
HealthCor Management, L.P.                                           0       134,900             0             0            0            0      197,300             0            0            0
Hemenway & Barnes LLP                                          100,697        90,164        87,957        90,317      104,685       74,536       51,165        19,626        3,045            0
Hemenway Trust Company LLC                                      35,028        24,307        25,287        15,847       33,277       11,360       32,585         9,770        4,490            0
Henderson Global Investors (North America) Inc._NLE                822           790           818         1,204        1,204        1,204        1,204         1,204        1,204        1,204
Herndon Capital Management, LLC                                      0             0             0             0            0           13           13             0            0            0
Heward Investment Management Inc.                                    0         1,950         1,950         1,950        1,950        1,950        1,950         1,950        1,950            0
High Pointe Capital Management, LLC                              7,030         6,980         6,980             0            0            0            0             0            0            0
Highbridge Capital Management, LLC                                   0        40,200             0       228,468            0       53,024            0       142,624       11,669            0
Highfields Capital Management, L.P.                                  0     1,908,104     2,433,629     1,669,545            0            0            0             0            0            0
Highland Capital Management, L.P.                                    0             0             0         3,100            0            0       66,400             0            0            0
Highland Capital Management, LLC                                     0             0             0        53,063       45,249            0            0             0            0            0
HighMark Capital Management Inc.                                     0             0         2,172             0            0            0            0             0            0            0
HighPoint Advisor Group, LLC                                         0             0             0             0            0            0        6,881             0            0            0
Highstreet Asset Management Inc.                                     0             0             0         5,030        5,013            0            0         7,042        7,042        3,146
Hightower Advisors, LLC                                          6,708        10,154        11,457        34,441       42,281       15,241       10,544         9,624       35,775       34,923
HighVista Strategies LLC                                             0             0             0             0            0            0            0             0            0       13,849
Hilltop Holdings Inc.                                            1,532         1,532         1,532         1,532            0            0            0             0            0            0
Honeywell Capital Management LLC                               207,000        63,000             0             0            0      164,000            0             0            0            0
Horizon Kinetics LLC                                                 0             0             0             0            0       10,629       10,302        10,043       11,262       10,957
Horizons ETFs Management (Canada) Inc.                             579           613           595           545          477          477          494           477          460          385
Horizons ETFs Management (US) LLC                                    0             0             0             0            0            0            0           895            0            0
Howard Hughes Medical Institute                                      0             0             0             0            0            0        3,147             0            0       10,296
Howe and Rusling, Inc.                                             282           282           282             0            0           12           12            12            0            0
HRS Management LLC                                                   0             0             0        12,500       12,500       20,000            0             0            0            0




                                                                                                                                                                               Page 18 of 40
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Exhibit 9                                                        3857

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions              80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                               140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                            6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                      108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                     758         806         772         813         798         738         710         701         635         617

Institution/Individual                           3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
HSBC Global Asset Management (France) S.A.               520          487          522           522          663          663          867           867        1,104        1,104
HSBC Global Asset Management (UK) Limited             59,843       33,627        4,085         2,315            0      138,293      210,173        11,659       15,286       28,474
Hudson Bay Capital Management LP                           0      159,301      158,259             0            0            0            0             0            0            0
Huntington Private Financial Group                     2,690        2,210        1,876         3,352        2,690        2,690        2,778           336          336          345
Hutchens Investment Management, Inc._NLE                   0            0            0         9,700            0            0            0             0            0            0
Hutchin Hill Capital, LP_NLE                           5,500       32,639            0         6,100       12,600            0            0        45,800            0       43,300
HWB Capital Management S.A.                            3,635        3,250        4,810         4,810        4,810        4,810        4,810         4,265        4,265          785
I.G. Investment Management, Ltd.                      84,296       28,272       48,288        42,895       68,164       70,420      140,820       157,220      229,020      229,020
Ibercaja Gestión S.G.I.I.C., S.A.                          0            0            0         4,003        4,003        4,002        3,999         4,010        4,016        3,993
Iberiabank Corp                                        3,551        2,773            0             0            0            0            0             0            0            0
IBM Retirement Fund                                   32,946       35,668       35,627        35,594       19,237       16,319       12,948        12,920            0            0
ICON Advisers, Inc.                                   73,790        8,400            0             0            0        8,400        6,300             0            0            0
ID-Sparinvest A/S                                      5,442        1,600        1,600         1,600          949          949          949             0            0            0
IFP Investment Management S.A.                           900        5,000        6,000         8,000        8,000        8,000        8,000         8,000        8,000        8,000
IHT Wealth Management, LLC                                 0            0            0             0            0            0            0            92            0            0
Impax Asset Management LLC                               576          673          673           873          854          954          954             0            0            0
IMS Capital Management, Inc.                               0            0            0             0            0            0            0         9,000            0            0
Independent Financial Partners                             0            0            0         1,790        1,817          626          594           319          177          607
Index Investments, LLC                                 7,500        7,500        7,500         7,500        7,500        7,200        7,200         7,800        7,800        7,800
Index Management Solutions, LLC_NLE                      105          253          282           282          282          282          282             0            0            0
IndexIQ Advisors LLC                                       0       25,471       33,068             0            0            0            0             0            0            0
Infrastructure Capital Advisors, LLC                       0            0            0             0            0            0            0         7,010            0            0
Ingalls & Snyder LLC (Asset Management)                2,050        1,900        1,500         1,500            0            0            0             0            0            0
Insight Investment Management (Global) Limited             0            0            0             0        2,400          400          400           400          400          400
Institutional Capital, LLC_NLE                        14,909       11,696       11,696           193          193            0            0             0            0            0
Intact Investment Management Inc.                          0            0            0         1,500        1,600        2,400            0         4,100            0            0
Integra Capital Management Corp.                           0        4,160        3,230             0        5,455            0            0             0            0            0
Integrated Investment Consultants, LLC                     0            0            0             0          350            0            0             0            0            0
Integrated Wealth Management                               0            0            0           345          345          300          300             0            0            0
Intermede Investment Partners Limited                      0            0            0       104,912      199,362      184,143            0             0            0            0
Intersect Capital, LLC                                    25            0            0             0            0            0            0             0            0            0
INTRUST Bank, N.A.                                     2,099        1,618            0         2,758        3,224            0            0             0            0            0
Invesco Advisers, Inc.                               549,163      170,502       76,621        74,520       90,418      125,651      334,208       365,359      409,322      234,142
INVESCO Asset Management (Japan) Ltd.                  5,768        5,268        5,168         4,668        4,468        4,068        3,768         3,468        3,168        2,368
INVESCO Asset Management Deutschland GmbH              2,664        3,614        7,364         7,364        2,664        2,664        2,664         2,664        2,664        2,664




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Exhibit 9                                                        3858

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions            80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                             140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                          6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                    108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                   758         806         772         813         798         738         710         701         635         617

Institution/Individual                          3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
INVESCO Asset Management Limited                          0        6,500            0             0            0            0            0             0            0            0
INVESCO Australia Ltd.                                    0            0        1,800         1,800            0            0            0             0            0            0
INVESCO Global Structured Products Group             62,067       60,463       59,989        72,285       80,122      111,000      138,651       170,369      215,413      223,980
Invesco Hong Kong Limited                                 0            0            0             0            0            0            0           498          498            0
Invesco Management Group, Inc.                          334          369          389           378          912          922        1,018         1,058        2,118        1,778
Invesco PowerShares Capital Management LLC          430,040      422,803      450,184       450,340      390,753      504,519      505,445       472,438      426,955       46,317
INVESCO Taiwan Ltd.                                       0            0            0             0            0            0            0           500          500            0
Investors Capital Advisory Services_NLE               9,991        8,811        9,706         9,191       14,156       13,777       13,777        13,777       13,777       13,777
IONIC Capital Management, L.L.C.                          0      241,933      103,333             0            0            0            0             0            0            0
Ireland Strategic Investment Fund                     1,142        1,142        1,142         1,142        1,142        1,142        1,142             0            0            0
Iridian Asset Management LLC                              0            0            0             0            0            0            0             0      693,098      973,218
Irish Life Investment Managers Ltd.                  19,209       20,624       20,624        20,335       20,425       21,322       21,102        21,102       21,264       21,264
Israel Discount Bank of New York                          0            0            0             0            0            0            0            20            0            0
IST Investmentstiftung                                    0            0            0            28           29           29           30            30           29           29
J. Goldman & Co., L.P.                                    0            0            0             0            0            0            0             0        6,700            0
J. Safra Asset Management Corporation                     0            0            0         4,796       12,099            0            0             0            0            0
J.P. Morgan Securities LLC                           97,949      245,928       93,115       184,913          348            0            0             0            0       17,910
J.P. Morgan Securities plc                            1,566          449          406           415          415          583          637           219          288          379
Jackson National Asset Management, LLC                    0          474            0             0            0            0            0             0            0            0
Jackson Square Partners, LLC                      2,292,582            0            0             0            0            0            0             0            0            0
Jacobi Capital Management, LLC                            0            0            0             0            0            0           50            50           50           50
Jacobs Levy Equity Management, Inc.                  60,054       16,264       34,051           440          440       11,730       28,390        24,230            0            0
Jacobus Wealth Management, Inc.                         652            0            0           714            0            0            0             0            0            0
JANA Partners LLC                                         0            0            0             0            0      481,077            0             0            0            0
Jane Street Capital, L.L.C.                          34,907            0            0        16,918            0        9,488        9,182        88,342            0       47,964
Janney Montgomery Scott LLC                               0        2,195        2,184         2,099        2,615        2,099        2,667         3,205            0            0
Janus Henderson Investors                           789,201      641,324      572,705       506,138      344,256      418,752      411,970       115,074      117,575            0
JCI Capital Limited                                       0            0            0             0            0            0          112           112          112          112
Jefferies LLC                                             0            0            0       139,041        3,235       48,234        1,337         5,153       67,393            0
Jennison Associates LLC                           1,235,663          680          280           300          300          300          300           300          300          300
Jet Capital Investors, L.P.                               0      619,100      817,540             0            0            0            0             0            0            0
JFS Wealth Advisors, LLC                                  0            0            0             0            5           74            0             0            0            0
JNBA Financial Advisors Inc.                              0            0            0             0            0            0          328             0            0            0
Joel Isaacson & Co., LLC                                152          156          156           152          152          152          152           152            0            0
Johnson Financial Group Inc.                            126           76           51           175          159        1,524        1,157         1,535        1,775          135




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Exhibit 9                                                        3859

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                 80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                  140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                               6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                         108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                        758         806         772         813         798         738         710         701         635         617

Institution/Individual                              3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
Johnson Investment Counsel, Inc.                              0        1,350        1,350             0            0            0            0             0            0            0
JP Morgan Alternative Asset Management, Inc.                  0            0          312         3,197        3,197            0            0             0        2,963            0
JP Morgan Asset Management                            1,181,193      931,476      433,805       219,223      251,908       47,658       66,770        64,374       67,756       60,314
JPMorgan Asset Management (Europe)                      135,928      135,928      135,928             0            0            0            0             0            0            0
JPMorgan Asset Management (Japan) Limited                     0            0            0             0        1,895            0          975           850          975          850
JPMorgan Asset Management (Taiwan) Limited                    0            0            0             0        1,870            0            0             0            0            0
JPMorgan Asset Management U.K. Limited                  260,662      104,434       98,831         7,274       42,906            0            0             0            0            0
JPMorgan Private Bank (United States)                   302,158      281,111      103,120        66,526       58,012       36,319       29,652        14,159        4,342        4,369
Jump Trading, LLC                                             0            0            0             0            0        8,895            0             0            0            0
JW Asset Management, LLC                                 27,031       35,850       36,186        19,243            0            0            0             0            0            0
K2 & Associates Investment Management Inc.                    0            0            0             0            0            0            0        41,479       10,901            0
K2 Advisors L.L.C.                                        2,726        2,726        2,726         2,726        2,726            0            0         1,644        2,033        2,022
Kaiser Partner Privatbank AG                                  0            0            0             0            0        4,520        4,520         4,520        6,320        6,320
Kalmar Investments Inc._NLE                             100,925       57,765       57,765        57,765            0            0            0             0            0            0
Kanaly Trust Company                                          0            0            0             0            4            0            0            32           32           32
Kayne Anderson Rudnick Investment Management, LLC       101,376      100,878       92,660        88,751       77,435            0            0             0       63,640       63,640
Kazazian Asset Management, LLC                                0        2,612            0             0            0            0        7,000         7,000        7,000        7,000
KBC Asset Management N.V.                                10,811       12,630       12,211         9,694       11,636       11,636       11,636        11,636       11,636       15,893
KBC Group NV                                             10,692       45,249       31,286        11,387       17,325       10,755       12,918        11,793       11,793       13,298
Keeley-Teton Advisors, LLC                               30,731       29,113       28,101        24,726       26,348            0            0             0            0            0
Kellner Capital, LLC                                          0       11,400       19,500        32,850            0            0            0             0            0            0
Kentucky Retirement Systems                               9,477        9,869       10,037        11,120       13,450       12,179       10,951        10,404        9,192        9,191
Kentucky Retirement Systems Insurance Trust Fund          4,527        4,771        4,887         5,484        6,625        5,783        4,637         4,642        3,877        3,927
Kentucky Teachers' Retirement System                     20,250       19,650       19,650        19,650       19,650       19,650       19,650        17,650       16,150       16,150
KeyBanc Capital Markets                                  62,032       44,818       48,542        93,120       87,302       10,488        3,865         4,294        4,106        2,751
Kingfisher Capital LLC                                        0            0            0         5,813        6,024            0            0             0            0            0
Kings Point Capital Management L.L.C.                    20,822       24,103       44,230        73,040       73,385       70,059       64,020         2,980            0            0
Kingstown Capital Management, LP                              0            0            0             0            0            0            0       500,000            0            0
Kistler-Tiffany Advisors                                      0            0            0             0            0            0            0             0            0           91
Kiwoom Asset Management Co., Ltd.                             0            0          300           300          300          300          300           300          300          300
Korea Investment Corporation                             60,126       60,126       62,126        74,726            0            0            0           169          550        1,331
Kornitzer Capital Management Inc.                       208,385      119,545       69,200        37,155       45,610       55,460       55,460        24,295       28,265            0
Krilogy Financial LLC                                         0            0            0            50          258          258          258             0            0            0
La Banque Postale Asset Management                          841          841          893           879          996            0            0             0            0            0
Ladenburg Thalmann Asset Management Inc. (LTAM)           3,403        2,673        3,095         3,720        3,609        1,268        1,369         1,242        2,125        1,172




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Exhibit 9                                                        3860

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                  80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                   140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                          108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                         758         806         772         813         798         738         710         701         635         617

Institution/Individual                               3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
Laffer Investments, Inc.                                  16,288            0            0             0            0            0            0             0            0            0
Lafleur & Godfrey, Inc. Investment Counsel                78,354       56,588       33,696        44,951       54,326       44,236       43,206        48,051       43,046       41,901
Lakefield Partners AG                                          0            0          262           262            0            0            0             0            0            0
Lansförsäkringar Fondförvaltning AB                          228          228          228           228            0            0            0             0            0            0
LaSalle Investment Management Securities B.V.                365            0            0             0            0            0            0             0            0            0
LaSalle Street Capital Management, LLC                     3,332            0        3,593         5,244        5,244        7,910        7,910         7,910        7,812            0
Laurie J. Hall Trustee                                         0            0            0           315        1,120        1,670        1,670         1,870        1,395          150
Laurion Capital Management LP                                  0            0            0             0            0            0        2,600             0            0            0
Lazard Asset Management, L.L.C.                                0       11,414            0             0            0            0            0             0            0            0
LBA Wealth Management, LLC_NLE                                 0        3,160        2,960         3,150        3,215        3,730        3,730         2,825          375          375
LBBW Asset Management Investmentgesellschaft mbH             232          232          232           232          232          232          232             0            0            0
Legacy Private Trust Co.                                       0            0        1,330             0            0            0            0             0            0            0
Legal & General Investment Management Ltd.                50,618       51,618       56,318        55,918       56,418       56,018       54,920       594,236      643,371      662,068
Lemanik Asset Management S.A.                                272          272          272           320          262          112          112           112          112          112
Lemanik S.A.                                                   0            0            0           320          262          112          112           112          112          112
Lenox Wealth Management, Inc.                              1,259          751          807         1,311          940           97           97            97           97           15
Level Four Advisory Services, LLC                              0            0            0             0            0            0            0         2,530            0            0
Levin Capital Strategies, L.P.                                 0       55,670       34,471             0            0            0            0         2,917            0            0
LG Capital Management, LP_NLE                                  0      114,200      102,600             0            0            0            0             0            0            0
Liberty Capital Management, Inc.                           1,790            0            0             0            0            0            0             0            0            0
Liberty Mutual Insurance Group                            15,362       11,585       10,700         8,591        9,500        9,784        9,327        10,778        8,821        9,350
Lincoln Investment Advisors Corporation                        0        1,247        1,247        49,174       25,937       26,437            0             0            0            0
LionEye Capital Management LLC_NLE                             0            0       20,000             0            0            0            0             0            0            0
Live Your Vision, LLC                                          0            0            1             0            0            0            1             1            1            1
Livförsäkringsbolaget Skandia, ömsesidigt                 15,563       15,563       14,263        13,163       13,163       13,163       13,163        13,163        4,863        4,863
LLB Asset Management AG                                        0            0            0             0            0            0            0             0            0          500
LMR Partners LLP                                               0            0       13,700         2,306            0            0            0             0       10,857        3,846
Logan Capital Management, Inc.                            87,305       74,959       66,746        63,863       10,442        7,774        3,330             0            0            0
Lombard Odier Asset Management (USA) Corp.                     0        4,000        4,500         4,000        2,000            0            0             0            0            0
Lombard Odier Darier Hentsch & Cie                         4,615        2,387            0             0            0            0            0             0            0            0
London Capital Management Ltd.                                 0        2,600        2,600        10,359       10,359       17,640       17,640        19,017       19,017            0
Lone Pine Capital, L.L.C.                                      0      375,924            0             0            0            0            0             0            0            0
Loomis, Sayles & Company, L.P.                             8,579        1,636          297             0            0            0            0             0            0            0
Lord, Abbett & Co. LLC                                    74,752       34,220       29,868        38,578            0            0            0             0            0            0
Loring, Wolcott & Coolidge Fiduciary Advisors, LLP         3,308        2,150        2,150           785          731          329          165             0            0            0




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Exhibit 9                                                        3861

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                        80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                         140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                      6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                                108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                               758         806         772         813         798         738         710         701         635         617

Institution/Individual                                     3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016     9/30/2016     12/31/2016    3/31/2017     6/30/2017
Los Angeles Capital Management And Equity Research, Inc.             0            0       14,900           113       15,500        41,777       379,520       338,310        21,045             0
Louisiana State Employees' Retirement System                    10,100       10,700       10,700        10,300        9,800         9,400         9,100         9,000         8,800         8,900
LPL Financial LLC                                                2,682        1,931        1,243         3,825        5,002         4,989         2,369             0             0         2,786
LS Investment Advisors, LLC                                      4,254        3,919        4,168         4,351        4,637         6,598         5,266         3,953         4,782         5,322
LSV Asset Management                                            39,366       27,096       24,783        23,785       23,785        23,785        51,200        75,000       100,300       253,000
Lumina Fund Management LLC                                           0            0       37,900             0            0             0             0             0             0             0
LVM Capital Management, Ltd.                                         0            0            0             0            0         6,500             0         5,580             0             0
Lyxor Asset Management                                          28,127       28,724       26,685        29,157       31,890        31,785            91        34,077         7,014             0
MacKay Shields LLC                                              14,811       14,811      212,065       333,807      338,351       585,889        70,304       183,414        19,306        19,306
Mackenzie Financial Corporation                                  8,100        7,500       18,000        13,700       20,300             0             0             0             0        31,027
Macquarie Investment Management                                771,729        2,529           36             0           24        80,709       100,000       100,000       240,000       237,000
Macquarie Investment Management Austria Kapitalanlage AG             0            0        5,510         3,190            0             0             0             0             0             0
Macquarie Investment Management Ltd.                             3,415        2,215        2,215         3,515        3,515         3,515         1,615         3,300         2,745         2,745
Madison Investment Advisors, LLC                               192,645            0            0       136,483      136,835       135,241             0             0             0             0
Madrona Funds, LLC                                                 392          232            0           620          560         1,296         1,092           690         1,507           506
Magnetar Capital Partners LP                                         0            0      359,198             0            0             0         2,678        15,907        48,310        17,864
Main Street Research LLC                                        10,903       10,993       10,993        10,783            0             0             0             0             0             0
Mairs and Power, Inc.                                                0            0            0         2,391        3,680         4,430             0             0             0             0
Majestic Asset Management LLC                                        0            0            0             0            0             0             0         2,500         3,600         3,600
Man Investments, Ltd.                                                0            0            0             0            0             0             0             0             2             2
Managed Account Advisors LLC                                   400,877      211,088      224,199       251,912      262,398       184,370       266,197       138,062         8,739         9,979
Manikay Partners LLC                                                 0      200,000      313,455             0            0             0             0             0             0             0
Manning & Napier Advisors, LLC                                       0            0            0             0      877,730     2,263,634     2,608,714     2,571,194     2,420,836     2,586,068
Manulife Asset Management (Asia)                                 6,870        6,870            0        10,004       10,004         9,527         9,527         9,527         9,527         9,527
Manulife Asset Management (US) LLC                             222,635      147,753       75,034        71,024       74,072       821,945       816,466       823,780       559,505       558,204
Manulife Asset Management Limited                               66,504       69,218       72,683        59,124       60,441        60,442        60,268        60,987        79,458        75,677
Maple Rock Capital Partners, Inc.                                    0            0            0             0        7,500             0             0             0             0             0
Maple Securities USA Inc._NLE                                    1,429            0            0             0            0             0             0             0             0             0
Marathon Trading Investment Management LLC                           0        2,000            0             0            0             0             0             0             0             0
Marianas Fund Management LLC                                         0            0            0             0            0             0             0        81,300             0             0
Mariner Investment Group LLC                                    24,300       12,300       22,300        42,000            0             0             0             0             0             0
Mariner Wealth Advisors, LLC                                     8,560        4,889        2,830         7,739       10,784             0             0             0             0             0
Mariner Wealth Advisors-Cincinnati, LLC                         68,575            0            0             0            0         2,400         2,885         3,280         4,455         5,035
Mariner Wealth Advisors-NYC, LLC                                    27            0            0             0            0             0             0             0             0             0
Marshall & Melhorn LLC                                               0            0            0        29,615       29,615        29,615        29,615        29,465        30,315        30,315




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Exhibit 9                                                        3862

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions              80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                               140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                            6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                      108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                     758         806         772         813         798         738         710         701         635         617

Institution/Individual                           3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016     6/30/2016     9/30/2016     12/31/2016    3/31/2017     6/30/2017
Marshall Wace LLP                                    288,453        8,014        7,627       708,384             0             0        13,541       120,811             0             0
Marsico Capital Management, L.L.C.                         0            0            0        41,240             0             0             0             0             0             0
Martingale Asset Management, L.P.                          0            0        9,702         6,902         4,702             0             0             0             0             0
Mascoma Wealth Management LLC                              0            0            0             0             0             0             0            29             0             0
Mason Capital Management LLC                               0            0            0     1,334,012     1,334,012     1,334,012     1,334,012     1,334,012     1,334,012     1,334,012
Mason Street Advisors, LLC                            18,132       18,833       18,926        19,126        19,501        19,291        19,383        19,613        19,813        19,899
Massachusetts Mutual Life Insurance Company                0            0            0             0             0             0             0         4,933         4,933         4,073
Massey Quick Simon & Co., LLC                              0            0            0             0             0             0             0           620             0             0
Matrix Asset Advisors, Inc.                           48,365       12,915       26,954        46,021        46,021        46,021        46,021        46,021        46,021        46,021
Mawer Investment Management Ltd.                       5,984        6,357        6,452         6,937         6,937         6,937         6,937         6,800         6,075         6,199
MCM Bespoke Investment Services Limited                1,105        1,105        1,105         1,105         1,105         1,105         1,105         1,105         1,105         1,105
McNamara Financial Services, Inc.                          0            0            0         9,700             0             0             0             0             0             0
MEAG Munich ERGO Kapitalanlagegesellschaft mbH             0            0            0        40,425             0             0             0             0        33,162             0
Mediobanca SGR S.p.A.                                  1,486        1,486        1,486         1,486         1,486         1,486         1,486             0             0             0
Meeder Asset Management, Inc                               0            0            0             0             0             7           436             0             0             0
Meeschaert Asset Management, S.A.S.                        0            0            0             0         3,000         3,000         3,000             0             0             0
Mega International Investment Trust Co., Ltd.              0            0            0             0             0             0             0         1,990         1,990             0
Meiji Yasuda Asset Management Company Ltd.             1,656        1,186        1,556         1,506             0             0         2,616         2,786             0             0
Meiji Yasuda Life Insurance Company                    6,530        3,430        3,730         3,430         3,630         3,630         3,630             0             0             0
Menora Mivtachim Insurance Ltd.                      370,600      332,363      332,363       272,363       315,113       758,693       692,023       384,763         2,070             0
Meristem Family Wealth                                 1,994        2,194            0         2,194         2,194             0             0             0             0             0
Merit Capital NV                                           0            0            0             0           190           380           380         1,036         1,036           613
Metropolitan Life Insurance Co. (US)                     501          123          198           290           364           436           212           132           132           132
MFS Investment Management                                  0            0            0             0             0       135,010       137,264             0             0             0
Michigan Department of Treasury                       54,314       56,714       52,814        50,114        50,414        49,714        50,014        46,922        47,122        47,122
Middlefield Capital Corporation                            0            0            0           120           120             0             0             0             0             0
Middleton & Company, Inc.                             41,226       42,536       35,009        34,522        34,347        13,377        13,327         4,375             0         2,950
Migdal Insurance and Financial Holdings Ltd                0            0            0             0             0     2,323,334     2,101,449     1,425,772     1,223,623     1,846,993
Migros Bank Asset Management                             700          700          700           700           700           700           700           700             0             0
Millennium Management LLC                             20,148      468,323       85,199         5,200        30,100       489,818     1,295,756       582,609       128,826       331,890
MinichMacGregor Wealth Management, LLC                     0            0            0            99            81            81             0             0             0             0
Mirabaud Asset Management Limited                     14,333            0            0             0             0             0             0             0             0             0
Mirae Asset Global Investments (Taiwan)                    0          300          300           300           300             0             0             0             0             0
Mirae Asset Global Investments (USA) LLC                   0            0            0             0         9,277         3,893         2,310             0             0             0
Mirae Asset Global Investments Co., Ltd.             133,384      131,842       93,267       117,839       140,525       140,525       140,525       140,525       140,525       140,525




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Exhibit 9                                                        3863

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                  80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                   140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                          108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                         758         806         772         813         798         738         710         701         635         617

Institution/Individual                               3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
Mitsubishi UFJ Kokusai Asset Management Co., Ltd.         18,928            0       18,301        19,421       21,280       21,421       22,133        38,909       40,411       27,442
Mitsubishi UFJ Trust and Banking Corporation             277,527      314,492      330,275       368,871      375,524      355,183      359,365       287,189      290,775      258,430
Mizuho Asset Management Co., Ltd._NLE                        941        1,236        1,539         1,822          941        1,932        1,232             0            0            0
Mizuho Trust & Banking Co., Ltd.                          85,844            0            0             0            0            0            0             0            0            0
MLC Investments Limited                                        0            0            1             0       32,783       55,487        8,411         8,411        8,411        4,608
Mn Services Vermogensbeheer B.V                                0            0            0             0        3,670        3,670        3,670         3,670        3,824       21,268
Moneta Group Investment Advisors, LLC                      1,500            0            0             0            0            0            0             0            0            0
Monetta Financial Services Inc.                            3,200            0            0             0            0            0            0             0            0       10,000
Montag & Caldwell, LLC                                     5,845        2,495        2,553             0            0            0            0             0            0            0
Montecito Bank & Trust                                         0            0            0             0            0            0            0         1,909            0            0
Monyx Asset Management                                         0        9,334        9,334        10,333       10,333          988          988         5,293        5,293       42,286
Moon Capital Management, LLC                                   0            0            0             0            0       18,697       17,782        43,025       43,265       43,710
Moore Capital Management, LP                                   0       80,000            0        14,364            0            0            0             0            0            0
Moors & Cabot Inc.                                             0            0        5,144         6,114        6,399        6,898        7,336         6,792        6,468        5,426
Morgan Stanley & Co. International Plc                     1,922        1,917        1,917         1,538        1,635        1,062        1,593         3,200        3,910        3,837
Morgan Stanley & Co. LLC                                  11,747      651,679      983,054     1,153,766       14,898       19,524       51,379       274,580       86,088      202,201
Morgan Stanley Equity Services Inc.                            0            0        4,899         4,899        4,899        4,899        4,899         4,899        4,899            0
Morgan Stanley Investment Management (Singapore)               0            0            0             0            0            0            0           210          210          210
Morgan Stanley Investment Management Inc. (US)            12,293       20,113       12,495        24,206       15,063       48,350       36,722        15,496       18,820       21,772
Morgan Stanley Wealth Management                         204,417      169,453      163,387       170,251      116,360      141,726      124,600       100,884       98,394       79,639
Morgens, Waterfall, Vintiadis & Co., Inc.                 23,500       16,000            0        20,000            0            0            0             0            0            0
Mosaic Family Wealth, LLC                                      0            0            0           558          817          817          817           817          817          817
MOTCO                                                          0            0            0             0            0            0           22             0            0            0
Motley Fool Asset Management, LLC                              0            0            0             0            0          460            0             0            0            0
MU Investments Co., Ltd.                                   1,400        1,300        1,250             0            0        1,920            0             0            0            0
Municipal Employees' Retirement System of Michigan         4,200        4,740        4,370         4,410        4,490        4,520        4,530         4,560        4,560        4,560
Murphy Capital Management, Inc.                            8,400        7,217            0             0            0            0            0             0            0            0
Mutual of America Capital Management LLC                  15,647       16,015       16,247        16,329       15,953       16,656       16,241        16,687       17,537       17,427
myCIO Wealth Partners, LLC                                   229          229          229           229           29           29           29             0            0            0
Navellier & Associates Inc.                                1,563            0            0             0            0            0            0             0            0            0
Nelson Capital Management_NLE                                  0            0            0            50            0            0            0             0            0            0
Neuberger Berman, LLC                                      7,882        7,867        2,435        34,534      807,914        2,273      129,369       263,635      370,733      697,384
Neville, Rodie & Shaw, Inc.                               63,165       58,815       58,325        39,311       31,070       10,956       11,097         8,515        6,020        5,120
New England Research & Management, Inc.                        0            0            0         5,799        2,200            0            0             0            0            0
New England Securities Corp_NLE                               94           94           94            94           94           94           94             0            0            0




                                                                                                                                                                       Page 25 of 40
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Exhibit 9                                                        3864

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions            80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                             140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                          6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                    108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                   758         806         772         813         798         738         710         701         635         617

Institution/Individual                          3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016     6/30/2016     9/30/2016     12/31/2016    3/31/2017     6/30/2017
New Jersey Division of Investment                   346,000       150,000             0             0       264,000       326,000             0             0       457,000        53,000
New Mexico Educational Retirement Board              16,200        14,900        16,400        15,900        16,200        16,700        14,500        15,300        14,500        13,300
New York Life Investment Management, LLC                  0        25,471        27,803             0             0             0             0           107             0             0
New York State Common Retirement Fund               378,614       345,229       338,900       351,325       348,275       368,950       324,950       329,275       326,261       319,135
New York State Teachers' Retirement System          249,187       266,601       266,702       270,014       271,214       247,515       237,712       236,141       235,441       234,741
Newman, Dignan & Sheerar, Inc.                            0         2,758         2,758         2,233         2,948             0             0             0             0             0
NEXT Financial Group, Inc.                                4             4             5             5             5             5           305           301           301           301
NFJ Investment Group LLC_NLE                              0             0             0             0             0             0             0             0           562           562
Nicholas Company, Inc.                               72,560        40,740        40,740        58,850        59,165             0             0             0             0             0
Nicolet National Bank                                     0             0             0         2,327         2,377         3,257         3,025             0             0             0
Nikko Asset Management Co., Ltd.                      3,103         3,100         3,100         3,103         3,103         3,103         3,103         3,103         3,103         3,103
Nine Chapters Capital Management LLC_NLE                  0         4,300         7,500             0             0             0             0         3,900             0             0
Nippon Life Global Investors Americas, Inc.               0             0             0             0             0             0             0             0             0        30,660
Nippon Life Insurance Company                        12,073        11,452        10,418         8,480         8,436         8,456         8,337         8,337         7,824             0
NISA Investment Advisors, L.L.C.                      9,100         8,800        26,700         8,800        25,200         2,000             0         1,000             0           500
Nissay Asset Management Corp.                         1,500            87            87            87            87             0             0             0             0             0
NN Investment Partners (Singapore) Ltd.                 125           125           125           125           125           125           125           125             0             0
NNIP Asset Management B.V.                           35,683        22,441             0             0             0             0             0             0             0             0
Nomura Asset Management (UK) Ltd.                         0             0             0             0             0             0             0           300           300             0
Nomura Asset Management Co., Ltd.                    14,500        14,600        15,840        15,420        16,640        64,080        16,980        16,430        17,820        17,601
Nomura Securities Co., Ltd.                           3,552        15,873       115,812       111,274         1,636             0             0         8,679             0        15,529
NORD/LB Asset Management AG                             343           343           343           343           343           343           343           343           343           343
Nordea Funds Oy                                       4,118         4,118         4,118         5,228         5,228     1,333,517     1,356,056     1,298,066     3,541,180     2,940,739
Norges Bank Investment Management (NBIM)          1,062,583     1,062,583     1,124,718     1,192,448     1,037,631     1,159,740     1,205,516     1,146,570       941,362     1,007,993
NORINCHUKIN BANK                                      8,348         8,280         8,368         6,840         7,512         7,511         7,671         8,697         9,317         9,950
Norris, Perné & French LLP                           29,328        24,935        25,735        25,735        25,220        25,050        25,050        24,350        23,750        16,725
North Run Capital, LP                                     0             0             0             0             0       465,000       440,000             0             0             0
North Star Asset Management Inc.                     37,941        37,866        38,852        58,725        72,144       115,882       120,778       106,920        95,298        87,323
North Star Investment Management Corporation              2             2             0             0             0             0             0           375           375           375
North Tide Capital, LLC                                   0             0             0             0             0       500,000       500,000             0       600,000       300,000
Northeast Investment Management, Inc.                89,414        82,673        82,727        53,620             0             0             0             0             0             0
Northern Capital Management, LLC                          0             0             0             0             0             0             0             0        20,090        18,610
Northern Trust Global Investments                   156,451       159,987       168,127       187,003       233,427       161,338       166,641       180,619       195,922       225,132
Northern Trust Global Investments Limited           352,504       356,838       344,065       293,155       286,648       265,407       267,552       242,981       240,103       229,242
Northern Trust Investments, Inc.                  1,283,871     1,620,611     1,612,113     1,283,311     1,276,432     1,090,430     1,101,501     1,066,266     1,061,601     1,026,617




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Exhibit 9                                                        3865

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                        80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                         140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                      6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                                108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                               758         806         772         813         798         738         710         701         635         617

Institution/Individual                                     3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016     6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
NorthRoad Capital Management, LLC_NLE                                0             0             0        30,742        38,914       34,728       15,603        15,603       15,603       15,603
Northwestern Mutual Capital, LLC                                   286           125           100           104           679          679          536           317          170          169
Novare Capital Management                                            0             0             0         7,443        17,529            0            0             0            0            0
Numeric Investors LLC                                                0         4,400             0         8,500             0            0        3,700        14,400        5,500            0
Numina Capital Management, LLC                                       0        63,400        28,400             0             0            0            0             0            0            0
Nuveen Asset Management, LLC                                     9,752        13,421        12,645        12,413        12,242       11,843       12,179         7,970        6,838            0
Nuveen LLC                                                   2,122,484     1,393,382     1,056,028     1,120,608     1,020,634      700,480      468,849       520,973      469,728      463,414
NWQ Investment Management Company, LLC                           8,544             0             0         3,500        13,200            0            0             0            0            0
Nykredit Bank AS                                                   956           956         1,147         1,147         1,209        1,209        1,209         3,114        3,114        3,114
Oak Ridge Investments, LLC                                      66,964        66,769        66,748        65,881        79,120       74,807       72,595        34,239            0            0
OakBrook Investments, LLC                                       10,375        18,500        18,350        16,075             0            0        7,900        14,600            0            0
Oakworth Capital Bank                                              112           112           112           112           112          112          112           112          112          112
Och-Ziff Capital Management Group LLC                                0     3,038,913     3,525,805             0             0       83,265            0             0            0            0
Ofi Asset Management                                                 0             0             0             0             0            0            0           933        1,007          755
Ofi Patrimoine                                                   1,610         1,680         1,680         1,680         1,680            0            0             0            0            0
Ohio National Investments, Inc.                                  3,000         3,100         3,100         3,200         3,300        3,300        3,300         3,300        3,300        3,300
Ohio Valley Financial Group                                        150             0             0             0             0            0            0             0            0            0
Old Mutual Global Investors (UK) Limited                             0             0             0        20,701        20,701            0            0             0            0            0
Old Mutual Investment Group (South Africa) (Pty) Limited           959           959           959           959           959          959          959           959            0            0
Old National Wealth Management                                 128,782       120,695       100,165         2,524         2,726            0            0             0            0            0
OLZ & Partners Asset and Liability Management AG                 3,676         3,573         3,573         3,573         3,573        3,573        3,573         3,573            0            0
Omega Advisors, Inc.                                                 0             0        12,500             0             0            0            0             0            0            0
Omega Global Investors Pty Ltd.                                      0             0             0             0             0            0            0             0            0          160
OMERS Administration Corporation                                     0         4,600         4,900             0         8,200            0        9,000         5,800            0            0
Omnia Family Wealth, LLC                                             0             0             0             0             0            0            0            20            0           50
Ontario Teachers' Pension Plan Board                           101,387        43,068        15,000        45,000       610,000      655,000      655,000       555,000      460,000      405,500
OP Asset Management Limited                                      6,505         6,505         6,505         6,562         6,562        6,562        6,562         6,562        6,562        6,562
Oppenheimer Asset Management Inc.                                    0         1,200             0         1,700             0            0            0             0       18,249       19,982
OppenheimerFunds, Inc.                                         846,210       482,770       396,767       222,328         3,486        4,934        5,914         7,759       10,003        9,152
Optimum Investments AG                                               0           500           500           600             0            0            0             0            0            0
OrbiMed Advisors, LLC                                        1,247,800             0             0             0             0            0            0             0            0            0
Orbis Investment Management Ltd.                                     0       114,862             0             0             0            0            0             0            0            0
Oregon Public Employees Retirement System                       14,737        17,137        17,145        18,445        18,526       19,470       27,771        36,170       36,170       37,570
O'Shaughnessy Asset Management, LLC                                  0             0             0             0            62            0            0             0            0            0
Ossiam                                                          30,196         4,573           389        19,107        27,040        1,623        1,625         1,517       21,200            0




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Exhibit 9                                                        3866

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                      80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                       140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                    6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                              108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                             758         806         772         813         798         738         710         701         635         617

Institution/Individual                                   3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016     6/30/2016     9/30/2016    12/31/2016    3/31/2017     6/30/2017
Osterweis Capital Management, LLC                                  0             0             0       175,275       175,275        85,980            0             0             0             0
P. Schoenfeld Asset Management LP                                  0             0        88,896             0             0             0            0             0       125,439             0
P.A.W. Partners                                                    0             0             0             0             0             0            0        10,000             0             0
Pacad Investment Ltd.                                              0        11,700        13,600         7,400             0         2,000            0             0             0             0
Pacific Global Investment Management Co.                       7,025         7,025         7,068         7,045         7,775         7,790            0             0             0             0
Palisade Capital Management, LLC                               3,838         1,159         2,308             0             0             0            0             0             0             0
Paloma Partners Management Company                                 0        28,550         8,500             0             0         3,217            0             0        11,952        31,208
PanAgora Asset Management Inc.                                12,597        14,452        12,934        12,128        15,464        23,407       17,135        28,041        16,315        17,972
Para Advisors LLC                                                  0        15,000         7,500             0             0             0            0             0             0             0
Parallax Volatility Advisers, L.P.                                 0             0             0             0             0             0            0         2,402             0             0
Parallel Advisors, LLC                                             0             0             0             0             0             0            0           261           179           174
Parametric Clifton                                                 0             0             0             0             0             0            0             0             0           154
Parametric Portfolio Associates LLC                          203,653       185,373       372,393       518,990       441,386       137,964      179,639       192,104       101,086       176,754
Parametrica Management Ltd                                         0             0             0             0             0             0            0         2,444             0             0
Park Avenue Institutional Advisers LLC                             0           950           972           955           923           923            0             0             0             0
Parkside Financial Bank & Trust                                    0             0             8             6             0            19           33            66            35            27
Parnassus Investments                                      2,497,648     1,810,300     2,058,051     2,218,534     3,576,540     5,498,887      975,049     1,940,000     2,794,000     2,107,000
Parsec Financial Management, Inc.                                  0             0             0             0             0             0       29,169        32,115        42,532        40,716
Parsons Capital Management, Inc.                                 300             0             0             0             0             0            0             0             0             0
PartnerRe Asset Management Company                             2,998         2,642         2,647           980           980             0            0             0             0             0
Pathstone Federal Street                                           0             0             0             0             0            55           55             0            59            55
Patriot Wealth Management, Inc.                               32,250             0             0             0        31,914        32,525            0             0             0             0
Patten Group, Inc                                              3,060         3,060         3,060         3,060         3,060         3,060        3,060             0             0             0
Patton Albertson & Miller, LLC                                 1,943         8,951         9,589         8,286         8,265         9,396        9,229         8,924             0             0
Paulson & Co. Inc.                                                 0             0     2,938,500     2,662,000     2,639,300        12,500            0             0             0             0
PDT Partners, LLC                                             55,104             0             0             0             0             0            0             0       259,300             0
Peak 6 Capital Management, LLC                                 4,298         7,378         2,975         3,479        31,383        45,818            0        41,715        10,889             0
Peddock Capital Advisors, LLC                                  1,986         2,539         2,401             0             0             0        1,495           765           572             0
PENN Capital Management Company, Inc.                         19,917         9,258             0             0             0             0            0             0             0             0
Pennant Capital Management, LLC                              932,457             0             0             0             0             0            0             0             0             0
Pennsylvania Public School Employees Retirement System        16,152        46,924         9,398         9,565        10,864        11,468        8,183         8,219        10,635        10,652
Penobscot Investment Management Company, Inc.                  8,640             0             0             0             0             0            0             0             0             0
Penserra Capital Management LLC                                    0             0             0            39             0             0            0         4,200         4,600         5,200
Pentwater Capital Management LP                                    0     2,310,000     2,010,000             0             0             0            0             0             0             0
People's Securities, Inc.                                      2,245         2,245         2,245         2,245         1,970         1,705            0             0             0             0




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Exhibit 9                                                        3867

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions             80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                              140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                           6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                     108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                    758         806         772         813         798         738         710         701         635         617

Institution/Individual                          3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
People's United Bank                                 14,960       12,378        8,671         4,045        1,801            0            0             0            0            0
Pergamon Advisors, LLC                                    0            0        2,234             0            0            0            0             0            0            0
Perpetual Ltd.                                            0            0            0             0       12,300       25,900            0             0            0            0
Perry Capital, LLC                                        0      336,000      650,000             0            0            0            0             0            0            0
Personal Capital Advisors Corporation                61,331            0            0             0            0            0            0             0            0            0
PGGM Vermogensbeheer B.V.                           118,274            0            0             0            0       95,739       95,296        91,582       86,170       85,342
PGIM Investments LLC                                      0            0            0             0            0            0            0         2,318          289        2,684
PGIM Japan Co., Ltd.                                    100          100          100           100          100          100          100             0            0            0
Phillips, Hager & North Investment Management        24,670       25,520       25,520        25,520       25,520       25,520       25,520        25,520            0            0
Physicians Financial Services, Inc.                       0            0            0           225          325          375          375           375            0            0
Pictet & Cie (Europe) S.A.                            6,650        9,150       11,150        11,350        2,100            0            0             0            0            0
Pictet Asset Management Ltd.                        287,966      313,336      313,457       314,768       69,363       67,010       66,731        66,271       67,198       67,919
Picton Mahoney Asset Management                      12,500       12,500       11,000        22,500            0            0            0             0            0            0
Piedmont Investment Advisors, LLC                         0            0            0             0            0            1            1           404            0            0
PIMCO (US)                                                0        1,600        2,419           798        2,620           68          573            68            0            0
Pine River Capital Management, L.P.                   4,700            0            0        31,210            0            0            0             0            0            0
PineBridge Investments LLC                           51,996            0            0             0        1,720        1,720        1,720         1,720        1,720        1,720
Pinkerton Retirement Specialists LLC                      0            0            0             0            0            4            4             0            0            0
Pinnacle Associates Ltd.                                  0            0            0             0            0       20,719       22,480        19,581       17,392       15,166
Pinnacle Bank                                             0            0            0             0            0            0            0             0           91           91
Pitcairn                                                  0            0            0             0        5,974            0            0             0            0            0
Pittenger & Anderson, Inc.                              855        8,450       10,432         1,762          320            0            0             0            0            0
PlainsCapital Corporation                             3,339        3,231        2,521         2,899        3,782            0            0             0            0            0
Plante Moran Financial Advisors, LLC                    300          300          300           381          441          441          576           520          496          420
PNC Capital Advisors, LLC                             2,516        2,572        2,378         2,499        2,522        2,395        2,184         2,138        2,058        2,058
PNC Wealth Management                                50,071       31,749       30,416        18,061       25,707        5,934        5,821         3,414        2,362        4,091
Point72 Asia (Hong Kong) Limited                          0            0            0           100          300            0            0             0          185        1,930
Point72 Asset Management, L.P.                      110,000       15,600            0             0            0            0            0             0            0            0
PointState Capital LP                               400,000            0            0             0            0       97,500            0             0            0            0
Polar Asset Management Partners Inc.                      0            0            0             0            0       10,000        7,500             0            0            0
Polar Capital LLP                                    12,000            0            0             0            0            0            0             0            0            0
Polaris Greystone Financial Group, LLC                    0            0            0             0            0            0            0         3,404            0            0
Polaris Investment Partners, Inc.                         0        5,321        5,321         5,321        5,321        5,321        5,321         5,321        5,321            0
Poplar Forest Capital LLC                                 0            0            0             0            0            0            0           647        7,600       14,790
Portolan Capital Management, L.L.C.                       0            0            0        38,264        8,660            0            0             0            0            0




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Exhibit 9                                                        3868

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions              80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                               140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                            6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                      108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                     758         806         772         813         798         738         710         701         635         617

Institution/Individual                           3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016     6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
Prelude Capital Management, LLC                            0        8,370       10,325         6,800             0        1,490            0         8,523           29            0
Prentiss Smith & Company, Inc.                            22            0            0             0             0            0            0             0            0            0
Princeton Alpha Management LP                              0       12,180            0             0             0        8,750            0             0            0            0
Princeton Portfolio Strategies Group LLC              24,325       27,617       27,617             0        26,892            0            0             0            0            0
Principal Funds, Inc.                                      0        9,246       11,823        29,912        23,284       61,380       81,963        69,695       48,934       50,755
Principal Global Investors (Equity)                  195,297      204,387      209,273       215,384       216,360      207,714      213,640       215,406      218,579      213,778
Principal Global Investors (Fixed Income)                  0            0            0             0             0            0            0         2,186        2,232            0
Principal Management Corporation                       8,196       81,036      101,513         9,589         8,044       10,929       28,472        13,093        9,325        4,251
Principal Vermögensverwaltung AG                           0            0            0             0             0          400          400           400          550          550
Private Capital Advisors, Inc.                        14,887       14,786       14,811        14,336        14,303       14,003       13,997        12,547            0            0
Proficio Capital Partners                                  0            0            0            95             6            0            0             0           46           59
ProFund Advisors LLC                                  43,017       40,697       37,953        43,689        32,318       31,099       25,721        32,950       36,693       22,663
PSP Investments                                       48,754       50,354       38,654        37,454        23,654       27,154      108,954        31,454       32,154       15,754
Public Employees' Retirement Association of CO       224,010      119,106      118,968        32,706        32,588       30,208       29,158        27,994       27,773       27,435
Pura Vida Investments, LLC                                 0       17,125       17,500             0             0            0            0             0            0            0
Putnam Investment Management, L.L.C.                 614,346      770,740      705,709       830,101     1,467,583      222,600      223,190       102,390       35,463        2,852
Pzena Investment Management, LLC                           0            0            0             0             0            0        2,710         1,490            0            0
PZU Asset Management SA                                5,709        5,709        5,709         5,709         5,709            0            0             0            0            0
QCI Asset Management Inc.                                  0            0            0             0             0            0            0             0            0           30
QS Investors, LLC                                      3,614        2,529        2,529         2,540         2,540        2,130        2,122         2,122        6,622        6,875
Quadrant Family Wealth Advisors                            0            0            0            51             8          188          301           134          144          143
Quaker Funds, Inc.                                         0            0            0             0             0            0            0             0        5,000        4,500
Quantbot Technologies, LP                                  0            0            0        12,728         2,862       11,531            0             0       16,087            0
Quantitative Investment Management LLC                15,100            0            0        14,400        66,900      146,000       23,800             0            0            0
Quantitative Management Associates LLC               176,889      180,409      175,929       176,109       175,269      194,979      193,226       192,986      192,636      190,646
Quantitative Systematic Strategies LLC                 1,212            0            0         2,111             0            0       15,807        13,930            0            0
QUANTRES ASSET MANAGEMENT Ltd                              0        1,700            0             0         5,200       36,000        3,400             0       19,400            0
Quantum Capital Management LLC                             0            0            0             0             0            0       40,096        59,679            0            0
Quinn Opportunity Partners LLC                             0       14,000       49,400             0             0       10,780        9,780         9,780       14,480       13,080
R. M. Davis, Inc.                                    211,654      204,154      205,366       218,392       236,262      178,319       80,424         3,955            0            0
Rafferty Asset Management LLC                            231          264        5,082         5,173             0            0            0         8,665            0            0
Rainier Investment Management, LLC                    73,090      119,920      172,880       137,500       138,940       81,030       57,970       108,100      116,710       60,040
RAM Active Investments S.A.                                0            0            0         1,912         1,912            0            0             0            0            0
Rampart Investment Management Company, LLC                 0            0            0             0             0            0            0             0          399        1,841
Rathbone Unit Trust Management Limited                94,000       94,000       94,000        94,000        94,000            0            0             0            0            0




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Exhibit 9                                                        3869

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions               80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                             6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                       108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                      758         806         772         813         798         738         710         701         635         617

Institution/Individual                            3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
Rational Advisors, Inc.                                   330          330          330           330            0            0            0             0            0            0
Raymond James & Associates, Inc.                       15,521       12,588       11,862        61,111       80,368       42,268       51,266        46,259       10,468        9,702
Raymond James Financial Services Advisors, Inc.             0            0       12,669        12,836       19,218        6,530        7,038         5,816        6,768        3,577
RBC Capital Markets (Canada)                                0            0            0             0           49            0            0             0            0            0
RBC Capital Markets Wealth Management                  25,902       19,204       60,517        17,520       16,963       11,773        7,814         7,896      287,393      304,618
RBC Capital Partners                                    2,524        8,533            0         3,082            0            0            0         2,841        1,829            0
RBC Dominion Securities, Inc.                          27,910       20,531       18,348        24,651       25,590       30,409       21,598         2,800        3,700        4,985
RBC Global Asset Management (U.S.) Inc.               108,450      112,680       64,000        51,070       52,200       51,240       51,170        67,620            0            0
RBC Global Asset Management Inc.                            0            0            0        10,533            0            0            0             0            0            0
RBC Investment Solutions (CI) Limited                     182          182          182           182          182          182          182           182          182          182
RBC Private Counsel (USA) Inc.                              0          275          250             0            0            0            0             0           64           64
RBC Trust Co (International) Ltd                          381          381          381           381          381            0            0             0            0            0
RBC Wealth Management, International                    1,021          962        1,687         2,162        2,188           55          210         1,306        9,421           24
Redwood Capital Management, L.L.C.                          0            0            0        30,000            0            0            0             0            0            0
Redwood Investments, LLC                                  204          204          204           204            0            0            0             0            0            0
Regions Investment Management, Inc.                    11,697        7,203        6,581        12,049       11,570            0            0             0            0            0
Reilly Financial Advisors, LLC                             14           14           14             0            0            0            0             0            0            0
Reilly Herbert Faulkner III                            18,258       18,730       18,746        17,934       18,134       18,268            0             0            0            0
Reinhart Partners, Inc.                                     0            0        6,410         1,510            0            0            0             0            0            0
Reliance Trust Company of Delaware                          0            0            0         1,684        3,557            0            0             0            0            0
Renaissance Technologies LLC                           35,008      634,367      321,608       131,308            0            0      285,308       628,508            0      362,508
Resources Investment Advisors, Inc.                         0            0            0             0            0            0            0             0            0           50
Reynders, McVeigh Capital Management, LLC              81,364       73,318       73,749        86,896      103,097      122,373      111,743        97,479       81,948       71,844
Reynolds Capital Management, LLC                          300          300          300           400            0            0            0           400            0            0
Rhenman & Partners Asset Management AB                 20,000       47,000       65,000       145,000       61,000       20,000       35,000        25,000            0            0
Rhumbline Advisers Ltd. Partnership                   154,184      156,855      162,580       160,029      170,324      177,751      180,490       204,597      215,803      212,817
Riverbridge Partners, LLC                             114,872      112,496      114,369       114,263      113,495            0            0             0            0            0
Riverfront Investment Group, LLC                            0            0            0             0            0            0        1,766         2,148          511            0
RiverPark Advisors, LLC                                36,957       33,134       35,948        45,964       43,785       46,519       52,151             0            0            0
Riverpark Capital Management LLC                       32,548       30,548       29,403        37,278       43,267       52,426       52,151             0            0            0
RMB Capital Management, LLC                                 0            0            0        92,184      167,400            0            0             0            0            0
Robeco Institutional Asset Management B.V.              3,785        8,297        8,297        10,939        7,546        6,427        6,427             0       19,208       20,245
RobecoSAM AG                                           37,950       56,420       46,971        50,828       31,046       35,546          650             0            0            0
Roberts, Glore & Co.                                        0            0            0             0            0            0            0             0            0        4,400
Rock Creek Group, L.P.                                      0          393          393             0            0            0            0             0            0            0




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Exhibit 9                                                        3870

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions            80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                             140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                          6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                    108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                   758         806         772         813         798         738         710         701         635         617

Institution/Individual                          3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016     6/30/2016     9/30/2016     12/31/2016    3/31/2017     6/30/2017
Rock Springs Capital Management LP                   47,000        47,000             0        30,000        30,000        37,900        37,900         9,300        15,600         9,800
Rockefeller Financial                                   353             0             0             0             0             0             0             0             0             0
Ropes & Gray LLP                                          3             3             3             3             3             3             3             0             0             0
Ropes Wealth Advisors LLC                                 0             0             0             0             0            50            50           300             0             0
Rosenblum Silverman Sutton SF Inc.                   15,390             0             0             0             0             0             0             0             0             0
Rothschild Asset Management, Inc.                    11,167        11,167             0             0             0             0             0             0         7,824         7,489
Rothschild et Cie Gestion                                 0             0             0         1,700         1,700         1,700             0             0             0             0
Roundview Capital LLC                                     0             0             0         3,511         3,631        11,795             0             0             0             0
ROW Asset Management                                      0             0             0             0             0             0           282           281             0             0
Royal Alliance Associates, Inc.                         943           943           943           943           943           943             0             0             0             0
Royal Bank of Canada Trust Co (Bahamas) Ltd.              0             0         9,986           170           170           170             0             0             0             0
Royal London Asset Management Ltd.                        0             0             0        33,584        33,584        32,444        32,444        32,444        32,444        32,444
Ruane, Cunniff & Goldfarb, Inc.                   1,698,713     1,466,859     1,469,515     1,447,149     1,461,985     1,315,805     1,479,353     1,315,276       617,478             0
Russell Investments Canada Limited                    4,210         4,210         4,210         4,210         4,210         4,210         4,210         4,210             0             0
Russell Investments Limited                          78,060         7,842         7,842         7,842         7,842         7,842         7,842         7,842             0             0
S & Company, Inc.                                     6,181         6,181         6,181         6,181         6,181             0             0             0             0             0
S & T Bank                                                0             0             0             0         8,154         9,946         4,255         7,152         7,866         4,793
Salem Investment Counselors, Inc.                         0             0             0             0             0             0             0            16             0             0
Samlyn Capital, LLC                                       0       245,170       272,000             0             0             0             0             0             0             0
Samsung Asset Management Co., Ltd.                        0             0             0             0            90           290           821           821         1,115         1,098
Sanctuary Wealth Advisors, L.L.C.                         0             0            12             0             0             0             0             0             0             0
Sanders Morris Harris LLC.                              182           182           182           258             0        33,594        38,000        38,000        49,000        43,500
Sandler Capital Management                                0        46,000             0             0             0             0             0             0             0             0
Sands Capital Management, LLC                        66,550             0             0             0             0             0             0             0             0             0
Sanlam Investment Management (Pty) Ltd.               3,763         3,685         3,689         3,689         2,489         2,342         2,365         2,365         2,332         4,365
Sarissa Capital Management, L.P.                          0             0             0             0             0       100,000             0             0             0             0
Sasco Capital, Inc.                                       0             0             0             0             0             0             0     1,318,122     1,219,122     1,435,762
Sawtooth Asset Management, Inc.                           0           997           997        19,196        19,196             0             0             0             0             0
Saybrook Capital Corporation                         35,980        44,995        43,820        47,205        49,120        33,170             0             0             0             0
Schleber Finanz-Consult GmbH                          2,100           400             0             0             0             0             0             0             0             0
Scholtz & Company, LLC                                    0             0             0        25,313        27,715             0             0             0             0             0
Schonfeld Group Holdings LLC                              0             0         1,700             0             0             0             0             0             0             0
Schonfeld Strategic Advisors LLC                          0             0             0             0             0        17,307             0             0             0             0
Schooner Investment Group, LLC_NLE                    2,000         2,000         1,000             0             0             0             0             0             0             0
Schroder Investment Management Ltd. (SIM)             2,063             0         5,537             0             0             0             0             0             0             0




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Exhibit 9                                                        3871

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions            80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                             140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                          6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                    108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                   758         806         772         813         798         738         710         701         635         617

Institution/Individual                          3/31/2015    6/30/2015     9/30/2015    12/31/2015    3/31/2016    6/30/2016     9/30/2016     12/31/2016    3/31/2017    6/30/2017
Schweizerische Nationalbank                        254,362       227,362      260,962       265,362      380,262       401,462       396,262       396,262      508,062      470,062
Schwerin Boyle Capital Management, Inc.              3,614         3,614        3,614         3,614        3,614         3,614         3,414         3,414            0            0
Sciencast Management LP                                  0             0            0             0        1,600             0             0             0        5,245            0
Scoggin Capital Management, L.L.C.                       0       202,500      275,250             0            0             0             0             0            0            0
Scopia Capital Management LP                             0             0            0             0      262,760     1,961,477     3,022,503             0            0            0
Scout Investments, Inc.                            200,123       134,178       43,400       138,232       93,221       163,569             0             0        1,158        1,158
SEB Investment Management AB                        67,309        67,309       48,709        48,409       48,609        51,109        50,309        50,909       50,677       53,975
Sector Asset Management                                  0             0            0             0            0             0             0             0      154,200      181,000
Sector Gamma ASA                                         0             0            0             0            0         7,000        14,300        15,000      247,340      293,140
Sectoral Asset Management Inc.                     268,624        26,780       26,861        29,821       17,030             0             0             0            0            0
Securian Asset Management, Inc.                     13,220        13,798       13,698        14,108       14,208        13,908        14,115        14,213       14,299       14,431
Security Kapitalanlage AG                            3,188         3,188        3,188         3,188        3,188         3,188         3,188         3,188        2,965        2,965
Segall Bryant & Hamill, LLC                        395,933       368,956      364,498       405,182      401,181        32,405         4,418         3,100            0            0
SEI Investments Canada                                   0         1,620        2,020         1,820        1,820         1,920         1,720         1,720        1,720        1,720
SEI Investments Management Corporation              19,952         7,614        9,246        31,407       30,687         2,664           222           176       22,367      122,092
Senator Investment Group LP                              0     1,150,000            0             0            0             0             0             0            0            0
Seneca Capital Investments, L.P._NLE                     0       203,500       77,900             0            0             0             0             0            0            0
Sentry Investment Management, L.L.C.                 8,639        10,639       10,639        10,913       10,913        10,913        10,913        10,913       10,911       11,028
Senzar Asset Management, LLC                             0       198,100            0             0            0             0             0             0            0            0
Seven Eight Capital, LP                                  0           411            0            83            0         1,033             0        17,233            0            0
Seven Investment Management LLP                          0             0        7,083         8,213        9,995             0             0             0            0            0
SG Americas Securities, L.L.C.                      18,710         6,954       45,827         3,111       62,012         2,548         4,601        20,830       40,337       20,565
Shelton Capital Management                             677           677          677           677          677           677           677           677          677          677
Shepherd Kaplan Krochuk, LLC                             0             0            0             0            0             0         6,300         7,498            0            0
Shinko Asset Management Co., Ltd._NLE                  562         3,606        2,506         2,606        1,606         1,406           406             0            0            0
Shufro, Rose & Co., LLC                                  0             0            0             0            0         5,854         5,745         5,445        5,350        5,415
Siemens Fonds Invest GmbH                              989           989        1,057         1,045        1,045           655         3,138         3,074        5,130        5,095
Signal Iduna Asset Management GmbH                       0             0            0             0        5,342         7,331         2,897             0            0            0
Signator Financial Services, Inc.                      100           100          100             0           44             0             0             0            0            0
Signature Financial Management Inc.                      0             0            0         1,755        2,367         3,101             0             0            0            0
Signaturefd, LLC                                         0            14           54            45           85            18           328             0            0            0
Silvercrest Asset Management Group LLC                   0             0            0             0      162,825       196,668       193,743        99,143      149,179      148,320
Simplex Trading, LLC                                 3,468           271            0             0        7,853        13,045           198        16,968            0       18,823
Sio Capital Management, LLC                              0             0            0             0            0             0        38,953        29,329            0            0
Sivik Global Healthcare, LLC                        30,000        15,000       15,000             0            0             0             0             0       25,000       45,000




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Exhibit 9                                                          3872

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions              80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                               140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                            6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                      108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                     758         806         772         813         798         738         710         701         635         617

Institution/Individual                            3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016     6/30/2016     9/30/2016     12/31/2016    3/31/2017     6/30/2017
Smith, Salley & Associates, LLC                        30,792         1,119             0             0        29,449        32,256        45,498        41,691        41,936        41,178
Smithfield Trust Company                                   46            46            46            46            46         2,048         2,048            46             0         1,270
Smithwood Advisers, L.P.                                    0       460,000       200,000             0             0             0             0             0             0             0
Snow Capital Management, L.P.                               0             0             0             0        61,858             0             0             0             0             0
Société Générale Private Banking                            0             0             0             0             0         2,548         2,548         2,548         2,548         2,548
Somerset Group LLC                                      8,076         8,046         7,946         7,946         7,946             0             0             0             0             0
Soros Fund Management, L.L.C.                               0        92,653       113,921             0         6,400        10,800             0         5,400             0             0
Sound Shore Management, Inc.                                0             0             0             0             0             0             0     2,014,296             0             0
Southport Capital, Inc.                                31,803        30,248        30,248        28,096        28,149        22,969        18,856         3,560             0             0
Sparrow Capital Management, Inc.                            0           130           290           290           290             0             0             0             0             0
Sphera Funds Management Ltd.                           18,400             0             0             0             0             0             0             0             0             0
SpiderRock Advisors LLC                                     0             0             0             0             0             0             0             0           875             0
Spot Trading LLC                                        4,875             0            15             0             0         2,503             0             0             0         6,167
Squarepoint Capital LLP                                     0             0        31,338        26,003         9,959         6,942             0             0             0        53,873
SRS Capital Advisors, Inc                                   0             0             0             0             0             0             0             0             0            44
St. Galler Kantonalbank AG                                199           171           245           245           245           327           327           327           479           479
St. James's Place Wealth Management Plc                14,008        14,008        13,137        13,137        13,137        13,137        23,056        23,056        23,056        23,056
Stacey Braun Associates, Inc.                               0        47,990             0             0             0             0             0             0             0             0
Stanford Investment Group Inc._NLE                         95            95            95            19            19            19            19            19             0             0
Stanley-Laman Group, Ltd.                               4,803             0             0         4,381        38,755             0             0             0             0             0
STANLIB Asset Management Ltd.                           1,300         1,300         1,300         1,300         1,300             0             0             0             0             0
Stanton Asset Management Inc.                           2,500             0             0             0             0             0             0             0             0             0
Starboard Value LP                                          0             0             0             0             0             0     5,895,093     9,506,425     9,641,425     9,641,425
State of Wisconsin Investment Board                   241,898       197,278       174,288       248,368       335,668       311,258       400,458       190,409       276,781       321,601
State Street Global Advisors (France) S.A.             43,571        46,213        46,145        46,147        35,893        20,035        16,701         9,433         8,400         7,700
State Street Global Advisors (Japan) Co., Ltd.          6,600         6,600         6,600         6,600         6,600         6,600         6,600         5,800         5,800         5,800
State Street Global Advisors (UK) Ltd.                 70,892        60,306        84,453        83,769        88,249        86,516        93,464        95,281        99,972        96,620
State Street Global Advisors (US)                   5,822,784     5,714,553     5,683,756     5,738,950     5,690,051     5,643,833     5,865,688     6,123,832     6,644,799     6,757,086
State Street Global Advisors Ireland Limited                0             0           468           572           572           520         7,242         4,845         3,621         4,702
State Street Global Advisors Ltd. (Canada)              6,859         7,599        16,412        14,061        15,800        17,322        16,304        17,091        18,661        19,129
State Teachers Retirement System of Ohio               39,486        33,263        34,692         9,635         9,516         8,707         7,748             0             0             0
Sterling Capital Management, LLC                       53,422        48,411        38,715       431,250       538,591       665,338        46,972        15,989        11,095         4,890
Sterne Agee Asset Management, Inc.                     11,277         4,500           440           924         1,061            48            48            48            48            48
Stevens Capital Management LP                               0             0             0       121,590             0             0             0             0        39,920             0
Stifel Nicolaus Investment Advisors                    41,639        15,485         5,311        52,448        95,863       115,320       100,965        77,677         8,715         4,872




                                                                                                                                                                         Page 34 of 40
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Exhibit 9                                                        3873

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                 80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                  140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                               6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                         108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                        758         806         772         813         798         738         710         701         635         617

Institution/Individual                              3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017     6/30/2017
Stone Toro Investment Advisers LP                             0            1            1             1            1            1            1             1             0             0
Stonebridge Capital Advisors, LLC                        19,085            0            0             0            0            0            0             0             0             0
Stonebridge Capital Management, Inc.                          0            0            0             0            0            0            0             0         6,030         7,459
Storebrand Kapitalforvaltning AS                         28,076       28,076       24,916        28,280       29,125       27,455       28,767        28,767        29,965        26,909
Strategic Capital Alternatives LLC                            0           62            0             0            0            0            0             0             0             0
Sumitomo Mitsui Asset Management Company, Limited        10,885       10,760       11,049        10,813       10,982       11,026       10,996        10,919        12,111         9,959
Sumitomo Mitsui Trust Asset Management Co., Ltd.         16,600        8,377        8,377         8,377        8,377        8,389        8,389         8,389         9,589            81
Summit Securities Group, LLC                                241            0            0             0            0            0            0             0             0             0
SunAmerica Asset Management, LLC                         59,375       61,259       59,932        62,631       61,662       61,083       64,511        65,186        64,637        64,006
SunTrust Bank                                            11,400        8,975        6,708        22,766       25,977       26,209       25,548        11,568        10,661        13,870
Susquehanna International Group, LLP                     50,123       53,211        6,314         6,607       98,915      538,033      202,009       129,073       283,858       185,494
Sustainable Growth Advisers, LP                         476,385            0            0             0            0            0            0             0             0             0
Swedbank Robur Fonder AB                                  5,332        5,332        5,332         6,532       14,332      227,118      226,518       221,186       221,186       240,724
Swiss Life Asset Management                                   0            0            0             0            0            0          785         5,363        11,925         2,071
Swiss Life Asset Management (France)                        403          403          403             0            0            0            0             0             0             0
Swisscanto Fondsleitung AG                                    0            0            0             0            0            0            0             0             0         3,643
Symons Capital Management Inc.                                0            0            0             0            0      225,413      224,236             0             0       132,869
Symphonia SGR Spa                                         5,670            0            0             0            0            0            0             0             0             0
Symphony Asset Management LLC                               958          951          945           940          929        1,473        3,321             0             0             0
Synovus Trust Company, N.A.                                 123           75           75            75           75           75           75            75             0             0
T&D Asset Management Co., Ltd.                              800          800          800           800          800          800          800             0             0             0
T. Rowe Price Associates, Inc.                          467,957      550,152      694,513       888,810      445,278      265,700      268,720       275,515     4,080,185    11,416,020
T. Rowe Price International (UK) Ltd.                       586            0            0             0            0            0            0             0             0         1,701
Taconic Capital Advisors LP                                   0       55,000            0             0            0            0            0             0             0             0
Tamarack Advisers, LP                                         0            0            0       118,000            0            0            0             0             0             0
Tamarack Capital Management, LLC_NLE                    102,000       50,000       50,000             0            0            0            0             0             0             0
Tangerine Investment Management Inc.                        588          651          651           715          715          775          775           775           775           775
Tarbox Family Office, Inc.                                    4            4           13             4            8            0            0             8            17           139
Taurus Asset Management, LLC                             79,905       49,385       49,385        53,249       52,999            0            0             0             0             0
Taylor Frigon Capital Management LLC                      9,291        8,766        8,815         8,677        9,048        9,077        9,077         9,077         9,077         9,077
TCI Wealth Advisors, Inc.                                     5            5            5             5            0           13          242             5             0             0
TCW Asset Management Company LLC                         40,968       11,000       17,420        14,441       16,541       16,691       15,766        12,165             0             0
TD Asset Management Inc.                                 64,004       69,729       71,129        74,229       65,971       67,241       72,851        55,269        54,669        67,838
TD Securities, Inc.                                      54,452       63,271        4,742         4,521        1,148            0            0        24,724        38,692        48,394
Teacher Retirement System of Texas                        6,416        5,478        7,833         3,568        7,973       10,250        5,527             0             0             0




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Exhibit 9                                                        3874

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions              80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                               140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                            6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                      108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                     758         806         772         813         798         738         710         701         635         617

Institution/Individual                           3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016     6/30/2016     9/30/2016     12/31/2016    3/31/2017     6/30/2017
Tekla Capital Management LLC                         130,652             0        18,900        37,300        37,300        37,300        37,300        37,300        37,300        37,300
Templeton Asset Management Ltd.                       13,160        12,168        12,168        11,998        81,588        81,588       157,058       192,258       231,268       206,418
Templeton Investment Counsel, L.L.C.                 195,300       195,300       161,715       161,862       161,699       161,116       539,396       639,476       834,526     5,232,286
Tennessee Consolidated Retirement System              22,300        62,697        22,500       323,070        62,260        32,552        47,116        44,622        39,111        39,214
Texas Permanent School Fund                           52,710        53,251        52,162        51,614        50,299        46,239        44,125        42,950        41,892        40,284
Teza Capital Management LLC                                0             0             0             0             0             0             0             0         3,093             0
TFS Capital LLC                                            0           491           491           491             0             0             0         5,636             0             0
The Boston Company Asset Management, LLC             680,120        52,534        78,894        53,598       116,619        54,289        52,949        51,807        53,071        35,837
The Commerce Trust Company                            99,063        33,268        31,921       107,926       115,327        17,291         8,405         2,577             0             0
The Dai-ichi Life Insurance Company, Limited               0             0             0             0             0             0             0         2,845             0             0
The de Burlo Group, Inc.                              28,400        45,600        43,300         6,600             0             0             0             0             0             0
The Glenview Trust Company                                 0             0             0        39,081        39,081        39,081        39,081        31,666        35,700        16,680
The Haverford Trust Company                                0             0             0         2,431         2,405             0             0             0             0             0
The Index Group, Inc.                                      0             0            34            40            45            55            91           200           366           532
The MassMutual Trust Company, FSB                      3,549         3,549         3,549         3,874        12,679        14,262        14,262            40             0             0
The Patten Group, Inc.                                 3,060         2,940         2,940         9,702        11,447         8,987         3,162           872           427           427
The Philadelphia Trust Company                       108,965        58,112        57,301        70,592        93,063        71,712        92,012        94,190       134,117        89,454
The Retirement Systems of Alabama                     94,099        96,370        82,523        75,920        73,760        73,017        72,468        67,957        69,305        69,515
The Vanguard Group, Inc.                          10,337,482     8,913,020     9,024,400     9,232,826     9,589,651     9,534,118    11,656,826    13,941,425    14,574,768    14,874,096
THEAM                                                 20,865        14,248        12,242        14,133        14,711        15,201        15,840         7,261         5,826         3,723
Third Point LLC                                            0       600,000             0             0             0             0             0             0             0             0
Thomas White International, Ltd.                      14,015             0             0        12,925        19,605             0             0             0             0             0
Thompson, Davis & Co., Inc. (Asset Management)           254           161           137           160           212           212           137           127           117             0
Thompson, Siegel & Walmsley LLC                            0             0             0             0            68             0             0             0             0             0
Thornburg Investment Management, Inc.              1,523,040        97,364             0       504,434     1,641,307       568,838             0             0             0             0
Thrivent Asset Management, LLC                       129,056       114,026        90,338        99,238       101,928       162,408       105,148       115,968       116,388       123,198
Thurgauer Kantonalbank                                     0             0             0             0             0             0             0             0             0            18
TIG Advisors, L.L.C.                                       0       303,619       416,251             0             0             0             0             0             0             0
Tilney Investment Management                          61,268        49,509        46,161        44,615        42,102        41,354        41,354        41,354        41,354        41,354
Timber Hill LLC                                        9,363             0             0             0             0        15,136         2,983         6,725             0             0
TOBAM                                                      0             0             0             0             0       118,561       118,561        73,104       111,719       112,206
Tocqueville Asset Management LP                       69,127        80,572        76,647        94,995       116,863        57,665        63,545             0             0             0
Tokio Marine Asset Management Co., Ltd.                5,883         4,904         4,657         4,437         4,536         4,823         4,569         3,567        44,003        50,867
Tompkins Trust Company                                   195           145           145             0           150             0             0             0             0             0
Tortoise Investment Management, LLC                        0             0             0             0             0             0           300           300           300           300




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                               Case 2:16-cv-02805-MCA-LDW Document 163-2 Filed 11/30/18 Page 155 of 210 PageID:
Exhibit 9                                                          3875

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions                       80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                                        140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                                     6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                               108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                              758         806         772         813         798         738         710         701         635         617

Institution/Individual                                    3/31/2015     6/30/2015    9/30/2015    12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
Tower Bridge Advisors, Inc.                                         0            0            0             0       65,905       55,599       72,242        52,728       13,105            0
Tower Research Capital LLC                                        620            0            0             0           10        8,167            0            45          667          205
TowerView, L.L.C.                                                   0        2,500            0             0            0            0            0             0            0            0
Tradewinds Capital Management, LLC                                 46           46           39            32           32           32           25            25           25           18
Transamerica Financial Advisors, Inc.                           3,054        3,048        3,005             1            0            0            0             0            0            0
Transparent Value, LLC                                              0            0        2,424        49,896       49,896       49,896        1,615             0            0            0
Tredje AP Fonden                                               11,215        9,135        9,395         9,464       13,600       11,858       10,086        28,710       34,978       28,174
Trexquant Investment LP                                             0        7,400        6,600        20,200            0        7,200            0         9,200        7,500            0
Trilogy Global Advisors, LP                                         0            0        3,957       346,997      338,337      248,095            0             0            0            0
Truepoint Wealth Counsel LLC                                        0            0            0             0            0        5,000            0             0            0            0
Trust Co                                                            0            0            0         2,595        2,610            0            0             0            0            0
Trust Co of Sterne Agee, Inc.                                       0          419            0             0            0            0            0             0            0            0
Trustmark Investment Advisors, Inc.                                 0            0            0             0        1,650            0            0             0            0            0
Tudor Investment Corporation                                    6,664       60,245        1,764         6,400        2,100            0            0         4,724       13,281        3,624
TWIN Capital Management, Inc.                                       0            0            0         4,160            0        3,720            0             0            0            0
Twin Capital Management, LLC                                        0       73,032      200,723       459,305            0            0            0             0            0            0
Twin Tree Management, LP                                       23,841        2,691            0             0        2,539            0       46,631        35,441       58,692            0
Two Sigma Investments, LP                                       3,000      383,673      143,964       537,397            0            0        4,838       114,568       76,838      447,552
U.S. Bancorp Asset Management, Inc.                           164,539      141,508      123,500       138,788      149,803       74,762       41,146        32,550       25,233       23,572
UBI Pramerica SGR S.p.A.                                            0            0            0             0            0            0            0         2,318        2,318        2,318
UBS (Luxembourg) S.A.                                               0            0            0        14,172       14,172       14,172       14,172        14,172       14,172       14,172
UBS Asset Management (Americas), Inc.                          65,325       65,325       65,325       547,278      686,310      635,503       34,983        38,047       61,287       80,933
UBS Asset Management (Australia) Ltd.                               0            0            0             0            0            0            0           124          124          124
UBS Asset Management (Canada) Inc.                             16,590        4,300        2,910           304          304          247            0             0            0            0
UBS Asset Management (Switzerland)                             83,195       77,816       78,247       337,885      328,662      326,179      212,784       213,505      214,776      212,580
UBS Asset Management (UK) Ltd.                                      0       31,403       33,957        94,946       94,622       95,461       82,518        88,350      100,081      100,582
UBS Financial Services, Inc.                                  197,057      161,657      168,416       153,757       92,258      192,675      147,695       184,192      354,196      221,306
Unigestion                                                          0            0            0             0            0            0            0         4,600        4,600        4,600
Union Bank & Trust Company (Nebraska)                             184           35           35           155          155           35           35             0            0            0
United Capital Financial Advisers, LLC                              0            0            0         2,248            0       10,279            0             0            0            0
UOB Asset Management Ltd.                                       3,081        5,961        5,961             0            0            0            0             0            0            0
Urquijo Gestión, S.A., S.G.I.I.C., Sociedad Unipersonal             0            0            0           105          105          105          105           105          105          105
USA Financial Portformulas Corporation                              0            0       14,915             0            0            0            0             0            0            0
Utah Retirement Systems                                        25,223       26,023       26,223        26,323       26,323       25,123       25,123        25,223       25,223       23,423
Valiant Bank AG                                                 1,000        1,000        1,000             0            0            0            0             0            0            0




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                             Case 2:16-cv-02805-MCA-LDW Document 163-2 Filed 11/30/18 Page 156 of 210 PageID:
Exhibit 9                                                        3876

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions            80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                             140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                          6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                    108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                   758         806         772         813         798         738         710         701         635         617

Institution/Individual                          3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016     6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
Valley National Bancorp                                  26            26            26            26            26           26           26             0            0            0
Van Eck Associates Corporation                       72,665        87,672        97,370       109,496       116,725      134,769      144,388       119,449      226,227      185,157
Vanguard Investments Australia Ltd.                       0            78            78            78        42,621       42,625       87,566        73,862       51,927       39,762
Vantage Investment Advisory Limited                       0             0             0            50            50            0            0             0            0            0
Vaughan Nelson Investment Management, L.P.                0             0             0        11,208        10,836       36,371       42,287        31,795       13,157       12,841
Veritable, L.P.                                       2,285         1,179             0         1,385         1,971            0            0             0            0            0
Verition Fund Management LLC                              0         2,903             0             0             0            0            0             0            0            0
Versant Capital Management, Inc.                          0             0             0            19            16           14           14            14            6           73
Vertex One Asset Management, Inc.                     3,818         3,818         3,818         3,818         3,818        3,818        3,818             0            0            0
Vescore AG                                                0             0             0             0             0            0            0             0            0          434
Vescore Deutschland GmbH                                  0             0             0             0             0            0            0             0            0          142
Vestcor Investment Management Corporation                 0             0             0             0         5,094        5,094        5,094         5,094        5,094        5,094
Victory Capital Management Inc.                   1,035,055     1,251,949     1,058,609     1,111,779     1,027,798        1,828       22,609        22,493       23,084       31,736
Vident Investment Advisory, LLC                          31           249            25             0             0            0            0         3,984        3,632        3,962
Virginia Retirement System                            2,932         2,935         3,080        12,810        15,474            0            0             0            0            0
Virtu Americas LLC                                    2,738        10,915         7,331        21,145        12,900       50,145        8,533        33,675       19,779        8,053
Virtu KCG Holdings, L.L.C.                            4,590         4,590             0             0             0            0            0             0            0            0
Virtus Investment Advisers, Inc.                          0             0             0             0             0        2,114        4,888             0          654          702
Vision Capital Management, Inc.                     101,340        51,270        38,228             0             0            0            0             0            0            0
Visium Asset Management, LP_NLE                   1,998,556     2,091,441     1,804,056       714,569       263,662            0            0             0            0            0
Voloridge Investment Management, LLC                      0             0             0        29,889       197,209            0       17,034             0            0            0
Voya Financial Advisors, Inc.                             0             0             0             0         1,889            0            0             0            0            0
Voya Investment Management LLC                       92,591        92,712        93,166        89,169     1,219,774       81,463       83,207        80,070       78,492       73,824
VSR Financial Services, Inc._NLE                      4,390         3,109             0             0             0            0            0             0            0            0
W & W Asset Management GmbH                               0             0             0           377           377          377          377           377          377          377
Waddell & Reed Investment Management Company        110,000        88,715        75,000             0             0            0            0             0            0            0
Wall Street Associates, LLC_NLE                           0             0             0             0         9,341            0            0             0            0            0
Walleye Trading, LLC                                      0             0             0             0           401       28,083       17,515        10,935       26,490        8,975
Warren Averett Asset Management, LLC                     55             0             0             0             0            0            0             0            0            0
Wasatch Advisors, Inc.                                    0        11,911        11,911        11,972             0            0            0             0            0            0
Washington Capital Management, Inc.                   2,057         2,057         2,057         2,057             0            0            0             0            0            0
Washington Trust Bank                                    11            11            11            11            11           36           22            22           11           11
Washington Trust Co.                                134,566             0             0       108,702       137,035      137,755      129,649        80,835       14,441            0
Water Island Capital, LLC                                 0        49,506        49,270        35,710             0            0            0             0            0            0
WBI Investments Inc                                       0             0             0             0             0            0            0         9,115            0            0




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Exhibit 9                                                        3877

Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions            80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                             140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                          6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                    108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                   758         806         772         813         798         738         710         701         635         617

Institution/Individual                          3/31/2015     6/30/2015     9/30/2015     12/31/2015    3/31/2016     6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
WCM Investment Management                         1,475,328        10,690             0     1,808,686     1,928,929            0            0             0            0            0
Wealth Enhancement Advisory Services, LLC                 0             0             0             0             0            0            0             0            0       11,314
Wealthcare Capital Management, LLC                       70            13             0             0             0            0            0             0            0            0
Wealthfront, Inc.                                     1,694         1,954         2,072         1,731             0            0            0             0            0            0
WealthSource Partners, LLC                                0             0             0             0         2,736        3,128        3,108         3,573            0            0
WealthTrust-Arizona, LLC                                 89            48            48           140           668            0            0             0            0            0
Webster Financial Advisors                                0             0             0             0             0            0            0             0          175          175
Wedgewood Partners, Inc.                          1,485,634       892,486       815,674     2,113,216     2,077,826            0            0             0            0            0
Weiss Multi-Strategy Advisers LLC                     9,300             0             0             7             7            7            7             6           13           17
Welch & Forbes LLC                                        0             0        50,397             0        61,361            0       27,027             0            0            0
Wellington Management Company, LLP                3,929,639     3,206,164     3,574,520       373,331       238,944            0        4,058         4,336            0            0
Wells Capital Management Inc.                     2,491,961     1,321,899       734,648       590,053         6,513        6,487        6,508         6,534       94,811        6,410
Wells Fargo Advisors                                198,542        45,416        46,271       106,828       247,601      140,870       88,519        71,092       60,350       67,359
Wells Fargo Bank, N.A.                               21,355       116,176        25,400       163,497       172,834      155,014       22,772        28,831       37,559       45,979
Wells Fargo Securities, LLC                               0             0             0             0         5,643            0            0             0            0            0
WesBanco Bank, Inc.                                       0             0             0             0        22,440       33,220            0             0            0            0
Westchester Capital Management, LLC                       0       232,656       166,056        33,200        33,100            0            0             0            0            0
Westfield Capital Management Company, L.P.            7,172             0             0           300             0            0            0             0            0            0
Westpac Banking Corporation                          53,653             0             0             0         1,536        1,415            0             0            0        8,736
Wetherby Asset Management, Inc.                           0             0             0             0             0            0            0         2,570            0            0
WFG Advisors LP                                          11            11            11             0           400            0            0             0            0            0
Whittier Trust Company                                  106            56             0             0             0            0            0             0            0            0
Whittier Trust Company of Nevada, Inc.                   11            11            11            11            11           11           11            11           11           11
William Blair & Company, L.L.C. (Research)          535,044       351,849       343,854       359,030       354,857      208,558      189,786        82,179       76,704       56,327
William Blair Investment Management, LLC                  0             0        14,695       778,977       758,909      534,935      528,179       508,402      547,487            0
Wilmington Funds Management Corporation              46,640        19,740         7,240         6,940         5,140        5,140        2,740         2,740        1,040        1,740
Wilmington Trust Investment Advisors, Inc.            7,300           386           887         1,171         2,398        1,340        1,678         1,668        1,018          984
Wilmington Trust Investment Management LLC            2,458         1,894         2,856         3,270         3,567        1,614       42,106        56,536       24,330       27,374
Wilmington Trust, National Association                7,057         3,110         2,909         3,696         5,263          679       17,419        35,126       37,677       41,772
Winslow, Evans & Crocker, Inc.                       16,386        16,794        17,006        17,106        16,959       16,590       15,820        12,160       10,770        8,785
Winton Capital Management Ltd.                            0        18,219             0             0             0            0            0             0            0        2,488
Wolverine Asset Management, LLC                           0             0             0             0             0            0        1,000             0            0            0
Wolverine Trading, LLC                                    0             0             0             0             0        4,926            0             0        6,758            0
World Asset Management, Inc.                         50,495        49,648        48,872        49,185        48,308       46,493       47,138        45,774       46,801       44,529
Xact Kapitalforvaltning AB                                0             0             0             0             0            0       21,135        22,228       23,227       21,457




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Perrigo Company PLC
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Percentage of Float Held by Institutions            80.7%       83.3%       83.3%       78.1%       84.2%       79.6%       78.2%       79.8%       85.1%       91.0%
Shares Outstanding                             140,795,000 146,271,000 146,279,000 146,402,000 143,202,000 143,223,000 143,281,000 143,374,000 143,374,000 143,397,000
Shares Held by Insiders                          6,068,334   6,069,234   6,092,968   6,097,294   6,104,553   6,108,319   6,137,337   6,014,684   6,015,868   6,018,604
Shares Held by Institutions                    108,764,440 116,770,886 116,828,219 109,533,593 115,434,974 109,177,545 107,227,485 109,642,009 116,876,974 124,953,746
Number of Institutions With Holdings                   758         806         772         813         798         738         710         701         635         617

Institution/Individual                          3/31/2015    6/30/2015     9/30/2015     12/31/2015    3/31/2016    6/30/2016    9/30/2016    12/31/2016    3/31/2017    6/30/2017
Yakira Capital Management, Inc.                          0             0         6,000         5,000            0            0            0             0            0            0
York Capital Management L P.                             0     3,314,391     3,070,023             0            0            0            0             0            0            0
Yorktown Management & Research Company, Inc.           992           992           992           992          992          992            0             0            0            0
Yorkville Asset Management, Inc.                       370           370           500           500          500          500            0             0            0            0
Ziegler Capital Management, LLC                      5,410             0             0         5,010        4,500            0            0             0            0            0
Zions Capital Advisors, Inc.                             0             0            20             0           21           13           14            65            0           28
Zürcher Kantonalbank (Asset Management)             16,306        15,252        16,945        17,689       18,416       18,416       29,505        28,517       28,517       29,495
Zweig-DiMenna Associates, Inc.                           0         5,250             0             0            0            0            0             0            0            0
ZWJ Investment Counsel Inc.                         84,840        64,638        63,372        62,213      101,746      122,937      173,128       111,424       11,387        8,865




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Exhibit 10A
Perrigo Company PLC (PRGO US)
Bid Ask Spreads on the NYSE
Source: Bloomberg

                PRGO NYSE Sample          PRGO     NYSE Sample
               Spread ($) Spread ($)    Spread (%)  Spread (%)
  Average        $0.03      $0.03         0.03%       0.09%
  Median         $0.02      $0.02         0.02%       0.07%


                           Perrigo Stock
     Date       Last Bid   Last Ask      Spread ($)   Spread (%)
  4/21/2015     $193.80     $193.10        -$0.70       -0.36%
  4/22/2015     $201.57     $201.68        $0.11        0.05%
  4/23/2015     $201.54     $201.56        $0.02        0.01%
  4/24/2015     $193.05     $192.65        -$0.40       -0.21%
  4/27/2015     $188.45     $188.51        $0.06        0.03%
  4/28/2015     $186.20     $186.33        $0.13        0.07%
  4/29/2015     $184.74     $184.77        $0.03        0.02%
  4/30/2015     $183.20     $183.19        -$0.01       -0.01%
   5/1/2015     $186.14     $186.14        $0.00        0.00%
   5/4/2015     $187.71     $187.79        $0.08        0.04%
   5/5/2015     $187.89     $187.95        $0.06        0.03%
   5/6/2015     $189.86     $189.85        -$0.01       -0.01%
   5/7/2015     $190.88     $190.99        $0.11        0.06%
   5/8/2015     $192.53     $192.50        -$0.03       -0.02%
  5/11/2015     $193.48     $193.52        $0.04        0.02%
  5/12/2015     $194.54     $194.52        -$0.02       -0.01%
  5/13/2015     $193.79     $193.85        $0.06        0.03%
  5/14/2015     $194.15     $194.19        $0.04        0.02%
  5/15/2015     $194.52     $194.52        $0.00        0.00%
  5/18/2015     $198.28     $198.32        $0.04        0.02%
  5/19/2015     $197.77     $197.81        $0.04        0.02%
  5/20/2015     $197.59     $197.66        $0.07        0.04%
  5/21/2015     $198.20     $198.25        $0.05        0.03%
  5/22/2015     $198.58     $198.68        $0.10        0.05%
  5/26/2015     $195.84     $195.87        $0.03        0.02%
  5/27/2015     $194.40     $194.49        $0.09        0.05%
  5/28/2015     $193.93     $193.98        $0.05        0.03%
  5/29/2015     $190.55     $190.48        -$0.07       -0.04%
   6/1/2015     $193.08     $193.18        $0.10        0.05%
   6/2/2015     $194.41     $194.46        $0.05        0.03%
   6/3/2015     $195.89     $195.94        $0.05        0.03%
   6/4/2015     $192.90     $193.04        $0.14        0.07%
   6/5/2015     $191.21     $191.20        -$0.01       -0.01%
   6/8/2015     $189.01     $189.06        $0.05        0.03%
   6/9/2015     $188.11     $188.16        $0.05        0.03%
  6/10/2015     $187.88     $187.93        $0.05        0.03%
  6/11/2015     $186.98     $187.08        $0.10        0.05%


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                        Perrigo Stock
    Date     Last Bid   Last Ask      Spread ($)   Spread (%)
 6/12/2015   $184.74     $184.74        $0.00        0.00%
 6/15/2015   $183.30     $183.27        -$0.03       -0.02%
 6/16/2015   $191.26     $191.30        $0.04        0.02%
 6/17/2015   $188.34     $188.34        $0.00        0.00%
 6/18/2015   $188.35     $188.40        $0.05        0.03%
 6/19/2015   $184.46     $184.65        $0.19        0.10%
 6/22/2015   $184.80     $184.83        $0.03        0.02%
 6/23/2015   $189.29     $189.38        $0.09        0.05%
 6/24/2015   $189.23     $189.28        $0.05        0.03%
 6/25/2015   $189.23     $189.41        $0.18        0.10%
 6/26/2015   $190.32     $190.43        $0.11        0.06%
 6/29/2015   $184.20     $184.32        $0.12        0.07%
 6/30/2015   $184.65     $184.83        $0.18        0.10%
  7/1/2015   $184.93     $184.98        $0.05        0.03%
  7/2/2015   $183.76     $183.82        $0.06        0.03%
  7/6/2015   $185.21     $185.32        $0.11        0.06%
  7/7/2015   $182.88     $182.93        $0.05        0.03%
  7/8/2015   $179.67     $179.85        $0.18        0.10%
  7/9/2015   $180.01     $180.07        $0.06        0.03%
 7/10/2015   $180.78     $180.82        $0.04        0.02%
 7/13/2015   $184.02     $184.13        $0.11        0.06%
 7/14/2015   $186.13     $186.15        $0.02        0.01%
 7/15/2015   $186.35     $186.55        $0.20        0.11%
 7/16/2015   $186.74     $186.80        $0.06        0.03%
 7/17/2015   $185.86     $185.87        $0.01        0.01%
 7/20/2015   $187.57     $187.63        $0.06        0.03%
 7/21/2015   $187.11     $187.23        $0.12        0.06%
 7/22/2015   $188.98     $189.00        $0.02        0.01%
 7/23/2015   $189.59     $189.71        $0.12        0.06%
 7/24/2015   $186.50     $186.61        $0.11        0.06%
 7/27/2015   $193.59     $193.64        $0.05        0.03%
 7/28/2015   $192.04     $192.09        $0.05        0.03%
 7/29/2015   $192.74     $192.81        $0.07        0.04%
 7/30/2015   $191.43     $191.54        $0.11        0.06%
 7/31/2015   $192.19     $192.20        $0.01        0.01%
  8/3/2015   $192.60     $192.64        $0.04        0.02%
  8/4/2015   $190.51     $190.56        $0.05        0.03%
  8/5/2015   $189.75     $189.98        $0.23        0.12%
  8/6/2015   $188.43     $188.47        $0.04        0.02%
  8/7/2015   $190.18     $190.27        $0.09        0.05%
 8/10/2015   $193.94     $193.98        $0.04        0.02%
 8/11/2015   $192.70     $192.81        $0.11        0.06%
 8/12/2015   $186.19     $186.39        $0.20        0.11%
 8/13/2015   $192.50     $192.52        $0.02        0.01%



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                         Perrigo Stock
     Date     Last Bid   Last Ask      Spread ($)   Spread (%)
  8/14/2015   $196.14     $196.27        $0.13        0.07%
  8/17/2015   $197.06     $197.10        $0.04        0.02%
  8/18/2015   $195.49     $195.54        $0.05        0.03%
  8/19/2015   $195.35     $195.44        $0.09        0.05%
  8/20/2015   $192.90     $192.98        $0.08        0.04%
  8/21/2015   $187.56     $187.59        $0.03        0.02%
  8/24/2015   $178.43     $178.70        $0.27        0.15%
  8/25/2015   $178.03     $178.10        $0.07        0.04%
  8/26/2015   $183.70     $183.73        $0.03        0.02%
  8/27/2015   $188.13     $188.19        $0.06        0.03%
  8/28/2015   $185.22     $185.31        $0.09        0.05%
  8/31/2015   $182.83     $182.87        $0.04        0.02%
   9/1/2015   $179.23     $179.33        $0.10        0.06%
   9/2/2015   $181.44     $181.49        $0.05        0.03%
   9/3/2015   $177.82     $177.93        $0.11        0.06%
   9/4/2015   $178.80     $178.88        $0.08        0.04%
   9/8/2015   $180.75     $180.86        $0.11        0.06%
   9/9/2015   $177.15     $177.17        $0.02        0.01%
  9/10/2015   $178.20     $178.25        $0.05        0.03%
  9/11/2015   $179.62     $179.66        $0.04        0.02%
  9/14/2015   $181.26     $181.29        $0.03        0.02%
  9/15/2015   $183.47     $183.49        $0.02        0.01%
  9/16/2015   $182.39     $182.43        $0.04        0.02%
  9/17/2015   $181.07     $181.15        $0.08        0.04%
  9/18/2015   $178.59     $178.69        $0.10        0.06%
  9/21/2015   $174.83     $174.89        $0.06        0.03%
  9/22/2015   $171.96     $172.01        $0.05        0.03%
  9/23/2015   $170.78     $170.84        $0.06        0.04%
  9/24/2015   $169.21     $169.26        $0.05        0.03%
  9/25/2015   $160.86     $160.89        $0.03        0.02%
  9/28/2015   $152.40     $152.53        $0.13        0.09%
  9/29/2015   $154.77     $154.88        $0.11        0.07%
  9/30/2015   $156.82     $156.99        $0.17        0.11%
  10/1/2015   $156.17     $156.23        $0.06        0.04%
  10/2/2015   $160.73     $160.79        $0.06        0.04%
  10/5/2015   $162.02     $162.10        $0.08        0.05%
  10/6/2015   $159.56     $159.62        $0.06        0.04%
  10/7/2015   $156.28     $156.33        $0.05        0.03%
  10/8/2015   $158.22     $158.30        $0.08        0.05%
  10/9/2015   $160.64     $160.67        $0.03        0.02%
 10/12/2015   $161.49     $161.53        $0.04        0.02%
 10/13/2015   $158.11     $158.16        $0.05        0.03%
 10/14/2015   $160.97     $161.02        $0.05        0.03%
 10/15/2015   $162.55     $162.62        $0.07        0.04%


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                         Perrigo Stock
    Date      Last Bid   Last Ask      Spread ($)   Spread (%)
 10/16/2015   $165.87     $165.96        $0.09        0.05%
 10/19/2015   $165.64     $165.66        $0.02        0.01%
 10/20/2015   $162.62     $162.66        $0.04        0.02%
 10/21/2015   $155.17     $155.23        $0.06        0.04%
 10/22/2015   $147.52     $147.60        $0.08        0.05%
 10/23/2015   $150.47     $150.49        $0.02        0.01%
 10/26/2015   $153.93     $154.11        $0.18        0.12%
 10/27/2015   $156.31     $156.39        $0.08        0.05%
 10/28/2015   $160.45     $160.49        $0.04        0.02%
 10/29/2015   $165.80     $165.81        $0.01        0.01%
 10/30/2015   $157.80     $157.87        $0.07        0.04%
  11/2/2015   $159.30     $159.35        $0.05        0.03%
  11/3/2015   $159.75     $159.78        $0.03        0.02%
  11/4/2015   $162.31     $162.33        $0.02        0.01%
  11/5/2015   $160.51     $160.58        $0.07        0.04%
  11/6/2015   $162.24     $162.25        $0.01        0.01%
  11/9/2015   $159.66     $159.72        $0.06        0.04%
 11/10/2015   $163.10     $163.15        $0.05        0.03%
 11/11/2015   $160.91     $160.93        $0.02        0.01%
 11/12/2015   $156.55     $156.62        $0.07        0.04%
 11/13/2015   $146.86     $146.87        $0.01        0.01%
 11/16/2015   $148.99     $149.00        $0.01        0.01%
 11/17/2015   $153.40     $153.45        $0.05        0.03%
 11/18/2015   $155.47     $155.52        $0.05        0.03%
 11/19/2015   $154.64     $154.67        $0.03        0.02%
 11/20/2015   $154.99     $155.05        $0.06        0.04%
 11/23/2015   $148.35     $148.40        $0.05        0.03%
 11/24/2015   $150.15     $150.19        $0.04        0.03%
 11/25/2015   $150.65     $150.69        $0.04        0.03%
 11/27/2015   $150.40     $150.49        $0.09        0.06%
 11/30/2015   $149.49     $149.53        $0.04        0.03%
  12/1/2015   $149.17     $149.19        $0.02        0.01%
  12/2/2015   $147.88     $147.90        $0.02        0.01%
  12/3/2015   $145.62     $145.68        $0.06        0.04%
  12/4/2015   $147.60     $147.67        $0.07        0.05%
  12/7/2015   $147.37     $147.45        $0.08        0.05%
  12/8/2015   $148.32     $148.35        $0.03        0.02%
  12/9/2015   $148.18     $148.23        $0.05        0.03%
 12/10/2015   $148.82     $148.87        $0.05        0.03%
 12/11/2015   $147.13     $147.15        $0.02        0.01%
 12/14/2015   $148.94     $148.98        $0.04        0.03%
 12/15/2015   $149.24     $149.29        $0.05        0.03%
 12/16/2015   $149.35     $149.40        $0.05        0.03%
 12/17/2015   $146.20     $146.24        $0.04        0.03%


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                         Perrigo Stock
     Date     Last Bid   Last Ask      Spread ($)   Spread (%)
 12/18/2015   $144.24     $144.28        $0.04        0.03%
 12/21/2015   $144.25     $144.28        $0.03        0.02%
 12/22/2015   $145.28     $145.33        $0.05        0.03%
 12/23/2015   $147.73     $147.75        $0.02        0.01%
 12/24/2015   $147.54     $147.56        $0.02        0.01%
 12/28/2015   $145.83     $145.84        $0.01        0.01%
 12/29/2015   $146.48     $146.54        $0.06        0.04%
 12/30/2015   $145.22     $145.24        $0.02        0.01%
 12/31/2015   $144.63     $144.68        $0.05        0.03%
   1/4/2016   $142.52     $142.57        $0.05        0.04%
   1/5/2016   $142.63     $142.66        $0.03        0.02%
   1/6/2016   $144.22     $144.27        $0.05        0.03%
   1/7/2016   $144.31     $144.32        $0.01        0.01%
   1/8/2016   $140.53     $140.60        $0.07        0.05%
  1/11/2016   $143.61     $143.62        $0.01        0.01%
  1/12/2016   $146.57     $146.59        $0.02        0.01%
  1/13/2016   $143.04     $143.07        $0.03        0.02%
  1/14/2016   $145.32     $145.37        $0.05        0.03%
  1/15/2016   $144.96     $145.00        $0.04        0.03%
  1/19/2016   $146.38     $146.42        $0.04        0.03%
  1/20/2016   $145.87     $145.88        $0.01        0.01%
  1/21/2016   $146.79     $146.81        $0.02        0.01%
  1/22/2016   $148.56     $148.57        $0.01        0.01%
  1/25/2016   $149.08     $149.13        $0.05        0.03%
  1/26/2016   $148.85     $148.90        $0.05        0.03%
  1/27/2016   $144.50     $144.52        $0.02        0.01%
  1/28/2016   $143.20     $143.23        $0.03        0.02%
  1/29/2016   $144.45     $144.47        $0.02        0.01%
   2/1/2016   $143.62     $143.64        $0.02        0.01%
   2/2/2016   $144.00     $144.01        $0.01        0.01%
   2/3/2016   $145.72     $145.75        $0.03        0.02%
   2/4/2016   $144.07     $144.11        $0.04        0.03%
   2/5/2016   $143.83     $143.86        $0.03        0.02%
   2/8/2016   $137.75     $137.81        $0.06        0.04%
   2/9/2016   $138.83     $138.84        $0.01        0.01%
  2/10/2016   $137.40     $137.45        $0.05        0.04%
  2/11/2016   $134.99     $135.03        $0.04        0.03%
  2/12/2016   $138.52     $138.58        $0.06        0.04%
  2/16/2016   $141.11     $141.13        $0.02        0.01%
  2/17/2016   $145.02     $145.14        $0.12        0.08%
  2/18/2016   $130.12     $130.39        $0.27        0.21%
  2/19/2016   $129.32     $129.33        $0.01        0.01%
  2/22/2016   $124.00     $124.03        $0.03        0.02%
  2/23/2016   $124.84     $124.87        $0.03        0.02%


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                        Perrigo Stock
    Date     Last Bid   Last Ask      Spread ($)   Spread (%)
 2/24/2016   $126.27     $126.33        $0.06        0.05%
 2/25/2016   $129.17     $129.20        $0.03        0.02%
 2/26/2016   $129.20     $129.21        $0.01        0.01%
 2/29/2016   $126.18     $126.23        $0.05        0.04%
  3/1/2016   $126.17     $126.21        $0.04        0.03%
  3/2/2016   $125.76     $125.78        $0.02        0.02%
  3/3/2016   $126.44     $126.47        $0.03        0.02%
  3/4/2016   $126.58     $126.61        $0.03        0.02%
  3/7/2016   $129.08     $129.13        $0.05        0.04%
  3/8/2016   $129.10     $129.12        $0.02        0.02%
  3/9/2016   $131.38     $131.41        $0.03        0.02%
 3/10/2016   $133.89     $133.94        $0.05        0.04%
 3/11/2016   $135.93     $135.98        $0.05        0.04%
 3/14/2016   $140.18     $140.20        $0.02        0.01%
 3/15/2016   $134.34     $134.36        $0.02        0.01%
 3/16/2016   $133.08     $133.10        $0.02        0.02%
 3/17/2016   $131.14     $131.17        $0.03        0.02%
 3/18/2016   $128.07     $128.08        $0.01        0.01%
 3/21/2016   $131.29     $131.31        $0.02        0.02%
 3/22/2016   $132.92     $132.94        $0.02        0.02%
 3/23/2016   $130.18     $130.21        $0.03        0.02%
 3/24/2016   $130.29     $130.36        $0.07        0.05%
 3/28/2016   $127.50     $127.51        $0.01        0.01%
 3/29/2016   $129.55     $129.58        $0.03        0.02%
 3/30/2016   $129.64     $129.68        $0.04        0.03%
 3/31/2016   $127.93     $127.99        $0.06        0.05%
  4/1/2016   $126.75     $126.77        $0.02        0.02%
  4/4/2016   $128.55     $128.57        $0.02        0.02%
  4/5/2016   $128.52     $128.53        $0.01        0.01%
  4/6/2016   $130.70     $130.71        $0.01        0.01%
  4/7/2016   $131.39     $131.45        $0.06        0.05%
  4/8/2016   $128.68     $128.70        $0.02        0.02%
 4/11/2016   $127.18     $127.23        $0.05        0.04%
 4/12/2016   $125.75     $125.76        $0.01        0.01%
 4/13/2016   $127.79     $127.82        $0.03        0.02%
 4/14/2016   $127.96     $128.00        $0.04        0.03%
 4/15/2016   $127.93     $127.95        $0.02        0.02%
 4/18/2016   $128.97     $129.00        $0.03        0.02%
 4/19/2016   $130.56     $130.60        $0.04        0.03%
 4/20/2016   $128.54     $128.59        $0.05        0.04%
 4/21/2016   $128.65     $128.66        $0.01        0.01%
 4/22/2016   $121.29     $121.31        $0.02        0.02%
 4/25/2016    $99.39      $99.40        $0.01        0.01%
 4/26/2016    $99.58      $99.59        $0.01        0.01%


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                        Perrigo Stock
    Date     Last Bid   Last Ask      Spread ($)   Spread (%)
 4/27/2016    $97.22      $97.24        $0.02        0.02%
 4/28/2016    $96.45      $96.49        $0.04        0.04%
 4/29/2016    $96.71      $96.74        $0.03        0.03%
  5/2/2016    $96.07      $96.11        $0.04        0.04%
  5/3/2016    $96.61      $96.62        $0.01        0.01%
  5/4/2016    $95.68      $95.69        $0.01        0.01%
  5/5/2016    $97.08      $97.09        $0.01        0.01%
  5/6/2016    $92.40      $92.41        $0.01        0.01%
  5/9/2016    $93.78      $93.80        $0.02        0.02%
 5/10/2016    $93.07      $93.10        $0.03        0.03%
 5/11/2016    $92.78      $92.80        $0.02        0.02%
 5/12/2016    $89.04      $89.07        $0.03        0.03%
 5/13/2016    $88.37      $88.40        $0.03        0.03%
 5/16/2016    $88.74      $88.75        $0.01        0.01%
 5/17/2016    $90.26      $90.28        $0.02        0.02%
 5/18/2016    $93.55      $93.57        $0.02        0.02%
 5/19/2016    $91.90      $91.93        $0.03        0.03%
 5/20/2016    $93.74      $93.77        $0.03        0.03%
 5/23/2016    $93.50      $93.51        $0.01        0.01%
 5/24/2016    $96.24      $96.25        $0.01        0.01%
 5/25/2016    $96.40      $96.45        $0.05        0.05%
 5/26/2016    $96.20      $96.22        $0.02        0.02%
 5/27/2016    $96.56      $96.58        $0.02        0.02%
 5/31/2016    $95.81      $95.84        $0.03        0.03%
  6/1/2016    $96.90      $96.93        $0.03        0.03%
  6/2/2016    $98.15      $98.18        $0.03        0.03%
  6/3/2016    $97.18      $97.21        $0.03        0.03%
  6/6/2016    $99.23      $99.25        $0.02        0.02%
  6/7/2016    $99.11      $99.13        $0.02        0.02%
  6/8/2016   $100.31     $100.32        $0.01        0.01%
  6/9/2016   $100.47     $100.48        $0.01        0.01%
 6/10/2016    $98.54      $98.55        $0.01        0.01%
 6/13/2016    $99.02      $99.04        $0.02        0.02%
 6/14/2016   $107.93     $108.01        $0.08        0.07%
 6/15/2016    $98.19      $98.20        $0.01        0.01%
 6/16/2016    $98.51      $98.54        $0.03        0.03%
 6/17/2016    $98.02      $98.04        $0.02        0.02%
 6/20/2016    $96.75      $96.78        $0.03        0.03%
 6/21/2016    $96.46      $96.47        $0.01        0.01%
 6/22/2016    $93.78      $93.80        $0.02        0.02%
 6/23/2016    $95.11      $95.12        $0.01        0.01%
 6/24/2016    $90.99      $91.00        $0.01        0.01%
 6/27/2016    $87.75      $87.78        $0.03        0.03%
 6/28/2016    $87.23      $87.27        $0.04        0.05%


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                        Perrigo Stock
    Date     Last Bid   Last Ask      Spread ($)   Spread (%)
 6/29/2016    $91.55     $91.56         $0.01        0.01%
 6/30/2016    $90.68     $90.73         $0.05        0.06%
  7/1/2016    $91.15     $91.20         $0.05        0.05%
  7/5/2016    $90.90     $90.91         $0.01        0.01%
  7/6/2016    $92.84     $92.88         $0.04        0.04%
  7/7/2016    $93.08     $93.10         $0.02        0.02%
  7/8/2016    $93.69     $93.73         $0.04        0.04%
 7/11/2016    $93.66     $93.67         $0.01        0.01%
 7/12/2016    $94.98     $95.04         $0.06        0.06%
 7/13/2016    $95.45     $95.47         $0.02        0.02%
 7/14/2016    $93.59     $93.61         $0.02        0.02%
 7/15/2016    $94.64     $94.70         $0.06        0.06%
 7/18/2016    $92.45     $92.46         $0.01        0.01%
 7/19/2016    $93.02     $93.04         $0.02        0.02%
 7/20/2016    $94.82     $94.84         $0.02        0.02%
 7/21/2016    $91.51     $91.52         $0.01        0.01%
 7/22/2016    $92.39     $92.42         $0.03        0.03%
 7/25/2016    $92.54     $92.54         $0.00        0.00%
 7/26/2016    $90.74     $90.77         $0.03        0.03%
 7/27/2016    $91.34     $91.35         $0.01        0.01%
 7/28/2016    $91.03     $91.07         $0.04        0.04%
 7/29/2016    $91.33     $91.38         $0.05        0.05%
  8/1/2016    $91.11     $91.12         $0.01        0.01%
  8/2/2016    $91.58     $91.60         $0.02        0.02%
  8/3/2016    $94.20     $94.21         $0.01        0.01%
  8/4/2016    $92.25     $92.27         $0.02        0.02%
  8/5/2016    $93.11     $93.13         $0.02        0.02%
  8/8/2016    $93.45     $93.46         $0.01        0.01%
  8/9/2016    $95.08     $95.13         $0.05        0.05%
 8/10/2016    $86.00     $86.01         $0.01        0.01%
 8/11/2016    $85.79     $85.80         $0.01        0.01%
 8/12/2016    $87.95     $87.96         $0.01        0.01%
 8/15/2016    $88.26     $88.28         $0.02        0.02%
 8/16/2016    $88.67     $88.68         $0.01        0.01%
 8/17/2016    $89.48     $89.53         $0.05        0.06%
 8/18/2016    $90.78     $90.79         $0.01        0.01%
 8/19/2016    $91.82     $91.83         $0.01        0.01%
 8/22/2016    $91.49     $91.52         $0.03        0.03%
 8/23/2016    $91.54     $91.55         $0.01        0.01%
 8/24/2016    $87.82     $87.83         $0.01        0.01%
 8/25/2016    $88.45     $88.47         $0.02        0.02%
 8/26/2016    $88.58     $88.60         $0.02        0.02%
 8/29/2016    $89.02     $89.03         $0.01        0.01%
 8/30/2016    $90.99     $91.00         $0.01        0.01%


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                         Perrigo Stock
     Date     Last Bid   Last Ask      Spread ($)   Spread (%)
  8/31/2016    $90.96     $90.99         $0.03        0.03%
   9/1/2016    $91.20     $91.23         $0.03        0.03%
   9/2/2016    $90.74     $90.75         $0.01        0.01%
   9/6/2016    $92.07     $92.08         $0.01        0.01%
   9/7/2016    $90.42     $90.43         $0.01        0.01%
   9/8/2016    $90.70     $90.71         $0.01        0.01%
   9/9/2016    $88.72     $88.74         $0.02        0.02%
  9/12/2016    $95.25     $95.26         $0.01        0.01%
  9/13/2016    $93.60     $93.61         $0.01        0.01%
  9/14/2016    $92.94     $92.96         $0.02        0.02%
  9/15/2016    $93.95     $93.99         $0.04        0.04%
  9/16/2016    $93.26     $93.27         $0.01        0.01%
  9/19/2016    $93.26     $93.28         $0.02        0.02%
  9/20/2016    $93.34     $93.37         $0.03        0.03%
  9/21/2016    $93.67     $93.69         $0.02        0.02%
  9/22/2016    $97.13     $97.14         $0.01        0.01%
  9/23/2016    $97.42     $97.44         $0.02        0.02%
  9/26/2016    $95.72     $95.73         $0.01        0.01%
  9/27/2016    $96.76     $96.78         $0.02        0.02%
  9/28/2016    $97.31     $97.32         $0.01        0.01%
  9/29/2016    $93.22     $93.23         $0.01        0.01%
  9/30/2016    $92.31     $92.33         $0.02        0.02%
  10/3/2016    $93.77     $93.78         $0.01        0.01%
  10/4/2016    $94.03     $94.04         $0.01        0.01%
  10/5/2016    $96.74     $96.75         $0.01        0.01%
  10/6/2016    $94.83     $94.84         $0.01        0.01%
  10/7/2016    $91.02     $91.06         $0.04        0.04%
 10/10/2016    $92.73     $92.74         $0.01        0.01%
 10/11/2016    $89.23     $89.25         $0.02        0.02%
 10/12/2016    $87.94     $87.95         $0.01        0.01%
 10/13/2016    $87.89     $87.90         $0.01        0.01%
 10/14/2016    $86.48     $86.50         $0.02        0.02%
 10/17/2016    $86.44     $86.45         $0.01        0.01%
 10/18/2016    $88.24     $88.25         $0.01        0.01%
 10/19/2016    $88.19     $88.22         $0.03        0.03%
 10/20/2016    $88.49     $88.51         $0.02        0.02%
 10/21/2016    $90.28     $90.31         $0.03        0.03%
 10/24/2016    $90.56     $90.60         $0.04        0.04%
 10/25/2016    $90.17     $90.19         $0.02        0.02%
 10/26/2016    $90.71     $90.73         $0.02        0.02%
 10/27/2016    $91.00     $91.01         $0.01        0.01%
 10/28/2016    $87.05     $87.06         $0.01        0.01%
 10/31/2016    $83.19     $83.22         $0.03        0.04%
  11/1/2016    $84.70     $84.71         $0.01        0.01%


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                         Perrigo Stock
     Date     Last Bid   Last Ask      Spread ($)   Spread (%)
  11/2/2016    $82.90     $82.91         $0.01        0.01%
  11/3/2016    $79.94     $79.95         $0.01        0.01%
  11/4/2016    $82.38     $82.42         $0.04        0.05%
  11/7/2016    $83.96     $83.98         $0.02        0.02%
  11/8/2016    $80.61     $80.62         $0.01        0.01%
  11/9/2016    $83.45     $83.46         $0.01        0.01%
 11/10/2016    $89.11     $89.13         $0.02        0.02%
 11/11/2016    $89.24     $89.27         $0.03        0.03%
 11/14/2016    $91.58     $91.60         $0.02        0.02%
 11/15/2016    $89.05     $89.07         $0.02        0.02%
 11/16/2016    $86.35     $86.38         $0.03        0.03%
 11/17/2016    $88.38     $88.39         $0.01        0.01%
 11/18/2016    $88.14     $88.19         $0.05        0.06%
 11/21/2016    $89.29     $89.30         $0.01        0.01%
 11/22/2016    $87.82     $87.83         $0.01        0.01%
 11/23/2016    $89.33     $89.34         $0.01        0.01%
 11/25/2016    $87.78     $87.82         $0.04        0.05%
 11/28/2016    $88.16     $88.19         $0.03        0.03%
 11/29/2016    $85.79     $85.80         $0.01        0.01%
 11/30/2016    $86.37     $86.38         $0.01        0.01%
  12/1/2016    $85.81     $85.83         $0.02        0.02%
  12/2/2016    $85.91     $85.93         $0.02        0.02%
  12/5/2016    $84.65     $84.66         $0.01        0.01%
  12/6/2016    $84.46     $84.47         $0.01        0.01%
  12/7/2016    $83.89     $83.90         $0.01        0.01%
  12/8/2016    $81.89     $81.95         $0.06        0.07%
  12/9/2016    $82.49     $82.50         $0.01        0.01%
 12/12/2016    $82.29     $82.30         $0.01        0.01%
 12/13/2016    $83.72     $83.73         $0.01        0.01%
 12/14/2016    $83.21     $83.23         $0.02        0.02%
 12/15/2016    $82.62     $82.63         $0.01        0.01%
 12/16/2016    $82.84     $82.85         $0.01        0.01%
 12/19/2016    $84.55     $84.57         $0.02        0.02%
 12/20/2016    $84.72     $84.73         $0.01        0.01%
 12/21/2016    $84.79     $84.83         $0.04        0.05%
 12/22/2016    $84.32     $84.34         $0.02        0.02%
 12/23/2016    $84.94     $84.95         $0.01        0.01%
 12/27/2016    $85.18     $85.19         $0.01        0.01%
 12/28/2016    $82.81     $82.82         $0.01        0.01%
 12/29/2016    $82.28     $82.30         $0.02        0.02%
 12/30/2016    $83.25     $83.26         $0.01        0.01%
   1/3/2017    $86.47     $86.48         $0.01        0.01%
   1/4/2017    $87.20     $87.21         $0.01        0.01%
   1/5/2017    $86.51     $86.53         $0.02        0.02%


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                        Perrigo Stock
    Date     Last Bid   Last Ask      Spread ($)   Spread (%)
  1/6/2017    $85.25     $85.29         $0.04        0.05%
  1/9/2017    $85.45     $85.46         $0.01        0.01%
 1/10/2017    $83.64     $83.65         $0.01        0.01%
 1/11/2017    $77.86     $77.88         $0.02        0.03%
 1/12/2017    $78.16     $78.18         $0.02        0.03%
 1/13/2017    $77.78     $77.80         $0.02        0.03%
 1/17/2017    $76.52     $76.55         $0.03        0.04%
 1/18/2017    $76.45     $76.46         $0.01        0.01%
 1/19/2017    $76.48     $76.49         $0.01        0.01%
 1/20/2017    $75.05     $75.06         $0.01        0.01%
 1/23/2017    $73.48     $73.49         $0.01        0.01%
 1/24/2017    $71.97     $71.99         $0.02        0.03%
 1/25/2017    $72.79     $72.80         $0.01        0.01%
 1/26/2017    $72.40     $72.41         $0.01        0.01%
 1/27/2017    $73.93     $73.94         $0.01        0.01%
 1/30/2017    $74.38     $74.40         $0.02        0.03%
 1/31/2017    $76.14     $76.15         $0.01        0.01%
  2/1/2017    $76.74     $76.77         $0.03        0.04%
  2/2/2017    $78.41     $78.42         $0.01        0.01%
  2/3/2017    $77.95     $77.98         $0.03        0.04%
  2/6/2017    $78.07     $78.08         $0.01        0.01%
  2/7/2017    $77.76     $77.77         $0.01        0.01%
  2/8/2017    $77.90     $77.93         $0.03        0.04%
  2/9/2017    $79.43     $79.44         $0.01        0.01%
 2/10/2017    $79.40     $79.41         $0.01        0.01%
 2/13/2017    $80.16     $80.17         $0.01        0.01%
 2/14/2017    $82.10     $82.11         $0.01        0.01%
 2/15/2017    $84.89     $84.91         $0.02        0.02%
 2/16/2017    $83.10     $83.12         $0.02        0.02%
 2/17/2017    $84.46     $84.47         $0.01        0.01%
 2/21/2017    $84.67     $84.68         $0.01        0.01%
 2/22/2017    $84.08     $84.09         $0.01        0.01%
 2/23/2017    $84.07     $84.08         $0.01        0.01%
 2/24/2017    $84.41     $84.43         $0.02        0.02%
 2/27/2017    $84.74     $84.81         $0.07        0.08%
 2/28/2017    $74.76     $74.77         $0.01        0.01%
  3/1/2017    $74.96     $74.97         $0.01        0.01%
  3/2/2017    $75.57     $75.59         $0.02        0.03%
  3/3/2017    $72.75     $72.76         $0.01        0.01%
  3/6/2017    $71.57     $71.58         $0.01        0.01%
  3/7/2017    $70.29     $70.30         $0.01        0.01%
  3/8/2017    $70.32     $70.33         $0.01        0.01%
  3/9/2017    $70.42     $70.43         $0.01        0.01%
 3/10/2017    $71.22     $71.24         $0.02        0.03%


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Exhibit 10A

                        Perrigo Stock
    Date     Last Bid   Last Ask      Spread ($)   Spread (%)
 3/13/2017    $70.27     $70.29         $0.02        0.03%
 3/14/2017    $69.29     $69.30         $0.01        0.01%
 3/15/2017    $70.60     $70.61         $0.01        0.01%
 3/16/2017    $70.86     $70.87         $0.01        0.01%
 3/17/2017    $69.48     $69.49         $0.01        0.01%
 3/20/2017    $68.41     $68.42         $0.01        0.01%
 3/21/2017    $68.13     $68.14         $0.01        0.01%
 3/22/2017    $68.43     $68.45         $0.02        0.03%
 3/23/2017    $68.13     $68.16         $0.03        0.04%
 3/24/2017    $67.95     $67.96         $0.01        0.01%
 3/27/2017    $69.17     $69.18         $0.01        0.01%
 3/28/2017    $68.91     $68.94         $0.03        0.04%
 3/29/2017    $69.09     $69.11         $0.02        0.03%
 3/30/2017    $66.92     $66.93         $0.01        0.01%
 3/31/2017    $66.37     $66.39         $0.02        0.03%
  4/3/2017    $66.80     $66.81         $0.01        0.01%
  4/4/2017    $66.66     $66.67         $0.01        0.02%
  4/5/2017    $66.63     $66.65         $0.02        0.03%
  4/6/2017    $67.58     $67.60         $0.02        0.03%
  4/7/2017    $68.75     $68.77         $0.02        0.03%
 4/10/2017    $69.76     $69.77         $0.01        0.01%
 4/11/2017    $69.00     $69.01         $0.01        0.01%
 4/12/2017    $68.03     $68.05         $0.02        0.03%
 4/13/2017    $67.65     $67.66         $0.01        0.01%
 4/17/2017    $67.89     $67.91         $0.02        0.03%
 4/18/2017    $66.13     $66.14         $0.01        0.02%
 4/19/2017    $66.42     $66.43         $0.01        0.02%
 4/20/2017    $66.76     $66.77         $0.01        0.01%
 4/21/2017    $66.45     $66.46         $0.01        0.02%
 4/24/2017    $67.05     $67.06         $0.01        0.01%
 4/25/2017    $67.80     $67.81         $0.01        0.01%
 4/26/2017    $73.03     $73.04         $0.01        0.01%
 4/27/2017    $74.07     $74.09         $0.02        0.03%
 4/28/2017    $73.92     $73.93         $0.01        0.01%
  5/1/2017    $74.05     $74.06         $0.01        0.01%
  5/2/2017    $76.22     $76.23         $0.01        0.01%




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Exhibit 10B
Perrigo Company PLC (PRGO US)
Companies Used for Bid Ask Spread Analysis on the NYSE

     Bloomberg Symbol                 Company
BWA US Equity               BORGWARNER INC
CIEN US Equity              CIENA CORP
RAI US Equity               REYNOLDS AMERICA
IP US Equity                INTL PAPER CO
UCP US Equity               UCP INC - CL A
CVI US Equity               CVR ENERGY INC
ALLY US Equity              ALLY FINANCIAL I
NOW US Equity               SERVICENOW INC
MSM US Equity               MSC INDL DIRECT
LCII US Equity              LCI INDUSTRIES
9191919D US Equity          BANCORPSOUTH INC
CLR US Equity               CONTL RES INC/OK
RATE US Equity              BANKRATE INC
GES US Equity               GUESS? INC
CRY US Equity               CRYOLIFE INC
DDS US Equity               DILLARDS INC-A
IR US Equity                INGERSOLL-RAND
ROG US Equity               ROGERS CORP
TWTR US Equity              TWITTER INC
TYL US Equity               TYLER TECHNOLOG
APC US Equity               ANADARKO PETROLE
TRV US Equity               TRAVELERS COS IN
AEE US Equity               AMEREN CORP
CNS US Equity               COHEN & STEERS
BMY US Equity               BRISTOL-MYER SQB
KEM US Equity               KEMET CORP
PAG US Equity               PENSKE AUTOMOTIV
OMC US Equity               OMNICOM GROUP
REX US Equity               REX AMERICAN RES
SFE US Equity               SAFEGUARD SCIENT
MDLY US Equity              MEDLEY MANAGE-A
EPC US Equity               EDGEWELL PERSONA
MTG US Equity               MGIC INVT CORP
Y US Equity                 ALLEGHANY CORP
FFG US Equity               FBL FINL GROUP-A
GBX US Equity               GREENBRIER COS
TG US Equity                TREDEGAR CORP
DAL US Equity               DELTA AIR LI
AZO US Equity               AUTOZONE INC
VOYA US Equity              VOYA FINANCIAL I
VVC US Equity               VECTREN CORP
TNK US Equity               TEEKAY TANK-CL A



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Exhibit 10B
Perrigo Company PLC (PRGO US)
Companies Used for Bid Ask Spread Analysis on the NYSE

     Bloomberg Symbol                Company
LEG US Equity               LEGGETT & PLATT
MC US Equity                MOELIS & CO-CL A
RGA US Equity               REINSURANCE GROU
BFAM US Equity              BRIGHT HORIZONS
BOH US Equity               BANK OF HAWAII
CNO US Equity               CNO FINANCIAL GR
USM US Equity               US CELLULAR CORP
HON US Equity               HONEYWELL INTL
FNB US Equity               FNB CORP
RIG US Equity               TRANSOCEAN LTD
INVN US Equity              INVENSENSE INC
TSN US Equity               TYSON FOODS-A
RPM US Equity               RPM INTL INC
EBS US Equity               EMERGENT BIOSOLU
MTZ US Equity               MASTEC INC
SCG US Equity               SCANA CORP
KATE US Equity              KATE SPADE & CO
NWHM US Equity              NEW HOME CO INC/
HUBS US Equity              HUBSPOT INC
BEN US Equity               FRANKLIN RES INC
GM US Equity                GENERAL MOTORS C
ENV US Equity               ENVESTNET INC
BANC US Equity              BANC OF CALIFORN
ESV US Equity               ENSCO PLC-CL A
LXFR US Equity              LUXFER HOLDINGS
OA US Equity                NORTHROP GRUMMAN
BEL US Equity               BELMOND LTD-A
AVX US Equity               AVX CORP
FLT US Equity               FLEETCOR TECHNOL
BSX US Equity               BOSTON SCIENTIFC
MX US Equity                MAGNACHIP SEMICO
APD US Equity               AIR PRODS & CHEM
ABBV US Equity              ABBVIE INC
WR US Equity                WESTAR ENERGY IN
NVTA US Equity              INVITAE CORP
BIG US Equity               BIG LOTS INC
CLH US Equity               CLEAN HARBORS
TVPT US Equity              TRAVELPORT WORLD
RTEC US Equity              RUDOLPH TECHNOL
PRLB US Equity              PROTO LABS INC
STC US Equity               STEWART INFO SVC
AFL US Equity               AFLAC INC



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Exhibit 10B
Perrigo Company PLC (PRGO US)
Companies Used for Bid Ask Spread Analysis on the NYSE

     Bloomberg Symbol                Company
DPZ US Equity               DOMINO'S PIZZA
SSW US Equity               SEASPAN CORP
LB US Equity                L BRANDS INC
MRIN US Equity              MARIN SOFTWARE I
PH US Equity                PARKER HANNIFIN
AEL US Equity               AMER EQUITY INVT
TSN US Equity               TYSON FOODS-A
FCN US Equity               FTI CONSULTING
BRO US Equity               BROWN & BROWN
CDI US Equity               CDI CORP
CBI US Equity               CHICAGO BRIDGE &
AON US Equity               AON PLC
BG US Equity                BUNGE LTD
PLOW US Equity              DOUGLAS DYNAMICS
CMP US Equity               COMPASS MINERALS
ORN US Equity               ORION GROUP HOLD




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Exhibit 10C
Perrigo Company PLC (PRGO IT)
Bid Ask Spreads on the TASE
Source: Bloomberg

                 PRGO       TASE Sample            PRGO          TASE Sample
               Spread (ILS)  Spread (ILS)        Spread (%)        Spread (%)
  Average                ₪ 48            ₪ 84      0.10%             2.10%
  Median                 ₪ 30            ₪ 69      0.06%             1.69%



                                 Perrigo Stock
     Date           Last Bid     Last Ask        Spread (ILS)      Spread (%)
  4/21/2015           ₪ 76,770        ₪ 76,900           ₪ 130       0.17%
  4/26/2015           ₪ 75,100        ₪ 75,150            ₪ 50       0.07%
  4/27/2015           ₪ 75,460        ₪ 75,500            ₪ 40       0.05%
  4/28/2015           ₪ 72,510        ₪ 72,720           ₪ 210       0.29%
  4/29/2015           ₪ 72,000        ₪ 72,130           ₪ 130       0.18%
  4/30/2015           ₪ 71,300        ₪ 71,320            ₪ 20       0.03%
   5/3/2015           ₪ 72,630        ₪ 72,650            ₪ 20       0.03%
   5/4/2015           ₪ 72,440        ₪ 72,550           ₪ 110       0.15%
   5/5/2015           ₪ 72,400        ₪ 72,450            ₪ 50       0.07%
   5/6/2015           ₪ 72,600        ₪ 72,650            ₪ 50       0.07%
   5/7/2015           ₪ 74,100        ₪ 74,120            ₪ 20       0.03%
  5/10/2015           ₪ 74,780        ₪ 74,850            ₪ 70       0.09%
  5/11/2015           ₪ 74,490        ₪ 74,530            ₪ 40       0.05%
  5/12/2015           ₪ 74,320        ₪ 74,450           ₪ 130       0.17%
  5/13/2015           ₪ 74,780        ₪ 74,800            ₪ 20       0.03%
  5/14/2015           ₪ 74,320        ₪ 74,330            ₪ 10       0.01%
  5/17/2015           ₪ 73,860        ₪ 74,300           ₪ 440       0.59%
  5/18/2015           ₪ 75,390        ₪ 75,400            ₪ 10       0.01%
  5/19/2015           ₪ 76,850        ₪ 76,900            ₪ 50       0.07%
  5/20/2015           ₪ 76,540        ₪ 76,650           ₪ 110       0.14%
  5/21/2015           ₪ 75,950        ₪ 75,980            ₪ 30       0.04%
  5/25/2015           ₪ 76,560        ₪ 76,630            ₪ 70       0.09%
  5/26/2015           ₪ 76,470        ₪ 76,490            ₪ 20       0.03%
  5/27/2015           ₪ 75,600        ₪ 75,690            ₪ 90       0.12%
  5/28/2015           ₪ 74,750        ₪ 74,800            ₪ 50       0.07%
  5/31/2015           ₪ 74,250        ₪ 74,330            ₪ 80       0.11%
   6/1/2015           ₪ 74,680        ₪ 74,750            ₪ 70       0.09%
   6/2/2015           ₪ 73,800        ₪ 73,990           ₪ 190       0.26%
   6/3/2015           ₪ 74,180        ₪ 74,200            ₪ 20       0.03%
   6/4/2015           ₪ 75,140        ₪ 75,300           ₪ 160       0.21%
   6/7/2015           ₪ 74,450        ₪ 74,490            ₪ 40       0.05%
   6/8/2015           ₪ 73,250        ₪ 73,270            ₪ 20       0.03%
   6/9/2015           ₪ 72,580        ₪ 72,790           ₪ 210       0.29%
  6/10/2015           ₪ 72,130        ₪ 72,150            ₪ 20       0.03%
  6/11/2015           ₪ 72,120        ₪ 72,140            ₪ 20       0.03%
  6/14/2015           ₪ 70,300        ₪ 70,600           ₪ 300       0.43%
  6/15/2015           ₪ 70,920        ₪ 70,930            ₪ 10       0.01%


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                           Perrigo Stock
    Date      Last Bid     Last Ask        Spread (ILS)    Spread (%)
 6/16/2015      ₪ 72,620        ₪ 72,750           ₪ 130     0.18%
 6/17/2015      ₪ 72,650        ₪ 72,830           ₪ 180     0.25%
 6/18/2015      ₪ 72,020        ₪ 72,050            ₪ 30     0.04%
 6/21/2015      ₪ 71,200        ₪ 71,300           ₪ 100     0.14%
 6/22/2015      ₪ 69,880        ₪ 69,950            ₪ 70     0.10%
 6/23/2015      ₪ 71,420        ₪ 71,500            ₪ 80     0.11%
 6/24/2015      ₪ 71,000        ₪ 71,290           ₪ 290     0.41%
 6/25/2015      ₪ 72,200        ₪ 72,260            ₪ 60     0.08%
 6/28/2015      ₪ 71,450        ₪ 71,630           ₪ 180     0.25%
 6/29/2015      ₪ 70,300        ₪ 70,370            ₪ 70     0.10%
 6/30/2015      ₪ 69,700        ₪ 69,820           ₪ 120     0.17%
  7/1/2015      ₪ 71,180        ₪ 71,190            ₪ 10     0.01%
  7/2/2015      ₪ 69,920        ₪ 69,990            ₪ 70     0.10%
  7/5/2015      ₪ 69,590        ₪ 69,600            ₪ 10     0.01%
  7/6/2015      ₪ 69,080        ₪ 69,170            ₪ 90     0.13%
  7/7/2015      ₪ 69,100        ₪ 69,340           ₪ 240     0.35%
  7/8/2015      ₪ 68,840        ₪ 68,900            ₪ 60     0.09%
  7/9/2015      ₪ 68,900        ₪ 68,920            ₪ 20     0.03%
 7/12/2015      ₪ 68,350        ₪ 68,390            ₪ 40     0.06%
 7/13/2015      ₪ 69,010        ₪ 69,040            ₪ 30     0.04%
 7/14/2015      ₪ 70,030        ₪ 70,200           ₪ 170     0.24%
 7/15/2015      ₪ 70,150        ₪ 70,250           ₪ 100     0.14%
 7/16/2015      ₪ 70,600        ₪ 70,610            ₪ 10     0.01%
 7/19/2015      ₪ 71,220        ₪ 71,250            ₪ 30     0.04%
 7/20/2015      ₪ 70,960        ₪ 70,970            ₪ 10     0.01%
 7/21/2015      ₪ 70,820        ₪ 70,840            ₪ 20     0.03%
 7/22/2015      ₪ 71,860        ₪ 71,900            ₪ 40     0.06%
 7/23/2015      ₪ 72,410        ₪ 72,430            ₪ 20     0.03%
 7/27/2015      ₪ 73,010        ₪ 73,050            ₪ 40     0.05%
 7/28/2015      ₪ 71,330        ₪ 71,540           ₪ 210     0.29%
 7/29/2015      ₪ 72,960        ₪ 72,970            ₪ 10     0.01%
 7/30/2015      ₪ 73,150        ₪ 73,170            ₪ 20     0.03%
  8/2/2015      ₪ 72,270        ₪ 72,450           ₪ 180     0.25%
  8/3/2015      ₪ 72,450        ₪ 72,820           ₪ 370     0.51%
  8/4/2015      ₪ 72,410        ₪ 72,440            ₪ 30     0.04%
  8/5/2015      ₪ 72,330        ₪ 72,340            ₪ 10     0.01%
  8/6/2015      ₪ 70,070        ₪ 70,090            ₪ 20     0.03%
  8/9/2015      ₪ 72,400        ₪ 72,550           ₪ 150     0.21%
 8/10/2015      ₪ 73,260        ₪ 73,470           ₪ 210     0.29%
 8/11/2015      ₪ 73,650        ₪ 73,800           ₪ 150     0.20%
 8/12/2015      ₪ 71,950        ₪ 71,990            ₪ 40     0.06%
 8/13/2015      ₪ 72,380        ₪ 72,420            ₪ 40     0.06%
 8/16/2015      ₪ 73,850        ₪ 74,000           ₪ 150     0.20%
 8/17/2015      ₪ 75,360        ₪ 75,400            ₪ 40     0.05%
 8/18/2015      ₪ 75,890        ₪ 75,920            ₪ 30     0.04%


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                           Perrigo Stock
     Date     Last Bid     Last Ask        Spread (ILS)    Spread (%)
  8/19/2015     ₪ 75,790        ₪ 76,090           ₪ 300     0.40%
  8/20/2015     ₪ 75,070        ₪ 75,090            ₪ 20     0.03%
  8/23/2015     ₪ 71,620        ₪ 71,650            ₪ 30     0.04%
  8/24/2015     ₪ 69,990        ₪ 70,000            ₪ 10     0.01%
  8/25/2015     ₪ 70,440        ₪ 70,490            ₪ 50     0.07%
  8/26/2015     ₪ 70,550        ₪ 70,700           ₪ 150     0.21%
  8/27/2015     ₪ 72,950        ₪ 72,980            ₪ 30     0.04%
  8/30/2015     ₪ 72,310        ₪ 72,340            ₪ 30     0.04%
  8/31/2015     ₪ 71,550        ₪ 71,570            ₪ 20     0.03%
   9/1/2015     ₪ 70,770        ₪ 71,000           ₪ 230     0.32%
   9/2/2015     ₪ 70,220        ₪ 70,230            ₪ 10     0.01%
   9/3/2015     ₪ 71,450        ₪ 71,560           ₪ 110     0.15%
   9/6/2015     ₪ 70,480        ₪ 70,600           ₪ 120     0.17%
   9/7/2015     ₪ 70,380        ₪ 70,500           ₪ 120     0.17%
   9/8/2015     ₪ 70,740        ₪ 70,770            ₪ 30     0.04%
   9/9/2015     ₪ 70,260        ₪ 70,620           ₪ 360     0.51%
  9/10/2015     ₪ 68,600        ₪ 68,700           ₪ 100     0.15%
  9/16/2015     ₪ 69,360        ₪ 69,410            ₪ 50     0.07%
  9/17/2015     ₪ 70,840        ₪ 70,860            ₪ 20     0.03%
  9/20/2015     ₪ 69,390        ₪ 69,400            ₪ 10     0.01%
  9/21/2015     ₪ 69,700        ₪ 69,710            ₪ 10     0.01%
  9/24/2015     ₪ 66,170        ₪ 66,200            ₪ 30     0.05%
  9/29/2015     ₪ 60,770        ₪ 60,800            ₪ 30     0.05%
  9/30/2015     ₪ 61,600        ₪ 61,870           ₪ 270     0.44%
  10/1/2015     ₪ 62,560        ₪ 62,900           ₪ 340     0.54%
  10/6/2015     ₪ 62,420        ₪ 62,430            ₪ 10     0.02%
  10/7/2015     ₪ 61,320        ₪ 61,400            ₪ 80     0.13%
  10/8/2015     ₪ 59,910        ₪ 60,000            ₪ 90     0.15%
 10/11/2015     ₪ 61,930        ₪ 62,000            ₪ 70     0.11%
 10/12/2015     ₪ 61,450        ₪ 61,460            ₪ 10     0.02%
 10/13/2015     ₪ 62,690        ₪ 62,720            ₪ 30     0.05%
 10/14/2015     ₪ 61,100        ₪ 61,240           ₪ 140     0.23%
 10/15/2015     ₪ 61,900        ₪ 61,980            ₪ 80     0.13%
 10/18/2015     ₪ 63,340        ₪ 63,350            ₪ 10     0.02%
 10/19/2015     ₪ 63,880        ₪ 64,000           ₪ 120     0.19%
 10/20/2015     ₪ 63,450        ₪ 63,600           ₪ 150     0.24%
 10/21/2015     ₪ 61,200        ₪ 61,210            ₪ 10     0.02%
 10/22/2015     ₪ 58,810        ₪ 58,820            ₪ 10     0.02%
 10/25/2015     ₪ 59,280        ₪ 59,300            ₪ 20     0.03%
 10/26/2015     ₪ 59,240        ₪ 59,300            ₪ 60     0.10%
 10/27/2015     ₪ 60,000        ₪ 60,040            ₪ 40     0.07%
 10/28/2015     ₪ 61,110        ₪ 61,300           ₪ 190     0.31%
 10/29/2015     ₪ 63,970        ₪ 63,980            ₪ 10     0.02%
  11/1/2015     ₪ 61,130        ₪ 61,140            ₪ 10     0.02%


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                           Perrigo Stock
    Date      Last Bid     Last Ask        Spread (ILS)    Spread (%)
  11/2/2015     ₪ 61,900        ₪ 61,920            ₪ 20     0.03%
  11/3/2015     ₪ 61,500        ₪ 61,550            ₪ 50     0.08%
  11/4/2015     ₪ 62,790        ₪ 62,850            ₪ 60     0.10%
  11/5/2015     ₪ 62,600        ₪ 62,650            ₪ 50     0.08%
  11/8/2015     ₪ 63,580        ₪ 63,600            ₪ 20     0.03%
  11/9/2015     ₪ 62,770        ₪ 62,800            ₪ 30     0.05%
 11/10/2015     ₪ 62,260        ₪ 62,300            ₪ 40     0.06%
 11/11/2015     ₪ 64,050        ₪ 64,220           ₪ 170     0.27%
 11/12/2015     ₪ 63,110        ₪ 63,220           ₪ 110     0.17%
 11/15/2015     ₪ 57,900        ₪ 57,950            ₪ 50     0.09%
 11/16/2015     ₪ 59,000        ₪ 59,050            ₪ 50     0.08%
 11/17/2015     ₪ 59,640        ₪ 59,850           ₪ 210     0.35%
 11/18/2015     ₪ 59,940        ₪ 59,970            ₪ 30     0.05%
 11/19/2015     ₪ 59,940        ₪ 59,950            ₪ 10     0.02%
 11/22/2015     ₪ 60,450        ₪ 60,500            ₪ 50     0.08%
 11/23/2015     ₪ 60,070        ₪ 60,130            ₪ 60     0.10%
 11/24/2015     ₪ 57,150        ₪ 57,170            ₪ 20     0.03%
 11/25/2015     ₪ 58,280        ₪ 58,500           ₪ 220     0.38%
 11/26/2015     ₪ 58,320        ₪ 58,330            ₪ 10     0.02%
 11/29/2015     ₪ 58,410        ₪ 58,420            ₪ 10     0.02%
 11/30/2015     ₪ 57,700        ₪ 57,720            ₪ 20     0.03%
  12/1/2015     ₪ 57,400        ₪ 57,470            ₪ 70     0.12%
  12/2/2015     ₪ 58,050        ₪ 58,180           ₪ 130     0.22%
  12/3/2015     ₪ 56,290        ₪ 56,300            ₪ 10     0.02%
  12/6/2015     ₪ 56,670        ₪ 56,700            ₪ 30     0.05%
  12/7/2015     ₪ 56,800        ₪ 56,860            ₪ 60     0.11%
  12/8/2015     ₪ 57,150        ₪ 57,160            ₪ 10     0.02%
  12/9/2015     ₪ 57,470        ₪ 57,480            ₪ 10     0.02%
 12/10/2015     ₪ 57,600        ₪ 57,750           ₪ 150     0.26%
 12/13/2015     ₪ 57,090        ₪ 57,150            ₪ 60     0.11%
 12/14/2015     ₪ 57,340        ₪ 57,410            ₪ 70     0.12%
 12/15/2015     ₪ 57,670        ₪ 57,680            ₪ 10     0.02%
 12/16/2015     ₪ 58,010        ₪ 58,030            ₪ 20     0.03%
 12/17/2015     ₪ 57,740        ₪ 57,750            ₪ 10     0.02%
 12/20/2015     ₪ 56,300        ₪ 56,350            ₪ 50     0.09%
 12/21/2015     ₪ 56,030        ₪ 56,090            ₪ 60     0.11%
 12/22/2015     ₪ 56,530        ₪ 56,550            ₪ 20     0.04%
 12/23/2015     ₪ 57,400        ₪ 57,440            ₪ 40     0.07%
 12/24/2015     ₪ 57,580        ₪ 57,600            ₪ 20     0.03%
 12/27/2015     ₪ 57,590        ₪ 57,610            ₪ 20     0.03%
 12/28/2015     ₪ 56,680        ₪ 56,690            ₪ 10     0.02%
 12/29/2015     ₪ 56,670        ₪ 56,850           ₪ 180     0.32%
 12/30/2015     ₪ 56,740        ₪ 56,800            ₪ 60     0.11%
 12/31/2015     ₪ 56,490        ₪ 56,500            ₪ 10     0.02%


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                           Perrigo Stock
    Date      Last Bid     Last Ask        Spread (ILS)    Spread (%)
  1/3/2016      ₪ 56,600        ₪ 56,650            ₪ 50     0.09%
  1/4/2016      ₪ 55,940        ₪ 56,010            ₪ 70     0.13%
  1/5/2016      ₪ 56,870        ₪ 56,880            ₪ 10     0.02%
  1/6/2016      ₪ 56,860        ₪ 56,970           ₪ 110     0.19%
  1/7/2016      ₪ 56,190        ₪ 56,240            ₪ 50     0.09%
 1/10/2016      ₪ 55,300        ₪ 55,320            ₪ 20     0.04%
 1/11/2016      ₪ 55,320        ₪ 55,340            ₪ 20     0.04%
 1/12/2016      ₪ 57,000        ₪ 57,020            ₪ 20     0.04%
 1/13/2016      ₪ 57,890        ₪ 57,970            ₪ 80     0.14%
 1/14/2016      ₪ 56,050        ₪ 56,090            ₪ 40     0.07%
 1/17/2016      ₪ 57,270        ₪ 57,280            ₪ 10     0.02%
 1/18/2016      ₪ 57,620        ₪ 57,640            ₪ 20     0.03%
 1/19/2016      ₪ 57,800        ₪ 57,810            ₪ 10     0.02%
 1/20/2016      ₪ 57,060        ₪ 57,220           ₪ 160     0.28%
 1/21/2016      ₪ 58,250        ₪ 58,260            ₪ 10     0.02%
 1/24/2016      ₪ 59,350        ₪ 59,360            ₪ 10     0.02%
 1/25/2016      ₪ 59,600        ₪ 59,620            ₪ 20     0.03%
 1/26/2016      ₪ 59,300        ₪ 59,310            ₪ 10     0.02%
 1/27/2016      ₪ 58,350        ₪ 58,360            ₪ 10     0.02%
 1/28/2016      ₪ 55,910        ₪ 56,120           ₪ 210     0.37%
 1/31/2016      ₪ 56,910        ₪ 56,950            ₪ 40     0.07%
  2/1/2016      ₪ 56,740        ₪ 56,800            ₪ 60     0.11%
  2/2/2016      ₪ 56,280        ₪ 56,300            ₪ 20     0.04%
  2/3/2016      ₪ 56,420        ₪ 56,570           ₪ 150     0.27%
  2/4/2016      ₪ 57,470        ₪ 57,480            ₪ 10     0.02%
  2/7/2016      ₪ 55,940        ₪ 55,950            ₪ 10     0.02%
  2/8/2016      ₪ 54,410        ₪ 54,470            ₪ 60     0.11%
  2/9/2016      ₪ 53,730        ₪ 53,740            ₪ 10     0.02%
 2/10/2016      ₪ 53,720        ₪ 53,790            ₪ 70     0.13%
 2/11/2016      ₪ 52,760        ₪ 52,820            ₪ 60     0.11%
 2/14/2016      ₪ 53,320        ₪ 53,340            ₪ 20     0.04%
 2/15/2016      ₪ 54,310        ₪ 54,320            ₪ 10     0.02%
 2/16/2016      ₪ 54,520        ₪ 54,550            ₪ 30     0.06%
 2/17/2016      ₪ 56,430        ₪ 56,450            ₪ 20     0.04%
 2/18/2016      ₪ 51,450        ₪ 51,460            ₪ 10     0.02%
 2/21/2016      ₪ 50,530        ₪ 50,550            ₪ 20     0.04%
 2/22/2016      ₪ 48,300        ₪ 48,330            ₪ 30     0.06%
 2/23/2016      ₪ 48,460        ₪ 48,500            ₪ 40     0.08%
 2/24/2016      ₪ 48,900        ₪ 48,980            ₪ 80     0.16%
 2/25/2016      ₪ 49,390        ₪ 49,450            ₪ 60     0.12%
 2/28/2016      ₪ 50,440        ₪ 50,450            ₪ 10     0.02%
 2/29/2016      ₪ 49,840        ₪ 49,920            ₪ 80     0.16%
  3/1/2016      ₪ 48,860        ₪ 48,930            ₪ 70     0.14%
  3/2/2016      ₪ 48,750        ₪ 48,770            ₪ 20     0.04%


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                           Perrigo Stock
    Date      Last Bid     Last Ask        Spread (ILS)    Spread (%)
  3/3/2016      ₪ 48,750        ₪ 48,760            ₪ 10     0.02%
  3/6/2016      ₪ 49,290        ₪ 49,330            ₪ 40     0.08%
  3/7/2016      ₪ 49,720        ₪ 49,730            ₪ 10     0.02%
  3/8/2016      ₪ 50,650        ₪ 50,670            ₪ 20     0.04%
  3/9/2016      ₪ 50,920        ₪ 50,970            ₪ 50     0.10%
 3/10/2016      ₪ 51,600        ₪ 51,700           ₪ 100     0.19%
 3/13/2016      ₪ 53,090        ₪ 53,100            ₪ 10     0.02%
 3/14/2016      ₪ 54,160        ₪ 54,200            ₪ 40     0.07%
 3/15/2016      ₪ 53,150        ₪ 53,170            ₪ 20     0.04%
 3/16/2016      ₪ 52,360        ₪ 52,380            ₪ 20     0.04%
 3/17/2016      ₪ 50,110        ₪ 50,150            ₪ 40     0.08%
 3/20/2016      ₪ 49,420        ₪ 49,470            ₪ 50     0.10%
 3/21/2016      ₪ 50,030        ₪ 50,060            ₪ 30     0.06%
 3/22/2016      ₪ 50,950        ₪ 50,970            ₪ 20     0.04%
 3/23/2016      ₪ 50,150        ₪ 50,190            ₪ 40     0.08%
 3/27/2016      ₪ 49,950        ₪ 49,970            ₪ 20     0.04%
 3/28/2016      ₪ 49,330        ₪ 49,340            ₪ 10     0.02%
 3/29/2016      ₪ 48,320        ₪ 48,380            ₪ 60     0.12%
 3/30/2016      ₪ 49,220        ₪ 49,260            ₪ 40     0.08%
 3/31/2016      ₪ 48,520        ₪ 48,590            ₪ 70     0.14%
  4/3/2016      ₪ 48,050        ₪ 48,080            ₪ 30     0.06%
  4/4/2016      ₪ 48,720        ₪ 48,770            ₪ 50     0.10%
  4/5/2016      ₪ 47,960        ₪ 48,100           ₪ 140     0.29%
  4/6/2016      ₪ 49,680        ₪ 49,700            ₪ 20     0.04%
  4/7/2016      ₪ 50,190        ₪ 50,210            ₪ 20     0.04%
 4/10/2016      ₪ 48,530        ₪ 48,550            ₪ 20     0.04%
 4/11/2016      ₪ 48,070        ₪ 48,080            ₪ 10     0.02%
 4/12/2016      ₪ 47,390        ₪ 47,400            ₪ 10     0.02%
 4/13/2016      ₪ 47,950        ₪ 48,040            ₪ 90     0.19%
 4/14/2016      ₪ 48,390        ₪ 48,400            ₪ 10     0.02%
 4/17/2016      ₪ 48,580        ₪ 48,650            ₪ 70     0.14%
 4/18/2016      ₪ 48,460        ₪ 48,480            ₪ 20     0.04%
 4/19/2016      ₪ 48,660        ₪ 48,690            ₪ 30     0.06%
 4/20/2016      ₪ 49,430        ₪ 49,440            ₪ 10     0.02%
 4/21/2016      ₪ 48,240        ₪ 48,260            ₪ 20     0.04%
 4/24/2016      ₪ 46,110        ₪ 46,120            ₪ 10     0.02%
 4/25/2016      ₪ 45,510        ₪ 45,520            ₪ 10     0.02%
 4/26/2016      ₪ 36,880        ₪ 36,890            ₪ 10     0.03%
 4/27/2016      ₪ 37,370        ₪ 37,380            ₪ 10     0.03%
  5/1/2016      ₪ 36,050        ₪ 36,090            ₪ 40     0.11%
  5/2/2016      ₪ 36,110        ₪ 36,130            ₪ 20     0.06%
  5/3/2016      ₪ 36,250        ₪ 36,300            ₪ 50     0.14%
  5/4/2016      ₪ 36,350        ₪ 36,380            ₪ 30     0.08%
  5/5/2016      ₪ 36,650        ₪ 36,670            ₪ 20     0.05%


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                           Perrigo Stock
    Date      Last Bid     Last Ask        Spread (ILS)    Spread (%)
  5/8/2016      ₪ 34,910        ₪ 34,930            ₪ 20     0.06%
  5/9/2016      ₪ 35,570        ₪ 35,590            ₪ 20     0.06%
 5/10/2016      ₪ 35,400        ₪ 35,480            ₪ 80     0.23%
 5/15/2016      ₪ 33,540        ₪ 33,550            ₪ 10     0.03%
 5/16/2016      ₪ 33,990        ₪ 34,000            ₪ 10     0.03%
 5/17/2016      ₪ 34,140        ₪ 34,150            ₪ 10     0.03%
 5/18/2016      ₪ 35,800        ₪ 35,810            ₪ 10     0.03%
 5/19/2016      ₪ 35,640        ₪ 35,660            ₪ 20     0.06%
 5/22/2016      ₪ 36,850        ₪ 36,880            ₪ 30     0.08%
 5/23/2016      ₪ 36,220        ₪ 36,370           ₪ 150     0.41%
 5/24/2016      ₪ 36,480        ₪ 36,610           ₪ 130     0.36%
 5/25/2016      ₪ 37,040        ₪ 37,090            ₪ 50     0.13%
 5/26/2016      ₪ 36,930        ₪ 36,960            ₪ 30     0.08%
 5/29/2016      ₪ 37,240        ₪ 37,320            ₪ 80     0.21%
 5/30/2016      ₪ 37,400        ₪ 37,430            ₪ 30     0.08%
 5/31/2016      ₪ 37,220        ₪ 37,240            ₪ 20     0.05%
  6/1/2016      ₪ 37,140        ₪ 37,160            ₪ 20     0.05%
  6/2/2016      ₪ 37,430        ₪ 37,440            ₪ 10     0.03%
  6/5/2016      ₪ 37,660        ₪ 37,670            ₪ 10     0.03%
  6/6/2016      ₪ 37,600        ₪ 37,650            ₪ 50     0.13%
  6/7/2016      ₪ 37,650        ₪ 37,680            ₪ 30     0.08%
  6/8/2016      ₪ 38,310        ₪ 38,350            ₪ 40     0.10%
  6/9/2016      ₪ 39,000        ₪ 39,010            ₪ 10     0.03%
 6/13/2016      ₪ 38,250        ₪ 38,260            ₪ 10     0.03%
 6/14/2016      ₪ 38,700        ₪ 38,730            ₪ 30     0.08%
 6/15/2016      ₪ 40,570        ₪ 40,580            ₪ 10     0.02%
 6/16/2016      ₪ 38,330        ₪ 38,340            ₪ 10     0.03%
 6/19/2016      ₪ 37,950        ₪ 37,980            ₪ 30     0.08%
 6/20/2016      ₪ 37,270        ₪ 37,280            ₪ 10     0.03%
 6/21/2016      ₪ 37,200        ₪ 37,210            ₪ 10     0.03%
 6/22/2016      ₪ 36,860        ₪ 36,950            ₪ 90     0.24%
 6/23/2016      ₪ 36,070        ₪ 36,100            ₪ 30     0.08%
 6/26/2016      ₪ 35,220        ₪ 35,230            ₪ 10     0.03%
 6/27/2016      ₪ 34,880        ₪ 34,950            ₪ 70     0.20%
 6/28/2016      ₪ 34,040        ₪ 34,050            ₪ 10     0.03%
 6/29/2016      ₪ 34,430        ₪ 34,440            ₪ 10     0.03%
 6/30/2016      ₪ 34,500        ₪ 34,550            ₪ 50     0.14%
  7/3/2016      ₪ 34,820        ₪ 34,850            ₪ 30     0.09%
  7/4/2016      ₪ 35,150        ₪ 35,160            ₪ 10     0.03%
  7/5/2016      ₪ 35,360        ₪ 35,370            ₪ 10     0.03%
  7/6/2016      ₪ 35,380        ₪ 35,420            ₪ 40     0.11%
  7/7/2016      ₪ 36,020        ₪ 36,050            ₪ 30     0.08%
 7/10/2016      ₪ 36,500        ₪ 36,530            ₪ 30     0.08%
 7/11/2016      ₪ 36,300        ₪ 36,450           ₪ 150     0.41%


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                           Perrigo Stock
    Date      Last Bid     Last Ask        Spread (ILS)    Spread (%)
 7/12/2016      ₪ 36,500        ₪ 36,530            ₪ 30     0.08%
 7/13/2016      ₪ 37,210        ₪ 37,220            ₪ 10     0.03%
 7/14/2016      ₪ 36,440        ₪ 36,460            ₪ 20     0.05%
 7/17/2016      ₪ 36,630        ₪ 36,780           ₪ 150     0.41%
 7/18/2016      ₪ 36,140        ₪ 36,170            ₪ 30     0.08%
 7/19/2016      ₪ 35,970        ₪ 35,980            ₪ 10     0.03%
 7/20/2016      ₪ 36,600        ₪ 36,620            ₪ 20     0.05%
 7/21/2016      ₪ 36,390        ₪ 36,400            ₪ 10     0.03%
 7/24/2016      ₪ 35,490        ₪ 35,500            ₪ 10     0.03%
 7/25/2016      ₪ 35,590        ₪ 35,700           ₪ 110     0.31%
 7/26/2016      ₪ 35,030        ₪ 35,050            ₪ 20     0.06%
 7/27/2016      ₪ 35,070        ₪ 35,130            ₪ 60     0.17%
 7/28/2016      ₪ 34,580        ₪ 34,700           ₪ 120     0.35%
 7/31/2016      ₪ 35,050        ₪ 35,080            ₪ 30     0.09%
  8/1/2016      ₪ 34,750        ₪ 34,800            ₪ 50     0.14%
  8/2/2016      ₪ 34,650        ₪ 34,680            ₪ 30     0.09%
  8/3/2016      ₪ 35,170        ₪ 35,210            ₪ 40     0.11%
  8/4/2016      ₪ 35,950        ₪ 35,980            ₪ 30     0.08%
  8/7/2016      ₪ 35,780        ₪ 35,880           ₪ 100     0.28%
  8/8/2016      ₪ 35,870        ₪ 35,940            ₪ 70     0.19%
  8/9/2016      ₪ 36,000        ₪ 36,020            ₪ 20     0.06%
 8/10/2016      ₪ 32,300        ₪ 32,330            ₪ 30     0.09%
 8/11/2016      ₪ 32,700        ₪ 32,710            ₪ 10     0.03%
 8/15/2016      ₪ 33,430        ₪ 33,450            ₪ 20     0.06%
 8/16/2016      ₪ 33,450        ₪ 33,490            ₪ 40     0.12%
 8/17/2016      ₪ 33,600        ₪ 33,700           ₪ 100     0.30%
 8/18/2016      ₪ 33,620        ₪ 33,670            ₪ 50     0.15%
 8/21/2016      ₪ 34,640        ₪ 34,710            ₪ 70     0.20%
 8/22/2016      ₪ 34,840        ₪ 34,850            ₪ 10     0.03%
 8/23/2016      ₪ 34,480        ₪ 34,490            ₪ 10     0.03%
 8/24/2016      ₪ 34,470        ₪ 34,490            ₪ 20     0.06%
 8/25/2016      ₪ 33,610        ₪ 33,660            ₪ 50     0.15%
 8/28/2016      ₪ 33,250        ₪ 33,260            ₪ 10     0.03%
 8/29/2016      ₪ 33,360        ₪ 33,400            ₪ 40     0.12%
 8/30/2016      ₪ 34,140        ₪ 34,230            ₪ 90     0.26%
 8/31/2016      ₪ 34,290        ₪ 34,300            ₪ 10     0.03%
  9/1/2016      ₪ 34,680        ₪ 34,690            ₪ 10     0.03%
  9/4/2016      ₪ 34,050        ₪ 34,060            ₪ 10     0.03%
  9/5/2016      ₪ 34,170        ₪ 34,290           ₪ 120     0.35%
  9/6/2016      ₪ 34,750        ₪ 34,800            ₪ 50     0.14%
  9/7/2016      ₪ 34,300        ₪ 34,350            ₪ 50     0.15%
  9/8/2016      ₪ 33,900        ₪ 34,000           ₪ 100     0.29%
 9/11/2016      ₪ 33,170        ₪ 33,190            ₪ 20     0.06%
 9/12/2016      ₪ 34,780        ₪ 34,790            ₪ 10     0.03%


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                           Perrigo Stock
     Date     Last Bid     Last Ask        Spread (ILS)    Spread (%)
  9/13/2016     ₪ 35,250        ₪ 35,280            ₪ 30     0.09%
  9/14/2016     ₪ 35,890        ₪ 36,000           ₪ 110     0.31%
  9/15/2016     ₪ 34,920        ₪ 34,930            ₪ 10     0.03%
  9/18/2016     ₪ 35,270        ₪ 35,280            ₪ 10     0.03%
  9/19/2016     ₪ 35,320        ₪ 35,340            ₪ 20     0.06%
  9/20/2016     ₪ 35,150        ₪ 35,240            ₪ 90     0.26%
  9/21/2016     ₪ 35,060        ₪ 35,080            ₪ 20     0.06%
  9/22/2016     ₪ 35,760        ₪ 35,770            ₪ 10     0.03%
  9/25/2016     ₪ 36,360        ₪ 36,370            ₪ 10     0.03%
  9/26/2016     ₪ 35,910        ₪ 35,920            ₪ 10     0.03%
  9/27/2016     ₪ 35,830        ₪ 35,840            ₪ 10     0.03%
  9/28/2016     ₪ 36,150        ₪ 36,180            ₪ 30     0.08%
  9/29/2016     ₪ 36,340        ₪ 36,350            ₪ 10     0.03%
  10/5/2016     ₪ 36,210        ₪ 36,240            ₪ 30     0.08%
  10/6/2016     ₪ 36,010        ₪ 36,040            ₪ 30     0.08%
  10/9/2016     ₪ 34,670        ₪ 34,680            ₪ 10     0.03%
 10/10/2016     ₪ 34,660        ₪ 34,680            ₪ 20     0.06%
 10/13/2016     ₪ 33,590        ₪ 33,600            ₪ 10     0.03%
 10/18/2016     ₪ 33,350        ₪ 33,440            ₪ 90     0.27%
 10/19/2016     ₪ 33,600        ₪ 33,620            ₪ 20     0.06%
 10/20/2016     ₪ 34,020        ₪ 34,040            ₪ 20     0.06%
 10/25/2016     ₪ 34,750        ₪ 34,800            ₪ 50     0.14%
 10/26/2016     ₪ 34,750        ₪ 34,800            ₪ 50     0.14%
 10/27/2016     ₪ 34,880        ₪ 34,940            ₪ 60     0.17%
 10/30/2016     ₪ 33,220        ₪ 33,230            ₪ 10     0.03%
 10/31/2016     ₪ 32,260        ₪ 32,290            ₪ 30     0.09%
  11/1/2016     ₪ 32,070        ₪ 32,100            ₪ 30     0.09%
  11/2/2016     ₪ 32,160        ₪ 32,170            ₪ 10     0.03%
  11/3/2016     ₪ 32,080        ₪ 32,090            ₪ 10     0.03%
  11/6/2016     ₪ 31,780        ₪ 31,790            ₪ 10     0.03%
  11/7/2016     ₪ 31,850        ₪ 31,870            ₪ 20     0.06%
  11/8/2016     ₪ 30,740        ₪ 30,780            ₪ 40     0.13%
  11/9/2016     ₪ 31,140        ₪ 31,150            ₪ 10     0.03%
 11/10/2016     ₪ 33,800        ₪ 33,820            ₪ 20     0.06%
 11/13/2016     ₪ 34,170        ₪ 34,200            ₪ 30     0.09%
 11/14/2016     ₪ 35,010        ₪ 35,020            ₪ 10     0.03%
 11/15/2016     ₪ 33,690        ₪ 33,700            ₪ 10     0.03%
 11/16/2016     ₪ 33,700        ₪ 33,720            ₪ 20     0.06%
 11/17/2016     ₪ 33,130        ₪ 33,140            ₪ 10     0.03%
 11/20/2016     ₪ 33,900        ₪ 33,910            ₪ 10     0.03%
 11/21/2016     ₪ 34,310        ₪ 34,350            ₪ 40     0.12%
 11/22/2016     ₪ 34,380        ₪ 34,400            ₪ 20     0.06%
 11/23/2016     ₪ 34,290        ₪ 34,310            ₪ 20     0.06%
 11/24/2016     ₪ 34,380        ₪ 34,410            ₪ 30     0.09%


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                           Perrigo Stock
     Date     Last Bid     Last Ask        Spread (ILS)    Spread (%)
 11/27/2016     ₪ 33,920        ₪ 33,940            ₪ 20     0.06%
 11/28/2016     ₪ 33,460        ₪ 33,470            ₪ 10     0.03%
 11/29/2016     ₪ 33,620        ₪ 33,660            ₪ 40     0.12%
 11/30/2016     ₪ 33,090        ₪ 33,100            ₪ 10     0.03%
  12/1/2016     ₪ 33,180        ₪ 33,190            ₪ 10     0.03%
  12/4/2016     ₪ 32,900        ₪ 32,940            ₪ 40     0.12%
  12/5/2016     ₪ 32,880        ₪ 32,890            ₪ 10     0.03%
  12/6/2016     ₪ 31,750        ₪ 31,780            ₪ 30     0.09%
  12/7/2016     ₪ 31,660        ₪ 31,670            ₪ 10     0.03%
  12/8/2016     ₪ 31,290        ₪ 31,300            ₪ 10     0.03%
 12/11/2016     ₪ 31,460        ₪ 31,480            ₪ 20     0.06%
 12/12/2016     ₪ 31,340        ₪ 31,350            ₪ 10     0.03%
 12/13/2016     ₪ 31,670        ₪ 31,700            ₪ 30     0.09%
 12/14/2016     ₪ 31,650        ₪ 31,670            ₪ 20     0.06%
 12/15/2016     ₪ 31,870        ₪ 31,950            ₪ 80     0.25%
 12/18/2016     ₪ 31,920        ₪ 31,950            ₪ 30     0.09%
 12/19/2016     ₪ 32,960        ₪ 32,970            ₪ 10     0.03%
 12/20/2016     ₪ 32,650        ₪ 32,670            ₪ 20     0.06%
 12/21/2016     ₪ 32,330        ₪ 32,390            ₪ 60     0.19%
 12/22/2016     ₪ 32,280        ₪ 32,310            ₪ 30     0.09%
 12/25/2016     ₪ 32,220        ₪ 32,230            ₪ 10     0.03%
 12/26/2016     ₪ 32,130        ₪ 32,140            ₪ 10     0.03%
 12/27/2016     ₪ 33,010        ₪ 33,080            ₪ 70     0.21%
 12/28/2016     ₪ 32,430        ₪ 32,450            ₪ 20     0.06%
 12/29/2016     ₪ 31,930        ₪ 31,940            ₪ 10     0.03%
   1/1/2017     ₪ 32,350        ₪ 32,420            ₪ 70     0.22%
   1/2/2017     ₪ 32,450        ₪ 32,470            ₪ 20     0.06%
   1/3/2017     ₪ 33,000        ₪ 33,050            ₪ 50     0.15%
   1/4/2017     ₪ 33,020        ₪ 33,050            ₪ 30     0.09%
   1/5/2017     ₪ 33,030        ₪ 33,040            ₪ 10     0.03%
   1/8/2017     ₪ 32,600        ₪ 32,620            ₪ 20     0.06%
   1/9/2017     ₪ 32,660        ₪ 32,680            ₪ 20     0.06%
  1/10/2017     ₪ 32,470        ₪ 32,500            ₪ 30     0.09%
  1/11/2017     ₪ 30,800        ₪ 30,820            ₪ 20     0.06%
  1/12/2017     ₪ 29,900        ₪ 29,910            ₪ 10     0.03%
  1/15/2017     ₪ 29,490        ₪ 29,500            ₪ 10     0.03%
  1/16/2017     ₪ 29,470        ₪ 29,480            ₪ 10     0.03%
  1/17/2017     ₪ 29,150        ₪ 29,160            ₪ 10     0.03%
  1/18/2017     ₪ 28,750        ₪ 28,780            ₪ 30     0.10%
  1/19/2017     ₪ 29,110        ₪ 29,130            ₪ 20     0.07%
  1/22/2017     ₪ 28,460        ₪ 28,480            ₪ 20     0.07%
  1/23/2017     ₪ 27,750        ₪ 27,790            ₪ 40     0.14%
  1/24/2017     ₪ 27,520        ₪ 27,530            ₪ 10     0.04%
  1/25/2017     ₪ 27,380        ₪ 27,400            ₪ 20     0.07%


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Exhibit 10C

                           Perrigo Stock
    Date      Last Bid     Last Ask        Spread (ILS)    Spread (%)
 1/26/2017      ₪ 27,360        ₪ 27,370            ₪ 10     0.04%
 1/29/2017      ₪ 27,930        ₪ 27,950            ₪ 20     0.07%
 1/30/2017      ₪ 27,800        ₪ 27,840            ₪ 40     0.14%
 1/31/2017      ₪ 28,020        ₪ 28,030            ₪ 10     0.04%
  2/1/2017      ₪ 28,730        ₪ 28,750            ₪ 20     0.07%
  2/2/2017      ₪ 29,330        ₪ 29,340            ₪ 10     0.03%
  2/5/2017      ₪ 28,900        ₪ 28,930            ₪ 30     0.10%
  2/6/2017      ₪ 29,110        ₪ 29,120            ₪ 10     0.03%
  2/7/2017      ₪ 29,500        ₪ 29,510            ₪ 10     0.03%
  2/8/2017      ₪ 29,110        ₪ 29,130            ₪ 20     0.07%
  2/9/2017      ₪ 29,500        ₪ 29,600           ₪ 100     0.34%
 2/12/2017      ₪ 30,000        ₪ 30,010            ₪ 10     0.03%
 2/13/2017      ₪ 30,040        ₪ 30,110            ₪ 70     0.23%
 2/14/2017      ₪ 30,140        ₪ 30,150            ₪ 10     0.03%
 2/15/2017      ₪ 30,860        ₪ 30,870            ₪ 10     0.03%
 2/16/2017      ₪ 31,000        ₪ 31,010            ₪ 10     0.03%
 2/19/2017      ₪ 31,420        ₪ 31,430            ₪ 10     0.03%
 2/20/2017      ₪ 31,120        ₪ 31,140            ₪ 20     0.06%
 2/21/2017      ₪ 31,070        ₪ 31,100            ₪ 30     0.10%
 2/22/2017      ₪ 31,160        ₪ 31,220            ₪ 60     0.19%
 2/23/2017      ₪ 31,030        ₪ 31,050            ₪ 20     0.06%
 2/26/2017      ₪ 31,000        ₪ 31,100           ₪ 100     0.32%
 2/27/2017      ₪ 30,500        ₪ 30,510            ₪ 10     0.03%
 2/28/2017      ₪ 27,220        ₪ 27,230            ₪ 10     0.04%
  3/1/2017      ₪ 27,300        ₪ 27,310            ₪ 10     0.04%
  3/2/2017      ₪ 27,250        ₪ 27,300            ₪ 50     0.18%
  3/5/2017      ₪ 26,660        ₪ 26,690            ₪ 30     0.11%
  3/6/2017      ₪ 26,180        ₪ 26,190            ₪ 10     0.04%
  3/7/2017      ₪ 25,630        ₪ 25,690            ₪ 60     0.23%
  3/8/2017      ₪ 25,640        ₪ 25,660            ₪ 20     0.08%
  3/9/2017      ₪ 25,970        ₪ 25,990            ₪ 20     0.08%
 3/13/2017      ₪ 25,670        ₪ 25,680            ₪ 10     0.04%
 3/14/2017      ₪ 25,260        ₪ 25,280            ₪ 20     0.08%
 3/15/2017      ₪ 25,330        ₪ 25,400            ₪ 70     0.28%
 3/16/2017      ₪ 25,730        ₪ 25,740            ₪ 10     0.04%
 3/19/2017      ₪ 25,000        ₪ 25,020            ₪ 20     0.08%
 3/20/2017      ₪ 24,880        ₪ 24,890            ₪ 10     0.04%
 3/21/2017      ₪ 24,590        ₪ 24,600            ₪ 10     0.04%
 3/22/2017      ₪ 24,960        ₪ 24,980            ₪ 20     0.08%
 3/23/2017      ₪ 25,080        ₪ 25,100            ₪ 20     0.08%
 3/26/2017      ₪ 24,510        ₪ 24,580            ₪ 70     0.29%
 3/27/2017      ₪ 24,440        ₪ 24,450            ₪ 10     0.04%
 3/28/2017      ₪ 24,750        ₪ 24,780            ₪ 30     0.12%
 3/29/2017      ₪ 24,910        ₪ 24,970            ₪ 60     0.24%


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Exhibit 10C

                           Perrigo Stock
    Date      Last Bid     Last Ask        Spread (ILS)    Spread (%)
 3/30/2017      ₪ 24,490        ₪ 24,500            ₪ 10     0.04%
  4/2/2017      ₪ 23,900        ₪ 23,930            ₪ 30     0.13%
  4/3/2017      ₪ 24,010        ₪ 24,020            ₪ 10     0.04%
  4/4/2017      ₪ 23,920        ₪ 23,950            ₪ 30     0.13%
  4/5/2017      ₪ 24,390        ₪ 24,410            ₪ 20     0.08%
  4/6/2017      ₪ 24,690        ₪ 24,700            ₪ 10     0.04%
  4/9/2017      ₪ 25,080        ₪ 25,090            ₪ 10     0.04%
 4/12/2017      ₪ 25,030        ₪ 25,140           ₪ 110     0.44%
 4/13/2017      ₪ 24,630        ₪ 24,680            ₪ 50     0.20%
 4/18/2017      ₪ 24,360        ₪ 24,410            ₪ 50     0.21%
 4/19/2017      ₪ 24,460        ₪ 24,500            ₪ 40     0.16%
 4/20/2017      ₪ 24,360        ₪ 24,380            ₪ 20     0.08%
 4/23/2017      ₪ 24,240        ₪ 24,270            ₪ 30     0.12%
 4/24/2017      ₪ 24,170        ₪ 24,240            ₪ 70     0.29%
 4/25/2017      ₪ 24,340        ₪ 24,350            ₪ 10     0.04%
 4/26/2017      ₪ 26,610        ₪ 26,630            ₪ 20     0.08%
 4/27/2017      ₪ 26,240        ₪ 26,250            ₪ 10     0.04%
 4/30/2017      ₪ 26,840        ₪ 26,890            ₪ 50     0.19%




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Exhibit 10D
Perrigo Company PLC (PRGO IT)
Companies Used for Bid Ask Spread Analysis on the TASE

     Bloomberg Symbol                Company
EMIT IT Equity              ELBIT IMAGING LTD
STG IT Equity               STG INTERNATIONAL LTD
MGDL IT Equity              MIGDAL INSURANCE & FINANCIAL
AVIA IT Equity              AVIATION LINKS LTD
LAHAV IT Equity             LAHAV L.R. REAL ESTATE LTD
SPNTC IT Equity             SPUNTECH INDUSTRIES LTD
UNVO IT Equity              UNIVO PHARMACEUTICALS
MLTM IT Equity              MALAM - TEAM LTD
VTLC IT Equity              VITALA CAPITAL LTD
PRSK IT Equity              PRASHKOVSKY INVESTMENTS & CO
HLAN IT Equity              HILAN LTD
SRFT IT Equity              SARFATI
MAYN-M IT Equity            MAAYAN VENTURES LTD-NEW
MGOR IT Equity              MEGA OR HOLDINGS LTD
IDIN IT Equity              IDI INSURANCE CO LTD
FVT IT Equity               FORMULA VISION TECHNOLOGIES
ELTR IT Equity              ELECTRA LTD
PAYT IT Equity              PAYTON INDUSTIRES LTD
ORIN IT Equity              ORIAN SHM LTD
WSMK IT Equity              WHITESMOKE SOFTWARE LTD
CPHO IT Equity              AL CAPITAL HOLDINGS 2016 LTD
DLMT IT Equity              DOLOMITE HOLDINGS LTD
CDEV IT Equity              COHEN DEVELOPMENT & INDUS BU
NFTA IT Equity              NAPHTHA ISRAEL PETROLEUM CRP
BCOM IT Equity              B COMMUNICATIONS LTD
AYAL IT Equity              AYALON HOLDINGS
ENLT IT Equity              ENLIGHT RENEWABLE ENERGY LTD
FTIN IT Equity              FIRST INTL BANK ISRAEL
AOC IT Equity               A-ONLINE CAPITAL (AOC) LTD
ELCO IT Equity              ELCO LTD
VILR IT Equity              VILLAR INTERNATIONAL LTD
SFET IT Equity              SAFE-T GROUP LTD
SPEN IT Equity              SHAPIR ENGINEERING AND INDUS
TEVA IT Equity              TEVA PHARMACEUTICAL IND LTD
ILX IT Equity               ILEX MEDICAL LTD
TEFN IT Equity              TEFEN
PPIL IT Equity              PLASTOPIL HAZOREA CO LTD
ININ IT Equity              INTER INDUSTRIES LTD
ALGS IT Equity              ALON NATURAL GAS EXPLORATION
EQTL IT Equity              EQUITAL LTD
EMDV IT Equity              EMILIA DEVELOPMENT LTD
SHAN IT Equity              SHANIV



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Exhibit 10D
Perrigo Company PLC (PRGO IT)
Companies Used for Bid Ask Spread Analysis on the TASE

     Bloomberg Symbol                Company
GMUL IT Equity              GMUL INVESTMENT CO
NTO IT Equity               NETO ME HOLDINGS LTD
MRHL IT Equity              MERCHAVIA HOLDINGS AND INVES
PTCH IT Equity              ISRAEL PETROCHEMICAL ENTERPR
BRIN IT Equity              BRAINSWAY LTD
ELSPC IT Equity             ELSPEC ENGINEERING LTD
TALD IT Equity              TALDOR COMPUTER SYSTEMS 1986
LAPD IT Equity              LAPIDOTH CAPITAL LTD
ROTS IT Equity              ROTSHTEIN REALESTATE LTD
LEOF IT Equity              LEVINSKI OFER LTD
MAXM IT Equity              MAXIMA AIR SEPARATION (1)
GNGR IT Equity              GINEGAR PLASTIC PRODUCTS LTD
SNFL IT Equity              SUNFLOWER SUSTAINABLE INVEST
GODM IT Equity              GO.D.M INVESTMENTS LTD
LDER IT Equity              LEADER HOLDINGS & INVESTMENT
HNMR IT Equity              HANAN MOR GROUP-HOLDINGS LTD
BBYL IT Equity              BABYLON LTD
SNEL IT Equity              SYNEL MLL PAYWAY LTD
KRYT IT Equity              KARDAN YAZAMUT
CHAM IT Equity              CHAM FOODS (ISRAEL) LTD
SKLN IT Equity              SKYLINE INVESTMENTS INC
NISA IT Equity              NISSAN MEDICAL INDUSTRIES
JBNK IT Equity              BANK OF JERUSALEM
DRAL IT Equity              DOR ALON ENERGY IN ISRAEL
DUNI IT Equity              DUNIEC BROTHERS LTD
ADGR IT Equity              ADGAR INVESTMENT & DEVELOPME
SPIR IT Equity              SAPIR CORP LTD
GBUD IT Equity              GABAY URBAN DEVELOPMENT LTD
BRAM IT Equity              BRAM INDUSTRIES LTD
DSCT IT Equity              ISRAEL DISCOUNT BANK-A
ITMR IT Equity              ITAMAR MEDICAL LTD
KLIL IT Equity              KLIL INDUSTRIES LTD
BIMCM IT Equity             BIOMEDICO HADARIM LTD
GLVR IT Equity              GULLIVER ENERGY LTD
AVRT IT Equity              AVROT INDUSTRIES LTD
EXPO IT Equity              EXPORT INVESTMENT CO LTD
SHNP IT Equity              E. SCHNAPP CO WORKS LTD
EDN IT Equity               EDEN ENERGY DISCOVERIES LTD
ICCM IT Equity              ICECURE MEDICAL LTD
ULTR IT Equity              ULTRA EQUITY INVESTMENTS LTD
NNDM IT Equity              NANO DIMENSION LTD
PLTF IT Equity              PLT FINANCIAL SERVICES LTD



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Exhibit 10D
Perrigo Company PLC (PRGO IT)
Companies Used for Bid Ask Spread Analysis on the TASE

     Bloomberg Symbol                Company
CMDR IT Equity              COMPUTER DIRECT GROUP LTD
BRND IT Equity              BRAND INDUSTRIES LTD
APLP IT Equity              APOLLO POWER LTD
BONS IT Equity              BONUS BIOGROUP LTD
HMAM IT Equity              HAMAMA MEIR TRADING 1996 LT
EVGN IT Equity              EVOGENE LTD
TTAM IT Equity              TIV TAAM HOLDINGS 1 LTD
KDST IT Equity              KADIMASTEM LTD
YBOX IT Equity              YBOX REAL ESTATE LTD
ASGR IT Equity              ASPEN GROUP LTD
ISCN IT Equity              ISRAEL CANADA T.R LTD
DANH IT Equity              DAN HOTELS CORP LTD
WLFD IT Equity              WILLI FOOD INVESTMENTS
MTDS IT Equity              MEITAV DASH INVESTMENTS LTD
GOLF IT Equity              GOLF & CO LTD
SCC IT Equity               SPACE COMMUNICATION LTD




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Exhibit 11A                          3909

Perrigo Company PLC (PRGO US)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                       Company-
                    Closing       Actual       Market       Industry      Predicted             Standard                 Confidence Statistically
     Date                                                                              Specific                 t-Stat
                     Price        Return       Return       Residual       Return                Error                     Level    Significant[1]
                                                                                        Return
  4/21/2015         $192.82       -2.66%        -0.15%        0.23%        0.18%        -2.84%   1.87%          -1.51     86.83%
  4/22/2015         $201.50        4.50%        0.51%        -0.44%        0.16%         4.34%   1.88%          2.30      97.79%          **
  4/23/2015         $201.63        0.06%        0.25%         0.05%        0.36%        -0.29%   1.87%          -0.16     12.42%
  4/24/2015         $192.89       -4.33%        0.23%        -0.30%        0.00%        -4.34%   1.87%          -2.32     97.89%          **
  4/27/2015         $188.28       -2.39%        -0.41%       -1.05%        -1.38%       -1.01%   1.89%          -0.53     40.65%
  4/28/2015         $186.39       -1.00%        0.29%         0.52%        0.85%        -1.85%   1.89%          -0.98     67.21%
  4/29/2015         $184.74       -0.89%        -0.37%        0.09%        -0.23%       -0.66%   1.89%          -0.35     27.07%
  4/30/2015         $183.28       -0.79%        -1.01%       -0.12%        -1.08%        0.29%   1.89%          0.15      12.17%
   5/1/2015         $186.26        1.63%        1.09%         0.06%        1.20%         0.43%   1.89%          0.23      17.82%
   5/4/2015         $187.94        0.90%        0.29%         0.32%        0.66%         0.24%   1.89%          0.13      10.20%
   5/5/2015         $188.13        0.10%        -1.17%        0.37%        -0.75%        0.85%   1.89%          0.45      34.83%
   5/6/2015         $189.87        0.92%        -0.41%       -0.24%        -0.59%        1.51%   1.89%          0.80      57.63%
   5/7/2015         $191.00        0.60%        0.40%         0.09%        0.55%         0.05%   1.89%          0.03       2.07%
   5/8/2015         $192.60        0.84%        1.35%         0.45%        1.88%        -1.05%   1.81%          -0.58     43.71%
  5/11/2015         $193.58        0.51%        -0.49%        0.63%        0.18%         0.33%   1.80%          0.19      14.66%
  5/12/2015         $194.26        0.35%        -0.29%       -0.63%        -0.74%        1.09%   1.80%          0.61      45.64%
  5/13/2015         $193.79       -0.24%        -0.01%       -0.24%        -0.11%       -0.13%   1.80%          -0.07      5.92%
  5/14/2015         $194.15        0.19%        1.09%         0.01%        1.21%        -1.02%   1.80%          -0.57     42.90%
  5/15/2015         $194.50        0.18%        0.09%         0.18%        0.35%        -0.17%   1.80%          -0.09      7.42%
  5/18/2015         $198.37        1.99%        0.31%         0.02%        0.43%         1.56%   1.80%          0.87      61.23%
  5/19/2015         $197.68       -0.35%        -0.04%        0.71%        0.70%        -1.04%   1.80%          -0.58     43.77%
  5/20/2015         $197.54       -0.07%        -0.08%        0.07%        0.08%        -0.15%   1.80%          -0.08      6.75%
  5/21/2015         $198.26        0.36%        0.25%        -0.19%        0.18%         0.18%   1.80%          0.10       8.02%
  5/22/2015         $198.47        0.11%        -0.22%       -0.48%        -0.55%        0.65%   1.80%          0.36      28.29%
  5/26/2015         $195.75       -1.37%        -1.03%        0.36%        -0.62%       -0.75%   1.80%          -0.42     32.16%
  5/27/2015         $194.50       -0.57%        0.93%         0.07%        1.10%        -1.67%   1.79%          -0.93     64.88%
  5/28/2015         $193.96       -0.28%        -0.11%        0.75%        0.63%        -0.91%   1.79%          -0.51     38.70%
  5/29/2015         $190.30       -1.89%        -0.63%        0.09%        -0.48%       -1.41%   1.79%          -0.79     56.90%
   6/1/2015         $192.99        1.41%        0.22%         0.01%        0.32%         1.10%   1.79%          0.61      45.82%
   6/2/2015         $194.31        0.68%        -0.10%       -0.52%        -0.45%        1.13%   1.79%          0.63      47.25%
   6/3/2015         $195.88        0.81%        0.23%        -0.21%        0.15%         0.66%   1.79%          0.37      28.51%
   6/4/2015         $192.88       -1.53%        -0.86%       -0.06%        -0.84%       -0.69%   1.79%          -0.39     30.09%
   6/5/2015         $191.26       -0.84%        -0.14%       -0.20%        -0.21%       -0.63%   1.79%          -0.35     27.29%
   6/8/2015         $188.93       -1.22%        -0.63%       -0.01%        -0.57%       -0.65%   1.79%          -0.36     28.34%
   6/9/2015         $188.17       -0.40%        0.04%         0.38%        0.46%        -0.86%   1.79%          -0.48     36.77%
  6/10/2015         $188.00       -0.09%        1.21%        -0.20%        1.16%        -1.25%   1.79%          -0.70     51.52%
  6/11/2015         $186.91       -0.58%        0.20%         0.39%        0.62%        -1.20%   1.79%          -0.67     49.79%
  6/12/2015         $184.57       -1.25%        -0.69%       -0.62%        -1.16%       -0.09%   1.79%          -0.05      3.97%
  6/15/2015         $183.30       -0.69%        -0.46%       -0.08%        -0.47%       -0.22%   1.79%          -0.12      9.64%
  6/16/2015         $191.25        4.34%        0.57%        -0.09%        0.58%         3.76%   1.78%          2.10      96.37%          **
  6/17/2015         $188.33       -1.53%        0.20%        -0.14%        0.17%        -1.70%   1.80%          -0.94     65.38%
  6/18/2015         $188.28       -0.03%        1.00%         0.15%        1.25%        -1.28%   1.80%          -0.71     52.09%
  6/19/2015         $185.00       -1.74%        -0.53%        0.03%        -0.46%       -1.28%   1.80%          -0.71     52.15%
  6/22/2015         $184.87       -0.07%        0.61%         0.08%        0.76%        -0.83%   1.81%          -0.46     35.49%
  6/23/2015         $189.39        2.44%        0.07%         0.23%        0.33%         2.12%   1.80%          1.17      75.82%
  6/24/2015         $189.16       -0.12%        -0.73%       -0.23%        -0.88%        0.76%   1.81%          0.42      32.54%
  6/25/2015         $189.21        0.03%        -0.29%        0.54%        0.21%        -0.18%   1.81%          -0.10      8.06%
  6/26/2015         $190.55        0.71%        -0.02%        0.00%        0.04%         0.67%   1.81%          0.37      28.76%
  6/29/2015         $184.14       -3.36%        -2.08%       -0.08%        -2.16%       -1.21%   1.81%          -0.67     49.50%
  6/30/2015         $184.83        0.37%        0.27%        -0.16%        0.22%         0.15%   1.81%          0.08       6.62%
   7/1/2015         $185.06        0.12%        0.72%         0.47%        1.21%        -1.08%   1.81%          -0.60     45.07%
   7/2/2015         $183.68       -0.75%        -0.03%       -0.06%        -0.03%       -0.72%   1.80%          -0.40     30.90%
   7/6/2015         $185.66        1.08%        -0.38%        0.15%        -0.24%        1.32%   1.80%          0.73      53.41%
   7/7/2015         $182.94       -1.47%        0.61%         0.43%        1.02%        -2.48%   1.80%          -1.38     83.06%


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Perrigo Company PLC (PRGO US)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                       Company-
                    Closing       Actual       Market       Industry      Predicted             Standard                 Confidence Statistically
     Date                                                                              Specific                 t-Stat
                     Price        Return       Return       Residual       Return                Error                     Level    Significant[1]
                                                                                        Return
   7/8/2015         $180.32       -1.43%        -1.64%        0.18%        -1.50%        0.07%   1.81%          0.04       2.99%
   7/9/2015         $180.01       -0.17%        0.23%         0.43%        0.61%        -0.78%   1.81%          -0.43     33.51%
  7/10/2015         $180.86        0.47%        1.23%         0.30%        1.55%        -1.08%   1.81%          -0.60     44.83%
  7/13/2015         $184.02        1.75%        1.12%        -0.24%        1.02%         0.73%   1.81%          0.40      31.15%
  7/14/2015         $186.19        1.18%        0.45%        -0.11%        0.43%         0.75%   1.81%          0.41      32.00%
  7/15/2015         $186.68        0.26%        -0.07%       -0.28%        -0.25%        0.51%   1.73%          0.30      23.30%
  7/16/2015         $186.81        0.07%        0.80%        -0.30%        0.63%        -0.56%   1.72%          -0.32     25.30%
  7/17/2015         $185.86       -0.51%        0.11%        -0.49%        -0.21%       -0.30%   1.72%          -0.18     13.88%
  7/20/2015         $187.64        0.96%        0.08%         0.40%        0.40%         0.55%   1.72%          0.32      25.13%
  7/21/2015         $187.07       -0.30%        -0.42%       -0.24%        -0.55%        0.25%   1.72%          0.14      11.32%
  7/22/2015         $189.05        1.06%        -0.23%        0.00%        -0.17%        1.23%   1.72%          0.72      52.52%
  7/23/2015         $189.71        0.35%        -0.56%        0.22%        -0.34%        0.69%   1.71%          0.40      31.29%
  7/24/2015         $186.50       -1.69%        -1.07%       -0.73%        -1.50%       -0.19%   1.71%          -0.11      9.05%
  7/27/2015         $193.60        3.81%        -0.58%        0.56%        -0.11%        3.91%   1.71%          2.28      97.66%          **
  7/28/2015         $192.07       -0.79%        1.24%         0.51%        1.61%        -2.40%   1.73%          -1.39     83.40%
  7/29/2015         $192.83        0.40%        0.74%        -0.11%        0.67%        -0.27%   1.74%          -0.16     12.45%
  7/30/2015         $191.43       -0.73%        0.01%        -0.52%        -0.31%       -0.42%   1.74%          -0.24     18.91%
  7/31/2015         $192.20        0.40%        -0.23%        0.91%        0.51%        -0.10%   1.74%          -0.06      4.75%
   8/3/2015         $192.50        0.16%        -0.28%        0.27%        0.00%         0.16%   1.74%          0.09       7.32%
   8/4/2015         $190.64       -0.97%        -0.22%       -0.43%        -0.46%       -0.50%   1.73%          -0.29     22.81%
   8/5/2015         $189.65       -0.52%        0.35%         0.23%        0.55%        -1.07%   1.73%          -0.62     46.18%
   8/6/2015         $188.24       -0.74%        -0.75%       -1.52%        -1.72%        0.98%   1.74%          0.56      42.58%
   8/7/2015         $190.21        1.05%        -0.28%        0.06%        -0.14%        1.19%   1.72%          0.69      51.01%
  8/10/2015         $193.99        1.99%        1.28%        -0.43%        0.97%         1.01%   1.73%          0.59      44.25%
  8/11/2015         $192.80       -0.61%        -0.94%       -0.11%        -0.86%        0.25%   1.72%          0.14      11.44%
  8/12/2015         $186.06       -3.50%        0.12%        -0.05%        0.17%        -3.66%   1.72%          -2.13     96.55%          **
  8/13/2015         $192.50        3.46%        -0.11%        0.12%        0.06%         3.40%   1.73%          1.96      94.89%          *
  8/14/2015         $196.00        1.82%        0.39%        -0.11%        0.39%         1.43%   1.75%          0.82      58.67%
  8/17/2015         $197.06        0.54%        0.54%         0.37%        0.80%        -0.25%   1.71%          -0.15     11.86%
  8/18/2015         $195.54       -0.77%        -0.24%        0.08%        -0.09%       -0.68%   1.70%          -0.40     30.91%
  8/19/2015         $195.44       -0.05%        -0.82%        0.48%        -0.38%        0.33%   1.70%          0.19      15.25%
  8/20/2015         $192.66       -1.42%        -2.11%        0.10%        -1.77%        0.35%   1.70%          0.21      16.39%
  8/21/2015         $186.89       -2.99%        -3.17%        0.16%        -2.69%       -0.31%   1.70%          -0.18     14.43%
  8/24/2015         $178.50       -4.49%        -3.94%        0.03%        -3.49%       -1.00%   1.70%          -0.59     44.24%
  8/25/2015         $178.00       -0.28%        -1.35%       -1.38%        -2.00%        1.72%   1.69%          1.01      68.79%
  8/26/2015         $183.76        3.31%        3.91%         1.06%        4.33%        -1.03%   1.70%          -0.60     45.41%
  8/27/2015         $188.19        2.41%        2.44%        -0.47%        2.09%         0.32%   1.70%          0.19      14.91%
  8/28/2015         $185.42       -1.47%        0.07%        -0.91%        -0.33%       -1.14%   1.70%          -0.67     49.72%
  8/31/2015         $182.97       -1.32%        -0.83%       -0.89%        -1.18%       -0.14%   1.70%          -0.09      6.79%
   9/1/2015         $179.46       -1.92%        -2.95%        0.22%        -2.54%        0.62%   1.70%          0.37      28.51%
   9/2/2015         $181.59        1.19%        1.85%        -0.02%        1.77%        -0.58%   1.69%          -0.34     26.95%
   9/3/2015         $177.95       -2.00%        0.12%        -0.82%        -0.26%       -1.74%   1.69%          -1.03     69.52%
   9/4/2015         $178.80        0.48%        -1.53%       -0.26%        -1.47%        1.95%   1.70%          1.15      74.84%
   9/8/2015         $180.65        1.03%        2.52%         0.53%        2.66%        -1.63%   1.70%          -0.96     66.22%
   9/9/2015         $177.07       -1.98%        -1.38%       -0.51%        -1.42%       -0.56%   1.70%          -0.33     25.99%
  9/10/2015         $178.17        0.62%        0.54%         0.36%        0.77%        -0.15%   1.70%          -0.09      7.00%
  9/11/2015         $179.67        0.84%        0.48%         0.06%        0.54%         0.30%   1.70%          0.18      14.07%
  9/14/2015         $181.26        0.88%        -0.40%        0.37%        -0.06%        0.94%   1.70%          0.56      42.11%
  9/15/2015         $183.46        1.21%        1.28%         0.43%        1.47%        -0.25%   1.70%          -0.15     11.86%
  9/16/2015         $182.39       -0.58%        0.87%        -0.26%        0.71%        -1.30%   1.70%          -0.77     55.52%
  9/17/2015         $181.08       -0.72%        -0.24%        1.21%        0.57%        -1.29%   1.70%          -0.76     55.13%
  9/18/2015         $178.57       -1.39%        -1.62%        0.03%        -1.32%       -0.07%   1.70%          -0.04      3.15%
  9/21/2015         $174.83       -2.09%        0.46%        -2.05%        -0.65%       -1.45%   1.70%          -0.85     60.35%
  9/22/2015         $171.97       -1.64%        -1.23%        0.96%        -0.43%       -1.20%   1.70%          -0.71     51.91%


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Perrigo Company PLC (PRGO US)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                       Company-
                    Closing       Actual       Market       Industry      Predicted             Standard                 Confidence Statistically
     Date                                                                              Specific                 t-Stat
                     Price        Return       Return       Residual       Return                Error                     Level    Significant[1]
                                                                                        Return
  9/23/2015         $170.87       -0.64%        -0.20%        0.17%        -0.02%       -0.62%   1.70%          -0.36     28.33%
  9/24/2015         $169.26       -0.94%        -0.34%        0.03%        -0.23%       -0.72%   1.70%          -0.42     32.65%
  9/25/2015         $160.90       -4.94%        -0.05%       -2.22%        -1.24%       -3.70%   1.70%          -2.18     96.98%          **
  9/28/2015         $152.57       -5.18%        -2.54%       -0.93%        -2.83%       -2.35%   1.72%          -1.37     82.77%
  9/29/2015         $154.90        1.53%        0.13%         0.79%        0.68%         0.85%   1.72%          0.49      37.72%
  9/30/2015         $157.27        1.53%        1.91%         0.36%        2.03%        -0.50%   1.72%          -0.29     22.92%
  10/1/2015         $156.37       -0.57%        0.20%         0.81%        0.78%        -1.35%   1.72%          -0.79     56.77%
  10/2/2015         $160.73        2.79%        1.44%         0.95%        2.00%         0.79%   1.72%          0.46      35.45%
  10/5/2015         $161.83        0.68%        1.83%        -1.53%        0.63%         0.05%   1.72%          0.03       2.39%
  10/6/2015         $159.71       -1.31%        -0.36%       -1.88%        -1.62%        0.31%   1.72%          0.18      14.50%
  10/7/2015         $156.12       -2.25%        0.84%         0.39%        1.04%        -3.29%   1.71%          -1.92     94.40%           *
  10/8/2015         $158.34        1.42%        0.88%        -0.57%        0.41%         1.01%   1.73%          0.59      44.23%
  10/9/2015         $160.60        1.43%        0.08%         0.43%        0.36%         1.06%   1.73%          0.62      46.13%
  10/12/2015        $161.53        0.58%        0.13%        -0.66%        -0.33%        0.91%   1.72%          0.53      40.15%
  10/13/2015        $158.18       -2.07%        -0.67%       -0.61%        -1.03%       -1.05%   1.72%          -0.61     45.65%
  10/14/2015        $160.91        1.73%        -0.47%        0.44%        -0.12%        1.85%   1.72%          1.07      71.61%
  10/15/2015        $162.62        1.06%        1.49%         1.04%        2.12%        -1.05%   1.72%          -0.61     45.85%
  10/16/2015        $166.15        2.17%        0.46%         0.89%        1.05%         1.12%   1.72%          0.65      48.37%
  10/19/2015        $165.66       -0.29%        0.03%        -0.35%        -0.21%       -0.09%   1.73%          -0.05      4.10%
  10/20/2015        $162.61       -1.84%        -0.14%       -1.57%        -1.25%       -0.59%   1.72%          -0.34     26.84%
  10/21/2015        $155.24       -4.53%        -0.57%       -0.40%        -0.81%       -3.72%   1.72%          -2.16     96.84%          **
  10/22/2015        $147.68       -4.87%        1.67%        -0.87%        0.90%        -5.77%   1.74%          -3.32     99.90%          **
  10/23/2015        $150.57        1.96%        1.10%         1.25%        1.97%        -0.02%   1.74%          -0.01      0.75%
  10/26/2015        $154.27        2.46%        -0.19%        0.26%        0.01%         2.45%   1.74%          1.41      83.93%
  10/27/2015        $156.25        1.28%        -0.26%        2.20%        1.44%        -0.16%   1.75%          -0.09      7.32%
  10/28/2015        $160.44        2.68%        1.19%         0.19%        1.26%         1.42%   1.75%          0.81      58.35%
  10/29/2015        $165.81        3.35%        -0.03%        0.29%        0.21%         3.14%   1.75%          1.80      92.65%          *
  10/30/2015        $157.74       -4.87%        -0.48%       -0.49%        -0.81%       -4.05%   1.76%          -2.31     97.81%          **
  11/2/2015         $159.35        1.02%        1.19%         0.44%        1.46%        -0.44%   1.77%          -0.25     19.67%
  11/3/2015         $159.74        0.24%        0.27%        -0.44%        -0.08%        0.32%   1.77%          0.18      14.47%
  11/4/2015         $162.29        1.60%        -0.32%       -0.14%        -0.41%        2.00%   1.77%          1.13      74.20%
  11/5/2015         $160.50       -1.10%        -0.09%       -0.04%        -0.10%       -1.00%   1.77%          -0.56     42.67%
  11/6/2015         $162.25        1.09%        -0.02%       -0.64%        -0.50%        1.59%   1.77%          0.90      62.98%
  11/9/2015         $159.72       -1.56%        -0.96%       -0.21%        -1.06%       -0.50%   1.75%          -0.29     22.61%
  11/10/2015        $163.03        2.07%        0.18%         0.74%        0.76%         1.31%   1.75%          0.75      54.69%
  11/11/2015        $161.06       -1.21%        -0.32%        0.13%        -0.18%       -1.03%   1.75%          -0.59     44.31%
  11/12/2015        $156.55       -2.80%        -1.38%       -0.20%        -1.45%       -1.35%   1.75%          -0.77     55.85%
  11/13/2015        $146.90       -6.16%        -1.12%        0.95%        -0.32%       -5.85%   1.75%          -3.33     99.90%          **
  11/16/2015        $149.00        1.43%        1.51%        -0.61%        1.07%         0.36%   1.80%          0.20      15.99%
  11/17/2015        $153.50        3.02%        -0.11%        0.12%        -0.02%        3.04%   1.79%          1.70      90.88%           *
  11/18/2015        $155.64        1.39%        1.62%         0.43%        1.94%        -0.55%   1.80%          -0.31     23.97%
  11/19/2015        $154.63       -0.65%        -0.11%       -1.02%        -0.81%        0.16%   1.79%          0.09       7.20%
  11/20/2015        $154.92        0.19%        0.40%         0.39%        0.67%        -0.48%   1.79%          -0.27     21.20%
  11/23/2015        $148.40       -4.21%        -0.12%       -0.73%        -0.58%       -3.62%   1.78%          -2.03     95.66%          **
  11/24/2015        $150.00        1.16%        0.13%         0.14%        0.23%         0.94%   1.80%          0.52      39.71%
  11/25/2015        $150.63        0.42%        0.00%         1.02%        0.72%        -0.30%   1.79%          -0.17     13.46%
  11/27/2015        $150.49       -0.09%        0.08%        -0.03%        0.06%        -0.15%   1.80%          -0.08      6.74%
  11/30/2015        $149.39       -0.73%        -0.46%       -0.71%        -0.96%        0.22%   1.80%          0.13       9.94%
  12/1/2015         $149.21       -0.12%        1.08%         1.39%        2.02%        -2.15%   1.79%          -1.20     76.75%
  12/2/2015         $147.86       -0.90%        -1.08%       -0.24%        -1.22%        0.32%   1.80%          0.18      14.06%
  12/3/2015         $145.59       -1.54%        -1.43%       -0.28%        -1.60%        0.06%   1.80%          0.04       2.82%
  12/4/2015         $147.69        1.44%        2.05%         0.23%        2.16%        -0.71%   1.80%          -0.40     30.90%
  12/7/2015         $147.34       -0.24%        -0.69%        0.57%        -0.29%        0.05%   1.80%          0.03       2.21%
  12/8/2015         $148.39        0.71%        -0.64%        0.07%        -0.58%        1.29%   1.79%          0.72      52.85%


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Perrigo Company PLC (PRGO US)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                       Company-
                    Closing       Actual       Market       Industry      Predicted             Standard                 Confidence Statistically
     Date                                                                              Specific                 t-Stat
                     Price        Return       Return       Residual       Return                Error                     Level    Significant[1]
                                                                                        Return
  12/9/2015         $148.16        -0.15%       -0.77%       -0.31%        -0.96%        0.81%   1.79%          0.45      34.74%
  12/10/2015        $148.89         0.49%       0.24%         0.48%        0.56%        -0.07%   1.79%          -0.04      3.02%
  12/11/2015        $147.19        -1.14%       -1.93%        0.53%        -1.52%        0.38%   1.79%          0.21      16.65%
  12/14/2015        $148.99         1.22%       0.48%         0.17%        0.59%         0.63%   1.80%          0.35      27.48%
  12/15/2015        $149.31         0.21%       1.06%         0.26%        1.22%        -1.01%   1.79%          -0.56     42.47%
  12/16/2015        $149.45         0.09%       1.46%        -0.26%        1.24%        -1.15%   1.79%          -0.64     47.77%
  12/17/2015        $146.26        -2.13%       -1.49%        0.13%        -1.35%       -0.78%   1.79%          -0.44     33.61%
  12/18/2015        $144.33        -1.32%       -1.78%        0.22%        -1.57%        0.25%   1.79%          0.14      11.00%
  12/21/2015        $144.28        -0.03%       0.79%        -0.13%        0.62%        -0.66%   1.79%          -0.37     28.59%
  12/22/2015        $145.27         0.69%       0.89%        -0.33%        0.57%         0.12%   1.78%          0.07       5.26%
  12/23/2015        $147.70         1.67%       1.25%        -0.54%        0.75%         0.92%   1.78%          0.51      39.26%
  12/24/2015        $147.54        -0.11%       -0.16%        0.18%        -0.05%       -0.06%   1.78%          -0.03      2.67%
  12/28/2015        $145.84        -1.15%       -0.22%       -0.23%        -0.38%       -0.77%   1.79%          -0.43     33.43%
  12/29/2015        $146.59         0.51%       1.08%        -0.01%        0.99%        -0.48%   1.78%          -0.27     21.00%
  12/30/2015        $145.24        -0.92%       -0.71%        0.54%        -0.33%       -0.59%   1.78%          -0.33     25.88%
  12/31/2015        $144.70        -0.37%       -0.94%       -0.29%        -1.11%        0.74%   1.78%          0.41      32.00%
   1/4/2016         $142.50        -1.52%       -1.51%       -0.20%        -1.59%        0.07%   1.78%          0.04       2.99%
   1/5/2016         $142.68         0.13%       0.20%         0.71%        0.64%        -0.51%   1.78%          -0.29     22.46%
   1/6/2016         $144.28         1.12%       -1.28%        0.00%        -1.24%        2.36%   1.78%          1.33      81.44%
   1/7/2016         $144.31         0.02%       -2.37%        0.96%        -1.60%        1.62%   1.79%          0.91      63.53%
   1/8/2016         $140.69        -2.51%       -1.08%       -0.38%        -1.27%       -1.24%   1.79%          -0.69     51.00%
  1/11/2016         $143.61         2.08%       0.09%        -0.46%        -0.27%        2.35%   1.80%          1.31      80.82%
  1/12/2016         $146.57         2.06%       0.78%        -0.46%        0.36%         1.70%   1.80%          0.95      65.53%
  1/13/2016         $143.08        -2.38%       -2.49%        0.29%        -2.11%       -0.27%   1.80%          -0.15     11.94%
  1/14/2016         $145.41         1.63%       1.67%         1.17%        2.33%        -0.70%   1.79%          -0.39     30.57%
  1/15/2016         $145.01        -0.28%       -2.16%        0.66%        -1.54%        1.26%   1.79%          0.71      51.91%
  1/19/2016         $146.50         1.03%       0.05%         0.22%        0.20%         0.83%   1.79%          0.46      35.50%
  1/20/2016         $145.84        -0.45%       -1.15%        0.48%        -0.70%        0.25%   1.79%          0.14      10.94%
  1/21/2016         $146.79         0.65%       0.52%        -0.56%        0.07%         0.58%   1.79%          0.32      25.39%
  1/22/2016         $148.58         1.22%       2.03%        -1.00%        1.15%         0.07%   1.78%          0.04       3.17%
  1/25/2016         $149.06         0.32%       -1.56%        0.65%        -0.97%        1.29%   1.78%          0.73      53.30%
  1/26/2016         $148.94        -0.08%       1.41%         0.30%        1.51%        -1.59%   1.77%          -0.90     62.99%
  1/27/2016         $144.52        -2.97%       -1.08%        0.32%        -0.73%       -2.23%   1.78%          -1.26     79.04%
  1/28/2016         $143.23        -0.89%       0.56%        -2.18%        -0.94%        0.05%   1.78%          0.03       2.34%
  1/29/2016         $144.58         0.94%       2.48%        -0.45%        1.93%        -0.99%   1.78%          -0.56     42.17%
   2/1/2016         $143.70        -0.61%       -0.04%       -0.53%        -0.39%       -0.22%   1.79%          -0.12      9.70%
   2/2/2016         $144.01         0.22%       -1.87%        0.57%        -1.27%        1.49%   1.78%          0.83      59.51%
   2/3/2016         $145.68         1.16%       0.53%        -0.31%        0.27%         0.89%   1.79%          0.50      38.02%
   2/4/2016         $144.11        -1.08%       0.17%        -1.62%        -0.90%       -0.17%   1.78%          -0.10      7.71%
   2/5/2016         $143.88        -0.16%       -1.84%        0.98%        -0.96%        0.80%   1.78%          0.45      34.71%
   2/8/2016         $137.82        -4.21%       -1.41%        0.98%        -0.54%       -3.67%   1.78%          -2.07     96.01%          **
   2/9/2016         $138.77         0.69%       -0.05%        0.69%        0.41%         0.28%   1.79%          0.15      12.24%
  2/10/2016         $137.46        -0.94%       0.02%         0.51%        0.36%        -1.30%   1.79%          -0.73     53.26%
  2/11/2016         $135.07        -1.74%       -1.21%       -0.53%        -1.38%       -0.36%   1.79%          -0.20     15.95%
  2/12/2016         $138.60         2.61%       1.96%        -1.16%        1.04%         1.57%   1.79%          0.88      61.86%
  2/16/2016         $141.21         1.88%       1.69%        -0.07%        1.48%         0.40%   1.79%          0.22      17.67%
  2/17/2016         $145.17         2.80%       1.66%        -0.71%        1.07%         1.73%   1.79%          0.97      66.65%
  2/18/2016         $130.40       -10.17%       -0.46%        0.23%        -0.25%       -9.93%   1.79%          -5.54     100.00%         **
  2/19/2016         $129.34        -0.81%       0.01%        -0.04%        0.02%        -0.83%   1.79%          -0.46     35.58%
  2/22/2016         $124.08        -4.07%       1.45%        -0.06%        1.29%        -5.36%   1.79%          -2.99     99.69%          **
  2/23/2016         $124.85         0.62%       -1.24%        0.59%        -0.73%        1.35%   1.79%          0.76      54.91%
  2/24/2016         $126.26         1.25%       0.45%        -0.12%        0.36%         0.88%   1.79%          0.49      37.78%
  2/25/2016         $129.15         2.29%       1.16%         0.58%        1.42%         0.87%   1.79%          0.48      37.10%
  2/26/2016         $129.23         0.06%       -0.18%       -0.58%        -0.48%        0.54%   1.79%          0.30      23.56%


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Exhibit 11A                          3913

Perrigo Company PLC (PRGO US)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                       Company-
                    Closing       Actual       Market       Industry      Predicted             Standard                 Confidence Statistically
     Date                                                                              Specific                 t-Stat
                     Price        Return       Return       Residual       Return                Error                     Level    Significant[1]
                                                                                        Return
  2/29/2016         $126.25        -2.31%       -0.80%       -0.70%        -1.11%       -1.19%   1.79%          -0.67     49.36%
   3/1/2016         $126.21        -0.03%       2.39%        -0.13%        2.10%        -2.13%   1.79%          -1.19     76.46%
   3/2/2016         $125.81        -0.32%       0.43%        -0.24%        0.27%        -0.59%   1.79%          -0.33     25.56%
   3/3/2016         $126.42         0.48%       0.36%        -0.84%        -0.15%        0.63%   1.79%          0.35      27.64%
   3/4/2016         $126.61         0.15%       0.33%        -0.62%        -0.04%        0.19%   1.79%          0.11       8.54%
   3/7/2016         $129.08         1.95%       0.10%         0.56%        0.45%         1.50%   1.79%          0.84      59.69%
   3/8/2016         $129.06        -0.02%       -1.11%        0.13%        -0.89%        0.87%   1.79%          0.49      37.35%
   3/9/2016         $131.41         1.82%       0.52%         0.17%        0.60%         1.22%   1.79%          0.68      50.31%
  3/10/2016         $133.88         1.88%       0.02%        -0.04%        0.02%         1.86%   1.79%          1.04      69.85%
  3/11/2016         $136.00         1.58%       1.67%         0.16%        1.62%        -0.04%   1.79%          -0.02      1.83%
  3/14/2016         $140.14         3.04%       -0.12%       -0.72%        -0.51%        3.56%   1.79%          1.98      95.17%          **
  3/15/2016         $134.37        -4.12%       -0.18%       -1.38%        -0.96%       -3.16%   1.79%          -1.76     92.04%          *
  3/16/2016         $133.07        -0.97%       0.57%        -1.59%        -0.41%       -0.56%   1.79%          -0.31     24.30%
  3/17/2016         $131.21        -1.40%       0.66%        -1.52%        -0.29%       -1.11%   1.79%          -0.62     46.28%
  3/18/2016         $128.46        -2.10%       0.44%         0.51%        0.73%        -2.83%   1.79%          -1.58     88.40%
  3/21/2016         $131.27         2.19%       0.10%         0.59%        0.47%         1.72%   1.79%          0.96      66.08%
  3/22/2016         $132.92         1.26%       -0.07%        0.78%        0.43%         0.82%   1.79%          0.46      35.41%
  3/23/2016         $130.23        -2.02%       -0.64%        0.73%        -0.11%       -1.91%   1.79%          -1.07     71.31%
  3/24/2016         $130.31         0.06%       -0.04%       -0.16%        -0.10%        0.16%   1.79%          0.09       7.17%
  3/28/2016         $127.51        -2.15%       0.06%        -0.56%        -0.26%       -1.89%   1.79%          -1.05     70.71%
  3/29/2016         $129.59         1.63%       0.90%         0.15%        0.93%         0.70%   1.79%          0.39      30.40%
  3/30/2016         $129.62         0.02%       0.45%        -0.49%        0.13%        -0.11%   1.79%          -0.06      4.95%
  3/31/2016         $127.93        -1.30%       -0.20%       -0.56%        -0.49%       -0.81%   1.79%          -0.45     34.91%
   4/1/2016         $126.73        -0.94%       0.63%         0.62%        0.97%        -1.91%   1.79%          -1.07     71.21%
   4/4/2016         $128.54         1.43%       -0.30%        1.26%        0.52%         0.91%   1.79%          0.51      38.89%
   4/5/2016         $128.51        -0.02%       -1.01%       -0.38%        -1.11%        1.09%   1.79%          0.61      45.67%
   4/6/2016         $130.71         1.71%       1.09%         1.37%        1.83%        -0.12%   1.79%          -0.07      5.18%
   4/7/2016         $131.37         0.50%       -1.19%        0.64%        -0.66%        1.17%   1.79%          0.65      48.51%
   4/8/2016         $128.70        -2.03%       0.28%        -0.83%        -0.22%       -1.81%   1.79%          -1.01     68.70%
  4/11/2016         $127.23        -1.14%       -0.27%       -0.74%        -0.67%       -0.48%   1.79%          -0.27     20.94%
  4/12/2016         $125.76        -1.16%       0.97%        -0.61%        0.53%        -1.69%   1.79%          -0.94     65.34%
  4/13/2016         $127.79         1.61%       1.02%        -0.15%        0.85%         0.76%   1.79%          0.42      32.85%
  4/14/2016         $128.03         0.19%       0.03%         0.11%        0.12%         0.07%   1.79%          0.04       3.17%
  4/15/2016         $127.99        -0.03%       -0.10%        0.02%        -0.05%        0.02%   1.79%          0.01       0.68%
  4/18/2016         $128.94         0.74%       0.66%         0.26%        0.77%        -0.03%   1.79%          -0.02      1.33%
  4/19/2016         $130.62         1.30%       0.31%         0.71%        0.73%         0.57%   1.79%          0.32      25.12%
  4/20/2016         $128.62        -1.53%       0.08%         0.40%        0.34%        -1.87%   1.79%          -1.05     70.33%
  4/21/2016         $128.68         0.05%       -0.52%        0.70%        -0.02%        0.06%   1.79%          0.03       2.79%
  4/22/2016         $121.35        -5.70%       0.01%         0.16%        0.13%        -5.83%   1.79%          -3.25     99.87%          **
  4/25/2016          $99.40       -18.09%       -0.18%       -0.39%        -0.37%      -17.72%   1.79%          -9.89     100.00%         **
  4/26/2016          $99.55         0.15%       0.19%        -0.81%        -0.29%        0.44%   1.79%          0.25      19.34%
  4/27/2016          $97.24        -2.32%       0.17%        -0.28%        0.02%        -2.34%   1.79%          -1.30     80.63%
  4/28/2016          $96.45        -0.81%       -0.92%        0.70%        -0.38%       -0.43%   1.79%          -0.24     19.01%
  4/29/2016          $96.67         0.23%       -0.51%       -0.30%        -0.61%        0.84%   1.79%          0.47      35.89%
   5/2/2016          $96.11        -0.58%       0.78%        -0.14%        0.65%        -1.23%   1.79%          -0.69     50.60%
   5/3/2016          $96.61         0.52%       -0.87%        1.03%        -0.13%        0.65%   1.79%          0.36      28.44%
   5/4/2016          $95.70        -0.94%       -0.57%       -0.25%        -0.64%       -0.30%   1.79%          -0.17     13.35%
   5/5/2016          $97.07         1.43%       0.00%         0.01%        0.03%         1.40%   1.79%          0.78      56.37%
   5/6/2016          $92.39        -4.82%       0.33%        -1.08%        -0.32%       -4.50%   1.79%          -2.51     98.73%          **
   5/9/2016          $93.78         1.50%       0.08%         1.18%        0.80%         0.70%   1.79%          0.39      30.45%
  5/10/2016          $93.07        -0.76%       1.25%        -0.20%        1.03%        -1.79%   1.79%          -1.00     68.14%
  5/11/2016          $92.75        -0.34%       -0.90%        0.11%        -0.72%        0.38%   1.79%          0.21      16.76%
  5/12/2016          $89.04        -4.00%       -0.01%       -0.35%        -0.19%       -3.81%   1.79%          -2.13     96.55%          **
  5/13/2016          $88.36        -0.76%       -0.84%        0.86%        -0.21%       -0.55%   1.79%          -0.31     24.16%


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Exhibit 11A                          3914

Perrigo Company PLC (PRGO US)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                       Company-
                    Closing       Actual       Market       Industry      Predicted             Standard                 Confidence Statistically
     Date                                                                              Specific                 t-Stat
                     Price        Return       Return       Residual       Return                Error                     Level    Significant[1]
                                                                                        Return
  5/16/2016          $88.73        0.42%        0.99%         0.29%        1.09%        -0.67%   1.79%          -0.38     29.26%
  5/17/2016          $90.29        1.76%        -0.91%        0.02%        -0.78%        2.54%   1.79%          1.42      84.19%
  5/18/2016          $93.55        3.61%        0.04%         0.16%        0.16%         3.46%   1.79%          1.93      94.50%           *
  5/19/2016          $91.94       -1.72%        -0.37%       -0.31%        -0.49%       -1.23%   1.79%          -0.69     50.71%
  5/20/2016          $93.78        2.00%        0.62%         0.24%        0.73%         1.27%   1.79%          0.71      52.22%
  5/23/2016          $93.50       -0.30%        -0.20%       -0.42%        -0.41%        0.11%   1.79%          0.06       4.91%
  5/24/2016          $96.26        2.95%        1.37%        -0.20%        1.14%         1.81%   1.79%          1.01      68.60%
  5/25/2016          $96.42        0.32%        0.70%        -0.26%        0.51%        -0.19%   1.79%          -0.11      8.37%
  5/26/2016          $96.20       -0.23%        -0.01%        0.19%        0.13%        -0.36%   1.79%          -0.20     15.92%
  5/27/2016          $96.61        0.43%        0.45%        -0.06%        0.39%         0.04%   1.79%          0.02       1.56%
  5/31/2016          $95.84       -0.80%        -0.09%        0.05%        -0.03%       -0.77%   1.79%          -0.43     33.26%
   6/1/2016          $96.95        1.16%        0.13%         0.30%        0.33%         0.83%   1.79%          0.46      35.70%
   6/2/2016          $98.15        1.24%        0.29%         0.83%        0.79%         0.45%   1.79%          0.25      19.60%
   6/3/2016          $97.23       -0.94%        -0.29%        0.07%        -0.19%       -0.74%   1.79%          -0.41     32.14%
   6/6/2016          $99.26        2.09%        0.49%         0.40%        0.71%         1.38%   1.79%          0.77      55.73%
   6/7/2016          $99.11       -0.15%        0.13%        -0.24%        0.00%        -0.15%   1.79%          -0.08      6.73%
   6/8/2016         $100.32        1.22%        0.35%         0.02%        0.36%         0.87%   1.79%          0.48      37.02%
   6/9/2016         $100.48        0.16%        -0.17%        0.06%        -0.09%        0.25%   1.79%          0.14      11.05%
  6/10/2016          $98.51       -1.96%        -0.92%        0.29%        -0.63%       -1.34%   1.79%          -0.75     54.31%
  6/13/2016          $99.06        0.56%        -0.78%        0.23%        -0.54%        1.09%   1.79%          0.61      45.80%
  6/14/2016         $108.13        9.16%        -0.17%        0.67%        0.28%         8.88%   1.79%          4.95      100.00%         **
  6/15/2016          $98.19       -9.19%        -0.18%       -0.54%        -0.46%       -8.74%   1.79%          -4.87     100.00%         **
  6/16/2016          $98.54        0.36%        0.33%        -0.06%        0.29%         0.07%   1.79%          0.04       2.92%
  6/17/2016          $98.04       -0.51%        -0.33%       -1.11%        -0.93%        0.42%   1.79%          0.24      18.71%
  6/20/2016          $96.75       -1.32%        0.58%        -0.01%        0.55%        -1.86%   1.79%          -1.04     70.06%
  6/21/2016          $96.45       -0.31%        0.28%        -0.39%        0.04%        -0.35%   1.79%          -0.20     15.68%
  6/22/2016          $93.81       -2.74%        -0.16%        0.37%        0.10%        -2.84%   1.79%          -1.58     88.57%
  6/23/2016          $95.20        1.48%        1.34%        -0.33%        1.04%         0.44%   1.79%          0.25      19.55%
  6/24/2016          $91.01       -4.40%        -3.59%        1.19%        -2.49%       -1.91%   1.79%          -1.06     71.16%
  6/27/2016          $87.75       -3.58%        -1.81%        1.17%        -0.90%       -2.68%   1.79%          -1.50     86.44%
  6/28/2016          $87.27       -0.55%        1.80%         0.06%        1.69%        -2.23%   1.79%          -1.25     78.61%
  6/29/2016          $91.55        4.90%        1.72%         0.17%        1.67%         3.23%   1.79%          1.80      92.73%           *
  6/30/2016          $90.67       -0.96%        1.36%        -0.30%        1.07%        -2.03%   1.79%          -1.13     74.14%
   7/1/2016          $91.12        0.50%        0.21%         0.26%        0.38%         0.12%   1.79%          0.07       5.35%
   7/5/2016          $90.89       -0.25%        -0.68%        1.10%        0.08%        -0.33%   1.79%          -0.18     14.61%
   7/6/2016          $92.84        2.15%        0.57%         0.05%        0.57%         1.57%   1.79%          0.88      61.92%
   7/7/2016          $93.08        0.26%        -0.08%       -0.15%        -0.13%        0.39%   1.79%          0.22      17.14%
   7/8/2016          $93.73        0.70%        1.53%        -0.60%        1.04%        -0.35%   1.79%          -0.19     15.31%
  7/11/2016          $93.67       -0.06%        0.34%        -0.43%        0.08%        -0.14%   1.79%          -0.08      6.31%
  7/12/2016          $94.98        1.40%        0.70%        -0.27%        0.50%         0.90%   1.79%          0.50      38.53%
  7/13/2016          $95.49        0.54%        0.02%         0.11%        0.11%         0.42%   1.79%          0.24      18.66%
  7/14/2016          $93.63       -1.95%        0.53%         0.21%        0.63%        -2.58%   1.79%          -1.44     84.82%
  7/15/2016          $94.70        1.14%        -0.09%       -0.29%        -0.23%        1.38%   1.79%          0.77      55.64%
  7/18/2016          $92.47       -2.35%        0.24%        -0.39%        0.01%        -2.37%   1.79%          -1.32     81.25%
  7/19/2016          $93.05        0.63%        -0.14%        0.36%        0.12%         0.51%   1.79%          0.29      22.47%
  7/20/2016          $94.85        1.93%        0.44%         0.02%        0.43%         1.50%   1.79%          0.84      59.65%
  7/21/2016          $91.52       -3.51%        -0.36%        0.33%        -0.10%       -3.41%   1.79%          -1.90     94.18%           *
  7/22/2016          $92.46        1.03%        0.46%        -0.28%        0.27%         0.75%   1.79%          0.42      32.60%
  7/25/2016          $92.52        0.06%        -0.30%        0.18%        -0.13%        0.20%   1.79%          0.11       8.84%
  7/26/2016          $90.78       -1.88%        0.04%        -0.08%        0.01%        -1.89%   1.79%          -1.06     70.84%
  7/27/2016          $91.34        0.62%        -0.12%        0.84%        0.43%         0.19%   1.79%          0.11       8.37%
  7/28/2016          $91.08       -0.28%        0.17%        -0.89%        -0.35%        0.07%   1.79%          0.04       2.99%
  7/29/2016          $91.39        0.34%        0.16%         0.15%        0.26%         0.08%   1.79%          0.04       3.43%
   8/1/2016          $91.10       -0.32%        -0.13%        0.67%        0.32%        -0.63%   1.79%          -0.35     27.57%


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Exhibit 11A                          3915

Perrigo Company PLC (PRGO US)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                       Company-
                    Closing       Actual       Market       Industry      Predicted             Standard                 Confidence Statistically
     Date                                                                              Specific                 t-Stat
                     Price        Return       Return       Residual       Return                Error                     Level    Significant[1]
                                                                                        Return
   8/2/2016         $91.61         0.56%        -0.63%       -0.41%        -0.79%        1.35%   1.79%          0.75      54.71%
   8/3/2016         $94.25         2.88%        0.34%        -1.04%        -0.29%        3.17%   1.79%          1.77      92.17%           *
   8/4/2016         $92.24        -2.13%        0.05%        -0.01%        0.06%        -2.19%   1.79%          -1.22     77.79%
   8/5/2016         $93.15         0.99%        0.86%        -0.96%        0.23%         0.76%   1.79%          0.42      32.63%
   8/8/2016         $93.44         0.31%        -0.08%       -1.30%        -0.82%        1.14%   1.79%          0.63      47.33%
   8/9/2016         $95.09         1.77%        0.04%         0.24%        0.21%         1.55%   1.79%          0.87      61.34%
  8/10/2016         $86.00        -9.56%        -0.25%        0.01%        -0.19%       -9.37%   1.79%          -5.23     100.00%         **
  8/11/2016         $85.80        -0.23%        0.49%         0.06%        0.50%        -0.73%   1.79%          -0.41     31.67%
  8/12/2016         $87.96         2.52%        -0.07%       -0.48%        -0.33%        2.84%   1.79%          1.59      88.63%
  8/15/2016         $88.29         0.38%        0.29%        -0.35%        0.08%         0.29%   1.79%          0.16      13.01%
  8/16/2016         $88.66         0.42%        -0.53%       -0.49%        -0.74%        1.16%   1.79%          0.65      48.27%
  8/17/2016         $89.54         0.99%        0.21%         0.20%        0.34%         0.65%   1.79%          0.37      28.46%
  8/18/2016         $90.80         1.41%        0.22%        -0.23%        0.09%         1.32%   1.79%          0.74      53.75%
  8/19/2016         $91.83         1.13%        -0.13%       -0.07%        -0.13%        1.27%   1.79%          0.71      52.01%
  8/22/2016         $91.52        -0.34%        -0.05%       -0.27%        -0.18%       -0.16%   1.79%          -0.09      6.97%
  8/23/2016         $91.54         0.02%        0.20%         0.04%        0.23%        -0.21%   1.79%          -0.12      9.25%
  8/24/2016         $87.85        -3.87%        -0.52%       -0.99%        -1.03%       -2.84%   1.79%          -1.59     88.59%
  8/25/2016         $88.48         0.72%        -0.13%       -0.41%        -0.34%        1.06%   1.79%          0.59      44.50%
  8/26/2016         $88.61         0.15%        -0.16%        0.52%        0.20%        -0.05%   1.79%          -0.03      2.42%
  8/29/2016         $89.04         0.49%        0.54%        -0.08%        0.46%         0.03%   1.79%          0.01       1.13%
  8/30/2016         $91.02         2.22%        -0.18%       -0.52%        -0.44%        2.67%   1.79%          1.49      86.20%
  8/31/2016         $90.99        -0.03%        -0.22%        0.04%        -0.14%        0.11%   1.79%          0.06       4.95%
   9/1/2016         $91.25         0.29%        0.00%        -0.17%        -0.08%        0.36%   1.79%          0.20      16.07%
   9/2/2016         $90.75        -0.55%        0.43%        -0.58%        0.06%        -0.61%   1.79%          -0.34     26.72%
   9/6/2016         $92.07         1.45%        0.30%         0.33%        0.50%         0.96%   1.79%          0.54      40.70%
   9/7/2016         $90.39        -1.82%        0.01%        -0.18%        -0.07%       -1.75%   1.79%          -0.98     67.15%
   9/8/2016         $90.70         0.34%        -0.22%        0.45%        0.10%         0.24%   1.79%          0.13      10.68%
   9/9/2016         $88.71        -2.19%        -2.45%        0.71%        -1.76%       -0.44%   1.79%          -0.24     19.27%
  9/12/2016         $95.23         7.35%        1.47%        -0.14%        1.27%         6.08%   1.79%          3.39      99.92%          **
  9/13/2016         $93.58        -1.73%        -1.45%        0.06%        -1.24%       -0.49%   1.79%          -0.27     21.45%
  9/14/2016         $92.93        -0.69%        -0.05%        0.03%        0.00%        -0.69%   1.79%          -0.39     30.02%
  9/15/2016         $93.95         1.10%        1.03%        -0.08%        0.91%         0.19%   1.79%          0.11       8.48%
  9/16/2016         $93.30        -0.69%        -0.38%       -0.02%        -0.32%       -0.37%   1.79%          -0.20     16.20%
  9/19/2016         $93.28        -0.02%        0.00%        -0.67%        -0.38%        0.36%   1.79%          0.20      15.72%
  9/20/2016         $93.37         0.10%        0.03%         0.17%        0.16%        -0.06%   1.79%          -0.04      2.84%
  9/21/2016         $93.69         0.34%        1.09%        -0.08%        0.96%        -0.62%   1.79%          -0.35     27.05%
  9/22/2016         $97.12         3.66%        0.65%        -0.09%        0.56%         3.10%   1.79%          1.73      91.50%           *
  9/23/2016         $97.40         0.29%        -0.57%        0.39%        -0.26%        0.54%   1.79%          0.30      23.84%
  9/26/2016         $95.73        -1.71%        -0.85%       -0.73%        -1.17%       -0.54%   1.79%          -0.30     23.67%
  9/27/2016         $96.77         1.09%        0.65%         0.24%        0.76%         0.33%   1.79%          0.18      14.53%
  9/28/2016         $97.28         0.53%        0.55%        -0.43%        0.27%         0.26%   1.79%          0.14      11.50%
  9/29/2016         $93.24        -4.15%        -0.93%       -1.21%        -1.54%       -2.62%   1.79%          -1.46     85.46%
  9/30/2016         $92.33        -0.98%        0.80%         0.02%        0.76%        -1.74%   1.79%          -0.97     66.61%
  10/3/2016         $93.78         1.57%        -0.31%        0.70%        0.16%         1.41%   1.79%          0.79      56.68%
  10/4/2016         $94.07         0.31%        -0.49%        0.64%        -0.03%        0.34%   1.79%          0.19      14.92%
  10/5/2016         $96.73         2.83%        0.47%        -0.10%        0.39%         2.44%   1.79%          1.36      82.50%
  10/6/2016         $94.84        -1.95%        0.05%        -0.39%        -0.16%       -1.79%   1.79%          -1.00     68.17%
  10/7/2016         $90.95        -4.10%        -0.32%        0.54%        0.06%        -4.16%   1.79%          -2.32     97.89%          **
  10/10/2016        $92.73         1.96%        0.46%        -0.43%        0.19%         1.77%   1.79%          0.99      67.56%
  10/11/2016        $89.23        -3.77%        -1.24%       -0.75%        -1.54%       -2.23%   1.79%          -1.25     78.61%
  10/12/2016        $88.00        -1.38%        0.12%        -0.57%        -0.20%       -1.18%   1.79%          -0.66     48.74%
  10/13/2016        $87.90        -0.11%        -0.31%        0.47%        0.03%        -0.15%   1.79%          -0.08      6.47%
  10/14/2016        $86.39        -1.72%        0.02%        -0.86%        -0.47%       -1.25%   1.79%          -0.70     51.29%
  10/17/2016        $86.43         0.05%        -0.30%       -0.07%        -0.29%        0.33%   1.79%          0.18      14.66%


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Perrigo Company PLC (PRGO US)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                       Company-
                    Closing       Actual       Market       Industry      Predicted             Standard                 Confidence Statistically
     Date                                                                              Specific                 t-Stat
                     Price        Return       Return       Residual       Return                Error                     Level    Significant[1]
                                                                                        Return
  10/18/2016        $88.24         2.09%        0.62%        -0.76%        0.12%         1.97%   1.79%          1.10      72.72%
  10/19/2016        $88.18        -0.07%        0.23%        -0.60%        -0.12%        0.06%   1.79%          0.03       2.45%
  10/20/2016        $88.51         0.37%        -0.13%        0.45%        0.18%         0.19%   1.79%          0.11       8.54%
  10/21/2016        $90.31         2.03%        -0.01%       -1.11%        -0.64%        2.68%   1.79%          1.49      86.33%
  10/24/2016        $90.61         0.33%        0.48%        -0.93%        -0.10%        0.43%   1.79%          0.24      19.15%
  10/25/2016        $90.17        -0.49%        -0.38%        0.93%        0.24%        -0.73%   1.79%          -0.41     31.57%
  10/26/2016        $90.71         0.60%        -0.17%       -0.31%        -0.31%        0.91%   1.79%          0.51      38.80%
  10/27/2016        $91.00         0.32%        -0.30%        1.10%        0.42%        -0.10%   1.79%          -0.06      4.55%
  10/28/2016        $87.06        -4.33%        -0.31%       -1.60%        -1.21%       -3.12%   1.79%          -1.74     91.75%          *
  10/31/2016        $83.19        -4.45%        -0.01%       -0.37%        -0.21%       -4.24%   1.79%          -2.37     98.12%          **
  11/1/2016         $84.70         1.82%        -0.68%        0.08%        -0.53%        2.35%   1.79%          1.31      80.90%
  11/2/2016         $82.91        -2.11%        -0.64%       -0.40%        -0.79%       -1.33%   1.79%          -0.74     53.96%
  11/3/2016         $79.95        -3.57%        -0.41%       -0.93%        -0.90%       -2.67%   1.79%          -1.49     86.27%
  11/4/2016         $82.39         3.05%        -0.16%        0.90%        0.42%         2.63%   1.79%          1.47      85.71%
  11/7/2016         $83.96         1.91%        2.22%        -0.28%        1.86%         0.04%   1.79%          0.02       1.97%
  11/8/2016         $80.60        -4.00%        0.43%        -0.20%        0.29%        -4.30%   1.79%          -2.40     98.27%          **
  11/9/2016         $83.51         3.61%        1.11%         4.18%        3.53%         0.08%   1.79%          0.04       3.36%
  11/10/2016        $89.11         6.71%        0.20%         0.84%        0.72%         5.99%   1.79%          3.34      99.90%          **
  11/11/2016        $89.27         0.18%        -0.14%       -1.46%        -0.97%        1.15%   1.79%          0.64      47.94%
  11/14/2016        $91.55         2.55%        0.00%        -1.05%        -0.60%        3.15%   1.79%          1.76      92.00%           *
  11/15/2016        $89.10        -2.68%        0.77%        -1.01%        0.12%        -2.80%   1.79%          -1.56     87.99%
  11/16/2016        $86.39        -3.04%        -0.13%       -0.64%        -0.47%       -2.57%   1.79%          -1.43     84.67%
  11/17/2016        $88.39         2.31%        0.47%        -0.23%        0.31%         2.00%   1.79%          1.12      73.45%
  11/18/2016        $88.14        -0.28%        -0.22%       -0.76%        -0.63%        0.35%   1.79%          0.19      15.28%
  11/21/2016        $89.31         1.33%        0.75%        -0.62%        0.33%         1.00%   1.79%          0.56      42.29%
  11/22/2016        $87.84        -1.48%        0.22%        -1.41%        -0.62%       -0.86%   1.79%          -0.48     36.97%
  11/23/2016        $89.33         1.70%        0.08%        -0.61%        -0.26%        1.96%   1.79%          1.09      72.47%
  11/25/2016        $87.84        -1.67%        0.39%         0.38%        0.61%        -2.28%   1.79%          -1.27     79.49%
  11/28/2016        $88.19         0.40%        -0.51%       -0.42%        -0.68%        1.08%   1.79%          0.60      45.39%
  11/29/2016        $85.79        -2.72%        0.16%        -0.01%        0.16%        -2.89%   1.79%          -1.61     89.14%
  11/30/2016        $86.34         0.64%        -0.24%       -0.17%        -0.30%        0.94%   1.79%          0.52      39.82%
  12/1/2016         $85.80        -0.63%        -0.35%       -0.72%        -0.72%        0.09%   1.79%          0.05       4.09%
  12/2/2016         $85.96         0.19%        0.04%         0.53%        0.38%        -0.19%   1.79%          -0.11      8.64%
  12/5/2016         $84.66        -1.51%        0.59%        -0.90%        0.02%        -1.53%   1.79%          -0.86     60.69%
  12/6/2016         $84.47        -0.22%        0.34%        -0.14%        0.25%        -0.48%   1.79%          -0.27     20.94%
  12/7/2016         $83.94        -0.63%        1.34%        -2.11%        -0.03%       -0.59%   1.79%          -0.33     25.89%
  12/8/2016         $81.95        -2.37%        0.23%        -0.36%        0.02%        -2.39%   1.79%          -1.33     81.60%
  12/9/2016         $82.50         0.67%        0.59%         1.20%        1.28%        -0.61%   1.79%          -0.34     26.63%
  12/12/2016        $82.30        -0.24%        -0.11%        1.37%        0.75%        -0.99%   1.79%          -0.55     41.92%
  12/13/2016        $83.74         1.75%        0.67%         0.33%        0.83%         0.92%   1.79%          0.51      39.14%
  12/14/2016        $83.21        -0.63%        -0.81%        0.51%        -0.39%       -0.24%   1.79%          -0.13     10.59%
  12/15/2016        $82.61        -0.72%        0.39%         0.51%        0.69%        -1.41%   1.79%          -0.79     56.80%
  12/16/2016        $82.88         0.33%        -0.17%        0.46%        0.15%         0.18%   1.79%          0.10       7.96%
  12/19/2016        $84.55         2.02%        0.20%        -0.42%        -0.05%        2.06%   1.79%          1.15      74.86%
  12/20/2016        $84.72         0.20%        0.38%        -0.71%        -0.06%        0.26%   1.79%          0.15      11.52%
  12/21/2016        $84.79         0.08%        -0.24%       -0.47%        -0.47%        0.55%   1.79%          0.31      24.24%
  12/22/2016        $84.34        -0.53%        -0.17%        0.19%        -0.02%       -0.51%   1.79%          -0.29     22.50%
  12/23/2016        $84.98         0.76%        0.14%         0.51%        0.46%         0.30%   1.79%          0.17      13.34%
  12/27/2016        $85.18         0.24%        0.23%        -0.16%        0.14%         0.10%   1.79%          0.06       4.41%
  12/28/2016        $82.84        -2.75%        -0.82%        0.11%        -0.64%       -2.10%   1.79%          -1.17     75.81%
  12/29/2016        $82.31        -0.64%        -0.02%        0.37%        0.22%        -0.86%   1.79%          -0.48     36.99%
  12/30/2016        $83.23         1.12%        -0.46%        0.33%        -0.19%        1.31%   1.79%          0.73      53.35%
   1/3/2017         $86.50         3.93%        0.85%         0.64%        1.18%         2.75%   1.79%          1.54      87.41%
   1/4/2017         $87.23         0.84%        0.59%        -0.37%        0.34%         0.50%   1.79%          0.28      22.16%


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Perrigo Company PLC (PRGO US)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                       Company-
                    Closing       Actual       Market       Industry      Predicted             Standard                 Confidence Statistically
     Date                                                                              Specific                 t-Stat
                     Price        Return       Return       Residual       Return                Error                     Level    Significant[1]
                                                                                        Return
   1/5/2017         $86.53         -0.80%       -0.08%        0.99%        0.55%        -1.35%   1.79%          -0.76     54.92%
   1/6/2017         $85.25         -1.48%       0.38%        -0.68%        -0.04%       -1.44%   1.79%          -0.81     57.88%
   1/9/2017         $85.43          0.21%       -0.35%        0.61%        0.08%         0.13%   1.79%          0.08       5.99%
  1/10/2017         $83.65         -2.08%       0.00%        -0.32%        -0.16%       -1.92%   1.79%          -1.07     71.54%
  1/11/2017         $77.88         -6.90%       0.29%        -1.55%        -0.64%       -6.26%   1.79%          -3.49     99.94%          **
  1/12/2017         $78.18          0.39%       -0.21%        0.32%        0.03%         0.35%   1.79%          0.20      15.66%
  1/13/2017         $77.80         -0.49%       0.18%        -0.24%        0.05%        -0.54%   1.79%          -0.30     23.59%
  1/17/2017         $76.55         -1.61%       -0.30%       -0.31%        -0.43%       -1.18%   1.79%          -0.66     48.84%
  1/18/2017         $76.46         -0.12%       0.19%        -0.27%        0.04%        -0.16%   1.79%          -0.09      7.09%
  1/19/2017         $76.47          0.01%       -0.36%       -0.50%        -0.60%        0.61%   1.79%          0.34      26.57%
  1/20/2017         $75.06         -1.84%       0.34%        -0.76%        -0.12%       -1.72%   1.79%          -0.96     66.22%
  1/23/2017         $73.48         -2.11%       -0.27%       -0.22%        -0.35%       -1.76%   1.79%          -0.98     67.27%
  1/24/2017         $71.92         -2.12%       0.66%        -2.02%        -0.59%       -1.53%   1.79%          -0.86     60.69%
  1/25/2017         $72.80          1.22%       0.80%        -0.23%        0.61%         0.61%   1.79%          0.34      26.70%
  1/26/2017         $72.39         -0.56%       -0.07%       -0.84%        -0.54%       -0.02%   1.79%          -0.01      0.93%
  1/27/2017         $73.90          2.09%       -0.08%        1.17%        0.66%         1.43%   1.79%          0.80      57.45%
  1/30/2017         $74.40          0.68%       -0.60%        0.29%        -0.33%        1.01%   1.79%          0.56      42.66%
  1/31/2017         $76.15          2.35%       -0.09%        1.28%        0.71%         1.64%   1.79%          0.91      63.82%
   2/1/2017         $76.77          0.81%       0.05%         0.63%        0.45%         0.36%   1.79%          0.20      16.07%
   2/2/2017         $78.42          2.15%       0.06%         0.88%        0.61%         1.54%   1.79%          0.86      60.76%
   2/3/2017         $77.99         -0.55%       0.74%        -0.33%        0.49%        -1.04%   1.79%          -0.58     43.77%
   2/6/2017         $78.08          0.12%       -0.21%        0.66%        0.23%        -0.12%   1.79%          -0.07      5.19%
   2/7/2017         $77.76         -0.41%       0.03%        -0.32%        -0.14%       -0.27%   1.79%          -0.15     11.96%
   2/8/2017         $77.93          0.22%       0.10%         0.31%        0.30%        -0.09%   1.79%          -0.05      3.78%
   2/9/2017         $79.44          1.94%       0.59%        -0.19%        0.45%         1.49%   1.79%          0.83      59.29%
  2/10/2017         $79.40         -0.05%       0.36%        -0.07%        0.31%        -0.36%   1.79%          -0.20     15.90%
  2/13/2017         $80.16          0.96%       0.55%         0.11%        0.59%         0.37%   1.79%          0.21      16.24%
  2/14/2017         $82.13          2.46%       0.43%         0.56%        0.75%         1.71%   1.79%          0.95      65.83%
  2/15/2017         $84.90          3.37%       0.51%         0.56%        0.83%         2.55%   1.79%          1.42      84.32%
  2/16/2017         $83.12         -2.10%       -0.08%        0.02%        -0.03%       -2.06%   1.79%          -1.15     74.95%
  2/17/2017         $84.47          1.62%       0.17%         0.18%        0.29%         1.34%   1.79%          0.75      54.31%
  2/21/2017         $84.67          0.24%       0.60%        -0.27%        0.41%        -0.18%   1.79%          -0.10      7.77%
  2/22/2017         $84.09         -0.68%       -0.10%        0.09%        -0.01%       -0.68%   1.79%          -0.38     29.36%
  2/23/2017         $84.07         -0.02%       0.05%         1.21%        0.80%        -0.83%   1.79%          -0.46     35.53%
  2/24/2017         $84.43          0.43%       0.17%         0.60%        0.54%        -0.12%   1.79%          -0.07      5.18%
  2/27/2017         $84.68          0.30%       0.12%        -0.19%        0.02%         0.28%   1.79%          0.16      12.38%
  2/28/2017         $74.77        -11.70%       -0.25%       -0.05%        -0.23%      -11.47%   1.79%          -6.40     100.00%         **
   3/1/2017         $74.97          0.48%       1.39%        -0.23%        1.14%        -0.66%   1.79%          -0.37     28.53%
   3/2/2017         $75.56          0.79%       -0.58%        0.31%        -0.31%        1.09%   1.79%          0.61      45.78%
   3/3/2017         $72.76         -3.71%       0.05%         0.28%        0.24%        -3.95%   1.79%          -2.20     97.15%          **
   3/6/2017         $71.59         -1.61%       -0.33%       -0.09%        -0.32%       -1.29%   1.79%          -0.72     52.68%
   3/7/2017         $70.30         -1.80%       -0.28%       -0.42%        -0.48%       -1.32%   1.79%          -0.74     53.77%
   3/8/2017         $70.32          0.03%       -0.20%        0.35%        0.06%        -0.03%   1.79%          -0.02      1.23%
   3/9/2017         $70.41          0.13%       0.08%         0.79%        0.57%        -0.45%   1.79%          -0.25     19.61%
  3/10/2017         $71.22          1.15%       0.33%        -0.24%        0.18%         0.97%   1.79%          0.54      41.25%
  3/13/2017         $70.29         -1.31%       0.07%        -0.49%        -0.20%       -1.10%   1.79%          -0.61     46.04%
  3/14/2017         $69.30         -1.41%       -0.33%        0.39%        -0.04%       -1.37%   1.79%          -0.76     55.36%
  3/15/2017         $70.60          1.88%       0.84%         0.45%        1.06%         0.82%   1.79%          0.46      35.18%
  3/16/2017         $70.87          0.38%       -0.16%       -0.45%        -0.39%        0.77%   1.79%          0.43      33.16%
  3/17/2017         $69.50         -1.93%       -0.13%       -0.53%        -0.41%       -1.53%   1.79%          -0.85     60.50%
  3/20/2017         $68.42         -1.55%       -0.20%        0.29%        0.02%        -1.57%   1.79%          -0.88     61.94%
  3/21/2017         $68.14         -0.41%       -1.23%        0.46%        -0.80%        0.39%   1.79%          0.22      17.41%
  3/22/2017         $68.43          0.43%       0.19%        -0.28%        0.04%         0.39%   1.79%          0.22      17.21%
  3/23/2017         $68.16         -0.39%       -0.10%       -0.23%        -0.20%       -0.19%   1.79%          -0.11      8.50%


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Exhibit 11A                          3918

Perrigo Company PLC (PRGO US)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                       Company-
                    Closing       Actual       Market       Industry      Predicted             Standard                 Confidence Statistically
     Date                                                                              Specific                 t-Stat
                     Price        Return       Return       Residual       Return                Error                     Level    Significant[1]
                                                                                        Return
  3/24/2017         $67.96        -0.29%        -0.08%       -0.22%        -0.18%       -0.11%   1.79%          -0.06      5.08%
  3/27/2017         $69.18         1.80%        -0.10%        0.42%        0.19%         1.61%   1.79%          0.90      62.98%
  3/28/2017         $68.91        -0.39%        0.73%        -0.57%        0.34%        -0.73%   1.79%          -0.41     31.52%
  3/29/2017         $69.09         0.26%        0.13%        -0.28%        -0.02%        0.28%   1.79%          0.16      12.56%
  3/30/2017         $66.93        -3.13%        0.30%        -0.57%        -0.05%       -3.08%   1.79%          -1.72     91.31%           *
  3/31/2017         $66.39        -0.81%        -0.23%       -0.20%        -0.29%       -0.51%   1.79%          -0.29     22.53%
   4/3/2017         $66.81         0.63%        -0.16%        0.12%        -0.05%        0.68%   1.79%          0.38      29.45%
   4/4/2017         $66.67        -0.21%        0.07%         0.17%        0.20%        -0.41%   1.79%          -0.23     17.88%
   4/5/2017         $66.61        -0.09%        -0.30%        0.00%        -0.24%        0.15%   1.79%          0.08       6.52%
   4/6/2017         $67.60         1.49%        0.22%        -0.26%        0.07%         1.41%   1.79%          0.79      56.91%
   4/7/2017         $68.76         1.72%        -0.08%        0.05%        -0.02%        1.73%   1.79%          0.97      66.53%
  4/10/2017         $69.77         1.47%        0.07%        -0.40%        -0.14%        1.61%   1.79%          0.90      63.05%
  4/11/2017         $69.01        -1.09%        -0.13%       -0.08%        -0.14%       -0.95%   1.79%          -0.53     40.42%
  4/12/2017         $68.05        -1.39%        -0.37%        0.76%        0.14%        -1.53%   1.79%          -0.86     60.70%
  4/13/2017         $67.65        -0.59%        -0.68%        0.27%        -0.43%       -0.16%   1.79%          -0.09      7.21%
  4/17/2017         $67.89         0.35%        0.86%        -0.90%        0.26%         0.09%   1.79%          0.05       4.01%
  4/18/2017         $66.14        -2.58%        -0.29%       -1.24%        -0.98%       -1.60%   1.79%          -0.89     62.76%
  4/19/2017         $66.43         0.44%        -0.16%        0.06%        -0.08%        0.52%   1.79%          0.29      22.64%
  4/20/2017         $66.76         0.50%        0.76%        -0.29%        0.53%        -0.04%   1.79%          -0.02      1.68%
  4/21/2017         $66.43        -0.49%        -0.30%       -0.09%        -0.30%       -0.19%   1.79%          -0.11      8.58%
  4/24/2017         $67.05         0.93%        1.09%        -0.31%        0.82%         0.11%   1.79%          0.06       5.04%
  4/25/2017         $67.81         1.13%        0.61%        -0.53%        0.26%         0.88%   1.79%          0.49      37.47%
  4/26/2017         $73.02         7.68%        -0.05%        0.25%        0.13%         7.55%   1.79%          4.21      100.00%         **
  4/27/2017         $74.01         1.36%        0.07%         0.48%        0.37%         0.98%   1.79%          0.55      41.61%
  4/28/2017         $73.94        -0.09%        -0.19%        0.19%        -0.03%       -0.06%   1.79%          -0.04      2.80%
   5/1/2017         $74.05         0.15%        0.17%        -0.21%        0.06%         0.09%   1.79%          0.05       4.14%
   5/2/2017         $76.23         2.94%        0.12%        -0.06%        0.10%         2.84%   1.79%          1.59      88.63%
   5/3/2017         $72.35        -5.09%        -0.11%       -0.21%        -0.20%       -4.89%   1.79%          -2.73     99.32%          **
   5/4/2017         $73.12         1.06%        0.06%         0.48%        0.37%         0.69%   1.79%          0.39      30.01%
   5/5/2017         $73.41         0.40%        0.41%        -0.38%        0.17%         0.23%   1.79%          0.13      10.15%
   5/8/2017         $73.07        -0.46%        0.01%        -0.51%        -0.26%       -0.20%   1.79%          -0.11      8.87%
   5/9/2017         $74.73         2.27%        -0.10%       -0.16%        -0.16%        2.43%   1.79%          1.36      82.35%
  5/10/2017         $74.54        -0.25%        0.15%        -0.36%        -0.05%       -0.20%   1.79%          -0.11      8.95%
  5/11/2017         $75.37         1.11%        -0.18%        0.47%        0.14%         0.97%   1.79%          0.54      41.23%
  5/12/2017         $74.97        -0.53%        -0.15%       -0.05%        -0.14%       -0.39%   1.79%          -0.22     17.37%
  5/15/2017         $75.05         0.11%        0.49%         0.39%        0.70%        -0.60%   1.79%          -0.33     26.07%
  5/16/2017         $74.55        -0.67%        -0.05%       -0.33%        -0.21%       -0.45%   1.79%          -0.25     19.89%
  5/17/2017         $73.07        -1.99%        -1.79%        0.61%        -1.22%       -0.76%   1.79%          -0.43     32.99%
  5/18/2017         $70.50        -3.52%        0.37%        -0.22%        0.23%        -3.75%   1.79%          -2.09     96.24%          **
  5/19/2017         $70.79         0.41%        0.68%        -0.52%        0.33%         0.08%   1.79%          0.05       3.72%
  5/22/2017         $71.36         0.81%        0.52%        -0.60%        0.14%         0.67%   1.79%          0.37      29.05%
  5/23/2017         $73.07         2.40%        0.19%         0.30%        0.37%         2.02%   1.79%          1.13      74.01%
  5/24/2017         $71.93        -1.34%        0.25%        -0.13%        0.17%        -1.52%   1.79%          -0.85     60.15%
  5/25/2017         $71.85        -0.11%        0.46%         0.07%        0.48%        -0.60%   1.79%          -0.33     26.00%
  5/26/2017         $69.95        -2.64%        0.04%        -0.39%        -0.17%       -2.48%   1.79%          -1.38     83.21%
  5/30/2017         $67.92        -2.90%        -0.11%        0.07%        -0.02%       -2.88%   1.79%          -1.61     89.03%
  5/31/2017         $72.85         7.26%        -0.03%        0.84%        0.50%         6.75%   1.79%          3.77      99.98%          **
   6/1/2017         $74.73         2.58%        0.77%        -0.21%        0.60%         1.98%   1.79%          1.11      73.06%
   6/2/2017         $73.44        -1.73%        0.37%         0.00%        0.36%        -2.09%   1.79%          -1.17     75.53%
   6/5/2017         $71.78        -2.26%        -0.12%       -0.59%        -0.43%       -1.83%   1.79%          -1.02     69.16%
   6/6/2017         $70.34        -2.01%        -0.28%       -0.04%        -0.25%       -1.76%   1.79%          -0.98     67.28%
   6/7/2017         $70.53         0.27%        0.18%        -0.18%        0.08%         0.19%   1.79%          0.11       8.56%
   6/8/2017         $71.22         0.98%        0.03%        -0.32%        -0.14%        1.12%   1.79%          0.62      46.63%
   6/9/2017         $71.52         0.42%        -0.08%        1.59%        0.91%        -0.49%   1.79%          -0.27     21.36%


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Perrigo Company PLC (PRGO US)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                       Company-
                    Closing       Actual       Market       Industry      Predicted             Standard                 Confidence Statistically
     Date                                                                              Specific                 t-Stat
                     Price        Return       Return       Residual       Return                Error                     Level    Significant[1]
                                                                                        Return
  6/12/2017         $71.64         0.17%        -0.09%        0.04%        -0.03%        0.20%   1.79%          0.11       8.71%
  6/13/2017         $71.70         0.08%        0.48%        -0.67%        0.06%         0.03%   1.79%          0.02       1.25%
  6/14/2017         $72.32         0.86%        -0.09%        0.52%        0.26%         0.61%   1.79%          0.34      26.52%
  6/15/2017         $72.82         0.69%        -0.21%        0.29%        0.01%         0.68%   1.79%          0.38      29.44%
  6/16/2017         $73.02         0.27%        0.03%         0.35%        0.26%         0.01%   1.79%          0.01       0.46%
  6/19/2017         $73.14         0.16%        0.84%        -0.23%        0.64%        -0.48%   1.79%          -0.27     21.02%
  6/20/2017         $72.36        -1.07%        -0.67%        1.20%        0.14%        -1.21%   1.79%          -0.67     49.97%
  6/21/2017         $73.33         1.34%        -0.05%        0.92%        0.53%         0.81%   1.79%          0.45      34.66%
  6/22/2017         $74.65         1.80%        -0.04%        1.07%        0.63%         1.17%   1.79%          0.65      48.66%
  6/23/2017         $75.28         0.84%        0.16%        -0.17%        0.07%         0.78%   1.79%          0.43      33.42%
  6/26/2017         $75.86         0.77%        0.03%        -0.05%        0.03%         0.74%   1.79%          0.41      32.15%
  6/27/2017         $74.70        -1.53%        -0.81%       -0.27%        -0.86%       -0.67%   1.79%          -0.37     29.13%
  6/28/2017         $76.50         2.41%        0.90%        -1.20%        0.12%         2.29%   1.79%          1.28      79.70%
  6/29/2017         $75.92        -0.76%        -0.86%        0.01%        -0.74%       -0.02%   1.79%          -0.01      1.01%
  6/30/2017         $75.52        -0.53%        0.16%        -0.43%        -0.09%       -0.44%   1.79%          -0.25     19.36%
   7/3/2017         $75.75         0.30%        0.24%         0.27%        0.40%        -0.10%   1.79%          -0.05      4.38%
   7/5/2017         $74.70        -1.39%        0.16%        -0.05%        0.14%        -1.53%   1.79%          -0.85     60.56%
   7/6/2017         $72.32        -3.19%        -0.90%       -0.45%        -1.05%       -2.13%   1.79%          -1.19     76.46%
   7/7/2017         $72.46         0.19%        0.64%        -0.34%        0.40%        -0.21%   1.79%          -0.12      9.20%
  7/10/2017         $72.01        -0.62%        0.09%        -0.40%        -0.13%       -0.49%   1.79%          -0.27     21.56%
  7/11/2017         $72.47         0.64%        -0.08%       -0.36%        -0.26%        0.90%   1.79%          0.50      38.23%
  7/12/2017         $73.28         1.12%        0.74%        -0.04%        0.67%         0.45%   1.79%          0.25      19.65%
  7/13/2017         $73.95         0.91%        0.19%        -0.23%        0.06%         0.85%   1.79%          0.48      36.49%
  7/14/2017         $73.88        -0.09%        0.47%         0.05%        0.48%        -0.58%   1.79%          -0.32     25.22%
  7/17/2017         $73.87        -0.01%        0.00%        -0.46%        -0.25%        0.23%   1.79%          0.13      10.40%
  7/18/2017         $72.90        -1.31%        0.06%         0.40%        0.32%        -1.63%   1.79%          -0.91     63.72%
  7/19/2017         $72.65        -0.34%        0.55%         0.01%        0.53%        -0.87%   1.79%          -0.48     37.17%
  7/20/2017         $75.51         3.94%        -0.01%        0.66%        0.41%         3.52%   1.79%          1.97      94.95%           *
  7/21/2017         $76.21         0.93%        -0.04%       -0.33%        -0.20%        1.13%   1.79%          0.63      47.04%
  7/24/2017         $76.35         0.18%        -0.10%       -0.55%        -0.40%        0.58%   1.79%          0.32      25.32%
  7/25/2017         $76.28        -0.09%        0.29%        -1.02%        -0.32%        0.23%   1.79%          0.13      10.23%
  7/26/2017         $76.24        -0.05%        0.03%        -0.49%        -0.24%        0.19%   1.79%          0.10       8.32%
  7/27/2017         $73.91        -3.06%        -0.09%        0.34%        0.15%        -3.21%   1.79%          -1.79     92.52%           *
  7/28/2017         $74.47         0.76%        -0.13%        0.71%        0.33%         0.42%   1.79%          0.24      18.67%
  7/31/2017         $74.92         0.60%        -0.07%        0.43%        0.22%         0.39%   1.79%          0.22      17.01%




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Perrigo Company PLC (PRGO US)
Rolling Regression Model Results

              Control Period Control Period                      Model       Standard   Durbin                        Market                 Industry Residual
    Date                                    Num Obs Model R2                                     Intercept
                  Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient    t Statistic
  4/21/2015     4/21/2014      4/20/2015      252    0.1851      0.1786       0.0187     2.072    0.10%        1.003          6.19         0.989           4.27
  4/22/2015     4/22/2014      4/21/2015      252    0.1807      0.1742       0.0188     2.045    0.08%        1.002          6.16         0.968           4.12
  4/23/2015     4/23/2014      4/22/2015      251    0.1806      0.1740       0.0187     2.054    0.06%        0.992          6.14         0.963           4.13
  4/24/2015     4/24/2014      4/23/2015      251    0.1801      0.1735       0.0187     2.062    0.07%        0.990          6.12         0.962           4.12
  4/27/2015     4/27/2014      4/26/2015      250    0.1768      0.1701       0.0189     2.040    0.05%        0.986          6.01         0.974           4.11
  4/28/2015     4/28/2014      4/27/2015      251    0.1806      0.1740       0.0189     2.051    0.05%        0.993          6.07         0.991           4.22
  4/29/2015     4/29/2014      4/28/2015      251    0.1796      0.1730       0.0189     2.047    0.04%        0.991          6.05         0.995           4.21
  4/30/2015     4/30/2014      4/29/2015      251    0.1808      0.1742       0.0189     2.051    0.04%        0.998          6.09         0.991           4.20
  5/1/2015      5/1/2014       4/30/2015      251    0.1812      0.1746       0.0189     2.050    0.05%        0.998          6.12         0.987           4.18
  5/4/2015      5/4/2014       5/3/2015       250    0.1831      0.1765       0.0189     2.053    0.05%        1.001          6.15         1.000           4.18
  5/5/2015      5/5/2014       5/4/2015       251    0.1835      0.1769       0.0189     2.053    0.05%        1.002          6.17         1.001           4.20
  5/6/2015      5/6/2014       5/5/2015       251    0.1830      0.1764       0.0189     2.050    0.06%        0.991          6.14         1.008           4.23
  5/7/2015      5/7/2014       5/6/2015       251    0.1789      0.1723       0.0189     1.976    0.07%        0.979          6.04         0.999           4.18
  5/8/2015      5/8/2014       5/7/2015       251    0.1923      0.1858       0.0181     2.114    0.10%        1.018          6.57         0.912           3.99
  5/11/2015     5/11/2014      5/10/2015      250    0.1908      0.1842       0.0180     2.110    0.10%        1.007          6.56         0.889           3.90
  5/12/2015     5/12/2014      5/11/2015      251    0.1908      0.1842       0.0180     2.113    0.11%        1.003          6.55         0.892           3.94
  5/13/2015     5/13/2014      5/12/2015      251    0.1892      0.1827       0.0180     2.109    0.11%        1.003          6.53         0.885           3.91
  5/14/2015     5/14/2014      5/13/2015      251    0.1894      0.1828       0.0180     2.112    0.11%        1.003          6.53         0.889           3.91
  5/15/2015     5/15/2014      5/14/2015      251    0.1883      0.1818       0.0180     2.104    0.10%        0.996          6.50         0.889           3.91
  5/18/2015     5/18/2014      5/17/2015      250    0.1918      0.1852       0.0180     2.112    0.10%        1.008          6.56         0.900           3.95
  5/19/2015     5/19/2014      5/18/2015      251    0.1921      0.1855       0.0180     2.109    0.10%        1.011          6.58         0.900           3.95
  5/20/2015     5/20/2014      5/19/2015      251    0.1913      0.1848       0.0180     2.114    0.10%        1.012          6.58         0.889           3.92
  5/21/2015     5/21/2014      5/20/2015      251    0.1913      0.1847       0.0180     2.114    0.10%        1.014          6.58         0.889           3.91
  5/22/2015     5/22/2014      5/21/2015      251    0.1919      0.1854       0.0180     2.104    0.10%        1.018          6.60         0.889           3.92
  5/26/2015     5/26/2014      5/25/2015      250    0.1914      0.1848       0.0180     2.104    0.09%        1.012          6.57         0.885           3.91
  5/27/2015     5/27/2014      5/26/2015      251    0.1927      0.1862       0.0179     2.105    0.09%        1.015          6.63         0.881           3.90
  5/28/2015     5/28/2014      5/27/2015      251    0.1916      0.1850       0.0179     2.097    0.09%        1.016          6.65         0.860           3.81
  5/29/2015     5/29/2014      5/28/2015      251    0.1917      0.1852       0.0179     2.098    0.09%        1.017          6.66         0.855           3.80
  6/1/2015      6/1/2014       5/31/2015      250    0.1923      0.1858       0.0179     2.092    0.08%        1.021          6.68         0.853           3.77
  6/2/2015      6/2/2014       6/1/2015       251    0.1925      0.1860       0.0179     2.097    0.09%        1.022          6.69         0.853           3.78
  6/3/2015      6/3/2014       6/2/2015       251    0.1914      0.1849       0.0179     2.092    0.09%        1.022          6.69         0.844           3.74
  6/4/2015      6/4/2014       6/3/2015       251    0.1914      0.1849       0.0179     2.093    0.10%        1.022          6.69         0.842           3.74
  6/5/2015      6/5/2014       6/4/2015       251    0.1930      0.1865       0.0179     2.089    0.10%        1.028          6.75         0.838           3.71
  6/8/2015      6/8/2014       6/7/2015       250    0.1928      0.1863       0.0179     2.090    0.09%        1.026          6.72         0.846           3.73
  6/9/2015      6/9/2014       6/8/2015       251    0.1939      0.1874       0.0179     2.089    0.09%        1.029          6.76         0.846           3.73
  6/10/2015     6/10/2014      6/9/2015       251    0.1936      0.1871       0.0179     2.084    0.08%        1.029          6.76         0.844           3.73
  6/11/2015     6/11/2014      6/10/2015      251    0.1930      0.1865       0.0179     2.076    0.08%        1.017          6.71         0.859           3.78
  6/12/2015     6/12/2014      6/11/2015      251    0.1930      0.1865       0.0179     2.077    0.07%        1.020          6.73         0.849           3.74
  6/15/2015     6/15/2014      6/14/2015      250    0.1973      0.1908       0.0179     2.070    0.07%        1.036          6.84         0.841           3.72
  6/16/2015     6/16/2014      6/15/2015      251    0.1977      0.1913       0.0178     2.070    0.07%        1.037          6.87         0.841           3.73
  6/17/2015     6/17/2014      6/16/2015      251    0.1981      0.1917       0.0180     2.054    0.08%        1.050          6.91         0.836           3.68
  6/18/2015     6/18/2014      6/17/2015      251    0.1974      0.1910       0.0180     2.083    0.07%        1.049          6.89         0.839           3.68
  6/19/2015     6/19/2014      6/18/2015      251    0.1946      0.1881       0.0180     2.075    0.07%        1.038          6.82         0.835           3.66



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Perrigo Company PLC (PRGO US)
Rolling Regression Model Results

              Control Period Control Period                      Model       Standard   Durbin                        Market                 Industry Residual
    Date                                    Num Obs Model R2                                     Intercept
                  Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient    t Statistic
  6/22/2015     6/22/2014      6/21/2015      250    0.1949      0.1884       0.0181     2.071    0.06%        1.043          6.85         0.827           3.59
  6/23/2015     6/23/2014      6/22/2015      251    0.1943      0.1878       0.0180     2.070    0.06%        1.040          6.85         0.826           3.59
  6/24/2015     6/24/2014      6/23/2015      251    0.1945      0.1880       0.0181     2.071    0.07%        1.040          6.83         0.838           3.63
  6/25/2015     6/25/2014      6/24/2015      251    0.1946      0.1881       0.0181     2.073    0.07%        1.042          6.85         0.831           3.61
  6/26/2015     6/26/2014      6/25/2015      251    0.1920      0.1855       0.0181     2.074    0.06%        1.037          6.81         0.820           3.53
  6/29/2015     6/29/2014      6/28/2015      250    0.1915      0.1849       0.0181     2.071    0.07%        1.040          6.83         0.803           3.44
  6/30/2015     6/30/2014      6/29/2015      251    0.1997      0.1932       0.0181     2.072    0.07%        1.058          7.07         0.804           3.45
  7/1/2015      7/1/2014       6/30/2015      251    0.1997      0.1932       0.0181     2.068    0.07%        1.058          7.07         0.804           3.45
  7/2/2015      7/2/2014       7/1/2015       251    0.1954      0.1889       0.0180     2.077    0.05%        1.044          6.99         0.783           3.37
  7/6/2015      7/6/2014       7/5/2015       250    0.1953      0.1888       0.0180     2.077    0.05%        1.046          6.99         0.774           3.32
  7/7/2015      7/7/2014       7/6/2015       251    0.1944      0.1879       0.0180     2.078    0.05%        1.042          6.98         0.777           3.34
  7/8/2015      7/8/2014       7/7/2015       251    0.1897      0.1831       0.0181     2.082    0.05%        1.031          6.88         0.761           3.27
  7/9/2015      7/9/2014       7/8/2015       251    0.1900      0.1834       0.0181     2.091    0.05%        1.024          6.89         0.759           3.26
  7/10/2015     7/10/2014      7/9/2015       251    0.1899      0.1833       0.0181     2.092    0.06%        1.027          6.91         0.750           3.22
  7/13/2015     7/13/2014      7/12/2015      250    0.1886      0.1821       0.0181     1.991    0.06%        1.020          6.88         0.743           3.18
  7/14/2015     7/14/2014      7/13/2015      251    0.1903      0.1838       0.0181     1.994    0.06%        1.024          6.94         0.740           3.18
  7/15/2015     7/15/2014      7/14/2015      251    0.1993      0.1928       0.0173     2.012    0.03%        1.002          7.09         0.754           3.38
  7/16/2015     7/16/2014      7/15/2015      251    0.1968      0.1904       0.0172     2.011    0.04%        0.997          7.09         0.722           3.24
  7/17/2015     7/17/2014      7/16/2015      251    0.1964      0.1899       0.0172     2.010    0.04%        0.991          7.06         0.730           3.28
  7/20/2015     7/20/2014      7/19/2015      250    0.1900      0.1835       0.0172     2.000    0.04%        0.975          6.88         0.724           3.25
  7/21/2015     7/21/2014      7/20/2015      251    0.1904      0.1839       0.0172     2.000    0.04%        0.975          6.90         0.727           3.28
  7/22/2015     7/22/2014      7/21/2015      251    0.1889      0.1824       0.0172     1.987    0.05%        0.971          6.89         0.712           3.21
  7/23/2015     7/23/2014      7/22/2015      251    0.1864      0.1799       0.0171     1.994    0.05%        0.962          6.83         0.705           3.18
  7/24/2015     7/24/2014      7/23/2015      251    0.1864      0.1798       0.0171     1.995    0.05%        0.957          6.81         0.712           3.22
  7/27/2015     7/27/2014      7/26/2015      250    0.1884      0.1819       0.0171     1.998    0.05%        0.960          6.84         0.716           3.25
  7/28/2015     7/28/2014      7/27/2015      251    0.1842      0.1776       0.0173     1.982    0.06%        0.942          6.67         0.752           3.39
  7/29/2015     7/29/2014      7/28/2015      251    0.1785      0.1719       0.0174     2.017    0.06%        0.926          6.57         0.730           3.28
  7/30/2015     7/30/2014      7/29/2015      251    0.1787      0.1721       0.0174     2.022    0.06%        0.927          6.58         0.726           3.26
  7/31/2015     7/31/2014      7/30/2015      251    0.1790      0.1724       0.0174     2.022    0.05%        0.927          6.58         0.728           3.28
  8/3/2015      8/3/2014       8/2/2015       250    0.1746      0.1680       0.0174     2.015    0.05%        0.922          6.45         0.724           3.27
  8/4/2015      8/4/2014       8/3/2015       251    0.1746      0.1680       0.0173     2.015    0.06%        0.922          6.46         0.724           3.28
  8/5/2015      8/5/2014       8/4/2015       251    0.1765      0.1699       0.0173     2.019    0.06%        0.931          6.52         0.717           3.26
  8/6/2015      8/6/2014       8/5/2015       250    0.1749      0.1682       0.0174     2.004    0.06%        0.928          6.47         0.717           3.25
  8/7/2015      8/7/2014       8/6/2015       250    0.1765      0.1699       0.0172     2.022    0.08%        0.929          6.54         0.688           3.20
  8/10/2015     8/10/2014      8/9/2015       249    0.1737      0.1670       0.0173     2.018    0.08%        0.924          6.45         0.688           3.18
  8/11/2015     8/11/2014      8/10/2015      250    0.1758      0.1692       0.0172     2.015    0.08%        0.930          6.53         0.681           3.16
  8/12/2015     8/12/2014      8/11/2015      250    0.1764      0.1697       0.0172     2.014    0.09%        0.930          6.56         0.676           3.14
  8/13/2015     8/13/2014      8/12/2015      250    0.1735      0.1668       0.0173     2.009    0.08%        0.925          6.49         0.677           3.12
  8/14/2015     8/14/2014      8/13/2015      250    0.1716      0.1649       0.0175     1.980    0.10%        0.925          6.43         0.686           3.14
  8/17/2015     8/17/2014      8/16/2015      249    0.1685      0.1617       0.0171     2.021    0.08%        0.909          6.47         0.606           2.83
  8/18/2015     8/18/2014      8/17/2015      250    0.1686      0.1619       0.0170     2.025    0.08%        0.909          6.49         0.605           2.83
  8/19/2015     8/19/2014      8/18/2015      250    0.1705      0.1638       0.0170     2.019    0.08%        0.918          6.54         0.604           2.83
  8/20/2015     8/20/2014      8/19/2015      250    0.1691      0.1624       0.0170     2.016    0.08%        0.909          6.50         0.604           2.83



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Perrigo Company PLC (PRGO US)
Rolling Regression Model Results

               Control Period Control Period                      Model       Standard   Durbin                        Market                 Industry Residual
    Date                                     Num Obs Model R2                                     Intercept
                   Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient    t Statistic
   8/21/2015     8/21/2014      8/20/2015      250    0.1719      0.1652       0.0170     2.020    0.09%        0.905          6.58         0.603           2.83
   8/24/2015     8/24/2014      8/23/2015      249    0.1819      0.1752       0.0170     2.013    0.09%        0.914          6.85         0.594           2.79
   8/25/2015     8/25/2014      8/24/2015      250    0.2002      0.1937       0.0169     2.012    0.08%        0.935          7.35         0.594           2.79
   8/26/2015     8/26/2014      8/25/2015      250    0.1983      0.1918       0.0170     2.014    0.09%        0.932          7.35         0.556           2.65
   8/27/2015     8/27/2014      8/26/2015      250    0.2066      0.2002       0.0170     2.020    0.09%        0.924          7.59         0.543           2.60
   8/28/2015     8/28/2014      8/27/2015      250    0.2113      0.2049       0.0170     2.022    0.09%        0.924          7.71         0.541           2.60
   8/31/2015     8/31/2014      8/30/2015      249    0.2135      0.2071       0.0170     2.019    0.09%        0.927          7.72         0.558           2.69
   9/1/2015      9/1/2014       8/31/2015      250    0.2152      0.2088       0.0170     2.021    0.08%        0.929          7.77         0.560           2.72
   9/2/2015      9/2/2014       9/1/2015       251    0.2182      0.2119       0.0169     2.021    0.09%        0.919          7.86         0.562           2.74
   9/3/2015      9/3/2014       9/2/2015       251    0.2190      0.2127       0.0169     2.022    0.08%        0.914          7.88         0.562           2.74
   9/4/2015      9/4/2014       9/3/2015       251    0.2192      0.2129       0.0170     2.005    0.07%        0.913          7.85         0.580           2.83
   9/8/2015      9/8/2014       9/7/2015       250    0.2168      0.2104       0.0170     2.028    0.09%        0.899          7.77         0.579           2.82
   9/9/2015      9/9/2014       9/8/2015       250    0.2145      0.2082       0.0170     2.038    0.09%        0.883          7.74         0.567           2.76
   9/10/2015     9/10/2014      9/9/2015       250    0.2170      0.2107       0.0170     2.035    0.09%        0.886          7.79         0.571           2.79
   9/11/2015     9/11/2014      9/10/2015      250    0.2162      0.2099       0.0170     2.034    0.08%        0.884          7.78         0.564           2.75
   9/14/2015     9/14/2014      9/13/2015      249    0.2165      0.2101       0.0170     2.034    0.09%        0.885          7.77         0.563           2.74
   9/15/2015     9/15/2014      9/14/2015      250    0.2160      0.2097       0.0170     2.033    0.09%        0.883          7.77         0.568           2.77
   9/16/2015     9/16/2014      9/15/2015      250    0.2174      0.2110       0.0170     2.035    0.09%        0.883          7.80         0.571           2.79
   9/17/2015     9/17/2014      9/16/2015      250    0.2151      0.2088       0.0170     2.032    0.09%        0.876          7.73         0.575           2.81
   9/18/2015     9/18/2014      9/17/2015      250    0.2138      0.2075       0.0170     2.025    0.08%        0.877          7.73         0.552           2.72
   9/21/2015     9/21/2014      9/20/2015      249    0.2156      0.2092       0.0170     2.022    0.08%        0.877          7.76         0.553           2.71
   9/22/2015     9/22/2014      9/21/2015      250    0.2175      0.2112       0.0170     2.023    0.07%        0.872          7.72         0.592           3.00
   9/23/2015     9/23/2014      9/22/2015      250    0.2212      0.2149       0.0170     2.024    0.06%        0.884          7.86         0.568           2.89
   9/24/2015     9/24/2014      9/23/2015      250    0.2211      0.2148       0.0170     2.021    0.06%        0.885          7.86         0.566           2.88
   9/25/2015     9/25/2014      9/24/2015      250    0.2193      0.2130       0.0170     2.021    0.05%        0.880          7.82         0.561           2.86
   9/28/2015     9/28/2014      9/27/2015      249    0.2246      0.2183       0.0172     2.006    0.03%        0.884          7.72         0.664           3.42
   9/29/2015     9/29/2014      9/28/2015      250    0.2409      0.2348       0.0172     1.999    0.02%        0.917          8.10         0.690           3.57
   9/30/2015     9/30/2014      9/29/2015      250    0.2420      0.2359       0.0172     2.010    0.03%        0.917          8.10         0.700           3.64
   10/1/2015     10/1/2014      9/30/2015      250    0.2439      0.2378       0.0172     2.013    0.02%        0.916          8.15         0.699           3.63
   10/2/2015     10/2/2014      10/1/2015      250    0.2423      0.2361       0.0172     2.007    0.02%        0.918          8.13         0.686           3.58
   10/5/2015     10/5/2014      10/4/2015      249    0.2456      0.2395       0.0172     2.016    0.01%        0.920          8.17         0.696           3.65
   10/6/2015     10/6/2014      10/5/2015      250    0.2460      0.2399       0.0172     2.017    0.01%        0.912          8.18         0.695           3.70
   10/7/2015     10/7/2014      10/6/2015      250    0.2472      0.2411       0.0171     2.019    0.01%        0.913          8.19         0.687           3.74
   10/8/2015     10/8/2014      10/7/2015      250    0.2370      0.2308       0.0173     2.003    0.00%        0.898          7.97         0.671           3.62
   10/9/2015     10/9/2014      10/8/2015      250    0.2377      0.2315       0.0173     2.013    0.01%        0.905          8.00         0.670           3.62
  10/12/2015    10/12/2014     10/11/2015      249    0.2430      0.2368       0.0172     2.011    0.00%        0.923          8.08         0.685           3.71
  10/13/2015    10/13/2014     10/12/2015      250    0.2423      0.2362       0.0172     2.008    0.01%        0.923          8.09         0.678           3.68
  10/14/2015    10/14/2014     10/13/2015      250    0.2403      0.2342       0.0172     2.009    0.00%        0.922          8.03         0.686           3.70
  10/15/2015    10/15/2014     10/14/2015      250    0.2405      0.2343       0.0172     2.014    0.01%        0.917          7.98         0.710           3.81
  10/16/2015    10/16/2014     10/15/2015      250    0.2396      0.2334       0.0172     2.019    0.01%        0.914          7.98         0.698           3.77
  10/19/2015    10/19/2014     10/18/2015      249    0.2441      0.2379       0.0173     2.017    0.02%        0.923          8.02         0.724           3.88
  10/20/2015    10/20/2014     10/19/2015      250    0.2442      0.2381       0.0172     2.019    0.02%        0.923          8.04         0.724           3.89
  10/21/2015    10/21/2014     10/20/2015      250    0.2459      0.2398       0.0172     2.019    0.01%        0.921          8.01         0.741           4.04



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Perrigo Company PLC (PRGO US)
Rolling Regression Model Results

               Control Period Control Period                      Model       Standard   Durbin                        Market                 Industry Residual
    Date                                     Num Obs Model R2                                     Intercept
                   Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient    t Statistic
  10/22/2015    10/22/2014     10/21/2015      250    0.2473      0.2412       0.0174     1.999    -0.01%       0.938          8.02         0.757           4.10
  10/23/2015    10/23/2014     10/22/2015      249    0.2473      0.2412       0.0174     1.997    -0.01%       0.940          8.02         0.757           4.06
  10/26/2015    10/26/2014     10/25/2015      248    0.2467      0.2406       0.0174     2.016    -0.01%       0.937          7.97         0.758           4.09
  10/27/2015    10/27/2014     10/26/2015      249    0.2452      0.2391       0.0175     2.008     0.00%       0.935          7.93         0.765           4.12
  10/28/2015    10/28/2014     10/27/2015      249    0.2464      0.2402       0.0175     2.016     0.01%       0.933          7.92         0.762           4.21
  10/29/2015    10/29/2014     10/28/2015      249    0.2494      0.2433       0.0175     2.012     0.01%       0.942          7.99         0.770           4.23
  10/30/2015    10/30/2014     10/29/2015      249    0.2489      0.2428       0.0176     1.981     0.03%       0.941          7.94         0.791           4.31
   11/2/2015     11/2/2014      11/1/2015      248    0.2433      0.2371       0.0177     2.007     0.00%       0.947          7.88         0.769           4.07
   11/3/2015     11/3/2014      11/2/2015      249    0.2438      0.2377       0.0177     2.022     0.00%       0.946          7.92         0.767           4.07
   11/4/2015     11/4/2014      11/3/2015      249    0.2448      0.2386       0.0177     2.027     0.01%       0.946          7.93         0.773           4.11
   11/5/2015     11/5/2014      11/4/2015      249    0.2429      0.2368       0.0177     2.021     0.01%       0.944          7.89         0.775           4.09
   11/6/2015     11/6/2014      11/5/2015      249    0.2436      0.2374       0.0177     2.022     0.01%       0.948          7.92         0.770           4.06
   11/9/2015     11/9/2014      11/8/2015      248    0.2500      0.2439       0.0175     2.019     0.03%       0.955          8.06         0.765           4.08
  11/10/2015    11/10/2014      11/9/2015      249    0.2516      0.2456       0.0175     2.025     0.02%       0.958          8.12         0.766           4.10
  11/11/2015    11/11/2014     11/10/2015      249    0.2529      0.2468       0.0175     2.024     0.03%       0.959          8.12         0.777           4.16
  11/12/2015    11/12/2014     11/11/2015      249    0.2536      0.2475       0.0175     2.031     0.03%       0.961          8.14         0.779           4.17
  11/13/2015    11/13/2014     11/12/2015      249    0.2576      0.2516       0.0175     2.027     0.03%       0.970          8.24         0.781           4.18
  11/16/2015    11/16/2014     11/15/2015      248    0.2526      0.2465       0.0180     1.963     0.01%       0.996          8.29         0.717           3.76
  11/17/2015    11/17/2014     11/16/2015      249    0.2539      0.2478       0.0179     2.009     0.01%       0.995          8.34         0.715           3.76
  11/18/2015    11/18/2014     11/17/2015      249    0.2522      0.2462       0.0180     1.975     0.02%       0.994          8.29         0.723           3.78
  11/19/2015    11/19/2014     11/18/2015      249    0.2505      0.2444       0.0179     1.996     0.01%       0.983          8.30         0.695           3.66
  11/20/2015    11/20/2014     11/19/2015      249    0.2506      0.2445       0.0179     1.991     0.01%       0.983          8.30         0.692           3.66
  11/23/2015    11/23/2014     11/22/2015      248    0.2508      0.2446       0.0178     1.994     0.02%       0.986          8.34         0.668           3.53
  11/24/2015    11/24/2014     11/23/2015      249    0.2511      0.2450       0.0180     1.977     0.00%       0.989          8.31         0.697           3.68
  11/25/2015    11/25/2014     11/24/2015      249    0.2523      0.2462       0.0179     2.004     0.00%       0.988          8.31         0.711           3.74
  11/27/2015    11/27/2014     11/26/2015      248    0.2512      0.2451       0.0180     2.004     0.00%       0.986          8.28         0.701           3.70
  11/30/2015    11/30/2014     11/29/2015      248    0.2510      0.2449       0.0180     2.003    -0.01%       0.987          8.28         0.699           3.67
   12/1/2015     12/1/2014     11/30/2015      249    0.2513      0.2452       0.0179     2.002    -0.01%       0.987          8.31         0.697           3.68
   12/2/2015     12/2/2014      12/1/2015      249    0.2467      0.2406       0.0180     1.996    -0.01%       0.980          8.24         0.669           3.56
   12/3/2015     12/3/2014      12/2/2015      249    0.2478      0.2417       0.0180     2.001    -0.01%       0.981          8.27         0.670           3.56
   12/4/2015     12/4/2014      12/3/2015      249    0.2496      0.2435       0.0180     2.001    -0.01%       0.981          8.30         0.674           3.59
   12/7/2015     12/7/2014      12/6/2015      248    0.2529      0.2468       0.0180     1.999     0.00%       0.977          8.34         0.688           3.65
   12/8/2015     12/8/2014      12/7/2015      249    0.2529      0.2468       0.0179     2.000     0.00%       0.975          8.36         0.688           3.66
   12/9/2015     12/9/2014      12/8/2015      249    0.2519      0.2458       0.0179     1.998     0.00%       0.976          8.35         0.681           3.61
  12/10/2015    12/10/2014      12/9/2015      249    0.2525      0.2464       0.0179     2.000     0.00%       0.974          8.35         0.692           3.65
  12/11/2015    12/11/2014     12/10/2015      249    0.2519      0.2458       0.0179     2.000     0.00%       0.978          8.34         0.690           3.64
  12/14/2015    12/14/2014     12/13/2015      248    0.2502      0.2441       0.0180     1.999     0.00%       0.971          8.28         0.690           3.63
  12/15/2015    12/15/2014     12/14/2015      249    0.2509      0.2448       0.0179     1.999     0.01%       0.972          8.31         0.691           3.64
  12/16/2015    12/16/2014     12/15/2015      249    0.2507      0.2446       0.0179     2.001     0.00%       0.972          8.32         0.686           3.62




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Exhibit 11B                                              3924

Perrigo Company PLC (PRGO US)
Rolling Regression Model Results

               Control Period Control Period                      Model       Standard   Durbin                        Market                 Industry Residual
    Date                                     Num Obs Model R2                                     Intercept
                   Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient    t Statistic
  12/17/2015    12/17/2014     12/16/2015      249    0.2499      0.2438       0.0179     1.997    -0.01%       0.966          8.29         0.691           3.64
  12/18/2015    12/18/2014     12/17/2015      249    0.2471      0.2410       0.0179     2.004    -0.02%       0.957          8.19         0.699           3.69
  12/21/2015    12/21/2014     12/20/2015      248    0.2407      0.2345       0.0179     2.013    -0.03%       0.937          7.99         0.707           3.73
  12/22/2015    12/22/2014     12/21/2015      249    0.2402      0.2341       0.0178     2.013    -0.03%       0.935          7.99         0.708           3.74
  12/23/2015    12/23/2014     12/22/2015      249    0.2406      0.2344       0.0178     2.011    -0.03%       0.934          8.00         0.709           3.74
  12/24/2015    12/24/2014     12/23/2015      249    0.2377      0.2315       0.0178     2.003    -0.02%       0.939          8.07         0.670           3.41
  12/28/2015    12/28/2014     12/27/2015      248    0.2381      0.2318       0.0179     2.001    -0.02%       0.940          8.06         0.669           3.40
  12/29/2015    12/29/2014     12/28/2015      249    0.2384      0.2322       0.0178     2.000    -0.02%       0.941          8.08         0.672           3.42
  12/30/2015    12/30/2014     12/29/2015      249    0.2387      0.2325       0.0178     2.001    -0.03%       0.938          8.09         0.673           3.43
  12/31/2015    12/31/2014     12/30/2015      249    0.2389      0.2327       0.0178     1.998    -0.03%       0.939          8.10         0.670           3.41
   1/4/2016      1/4/2015       1/3/2016       248    0.2396      0.2334       0.0178     1.999    -0.03%       0.941          8.10         0.669           3.40
   1/5/2016      1/5/2015       1/4/2016       249    0.2413      0.2351       0.0178     2.000    -0.03%       0.942          8.16         0.669           3.41
   1/6/2016      1/6/2015       1/5/2016       249    0.2403      0.2342       0.0178     1.999    -0.03%       0.947          8.15         0.667           3.37
   1/7/2016      1/7/2015       1/6/2016       249    0.2360      0.2298       0.0179     1.995    -0.03%       0.937          8.05         0.674           3.35
   1/8/2016      1/8/2015       1/7/2016       249    0.2314      0.2252       0.0179     1.991    -0.02%       0.912          7.89         0.691           3.44
   1/11/2016     1/11/2015      1/10/2016      248    0.2305      0.2243       0.0180     1.998    -0.03%       0.913          7.83         0.698           3.47
   1/12/2016     1/12/2015      1/11/2016      248    0.2305      0.2243       0.0180     1.998    -0.03%       0.913          7.83         0.698           3.47
   1/13/2016     1/13/2015      1/12/2016      248    0.2311      0.2248       0.0180     1.990    -0.03%       0.920          7.88         0.691           3.41
   1/14/2016     1/14/2015      1/13/2016      248    0.2367      0.2305       0.0179     2.010    -0.01%       0.918          8.00         0.695           3.45
   1/15/2016     1/15/2015      1/14/2016      248    0.2381      0.2319       0.0179     2.007    -0.01%       0.918          8.05         0.687           3.43
   1/19/2016     1/19/2015      1/18/2016      247    0.2332      0.2269       0.0179     2.009     0.00%       0.897          7.88         0.694           3.47
   1/20/2016     1/20/2015      1/19/2016      248    0.2334      0.2271       0.0179     2.008     0.00%       0.897          7.90         0.696           3.49
   1/21/2016     1/21/2015      1/20/2016      248    0.2344      0.2282       0.0179     2.001     0.00%       0.894          7.90         0.710           3.56
   1/22/2016     1/22/2015      1/21/2016      248    0.2355      0.2293       0.0178     2.007     0.01%       0.899          7.96         0.692           3.47
   1/25/2016     1/25/2015      1/24/2016      247    0.2427      0.2365       0.0178     2.007     0.02%       0.915          8.16         0.675           3.41
   1/26/2016     1/26/2015      1/25/2016      248    0.2412      0.2350       0.0177     2.006     0.03%       0.905          8.11         0.685           3.48
   1/27/2016     1/27/2015      1/26/2016      248    0.2386      0.2324       0.0178     2.009     0.02%       0.897          8.06         0.680           3.44
   1/28/2016     1/28/2015      1/27/2016      248    0.2397      0.2335       0.0178     1.996     0.01%       0.906          8.11         0.673           3.39
   1/29/2016     1/29/2015      1/28/2016      248    0.2385      0.2323       0.0178     2.003     0.01%       0.901          8.04         0.671           3.48
   2/1/2016      2/1/2015       1/31/2016      247    0.2367      0.2304       0.0179     2.002     0.00%       0.889          7.97         0.677           3.49
   2/2/2016      2/2/2015       2/1/2016       248    0.2369      0.2307       0.0178     2.002     0.00%       0.889          7.98         0.679           3.51
   2/3/2016      2/3/2015       2/2/2016       248    0.2348      0.2285       0.0179     2.000     0.01%       0.879          7.91         0.686           3.55
   2/4/2016      2/4/2015       2/3/2016       248    0.2368      0.2305       0.0178     1.995     0.02%       0.892          8.01         0.670           3.45
   2/5/2016      2/5/2015       2/4/2016       248    0.2383      0.2320       0.0178     2.000     0.02%       0.892          8.00         0.678           3.54
   2/8/2016      2/8/2015       2/7/2016       247    0.2342      0.2279       0.0178     1.997     0.03%       0.873          7.88         0.672           3.53
   2/9/2016      2/9/2015       2/8/2016       248    0.2345      0.2283       0.0179     1.985     0.02%       0.889          8.00         0.632           3.32
   2/10/2016     2/10/2015      2/9/2016       248    0.2336      0.2274       0.0179     2.004     0.02%       0.887          7.99         0.627           3.30
   2/11/2016     2/11/2015      2/10/2016      248    0.2311      0.2248       0.0179     1.998     0.02%       0.884          7.94         0.619           3.25
   2/12/2016     2/12/2015      2/11/2016      248    0.2337      0.2274       0.0179     1.993     0.02%       0.888          8.00         0.620           3.26
   2/16/2016     2/16/2015      2/15/2016      247    0.2360      0.2297       0.0179     1.993     0.02%       0.891          8.05         0.614           3.24
   2/17/2016     2/17/2015      2/16/2016      248    0.2385      0.2323       0.0179     1.995     0.02%       0.893          8.14         0.614           3.24
   2/18/2016     2/18/2015      2/17/2016      248    0.2412      0.2350       0.0179     1.988     0.03%       0.901          8.24         0.599           3.17
  Thereafter     2/18/2015      2/17/2016      248    0.2412      0.2350       0.0179     1.988     0.03%       0.901          8.24         0.599           3.17



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Exhibit 11C                          3925

Perrigo Company PLC (PRGO IT)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                          Company-
                     Closing        Actual        Market      Industry      Predicted              Standard              Confidence Statistically
     Date                                                                                 Specific              t-Stat
                      Price         Return        Return      Residual       Return                 Error                  Level    Significant[1]
                                                                                           Return
  4/21/2015          $189.60         -1.98%       0.15%        0.12%          0.40%        -2.37%   2.24%       -1.06     70.97%
  4/27/2015          $188.99         -0.32%       1.07%        -0.96%         0.41%        -0.73%   2.21%       -0.33     25.96%
  4/28/2015          $183.10         -3.12%       -1.13%       -0.53%         -1.56%       -1.56%   2.21%       -0.71     51.88%
  4/29/2015          $182.19         -0.50%       0.16%        0.31%          0.56%        -1.05%   2.21%       -0.48     36.63%
  4/30/2015          $180.16         -1.11%       -0.57%       -0.12%         -0.63%       -0.49%   2.20%       -0.22     17.46%
   5/4/2015          $182.35         1.22%        1.33%        0.21%          1.74%        -0.53%   2.21%       -0.24     18.78%
   5/5/2015          $182.43         0.04%        -0.55%       -0.05%         -0.54%       0.58%    2.20%       0.26      20.86%
   5/6/2015          $183.70         0.70%        -1.17%       0.12%          -1.05%       1.75%    2.20%       0.80      57.24%
   5/7/2015          $187.39         2.01%        -0.26%       0.19%          0.01%        2.00%    2.20%       0.91      63.53%
  5/11/2015          $188.24         0.45%        1.70%        1.06%          2.70%        -2.25%   2.14%       -1.05     70.52%
  5/12/2015          $187.95         -0.15%       -1.18%       -0.30%         -1.20%       1.05%    2.14%       0.49      37.61%
  5/13/2015          $190.48         1.35%        0.85%        -0.54%         0.63%        0.72%    2.14%       0.34      26.39%
  5/14/2015          $189.65         -0.43%       0.34%        -0.42%         0.22%        -0.65%   2.14%       -0.30     23.91%
  5/18/2015          $191.42         0.93%        0.41%        0.79%          1.16%        -0.23%   2.14%       -0.11      8.54%
  5/19/2015          $193.67         1.18%        0.35%        0.27%          0.72%        0.46%    2.14%       0.21      16.90%
  5/20/2015          $193.52         -0.08%       -0.12%       0.63%          0.51%        -0.59%   2.13%       -0.27     21.57%
  5/21/2015          $191.88         -0.85%       0.11%        -0.39%         0.01%        -0.86%   2.13%       -0.40     31.22%
  5/26/2015          $192.57         0.36%        -0.91%       -0.07%         -0.77%       1.13%    2.14%       0.53      40.27%
  5/27/2015          $190.42         -1.12%       0.18%        0.09%          0.41%        -1.53%   2.13%       -0.72     52.53%
  5/28/2015          $189.57         -0.44%       0.15%        0.29%          0.52%        -0.96%   2.13%       -0.45     34.72%
   6/1/2015          $188.43         -0.60%       -0.46%       0.49%          0.07%        -0.67%   2.13%       -0.31     24.63%
   6/2/2015          $188.68         0.13%        -0.03%       -0.89%         -0.51%       0.64%    2.13%       0.30      23.57%
   6/3/2015          $187.97         -0.37%       0.68%        -0.09%         0.75%        -1.12%   2.13%       -0.53     40.11%
   6/4/2015          $191.59         1.92%        -0.56%       0.11%          -0.30%       2.22%    2.13%       1.05      70.33%
   6/8/2015          $186.42         -2.70%       -0.94%       -0.61%         -1.14%       -1.56%   2.13%       -0.73     53.56%
   6/9/2015          $185.64         -0.41%       -0.73%       0.33%          -0.30%       -0.11%   2.12%       -0.05      4.23%
  6/10/2015          $184.15         -0.80%       1.13%        -0.23%         1.06%        -1.86%   2.12%       -0.88     61.96%
  6/11/2015          $184.16         0.01%        0.77%        0.32%          1.11%        -1.11%   2.12%       -0.52     39.73%
  6/15/2015          $180.60         -1.93%       -1.67%       -0.55%         -1.84%       -0.09%   2.12%       -0.04      3.28%
  6/16/2015          $184.71         2.27%        0.41%        -0.08%         0.46%        1.82%    2.11%       0.86      60.89%
  6/17/2015          $185.61         0.49%        0.66%        0.05%          0.81%        -0.32%   2.12%       -0.15     12.01%
  6/18/2015          $184.42         -0.64%       0.78%        0.29%          1.10%        -1.75%   2.12%       -0.83     58.96%
  6/22/2015          $180.72         -2.00%       0.43%        -0.07%         0.50%        -2.50%   2.13%       -1.18     75.87%
  6/23/2015          $185.26         2.51%        -0.10%       0.31%          0.27%        2.25%    2.13%       1.06      70.77%
  6/24/2015          $184.66         -0.32%       0.03%        -0.20%         0.01%        -0.34%   2.13%       -0.16     12.46%
  6/25/2015          $187.10         1.32%        -0.50%       0.45%          0.01%        1.30%    2.13%       0.61      45.82%
  6/29/2015          $181.48         -3.00%       -1.43%       0.12%          -1.11%       -1.89%   2.14%       -0.88     62.22%
  6/30/2015          $181.08         -0.22%       -0.78%       -0.48%         -1.00%       0.78%    2.14%       0.36      28.43%
   7/1/2015          $183.40         1.28%        0.65%        0.37%          1.04%        0.24%    2.14%       0.11       8.85%
   7/2/2015          $181.06         -1.27%       0.03%        0.07%          0.22%        -1.49%   2.14%       -0.70     51.25%
   7/6/2015          $178.80         -1.25%       -0.52%       0.27%          -0.18%       -1.07%   2.14%       -0.50     38.13%
   7/7/2015          $177.73         -0.60%       -0.76%       0.42%          -0.31%       -0.29%   2.13%       -0.14     10.80%
   7/8/2015          $177.16         -0.32%       0.26%        -0.20%         0.20%        -0.53%   2.13%       -0.25     19.58%
   7/9/2015          $177.83         0.38%        0.08%        0.27%          0.37%        0.01%    2.12%       0.00       0.31%
  7/13/2015          $178.84         0.57%        1.63%        0.76%          2.16%        -1.59%   2.12%       -0.75     54.55%
  7/14/2015          $181.60         1.54%        0.47%        -0.66%         0.12%        1.43%    2.12%       0.67      49.88%
  7/15/2015          $181.42         -0.10%       0.28%        0.25%          0.55%        -0.66%   2.12%       -0.31     24.29%
  7/16/2015          $182.35         0.51%        0.41%        -0.47%         0.17%        0.35%    2.05%       0.17      13.47%
  7/20/2015          $180.89         -0.80%       0.27%        -0.25%         0.19%        -0.99%   2.05%       -0.48     36.85%
  7/21/2015          $182.19         0.72%        0.01%        -0.32%         -0.11%       0.83%    2.05%       0.41      31.45%
  7/22/2015          $183.96         0.97%        -0.44%       -0.40%         -0.58%       1.55%    2.05%       0.76      54.95%
  7/23/2015          $185.13         0.64%        -0.02%       0.32%          0.29%        0.34%    2.05%       0.17      13.29%
  7/27/2015          $188.85         2.01%        -2.17%       -0.04%         -1.94%       3.95%    2.05%       1.92      94.38%           *
  7/28/2015          $184.27         -2.42%       -0.01%       0.40%          0.38%        -2.80%   2.07%       -1.35     82.29%
  7/29/2015          $188.70         2.40%        1.35%        0.59%          1.66%        0.75%    2.08%       0.36      27.98%


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Exhibit 11C                          3926

Perrigo Company PLC (PRGO IT)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                          Company-
                     Closing        Actual        Market      Industry      Predicted              Standard              Confidence Statistically
     Date                                                                                 Specific              t-Stat
                      Price         Return        Return      Residual       Return                 Error                  Level    Significant[1]
                                                                                           Return
  7/30/2015          $188.79         0.05%        0.17%        -0.94%         -0.34%       0.39%    2.08%       0.19      14.76%
   8/3/2015          $187.99         -0.43%       -0.12%       1.22%          0.81%        -1.24%   2.08%       -0.60     44.79%
   8/4/2015          $186.83         -0.62%       0.13%        -0.20%         0.11%        -0.72%   2.08%       -0.35     27.20%
   8/5/2015          $185.43         -0.75%       0.49%        -0.46%         0.25%        -1.00%   2.08%       -0.48     36.75%
   8/6/2015          $180.31         -2.76%       -1.05%       0.28%          -0.63%       -2.14%   2.08%       -1.03     69.49%
  8/10/2015          $188.62         4.61%        0.45%        -1.59%         -0.41%       5.02%    2.06%       2.44      98.43%          **
  8/11/2015          $188.05         -0.30%       -0.36%       -0.39%         -0.35%       0.05%    2.09%       0.02       1.98%
  8/12/2015          $184.54         -1.87%       -1.67%       0.05%          -1.30%       -0.56%   2.09%       -0.27     21.23%
  8/13/2015          $186.20         0.90%        1.24%        -0.05%         1.25%        -0.35%   2.07%       -0.17     13.43%
  8/17/2015          $192.79         3.54%        0.38%        -0.03%         0.46%        3.08%    2.04%       1.51      86.72%
  8/18/2015          $192.73         -0.03%       0.51%        0.62%          0.88%        -0.92%   2.05%       -0.45     34.50%
  8/19/2015          $191.03         -0.88%       -0.81%       -0.22%         -0.65%       -0.24%   2.05%       -0.12      9.27%
  8/20/2015          $189.45         -0.83%       -1.49%       1.03%          -0.70%       -0.13%   2.05%       -0.06      5.07%
  8/24/2015          $178.24         -5.92%       -6.47%       -0.75%         -5.84%       -0.07%   2.05%       -0.04      2.91%
  8/25/2015          $178.77         0.30%        0.57%        -0.54%         0.43%        -0.13%   2.05%       -0.06      5.17%
  8/26/2015          $175.57         -1.79%       -1.58%       0.05%          -1.23%       -0.56%   2.05%       -0.27     21.59%
  8/27/2015          $182.23         3.80%        3.56%        0.38%          3.51%        0.28%    2.05%       0.14      11.04%
  8/31/2015          $177.91         -2.37%       0.42%        -1.32%         -0.04%       -2.33%   2.05%       -1.14     74.32%
   9/1/2015          $176.05         -1.04%       -1.96%       -0.76%         -1.98%       0.94%    2.05%       0.46      35.13%
   9/2/2015          $175.12         -0.53%       -0.64%       0.22%          -0.32%       -0.21%   2.05%       -0.10      8.21%
   9/3/2015          $177.40         1.30%        2.34%        -0.39%         2.05%        -0.75%   2.05%       -0.37     28.52%
   9/8/2015          $177.21         -0.11%       -0.87%       -0.75%         -0.98%       0.87%    2.05%       0.43      32.89%
   9/9/2015          $176.51         -0.39%       1.25%        -0.22%         1.15%        -1.55%   2.05%       -0.76     54.90%
  9/10/2015          $172.04         -2.54%       -1.78%       0.24%          -1.26%       -1.28%   2.05%       -0.62     46.62%
  9/16/2015          $175.79         2.18%        2.09%        0.42%          2.18%        0.00%    2.06%       0.00       0.12%
  9/17/2015          $178.38         1.47%        0.61%        0.98%          1.18%        0.29%    2.06%       0.14      11.33%
  9/21/2015          $173.55         -2.71%       -1.13%       0.39%          -0.65%       -2.06%   2.06%       -1.00     68.07%
  9/24/2015          $165.05         -4.90%       -2.97%       -0.64%         -2.83%       -2.07%   2.07%       -1.00     68.08%
  9/29/2015          $151.30         -8.33%       -0.77%       -1.99%         -1.61%       -6.72%   2.07%       -3.25     99.86%          **
  9/30/2015          $153.16         1.23%        0.88%        0.01%          0.92%        0.31%    2.12%       0.14      11.49%
  10/1/2015          $156.77         2.36%        0.29%        0.54%          0.72%        1.64%    2.12%       0.77      55.93%
  10/6/2015          $157.81         0.66%        3.08%        -1.20%         2.22%        -1.55%   2.13%       -0.73     53.36%
  10/7/2015          $155.27         -1.61%       0.88%        -1.70%         -0.33%       -1.28%   2.13%       -0.60     45.02%
  10/8/2015          $152.11         -2.04%       -0.43%       0.59%          0.09%        -2.13%   2.13%       -1.00     68.06%
  10/12/2015         $156.80         3.09%        1.17%        -0.28%         0.92%        2.17%    2.13%       1.02      68.99%
  10/13/2015         $158.13         0.85%        0.25%        0.11%          0.36%        0.49%    2.13%       0.23      18.07%
  10/14/2015         $154.84         -2.08%       -0.86%       -0.60%         -1.19%       -0.89%   2.13%       -0.42     32.39%
  10/15/2015         $158.50         2.36%        0.10%        0.63%          0.58%        1.78%    2.13%       0.84      59.69%
  10/19/2015         $162.34         2.43%        1.34%        1.53%          2.42%        0.01%    2.13%       0.00       0.39%
  10/20/2015         $161.34         -0.62%       0.31%        -0.68%         -0.12%       -0.50%   2.12%       -0.24     18.71%
  10/21/2015         $154.73         -4.09%       -0.35%       -2.19%         -1.94%       -2.16%   2.11%       -1.02     69.11%
  10/22/2015         $148.33         -4.14%       0.60%        -0.36%         0.33%        -4.46%   2.12%       -2.11     96.34%          **
  10/26/2015         $147.87         -0.31%       1.44%        1.50%          2.62%        -2.93%   2.13%       -1.38     83.03%
  10/27/2015         $152.46         3.11%        -0.34%       2.30%          1.43%        1.68%    2.13%       0.79      56.79%
  10/28/2015         $155.09         1.72%        0.54%        0.70%          1.10%        0.61%    2.13%       0.29      22.62%
  10/29/2015         $162.92         5.05%        0.55%        0.85%          1.25%        3.80%    2.13%       1.78      92.33%           *
  11/2/2015          $156.42         -3.99%       0.34%        -0.75%         -0.23%       -3.75%   2.15%       -1.74     91.72%           *
  11/3/2015          $155.15         -0.81%       0.53%        -0.95%         -0.28%       -0.54%   2.16%       -0.25     19.52%
  11/4/2015          $157.97         1.82%        0.28%        0.42%          0.68%        1.14%    2.16%       0.53      40.22%
  11/5/2015          $157.79         -0.11%       -0.66%       -0.47%         -1.02%       0.91%    2.16%       0.42      32.49%
  11/9/2015          $156.48         -0.83%       -0.75%       -0.30%         -0.92%       0.09%    2.15%       0.04       3.34%
  11/10/2015         $155.73         -0.48%       -0.35%       -0.01%         -0.28%       -0.20%   2.15%       -0.09      7.41%
  11/11/2015         $161.12         3.46%        0.34%        0.90%          1.24%        2.22%    2.14%       1.04      69.87%
  11/12/2015         $159.25         -1.16%       -0.89%       -0.13%         -0.91%       -0.25%   2.15%       -0.12      9.40%
  11/16/2015         $147.95         -7.09%       -1.47%       0.54%          -0.81%       -6.28%   2.15%       -2.92     99.60%          **


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Perrigo Company PLC (PRGO IT)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                          Company-
                     Closing        Actual        Market      Industry      Predicted              Standard              Confidence Statistically
     Date                                                                                 Specific              t-Stat
                      Price         Return        Return      Residual       Return                 Error                  Level    Significant[1]
                                                                                           Return
  11/17/2015         $149.89         1.31%        1.24%        -0.50%         0.84%        0.48%    2.20%       0.22      17.12%
  11/18/2015         $150.56         0.44%        0.23%        0.17%          0.44%        0.01%    2.20%       0.00       0.30%
  11/19/2015         $151.04         0.32%        1.08%        -0.82%         0.36%        -0.04%   2.20%       -0.02      1.55%
  11/23/2015         $151.79         0.49%        0.55%        -0.48%         0.15%        0.34%    2.20%       0.15      12.12%
  11/24/2015         $144.58         -4.74%       -0.87%       0.19%          -0.64%       -4.10%   2.19%       -1.87     93.70%           *
  11/25/2015         $147.34         1.91%        0.69%        1.17%          1.79%        0.12%    2.21%       0.05       4.31%
  11/30/2015         $145.96         -0.94%       -0.11%       -0.74%         -0.75%       -0.19%   2.22%       -0.09      6.88%
  12/1/2015          $145.42         -0.37%       0.15%        0.45%          0.59%        -0.96%   2.21%       -0.43     33.40%
  12/2/2015          $146.68         0.87%        0.50%        1.25%          1.65%        -0.79%   2.21%       -0.36     27.81%
  12/3/2015          $142.94         -2.55%       -1.47%       -0.90%         -2.27%       -0.28%   2.21%       -0.13     10.01%
  12/7/2015          $143.27         0.23%        0.32%        0.58%          0.87%        -0.64%   2.22%       -0.29     22.66%
  12/8/2015          $144.35         0.76%        -1.10%       0.64%          -0.55%       1.30%    2.21%       0.59      44.37%
  12/9/2015          $145.33         0.68%        0.88%        -0.76%         0.25%        0.43%    2.21%       0.20      15.49%
  12/10/2015         $146.09         0.52%        -0.89%       0.05%          -0.85%       1.37%    2.21%       0.62      46.52%
  12/14/2015         $146.01         -0.06%       -2.49%       1.42%          -1.25%       1.19%    2.21%       0.54      40.85%
  12/15/2015         $145.99         -0.01%       2.18%        -0.11%         2.14%        -2.16%   2.21%       -0.98     66.92%
  12/16/2015         $146.30         0.21%        0.35%        -0.13%         0.26%        -0.05%   2.22%       -0.02      1.88%
  12/17/2015         $145.21         -0.74%       0.48%        0.05%          0.55%        -1.29%   2.21%       -0.58     44.04%
  12/21/2015         $140.81         -3.03%       -2.09%       0.03%          -1.98%       -1.05%   2.22%       -0.47     36.46%
  12/22/2015         $141.84         0.73%        0.33%        -0.24%         0.10%        0.62%    2.21%       0.28      22.20%
  12/23/2015         $144.62         1.97%        1.20%        -0.03%         1.11%        0.86%    2.20%       0.39      30.29%
  12/24/2015         $144.97         0.24%        0.53%        -0.58%         -0.01%       0.25%    2.20%       0.11       9.09%
  12/28/2015         $143.05         -1.32%       -0.64%       0.41%          -0.22%       -1.10%   2.20%       -0.50     38.38%
  12/29/2015         $142.46         -0.41%       1.31%        -0.47%         0.85%        -1.26%   2.19%       -0.57     43.39%
  12/30/2015         $142.27         -0.13%       -0.28%       0.33%          0.04%        -0.17%   2.19%       -0.08      6.10%
  12/31/2015         $141.84         -0.31%       -0.99%       0.00%          -0.95%       0.65%    2.19%       0.29      23.11%
   1/4/2016          $139.68         -1.52%       -2.31%       -0.30%         -2.50%       0.97%    2.19%       0.44      34.15%
   1/5/2016          $141.46         1.28%        0.30%        0.91%          1.13%        0.15%    2.19%       0.07       5.56%
   1/6/2016          $141.48         0.01%        -0.44%       -0.45%         -0.84%       0.85%    2.19%       0.39      30.20%
   1/7/2016          $140.01         -1.04%       -1.70%       0.34%          -1.31%       0.27%    2.19%       0.12       9.72%
  1/11/2016          $137.54         -1.77%       -2.04%       -0.32%         -2.24%       0.47%    2.20%       0.22      17.01%
  1/12/2016          $141.83         3.12%        0.43%        -0.04%         0.37%        2.75%    2.20%       1.25      78.85%
  1/13/2016          $144.13         1.62%        0.36%        -0.16%         0.18%        1.44%    2.20%       0.65      48.60%
  1/14/2016          $139.09         -3.50%       -1.86%       0.55%          -1.27%       -2.23%   2.20%       -1.01     68.78%
  1/19/2016          $142.45         2.42%        -0.22%       1.70%          1.39%        1.03%    2.21%       0.47      35.94%
  1/20/2016          $140.58         -1.32%       -3.18%       0.95%          -2.11%       0.79%    2.20%       0.36      28.13%
  1/21/2016          $143.39         2.00%        1.74%        -1.25%         0.47%        1.53%    2.20%       0.70      51.29%
  1/25/2016          $147.20         2.66%        1.41%        -0.92%         0.55%        2.11%    2.20%       0.96      66.21%
  1/26/2016          $146.16         -0.71%       -0.11%       0.50%          0.40%        -1.11%   2.20%       -0.51     38.64%
  1/27/2016          $143.81         -1.61%       -0.39%       0.72%          0.34%        -1.95%   2.20%       -0.89     62.46%
  1/28/2016          $138.47         -3.72%       -0.50%       -1.61%         -1.83%       -1.88%   2.20%       -0.85     60.60%
   2/1/2016          $140.41         1.41%        2.49%        -1.54%         1.06%        0.35%    2.21%       0.16      12.39%
   2/2/2016          $139.13         -0.91%       -0.69%       0.68%          -0.01%       -0.90%   2.21%       -0.41     31.68%
   2/3/2016          $139.70         0.41%        -1.74%       -0.51%         -2.10%       2.51%    2.20%       1.14      74.39%
   2/4/2016          $143.77         2.91%        2.29%        -0.84%         1.56%        1.35%    2.21%       0.61      45.95%
   2/8/2016          $136.77         -4.86%       -4.21%       1.42%          -2.84%       -2.03%   2.21%       -0.92     63.97%
   2/9/2016          $135.98         -0.58%       0.58%        -0.59%         0.14%        -0.72%   2.21%       -0.32     25.43%
  2/10/2016          $135.33         -0.48%       1.11%        1.41%          2.30%        -2.78%   2.20%       -1.26     79.16%
  2/11/2016          $132.64         -1.99%       -2.51%       -0.77%         -2.98%       0.99%    2.21%       0.45      34.47%
  2/16/2016          $136.36         2.80%        2.91%        -0.79%         2.26%        0.54%    2.21%       0.25      19.35%
  2/17/2016          $141.60         3.85%        2.27%        -0.62%         1.77%        2.07%    2.20%       0.94      65.19%
  2/18/2016          $128.66         -9.14%       0.29%        0.68%          0.88%       -10.02%   2.21%       -4.54     100.00%         **
  2/22/2016          $121.02         -5.94%       0.80%        -0.61%         0.39%        -6.34%   2.21%       -2.87     99.54%          **
  2/23/2016          $121.23         0.17%        -0.54%       0.91%          0.23%        -0.06%   2.21%       -0.03      2.15%
  2/24/2016          $122.70         1.21%        -1.98%       -0.18%         -2.01%       3.23%    2.21%       1.46      85.44%


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Perrigo Company PLC (PRGO IT)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                          Company-
                     Closing        Actual        Market      Industry      Predicted              Standard              Confidence Statistically
     Date                                                                                 Specific              t-Stat
                      Price         Return        Return      Residual       Return                 Error                  Level    Significant[1]
                                                                                           Return
  2/25/2016          $123.48         0.63%        2.05%        0.27%          2.30%        -1.66%   2.21%       -0.75     54.72%
  2/29/2016          $125.23         1.42%        0.69%        -0.95%         0.03%        1.39%    2.21%       0.63      47.06%
   3/1/2016          $122.93         -1.83%       0.48%        -0.38%         0.25%        -2.09%   2.21%       -0.95     65.44%
   3/2/2016          $123.08         0.12%        1.00%        0.09%          1.12%        -1.01%   2.21%       -0.46     35.06%
   3/3/2016          $122.90         -0.14%       0.33%        -0.80%         -0.21%       0.08%    2.21%       0.03       2.71%
   3/7/2016          $124.33         1.16%        0.62%        -0.76%         0.11%        1.06%    2.21%       0.48      36.66%
   3/8/2016          $127.05         2.18%        -0.57%       1.06%          0.31%        1.87%    2.21%       0.85      60.17%
   3/9/2016          $128.00         0.75%        0.15%        -0.01%         0.21%        0.54%    2.21%       0.24      19.31%
  3/10/2016          $130.42         1.89%        0.61%        0.04%          0.70%        1.19%    2.21%       0.54      40.97%
  3/14/2016          $135.18         3.65%        0.89%        -0.62%         0.47%        3.18%    2.21%       1.44      84.82%
  3/15/2016          $133.44         -1.29%       -0.21%       -0.93%         -0.83%       -0.45%   2.21%       -0.21     16.25%
  3/16/2016          $131.65         -1.34%       0.24%        -1.04%         -0.48%       -0.86%   2.21%       -0.39     30.41%
  3/17/2016          $127.61         -3.06%       0.55%        -2.33%         -1.15%       -1.91%   2.21%       -0.86     61.14%
  3/21/2016          $126.96         -0.52%       0.92%        0.75%          1.54%        -2.06%   2.21%       -0.93     64.69%
  3/22/2016          $128.97         1.59%        0.15%        0.58%          0.66%        0.93%    2.21%       0.42      32.53%
  3/23/2016          $128.84         -0.10%       -0.17%       0.99%          0.65%        -0.75%   2.21%       -0.34     26.64%
  3/28/2016          $125.95         -2.24%       -0.36%       -0.18%         -0.42%       -1.82%   2.21%       -0.82     58.95%
  3/29/2016          $123.72         -1.77%       -0.22%       0.01%          -0.14%       -1.64%   2.21%       -0.74     54.03%
  3/30/2016          $127.43         3.00%        1.68%        -0.78%         1.14%        1.87%    2.21%       0.85      60.11%
  3/31/2016          $126.28         -0.91%       -0.14%       -0.21%         -0.22%       -0.69%   2.21%       -0.31     24.37%
   4/4/2016          $126.20         -0.06%       0.37%        0.98%          1.18%        -1.24%   2.21%       -0.56     42.46%
   4/5/2016          $123.20         -2.37%       -0.89%       -0.28%         -1.01%       -1.36%   2.21%       -0.62     46.16%
   4/6/2016          $127.97         3.87%        -0.41%       1.47%          0.78%        3.09%    2.21%       1.40      83.61%
   4/7/2016          $129.56         1.24%        0.14%        0.63%          0.69%        0.56%    2.21%       0.25      19.92%
  4/11/2016          $124.85         -3.64%       0.58%        -1.16%         -0.24%       -3.39%   2.21%       -1.54     87.37%
  4/12/2016          $123.00         -1.48%       -0.91%       0.07%          -0.77%       -0.70%   2.21%       -0.32     24.98%
  4/13/2016          $124.72         1.39%        1.65%        -1.13%         0.84%        0.55%    2.21%       0.25      19.62%
  4/14/2016          $125.39         0.54%        0.33%        0.18%          0.53%        0.01%    2.21%       0.00       0.33%
  4/18/2016          $125.92         0.42%        0.26%        0.53%          0.73%        -0.31%   2.21%       -0.14     11.08%
  4/19/2016          $126.87         0.76%        0.70%        1.27%          1.73%        -0.97%   2.21%       -0.44     33.92%
  4/20/2016          $128.77         1.50%        -0.14%       0.07%          -0.01%       1.52%    2.21%       0.69      50.64%
  4/21/2016          $125.62         -2.45%       -0.02%       0.07%          0.10%        -2.55%   2.21%       -1.16     75.10%
  4/25/2016          $118.56         -5.62%       -0.93%       0.30%          -0.62%       -4.99%   2.21%       -2.26     97.51%          **
  4/26/2016           $96.09        -18.96%       0.49%        -0.64%         0.07%       -19.02%   2.21%       -8.61     100.00%         **
  4/27/2016           $97.46         1.43%        -0.13%       -0.25%         -0.25%       1.68%    2.21%       0.76      55.19%
   5/2/2016           $94.48         -3.06%       -0.63%       0.02%          -0.53%       -2.53%   2.21%       -1.15     74.63%
   5/3/2016           $94.35         -0.14%       -0.59%       0.89%          0.17%        -0.31%   2.21%       -0.14     10.99%
   5/4/2016           $94.26         -0.09%       -0.22%       -0.39%         -0.45%       0.35%    2.21%       0.16      12.73%
   5/5/2016           $94.87         0.64%        -0.11%       -0.10%         -0.11%       0.76%    2.21%       0.34      26.76%
   5/9/2016           $92.26         -2.74%       0.18%        0.28%          0.46%        -3.21%   2.21%       -1.45     85.19%
  5/10/2016           $91.95         -0.34%       0.76%        0.26%          1.02%        -1.36%   2.21%       -0.61     45.99%
  5/16/2016           $87.43         -4.92%       -0.84%       0.16%          -0.64%       -4.28%   2.21%       -1.94     94.59%           *
  5/17/2016           $87.71         0.33%        0.13%        0.05%          0.23%        0.09%    2.21%       0.04       3.31%
  5/18/2016           $91.52         4.34%        -0.20%       0.29%          0.09%        4.25%    2.21%       1.92      94.42%           *
  5/19/2016           $90.45         -1.17%       -1.08%       -0.04%         -1.01%       -0.16%   2.21%       -0.07      5.74%
  5/23/2016           $91.71         1.40%        1.04%        -0.23%         0.92%        0.49%    2.21%       0.22      17.39%
  5/24/2016           $92.76         1.14%        0.87%        0.04%          0.95%        0.19%    2.21%       0.09       6.87%
  5/25/2016           $94.43         1.80%        1.04%        -0.18%         0.96%        0.85%    2.21%       0.38      29.77%
  5/26/2016           $94.46         0.02%        -0.12%       -0.24%         -0.22%       0.25%    2.21%       0.11       8.86%
  5/31/2016           $94.79         0.35%        0.58%        0.25%          0.83%        -0.48%   2.21%       -0.22     17.09%
   6/1/2016           $94.52         -0.28%       -0.59%       0.66%          -0.01%       -0.28%   2.21%       -0.12      9.90%
   6/2/2016           $95.29         0.81%        0.10%        0.27%          0.37%        0.45%    2.21%       0.20      15.98%
   6/6/2016           $96.59         1.36%        0.74%        0.70%          1.33%        0.04%    2.21%       0.02       1.28%
   6/7/2016           $96.59         0.00%        0.39%        -0.20%         0.31%        -0.30%   2.21%       -0.14     10.95%
   6/8/2016           $98.37         1.84%        -0.01%       0.06%          0.10%        1.73%    2.21%       0.79      56.66%


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Perrigo Company PLC (PRGO IT)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                          Company-
                     Closing        Actual        Market      Industry      Predicted              Standard              Confidence Statistically
     Date                                                                                 Specific              t-Stat
                      Price         Return        Return      Residual       Return                 Error                  Level    Significant[1]
                                                                                           Return
   6/9/2016           $99.73         1.39%        -0.27%       0.49%          0.17%        1.22%    2.21%       0.55      41.79%
  6/13/2016           $97.30         -2.44%       -0.64%       -0.43%         -0.89%       -1.56%   2.21%       -0.71     51.85%
  6/14/2016           $98.02         0.75%        -1.16%       0.37%          -0.80%       1.54%    2.21%       0.70      51.39%
  6/15/2016          $102.83         4.90%        0.43%        0.16%          0.61%        4.29%    2.21%       1.94      94.65%          *
  6/16/2016           $96.90         -5.76%       -1.26%       0.07%          -1.11%       -4.65%   2.21%       -2.10     96.33%          **
  6/20/2016           $94.85         -2.11%       2.12%        -1.38%         1.12%        -3.23%   2.21%       -1.46     85.48%
  6/21/2016           $94.64         -0.22%       -0.58%       -0.20%         -0.65%       0.43%    2.21%       0.19      15.33%
  6/22/2016           $93.85         -0.84%       0.43%        -0.31%         0.26%        -1.10%   2.21%       -0.50     38.09%
  6/23/2016           $92.46         -1.48%       0.32%        0.20%          0.53%        -2.02%   2.21%       -0.91     63.76%
  6/27/2016           $88.10         -4.72%       -4.87%       1.77%          -3.38%       -1.34%   2.21%       -0.61     45.50%
  6/28/2016           $86.20         -2.15%       1.13%        0.37%          1.47%        -3.62%   2.21%       -1.64     89.68%
  6/29/2016           $87.63         1.65%        1.84%        0.56%          2.31%        -0.66%   2.21%       -0.30     23.54%
  6/30/2016           $87.94         0.36%        0.60%        -0.45%         0.32%        0.04%    2.21%       0.02       1.33%
   7/5/2016           $89.60         1.88%        0.82%        1.11%          1.72%        0.16%    2.21%       0.07       5.74%
   7/6/2016           $89.26         -0.37%       -0.62%       0.30%          -0.31%       -0.06%   2.21%       -0.03      2.23%
   7/7/2016           $91.16         2.12%        1.53%        -0.56%         1.15%        0.98%    2.21%       0.44      34.11%
  7/11/2016           $91.83         0.74%        1.27%        -0.30%         1.09%        -0.35%   2.21%       -0.16     12.62%
  7/12/2016           $92.42         0.65%        0.61%        -0.50%         0.29%        0.35%    2.21%       0.16      12.67%
  7/13/2016           $94.67         2.44%        0.21%        0.49%          0.65%        1.79%    2.21%       0.81      58.03%
  7/14/2016           $92.89         -1.89%       0.69%        -0.47%         0.38%        -2.27%   2.21%       -1.03     69.49%
  7/18/2016           $92.08         -0.87%       -0.04%       -0.01%         0.02%        -0.89%   2.21%       -0.40     31.23%
  7/19/2016           $91.41         -0.72%       -0.12%       0.23%          0.12%        -0.85%   2.21%       -0.38     29.84%
  7/20/2016           $93.13         1.88%        0.35%        0.15%          0.52%        1.36%    2.21%       0.61      46.01%
  7/21/2016           $92.77         -0.40%       0.05%        -0.22%         -0.04%       -0.35%   2.21%       -0.16     12.67%
  7/25/2016           $90.85         -2.07%       -0.26%       -0.25%         -0.37%       -1.70%   2.21%       -0.77     55.63%
  7/26/2016           $89.47         -1.52%       0.26%        0.49%          0.70%        -2.22%   2.21%       -1.00     68.36%
  7/27/2016           $89.60         0.15%        -0.13%       -0.29%         -0.28%       0.43%    2.21%       0.19      15.36%
  7/28/2016           $88.75         -0.94%       -0.27%       0.29%          0.03%        -0.97%   2.21%       -0.44     33.95%
   8/1/2016           $89.56         0.90%        0.53%        0.43%          0.92%        -0.02%   2.21%       -0.01      0.58%
   8/2/2016           $89.21         -0.39%       -0.72%       -0.46%         -0.98%       0.59%    2.21%       0.27      21.19%
   8/3/2016           $90.20         1.11%        -0.02%       -0.55%         -0.37%       1.47%    2.21%       0.67      49.46%
   8/4/2016           $92.23         2.25%        0.16%        -0.06%         0.18%        2.08%    2.21%       0.94      65.15%
   8/8/2016           $92.15         -0.09%       0.84%        -2.96%         -1.35%       1.26%    2.21%       0.57      43.09%
   8/9/2016           $92.31         0.18%        0.28%        0.82%          0.97%        -0.79%   2.21%       -0.36     27.92%
  8/10/2016           $83.16         -9.92%       -0.26%       -0.28%         -0.40%       -9.52%   2.21%       -4.31     100.00%         **
  8/11/2016           $84.28         1.34%        0.03%        0.33%          0.35%        0.99%    2.21%       0.45      34.57%
  8/15/2016           $86.25         2.34%        0.49%        -0.78%         -0.04%       2.38%    2.21%       1.08      71.77%
  8/16/2016           $86.74         0.56%        -0.42%       -0.19%         -0.49%       1.05%    2.21%       0.48      36.56%
  8/17/2016           $87.14         0.47%        -0.49%       -0.20%         -0.56%       1.03%    2.21%       0.47      35.94%
  8/18/2016           $87.40         0.29%        0.53%        -0.24%         0.41%        -0.12%   2.21%       -0.05      4.23%
  8/22/2016           $90.50         3.56%        0.03%        0.25%          0.29%        3.26%    2.21%       1.48      85.87%
  8/23/2016           $89.79         -0.79%       0.37%        -0.48%         0.07%        -0.87%   2.21%       -0.39     30.48%
  8/24/2016           $89.80         0.02%        -0.38%       0.09%          -0.23%       0.25%    2.21%       0.11       9.10%
  8/25/2016           $87.93         -2.09%       -0.39%       -0.96%         -1.04%       -1.05%   2.21%       -0.48     36.54%
  8/29/2016           $86.66         -1.44%       0.12%        -0.42%         -0.13%       -1.32%   2.21%       -0.60     44.79%
  8/30/2016           $88.75         2.42%        -0.09%       0.04%          0.01%        2.41%    2.21%       1.09      72.25%
  8/31/2016           $89.01         0.29%        -0.20%       -0.28%         -0.33%       0.62%    2.21%       0.28      22.00%
   9/1/2016           $90.35         1.50%        -0.42%       -0.16%         -0.47%       1.97%    2.21%       0.89      62.74%
   9/6/2016           $91.04         0.77%        0.65%        0.12%          0.80%        -0.02%   2.21%       -0.01      0.86%
   9/7/2016           $89.81         -1.36%       0.51%        -0.29%         0.36%        -1.72%   2.21%       -0.78     56.19%
   9/8/2016           $89.03         -0.87%       -0.36%       0.19%          -0.14%       -0.73%   2.21%       -0.33     25.76%
  9/12/2016           $90.52         1.68%        -1.99%       0.47%          -1.53%       3.22%    2.21%       1.46      85.30%
  9/13/2016           $91.68         1.28%        -0.16%       -0.03%         -0.11%       1.39%    2.21%       0.63      47.07%
  9/14/2016           $93.47         1.95%        0.24%        0.36%          0.58%        1.37%    2.21%       0.62      46.31%
  9/15/2016           $90.99         -2.65%       -0.21%       -0.56%         -0.57%       -2.09%   2.21%       -0.95     65.43%


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Perrigo Company PLC (PRGO IT)
Actual vs. Predicted Returns
Notes: [1] “**” and “*” indicate statistical significance at the 95% and 90% confidence levels, respectively.

                                                                                          Company-
                     Closing        Actual        Market      Industry      Predicted              Standard              Confidence Statistically
     Date                                                                                 Specific              t-Stat
                      Price         Return        Return      Residual       Return                 Error                  Level    Significant[1]
                                                                                           Return
  9/19/2016          $91.99          1.09%        0.82%        -0.25%         0.69%        0.40%    2.21%       0.18      14.47%
  9/20/2016          $91.51          -0.52%       -0.15%       -0.09%         -0.15%       -0.37%   2.21%       -0.17     13.19%
  9/21/2016          $91.43          -0.08%       0.10%        -0.27%         -0.03%       -0.05%   2.21%       -0.02      1.98%
  9/22/2016          $93.53          2.30%        1.31%        0.28%          1.57%        0.72%    2.21%       0.33      25.65%
  9/26/2016          $94.09          0.59%        -1.13%       -0.48%         -1.40%       2.00%    2.21%       0.90      63.25%
  9/27/2016          $93.98          -0.11%       -0.02%       0.05%          0.09%        -0.20%   2.21%       -0.09      7.04%
  9/28/2016          $94.64          0.70%        0.34%        -0.08%         0.34%        0.36%    2.21%       0.16      12.80%
  9/29/2016          $95.06          0.45%        0.52%        -0.94%         -0.13%       0.57%    2.21%       0.26      20.50%
  10/5/2016          $94.33          -0.77%       -0.52%       1.08%          0.38%        -1.15%   2.21%       -0.52     39.54%
  10/6/2016          $93.42          -0.97%       -0.26%       -0.59%         -0.64%       -0.33%   2.21%       -0.15     11.76%
  10/10/2016         $89.96          -3.71%       0.62%        0.15%          0.80%        -4.51%   2.21%       -2.04     95.75%          **
  10/13/2016         $86.71          -3.61%       -2.30%       -0.73%         -2.75%       -0.86%   2.21%       -0.39     30.36%
  10/18/2016         $85.64          -1.23%       0.87%        -1.32%         -0.08%       -1.15%   2.21%       -0.52     39.77%
  10/19/2016         $86.27          0.74%        0.30%        -0.81%         -0.25%       0.98%    2.21%       0.45      34.38%
  10/20/2016         $87.14          1.01%        -0.10%       0.32%          0.22%        0.79%    2.21%       0.36      27.93%
  10/25/2016         $88.70          1.79%        0.38%        -1.49%         -0.69%       2.48%    2.21%       1.12      73.73%
  10/26/2016         $89.02          0.35%        -0.71%       0.27%          -0.42%       0.78%    2.21%       0.35      27.42%
  10/27/2016         $89.18          0.18%        0.08%        0.39%          0.44%        -0.26%   2.21%       -0.12      9.50%
  10/31/2016         $83.45          -6.42%       -0.22%       -1.94%         -1.61%       -4.81%   2.21%       -2.18     96.92%          **
  11/1/2016          $83.22          -0.28%       -0.37%       0.44%          0.04%        -0.32%   2.21%       -0.15     11.61%
  11/2/2016          $83.76          0.65%        -0.72%       -0.08%         -0.70%       1.36%    2.21%       0.61      45.97%
  11/3/2016          $82.71          -1.26%       -0.30%       -0.76%         -0.80%       -0.46%   2.21%       -0.21     16.39%
  11/7/2016          $82.09          -0.75%       0.85%        0.08%          0.97%        -1.72%   2.21%       -0.78     56.21%
  11/8/2016          $79.52          -3.13%       0.40%        0.05%          0.50%        -3.63%   2.21%       -1.64     89.82%
  11/9/2016          $80.22          0.89%        0.36%        3.70%          3.23%        -2.34%   2.21%       -1.06     70.96%
  11/10/2016         $86.65          8.01%        1.11%        1.09%          1.99%        6.02%    2.21%       2.72      99.30%          **
  11/14/2016         $89.35          3.12%        0.34%        -2.23%         -1.29%       4.40%    2.21%       1.99      95.23%          **
  11/15/2016         $86.26          -3.46%       0.22%        -1.14%         -0.58%       -2.87%   2.21%       -1.30     80.52%
  11/16/2016         $86.11          -0.17%       0.23%        0.00%          0.30%        -0.47%   2.21%       -0.21     16.87%
  11/17/2016         $84.42          -1.97%       0.24%        -0.91%         -0.38%       -1.58%   2.21%       -0.72     52.59%
  11/21/2016         $87.22          3.32%        0.36%        -1.16%         -0.45%       3.77%    2.21%       1.71      91.06%           *
  11/22/2016         $87.36          0.15%        0.57%        -0.81%         0.02%        0.13%    2.21%       0.06       4.84%
  11/23/2016         $87.11          -0.28%       -0.08%       -1.69%         -1.28%       1.00%    2.21%       0.45      34.95%
  11/28/2016         $85.58          -1.76%       0.39%        0.35%          0.72%        -2.48%   2.21%       -1.12     73.69%
  11/29/2016         $86.14          0.66%        -0.29%       -0.14%         -0.32%       0.98%    2.21%       0.44      34.07%
  11/30/2016         $84.84          -1.51%       0.20%        -0.40%         -0.03%       -1.48%   2.21%       -0.67     49.63%
  12/1/2016          $85.09          0.31%        -0.36%       -0.37%         -0.56%       0.87%    2.21%       0.39      30.57%
  12/5/2016          $84.67          -0.50%       0.37%        -0.25%         0.25%        -0.75%   2.21%       -0.34     26.67%
  12/6/2016          $82.18          -2.93%       -0.20%       -0.29%         -0.34%       -2.59%   2.21%       -1.17     75.73%
  12/7/2016          $82.15          -0.04%       0.53%        -2.12%         -1.01%       0.97%    2.21%       0.44      33.92%
  12/8/2016          $80.76          -1.69%       1.18%        -0.60%         0.77%        -2.46%   2.21%       -1.12     73.41%
  12/12/2016         $80.90          0.18%        0.75%        2.60%          2.78%        -2.61%   2.21%       -1.18     76.07%
  12/13/2016         $82.11          1.49%        0.48%        0.47%          0.90%        0.59%    2.21%       0.27      21.10%
  12/14/2016         $81.95          -0.19%       0.04%        0.70%          0.64%        -0.83%   2.21%       -0.38     29.25%
  12/15/2016         $81.56          -0.47%       -0.19%       0.43%          0.21%        -0.68%   2.21%       -0.31     24.26%
  12/19/2016         $84.19          3.22%        -0.08%       0.32%          0.24%        2.98%    2.21%       1.35      82.18%
  12/20/2016         $83.55          -0.76%       0.29%        -1.01%         -0.41%       -0.35%   2.21%       -0.16     12.48%
  12/21/2016         $83.13          -0.50%       -0.04%       0.04%          0.06%        -0.57%   2.21%       -0.26     20.19%
  12/22/2016         $83.30          0.20%        -0.30%       -0.54%         -0.64%       0.84%    2.21%       0.38      29.48%
  12/27/2016         $84.66          1.64%        0.50%        0.80%          1.17%        0.47%    2.21%       0.21      16.73%
  12/28/2016         $82.69          -2.33%       -0.50%       0.03%          -0.40%       -1.93%   2.21%       -0.87     61.56%
  12/29/2016         $81.73          -1.16%       -0.38%       0.21%          -0.14%       -1.02%   2.21%       -0.46     35.61%
   1/3/2017          $83.83          2.57%        0.37%        0.69%          0.96%        1.62%    2.21%       0.73      53.45%
   1/4/2017          $84.31          0.57%        0.11%        -0.09%         0.11%        0.46%    2.21%       0.21      16.62%
   1/5/2017          $84.53          0.27%        0.33%        0.04%          0.43%        -0.16%   2.21%       -0.07      5.85%


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